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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA

State of North Dakota,

                                  Plaintiff,

vs.                                                         Case No. 1:19-cv-00150

The United States of America,

                                Defendant.


  FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER FOR JUDGMENT




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                      INTRODUCTION AND SUMMARY OF DECISION


[¶1]   THIS MATTER comes before the Court after a bench trial on the merits.

[¶2]   The protests against the Dakota Access Pipeline in North Dakota in 2016-2017 (referred to

here as “the protests” or “the DAPL protests”) were unique, unprecedented, and largely

uncontrollable. They involved thousands of determined protestors, each with his or her own

motivations, and each making decisions based on a variety of factors. But the evidence does not

show that the Corps’s allegedly tortious actions caused the protests to begin, grow larger, last

longer, or increase in intensity.

[¶3]   The protests started off of Corps land, on an area within the Standing Rock Indian

Reservation. Protestors eventually spilled onto Corps land without the Corps’s prior knowledge or

permission. Throughout the protests, protestors stayed not only on Corps land but on Reservation

land, private land, State-owned land, and at hotels and private residences in the area.

[¶4]   Almost immediately after State and local law enforcement and Corps officials realized the

protests might be a cause for concern, the protests had grown to number hundreds of people and

were beyond the point where a forcible eviction was feasible or advisable. Subsequent events—

such as a confrontation on Labor Day 2016 between protestors and private security contractors

hired by the pipeline company—caused tensions to increase and the protests to balloon in size.

[¶5]   Throughout the protests, State and Corps officials took essentially the same approach. They

emphasized that peaceful protestors’ First Amendment rights were important. They strived to

contain the protestors to a safe area where resources could be made available, out of the road and

away from the pipeline’s construction activities. And they tried to identify and work with protest

leaders to deescalate tensions, in hopes of avoiding injuries and loss of life. That approach

succeeded: though officials had serious concerns that people could die given the scale and intensity



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of the protests, no one did. That is a testament to the reasonableness of the deescalation approach

that the Corps and the State both adopted.

[¶6]    The State claims approximately $38 million in damages—all of its law enforcement protest-

response costs. The State has already received $25 million to reimburse the bulk of those costs,

including $10 million from the federal government. To the extent anyone is liable for the State’s

protest-response costs, it is the people who caused those costs to be incurred: the protestors.

[¶7]    For the reasons discussed below, the State has not adduced sufficient evidence to establish

that the Court has jurisdiction, that the Corps breached a duty, that the State’s claimed damages

were caused by the Corps, or that the State is entitled to recover its protest-response costs. The

Court finds that the United States is not liable, and the State is not entitled to a damages award.


                                      FINDINGS OF FACT


[¶8]    The Court makes the following specific findings of fact which are necessary for the

disposition of this case.

   I.      The Corps and Its Mission

           A. The Corps’s Management of Water Resource Projects and Its Trust
              Relationship with Native American Tribes

[¶9]    Congress has granted the Corps sweeping authority to operate Corps-managed land. “The

Chief of Engineers, under the supervision of the Secretary of the Army, is authorized to construct,

maintain, and operate public park and recreational facilities at water resource development projects

under the control of the Department of the Army. . . .” 16 U.S.C. § 460d. Federal regulations issued

under that authority provide that the Corps’s policy is to “manage the natural, cultural and

developed resources of each project in the public interest, providing the public with safe and




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healthful recreational opportunities while protecting and enhancing these resources.” 36 C.F.R.

§ 327.1(a); see generally 36 C.F.R. Part 327.

[¶10] The Corps manages land around its water resource projects in accordance with

congressional authorization. Tr. 1455:14-21 (Day 9; Kruger).1 Within those authorizations,

members of the public generally have an interest in recreating on and enjoying Corps land as a

public resource. Id. at 1455:22-1456:2.

[¶11] Every year, there are approximately 270 million visitors to Corps land across the country.

See id. at 1456:3-5. On any given day, there are hundreds of unauthorized encroachments onto

Corps land. Tr. 1905:10-15, 1983:23-1984:5, 2024:16-24 (Day 12; Spellmon).

[¶12] The Corps has a trust relationship with Native American Tribes, which requires Corps

officials to work diligently to maintain good relationships with Native American Tribes, to

communicate with them, and to take great care to understand their perspectives and concerns. Tr.

1426:17-1427:6 (Day 8; Jackson); Tr. 1456:15-19 (Day 9; Kruger). This trust relationship is

extremely important for the Corps. Tr. 2013:16-24 (Day 12; Spellmon). It is not limited to

particular areas of land, but in working with Native American Tribes on issues of access to Corps

lands, Corps officials consider this trust relationship. See Tr. 1081:12-20, 1165:2-5, 1283:2-4 (Days

7-8; Henderson) (discussing the significance of a federally recognized Tribe, with whom the Corps

has a special trust relationship, requesting a Special Use Permit and the need to work with them in

good faith); Tr. 2014:7-16 (Day 12; Spellmon) (discussing the need to give due diligence to the

Standing Rock Sioux Tribe’s Special Use Permit application for lands off the Standing Rock Indian

Reservation that were of cultural importance to the Tribe). When an issue involves a federally



1
 Cites to trial testimony are indicated herein as: “Tr. page:line (Day; Witness).” Cites to designated
deposition testimony heard at trial are indicated herein as: “ECF No. [X], Dep. Tr. page:line
(Witness).”

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recognized Tribe, the District Commander for the area will often decide to retain decision-making

authority over that issue. See Tr. 1458:15-24 (Day 9; Kruger).

[¶13] The Corps is a standalone unit within the Department of the Army. See ECF 405-7, Dep.

Tr. 18:16-18 (Semonite). The head of the Corps reports to the Army Vice Chief of Staff, who in

turn reports to the Army Chief of Staff, who reports to the Secretary of the Army. See id. at 18:16-

19:19, 20:5-22. The Secretary of the Army has several Assistant Secretaries, including the Assistant

Secretary of the Army for Civil Works. Id. at 20:15-17. Corps leaders do not report to the Assistant

Secretary of the Army for Civil Works, but they may listen to his or her guidance. See id. at 20:17-

20; Tr. 1405:6-8 (Day 8; Jackson); Tr. 1147:19-23 (Day 7; Henderson). On the flip side, Corps

officials do not direct the activities of the Department of the Army or its personnel. See Tr. 1213:24-

1214:2 (Day 7; Henderson).

[¶14] The Corps itself is headquartered in Washington, D.C. and is headed by the Chief of

Engineers.    Tr. 1405:8-11 (Day 8; Jackson); ECF No. 405-7, Dep. Tr. 18:23 (Semonite).

Additionally, the Corps has eight divisions across the country (plus one that is entirely

international), each of which is led by a Division Commander and includes the geographic area of

multiple states. See ECF No. 405-7, Dep. Tr. 18:25-19:3 (Semonite). Below the division level are

43 districts, each of which is led by a District Commander. See id. at 19:3-9; Tr. 1147:1-15 (Day

7; Henderson). District Commanders are “responsible for ensuring adequate order, discipline and

protection of resources at Corps projects.” ECF No. 6-2, ER 1130-2-550 § 6-2(a).

[¶15] The vast majority of the Corps’s 35,000-plus personnel are civilians. ECF 405-7, Dep. Tr.

19:11-12 (Semonite).

   B. The Corps Does Not Have Law Enforcement Capabilities

[¶16] The Corps is not a law enforcement entity, and it has no organic law enforcement capability.



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Tr. 1152:11-14 (Day 7; Henderson); Tr. 1424:25-1425:2 (Day 8; Jackson); ECF No. 6-2, ER 1130-

2-550 § 6-2(e). It employs park rangers, who are not law enforcement officers. Tr. 1460:13-15

(Day 9; Kruger); Tr. 1152:11-14 (Day 7; Henderson); ECF No. 6-2, ER 1130-2-550 § 6-2(e). Corps

park rangers do not have the authority to make arrests, they are not armed, and they do not carry

handcuffs. Tr. 1460:16-1461:4 (Day 9; Kruger); ECF No. 6-2, ER 1130-2-550 § 6-2(e). Park

rangers’ primary responsibility is visitor assistance and safety, and their secondary priority is

ensuring visitors’ compliance with the Corps’s Title 36 rules and regulations. Id. at 1456:24-

1457:9, 1461:24-1462:5.

[¶17] It is within the Corps park rangers’ discretion to decide what, if any, steps to take to gain

visitors’ compliance with Corps rules and regulations, and park rangers are never required to take

any particular steps to enforce those rules and regulations. Id. at 1462:6-10, 1463:21-25, 1464:3-

7. Park rangers are trained to gain voluntary compliance using the lowest level of their enforcement

authority possible. Id. at 1463:21-1464:2; see ECF No. 6-2, ER 1130-2-550 § 6-2(f).

[¶18] Generally, to ensure that members of the public follow the Corps’s rules and regulations,

park rangers first try to gain voluntary compliance through outreach, education, and discussion. Tr.

1461:5-11 (Day 9; Kruger); ECF No. 6-2, ER 1130-2-550 § 6-2(f). They can also issue written

warnings and written citations. Tr. 1457:8-9, 1461:12-16 (Day 9; Kruger); ECF No. 6-2, ER 1130-

2-550 § 6-2(f). Finally, they can issue a citation with a mandatory court appearance, which is the

highest level of enforcement action available to Corps park rangers. Tr. 1461:16-18 (Day 9;

Kruger); ECF No. 6-2, ER 1130-2-550 § 6-2(f). The decision whether to prosecute any citation

written by Corps park rangers rests with the local U.S. Attorney’s Office. Tr. 1462:16-19 (Day 9;

Kruger).




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[¶19] State and local law enforcement have jurisdiction to enforce state and local laws on Corps

land. Id. at 1462:23-1463:2; Tr. 1151:15-1152:6 (Day 7; Henderson); DX 4004 at USA 000002272

(Corps’s Lake Oahe Master Plan stating that “enforcement of state and local laws and ordinances

will be handled by the appropriate state and local law enforcement agencies”); 42 U.S.C. § 3112(a)

(“It is not required that the Federal Government obtain exclusive jurisdiction in the United States

over land or an interest in land it acquires.”); id. § 3112(c) (“It is conclusively presumed that

jurisdiction has not been accepted until the Government accepts jurisdiction over land as provided

in this section.”); 36 C.F.R. § 327.26 (Corps Title 36 regulation providing that “state and local laws

and ordinances shall apply on project lands and waters” and “are enforced by those state and local

enforcement agencies established and authorized for that purpose.”); ECF No. 6-2, ER 1130-2-550

§ 6-2(c) (Corps implementing guidance stating that “[i]n the acquisition of land at Civil Works

installations, the Corps of Engineers obtains proprietary interests only. Individual states and their

political subdivisions retain the statutory authority, and inherent responsibility, to enforce state and

local laws”).

[¶20] The Corps relies on State and local law enforcement to enforce state and local laws on its

lands. See Tr. 1462:23-1463:2 (Day 9; Kruger); Tr. 1151:15-1152:6 (Day 7; Henderson); DX 4004

at USA 00000227; 42 U.S.C. § 3112(a), (c); 36 C.F.R. § 327.26; ECF No. 6-2, ER 1130-2-550 §

6-2(c); ECF No. 6-3, EP 1130-2-550 § 6-5. The Corps cannot order another federal entity or agency

to deploy law enforcement on Corps land. See Tr. 1201:18-21 (Day 7; Henderson); Tr. 1394:2-6

(Day 8; Jackson). The Corps’s decision-making about how to handle unlawful conduct on its lands

depends on the approach taken by state and local law enforcement, and the resources they make

available. See Tr. 1472:17-22 (Day 9; Kruger).



2
    All pincites to exhibits herein refer to the documents’ internal pagination.


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      II.        The Corps’s Lake Oahe Project and the Surrounding Area

[¶21] The Corps manages federal land at the confluence of the Cannonball and Missouri Rivers

in North Dakota as part of the Lake Oahe Flood Control Project. DX 4004 at USA_00000125-28.

The Cannonball River travels along a roughly east-west line and makes a T-intersection with the

west bank of the Missouri River, which generally runs north-south. Id. at USA_00000128. To the

north of the Cannonball River is the Heart River, which joins with the Missouri River in Mandan.

See         DX    4217   at   7-8;   Google   Maps,    https://www.google.com/maps/@46.8111783,-

100.9600144,12.17z?entry=ttu (last visited Aug. 1, 2024); see also, e.g., Fed. R. Evid. 201(b) (“The

court may judicially notice a fact that is not subject to reasonable dispute because it . . . can be

accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.”); Deutch v. United States, 367 U.S. 456, 470 (1961) (noting courts may take judicial

notice of geographic facts); United States v. Perea-Rey, 680 F.3d 1179, 1182 n.1 (9th Cir. 2012)

(taking judicial notice of a Google map “as a source whose accuracy cannot reasonably be

questioned” (alterations omitted)).

                 A. History of the Area

[¶22] The area around Lake Oahe is important in the history of the Sioux Tribes. Beginning in

the 1830s, non-Native Americans began traveling west in large numbers through the Central Great

Plains. DX 4217 at 9. In 1851, in an effort to keep the travel corridor across the Plains open and

with the aim of gaining land concessions and confining the Tribes to specific geographic areas, the

United States gathered various Native American Tribes at Fort Laramie to negotiate a treaty. Id.

The area between the Heart and the Cannonball Rivers fell within Sioux territory as it was described

in the 1851 Treaty of Fort Laramie. Id. at ii.

[¶23] In 1868, a second Treaty of Fort Laramie provided for part of the 1851 Treaty territory to




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become a reservation for the ”different Tribes of Sioux Indians,” bounded on the east by the east

bank of the Missouri River, and on the north by the forty-sixth parallel. Id. at 7. The reservation

did not include the area between the forty-sixth parallel and the Heart River. Id. The 1868 Treaty

provided that other areas north of the North Platte River and east of the summits of the Big Horn

Mountains not designated as a reservation would be “held and considered to be unceded Indian

territory.” Id. at 7, 12. White persons were prohibited from settling on, occupying, or passing

through the unceded territory without the Tribe’s consent. Id. at 12.

[¶24] The treaties between the United States and the Sioux were of great importance to many

DAPL protestors. See Tr. 2437:5-9 (Day 15: Iron Eyes) (testifying that from his point of view,

treaties between the Sioux Nation and the United States are not ancient history but “are still sacred

covenants that we uphold with the United States of America”); id. at 2446:23-2447:3 (testifying

about protestors’ decision to call the area also known as the North Camp “the 1851 Treaty Camp”);

Tr. 623:11-13 (Day 3; Pederson) (testifying that when he responded to protests on the first day,

August 10, 2016, the protestors gave him a copy of the Treaty of 1851); ECF No. 404-1, Dep. Tr.

22:6-14 (Bachmeier) (testifying that, “when the protest itself started in August . . . it was a coalition

of—of many different individuals who held sincere, honest beliefs about treaty rights of our

indigenous neighbors” as well as beliefs about the pipeline being routed through land with sacred

artifacts); ECF No. 404-2, Dep. Tr. 195:20-196:1 (Davis) (testifying about a heated conversation

Davis had with a protestor, in which the protestor said “This is treaty land we’re—you’re—you’re

on”); see also JX 10 at ND_000137422 (State-created After Action Report on the DAPL protests,

listing the 1851 and 1868 Fort Laramie treaties as significant events); JX 13 at ND_000253221

(State presentation on “Impacts and Lessons” of the DAPL protests identifying “Issues regarding

Fort Laramie Treaties of 1851 and 1868” as “Contributing Factors” to the protests); JX 266 at




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ND_000253594, ND_000253602 (Morton County Sherriff’s presentation identifying the 1851 and

1868 treaties as part of the “Perfect Storm” of factors contributing to the protests and stating that

“[t]he Standing Rock Sioux saw DAPL as an encroachment on their treaty lands, and believed they

had rights to that land”).

[¶25] Many Sioux believe that the land lying between the Cannonball and Heart Rivers was never

ceded. See, e.g., DX 4217 at 7-8; Tr. 2584:9-19 (Day 16; Greenwald); ECF No. 404-3, Dep. Tr.

11:8-12 (Estes); see also DX 4256 (at video timestamp 18:29-18:40, a leader of a protest camp on

State and private land north of the Cannonball River says that, following the 1851 treaty, “this is

still Oceti Sakowin land that we’re camped on”). As a result, many believe that the Corps does not

have the right to say who belongs on this land. See ECF No. 404-3, Dep. Tr. 23:17-25 (Estes).

[¶26] The DAPL pipeline crosses the area between the Cannonball and Heart Rivers, and many

Sioux and supporters believed that the pipeline route trespassed on unceded Sioux land. DX 4217

at i, 1-4; ECF No. 404-3, Dep. Tr. 22:1-6 (Estes) (testifying that it is common knowledge that the

area where the protest camps were on Corps land was unceded treaty territory belonging to the

Sioux); Tr. 2508:24-2509:8 (Day 16; LaDuke) (testifying that she understood that where she

camped in the Main Camp was Lakota Land); Tr. 2421:16-19 (Day 15: Iron Eyes) (testifying that

in his mind, when one crosses to the south of the Heart River, one is in the Sioux Nation); JX 266

(presentation by Sheriff Kirchmeier about the protests noting that “[t]he Standing Rock Sioux saw

DAPL as an encroachment on their treaty lands, and believed they had rights to that land”).

Significant portions of the DAPL protests took place in this disputed area. DX 4217 at 8.

[¶27] DAPL protestors and their supporters connected the DAPL pipeline route to other historical

trespasses on Native American land, including the Pick-Sloan takings and the taking of the Black

Hills. Id. at 1-3, 12-15, 20-23.




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[¶28] Additionally, the Sioux and other Native American Tribes have a long history of contesting

perceived incursions into their territory by the government. See DX 4217 at 1-5, 24-29; see also

DX 4053 at USACE_00068809-USACE_00068810 (Chairman Archambault said at the outset of

the protests that the protests were important for the Sioux Nation, and that their significance went

beyond the present encampment).

           B. The Lake Oahe Project

[¶29] The Lake Oahe project was authorized by the Flood Control Act of 1944, with construction

of the Oahe Dam on the Missouri River beginning in 1948. See DX 4004 at USA_00000125. Lake

Oahe extends roughly 231 miles from its southern tip at the Oahe Dam six miles north of Pierre,

South Dakota to its northern tip near Bismarck, North Dakota. See id.

[¶30] The Corps’s Lake Oahe project provides for flood control, navigation, water supply,

hydropower generation, recreation, fish and wildlife, and other purposes designated by Congress.

Tr. 1899:2-10 (Day 12; Spellmon); DX 4004 at USA_00000126-USA_00000130.

[¶31] The Corps does not have a commercial interest in the Lake Oahe project property. See DX

4004 at USA_00000124-USA_00000130 (describing the establishment of the Lake Oahe project

as part of the Flood Control Act of 1944 and the Corps’s authorized purposes in operating the

project); see also Tr. 1149:20-24 (Day 7; Henderson) (testifying that the Corps was not engaged in

any type of commercial activity on the land at the time of the protests that might suggest people

would be drawn to protest there).

[¶32] The Lake Oahe project lies within the Corps’s Omaha District. See DX 4004; Tr. 1031:22-

1032:8 (Day 7, Henderson). During the time of the DAPL protests, the Omaha District Commander

was COL John Henderson. See Tr. 1024:21-1025:2, 1031:22-1032:1 (Day 7; Henderson).




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[¶33] COL Henderson was responsible for day-to-day decision making regarding the protests,

including whether to grant any permits for protestors to use Corps lands and public statements about

such permits. Tr. 1029:11-14, 1155:2-11 (Day 7; Henderson); Tr. 1376:10-16, 1378:5-12 (Day 8;

Jackson).

[¶34] COL Henderson is a 23-year U.S. Army veteran. Tr. 1023:24-1024:1 (Day 7; Henderson).

He served with the Corps in a variety of capacities, including a tour of duty in Iraq in 2004 to

reconstruct the areas around Baghdad, Fallujah, Abu Ghraib, Taji, Ramadi, and Baqubah as that

country experienced a violent insurgency. Id. at 1143:14-18. In addition to his years with the

Corps, he served as an officer in the Army, including as a platoon leader in the Demilitarized Zone

(DMZ) in South Korea and as the leader of an 800-soldier construction battalion in Afghanistan.

Id. at 1024:7-20. Throughout his military career, COL Henderson received three Bronze Star

Medals for extraordinary service in combat, as well as a Legion of Merit, a Combat Action Badge,

seven Meritorious Service Medals, a Humanitarian Service Badge, and other commendations and

awards. Id. at 1143:19-1144:5. After he left the Corps, COL Henderson was appointed by President

Trump as Assistant Secretary of the Air Force. Id. at 1145:11-15.

[¶35] As the Corps’s Omaha District Commander, COL Henderson reported to the Corps’s

Northwestern Division Commander, who, at the time of the protests, was Brigadier General (now

Lieutenant General) Scott Spellmon. Tr. 1025:3-7, 12-17 (Day 7; Henderson); Tr. 1898:13-16,

1899:18-23 (Day 12; Spellmon). (LTG Spellmon is now the Chief of Engineers and has served in

that position for almost four years. Tr. 1897:9-12 (Day 12; Spellmon).)

[¶36] At the time of the DAPL protests, just two Corps park rangers were assigned to the Lake

Oahe project area. See Tr. 1098:16-18 (Day 7; Henderson).




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           C. Political Geography and Jurisdiction in the Area

[¶37] The land north of the Cannonball River and west of the Missouri River sits within Morton

County. DX 4004 at USA 00000128; JX 13 at ND_000253225. The land south of the Cannonball

River and west of the Missouri River sits within Sioux County. DX 4004 at USA 00000128; JX 13

at ND_000253225. Sioux County is coextensive with the portion of the Standing Rock Indian

Reservation that sits within North Dakota. DX 4004 at USA 00000128. (The reservation also

extends into South Dakota. Id.) That is, the Cannonball River forms the northern border of the

Standing Rock Indian Reservation, and the land south of the Cannonball is part of the Reservation.

See Tr. 1286:6-17 (Day 8; Henderson); Tr. 1552:6-10 (Day 9; Van Horn); Tr. 2604:5-7 (Day 16;

Cruzan); JX 87 at MYERS_00000033.

[¶38] Highway 1806 runs north-south through Sioux and Morton Counties. See JX 87 at

MYERS_00000033; JX 265 at ND_000204145-ND_000204146. It crosses Cantapeta Creek, a

northern tributary of the Cannonball River, via the Backwater Bridge.              See JX 265 at

ND_000204146; JX 129 at USACE_00023974; JX 13 at ND_000253225; Tr. 452:21-23 (Day 3;

Kirchmeier).

[¶39] In Morton County, the Morton County Sheriff’s Office has law enforcement jurisdiction.

See Tr. 426:1-11 (Day 3; Kirchmeier). This jurisdiction includes the authority to enforce state and

local laws on Corps land. See 42 U.S.C. § 3112(a), (c); 36 C.F.R. § 327.26; ECF No. 6-2, ER 1130-

2-550 § 6-2(c); JX 204 at USACE_00009350-USACE_00009351 (email from COL Henderson

discussing the Corps’s “proprietary jurisdiction” and explaining “this means that Morton County

has jurisdiction to conduct law enforcement activities on Corps land (to include inside of the camps)

when enforcing State and local laws . . . . Therefore, they do not need to ask permission to come

on to public lands to enforce local laws. This has always been the case”).




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[¶40] On the Standing Rock Indian Reservation, the Bureau of Indian Affairs (BIA) has law

enforcement jurisdiction. The BIA has law enforcement jurisdiction over tribal land, but not on

land outside the Reservation. Tr. 2602:4-8, 2603:7-11 (Day 16; Cruzan). Because the Cannonball

River marks the northern border of the Standing Rock Indian Reservation, the BIA has no

jurisdiction north of the Cannonball. Id. at 2604:5-14; see Tr. 74:21-22 (Day 1; Schulz) (the

Cannonball River is the jurisdictional boundary between Standing Rock and Morton County).

Further, the BIA cannot assign its law enforcement personnel to areas off of the Reservation. Tr.

at 2666:19-21, 2669:8-9 (Day 16; Cruzan). The parties presented no evidence of any cross-

deputization agreement between the BIA and Morton County. See id. at 2688:11-2689:8, 2693:22-

2694:1; see also Tr. 1180:4-9 (Day 7; Henderson) (testifying that BIA law enforcement “eventually

agreed to help out with [non-tribal] areas south of the Cannonball River,” but there was never any

agreement in place for BIA to police Corps land to the north of the Cannonball River).

           D. Locations of DAPL Protest Camps

[¶41] From late summer 2016 through early 2017, several different encampments of individuals

protesting the DAPL pipeline were established in areas north and south of the Cannonball River, to

the west of the Missouri River, in North Dakota. Those encampments included the following:

           a. The Sacred Stone camp (initially known as the Spirit Camp), located primarily on

              non-Corps land that was part of the Standing Rock Indian Reservation south of the

              Cannonball River, though a small sliver of the camp eventually spilled over onto

              Corps-managed land south of the River. DX 4053 at USACE_00068809; Tr.

              140:18-20 (Day 1; Schulz); 1491:17-25 (Day 9; Van Horn); JX 266-N at slides 9-

              10, 26.




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         b. The Oceti Sakowin Camp (also known as the Main Camp, the Seven Councils

               Camp, or the Seven Council Fires Camp), located on Corps-managed land to the

               north of the Cannonball River. Tr. 2604:19-2605:2 (Day 16; Cruzan); Tr. 1514:2-5

               (Day 9; Van Horn); JX 266-N at slides 9-10, 26. This came to be the largest of the

               various protest encampments in the area. See Tr. 1482:11-17 (Day 9; Van Horn).

         c. The Rosebud Camp, located on Corps-managed land south of the Cannonball River.

               Tr. 2604:19-2605:2 (Day 16; Cruzan); JX 266-N at slides 9-10.

         d. The North Camp (also known as the 1851 Treaty Camp), located off of Corps land,

               approximately one to two miles to the north of the Main Camp near the pipeline

               crossing point, and which sat partially on private land at the Cannonball Ranch and

               partially on State-owned land in the right-of-way of Highway 1806. Tr. 2436:11-14

               (Day 15; Iron Eyes); Tr. 312:2-3 (Day 2; Johnson); Tr. 159:5-17 (Day 1; Schulz);

               Tr. 1488:7-12, 1513:24-1514:1, 1514:6-20, 1515:24-1516:4 (Day 9; Van Horn); DX

               4091 at MYERS_00042040.

         e. The Black Hoop, Cordova, and a number of other camps located on Reservation

               land south of the Cannonball River. Tr. 1524:10-15 (Day 9; Van Horn); Tr. 2604:20-

               2605:2 (Day 16; Cruzan); JX 266-N at slide 10.

[¶42] The following maps depict the geographical location of the various DAPL protest

encampments.




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       a. Demonstrative map 1:




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       b. Map 2, from JX 266-N, slide 9:




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           c. Map 3, from DX 4091 at MYERS_00042040:




   III.    The Corps’s Processes for Permitting Use of Its Land

[¶43] The primary way the public makes requests to hold events on Corps land is through the

Special Use Permit process. See Tr. 1153:13-19 (Day 7; Henderson). When a member of the public

makes such a request, the Secretary of the Army (or those to whom he or she delegates authority)

“may issue special permits for uses such as group activities, recreation events, . . . and such other

specialized recreation uses as the Secretary determines to be appropriate, subject to such terms and

conditions as the Secretary determines to be in the best interest of the Federal Government.” 33

U.S.C. § 2328a(a)(1); see also 16 U.S.C. § 460d (the Secretary can also issue and enforce

regulations and rules concerning Corps-managed property, within the limits set by Congress, and

the Corps Chief of Engineers can exercise and delegate authority to enforce those rules and



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regulations); 36 C.F.R. § 327.25 (Corps District Commanders can further delegate authority to issue

citations for violations of Corps regulations).

[¶44] The regulations governing the public use of land around Corps-managed water resource

projects are found at 36 C.F.R. Part 327. These regulations direct Corps officials to manage water

resource projects consistent with the public interest, and they delegate significant authority and

discretion to the District Commander who oversees a particular project to make decisions about use

of the land. For example, Section 327.1(a) outlines the policy behind the Corps’s management of

water resource projects: “It is the policy of the Secretary of the Army, acting through the Chief of

Engineers, to manage the natural, cultural and developed resources of each project in the public

interest, providing the public with safe and healthful recreational opportunities while protecting and

enhancing these resources.”        Section 327.7 applies to camping, providing, inter alia, that

“[c]amping is permitted only at sites and/or areas designated by the District Commander,”

“[c]amping at one or more campsites at any one water resource project for a period longer than 14

days during any 30-consecutive-day period is prohibited without the written permission of the

District Commander,” and “the digging or leveling of ground or the construction of any structure

without written permission of the District Commander is prohibited.” Section 327.12 provides that

“The District Commander may close or restrict the use of a project or portion of a project when

necessitated by reason of public health, public safety, maintenance, resource protection or other

reasons in the public interest.”

[¶45] The Corps’s implementing guidance for Special Use Permits are outlined in Corps

Engineering Regulations (“ER”) 1130-2-550 (Nov. 15, 1996 (as updated)), ECF No. 6-2;

Engineering Circular (“EC”) 1130-2-550 (Nov. 30, 2015), ECF No. 8; and Engineering Pamphlet

(“EP”) 1130-2-550 (Nov. 15, 1996 (as updated)); ECF No. 6-3.




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[¶46] The purpose of a Special Use Permit is multifold. It clarifies the intended use of the land,

and it ensures accountability and liability for the members of the public who are using the land. Tr.

1153:20-1154:13 (Day 7; Henderson).

[¶47] The decision whether to grant a Special Use Permit is within the discretion of Corps

officials. Id. at 1036:8-12; Tr. 1467:6-15 (Day 9; Kruger). There is no rule or guidance directing

when a Corps official must grant a Special Use Permit. See Tr. 1469:18-20 (Day 9; Kruger); cf.,

e.g., ECF No. 8, EC 1130-2-550 Appendix E § E-1 (“Consideration will be given to allowing

special events on Federal lands and waters managed by the USACE on a first-come, first-serve

basis. Special Use Permits may be issued to authorize special events . . . .” (emphases added).

[¶48] The Corps has the authority to attach certain conditions to a grant of a Special Use Permit.

What conditions are included generally depends on the circumstances of the event. Id. at 1469:24-

1470:5.

[¶49] The Corps’s implementing guidance includes a number of provisions to limit the United

States’ liability for events held on Corps land, including conditions that may be placed on events

on Corps land. See ECF No. 8, EC 1130-2-550 Appendix E § E-6. As to liability insurance, Section

E-6(c) states that the Corps “Operations Project Manager will determine if a proposed event

requires liability insurance.” Id.; see id. § E-6(c)(4) (“Liability insurance may be required at any

event, at the discretion of the Operations Project Manager, when there is an increased possibility

for an accident or the activity has a high potential for involving other lake visitors.” (emphasis

added)). The guidance further states:

       [l]iability insurance for events such as religious ceremonies, social ceremonies
       (weddings, etc), club fishing tournaments or family reunions that involve less than
       50 participants, may be required at the discretion of the Operations Project Manager.
       For the above listed events, when the expected group is over 50 participants, liability
       insurance, obtained by the event holder, that names the United States Government




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       as an additional insured in the minimum amount of $1,000,000 for each event is
       mandatory.

Id. § E-6(c)(1) (emphases added). The Standing Rock Sioux Tribe’s gathering on Corps land did

not fall into any of the specifically listed events over 50 participants for which liability insurance is

mandatory; therefore, the discretion whether to require such insurance remained with Corps

officials. See id. §§ E-6(c), E-6(c)(4). As to a performance bond, the guidance provides that “a

performance bond may be required, prior to the event, to cover maintenance, damage and restoration

costs for government resources and facilities. Performance bonds may be required for events

conducted by non-profit organizations, if warranted.” Id. § E-6(a) (emphases added). There is no

indication in the guidance—or from the evidence presented at trial—that either liability insurance

or a performance bond in connection with the protests would have accrued to the benefit of the

State or permitted the State to seek its law-enforcement costs from the Corps.

[¶50] If a Special Use Permit includes a requirement for insurance or performance bond, and the

applicant does not timely provide proof those conditions have been met, Corps officials have the

discretion to deny the permit. See id. § E-9(i) (“The Operations Project Manager has the authority

to deny an event” if the applicant refuses to agree to the permit conditions or fails to provide proof

of any required insurance or a performance bond (emphasis added)).

[¶51] A Special Use Permit-holder’s failure to perform the terms and conditions of a permit may

result in the permit being voided. Tr. 1443:3-6 (Day 9; Kruger); see 36 C.F.R. § 327.21(b) (“The

District Commander shall have authority to revoke permission, require removal of any equipment,

and require restoration of an area to pre-event condition, upon failure of the sponsor to comply with

terms and conditions of the permit/permission or the regulations in this part 327.” (emphasis

added)).




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[¶52] The process of securing a Special Use Permit often requires significant back-and-forth

communications between the applicant and Corps officials, regarding the applicable rules and

regulations, the means the permitholder will use to ensure compliance with those rules and

regulations, and the purpose of the proposed event. See Tr. 1469:4-10 (Day 9; Kruger).

[¶53] Members of the public who want to use Corps land for activities that would ordinarily

require a Special Use Permit often fail to secure a Special Use Permit beforehand. See id. at 1468:1-

23; Tr. 1905:10-15, 1983: 23-1984:5, 2024:16-24 (Day 12; Spellmon).

[¶54] When members of the public enter Corps land without authorization, Corps officials

respond to the unauthorized use by exercising their best judgment and employing the tools at their

disposal. See Tr. 1464:20-1465:5, 1467:16-1468:17 (Day 9; Kruger). Sometimes the Corps will

notify state or local law enforcement about an unauthorized use of its land, but often (particularly

in rural areas), law enforcement is the first to know about such a situation and are the ones who

reach out to the Corps with that information. Id. at 1471:2-19 (discussing an instance when Kansas

state law enforcement became aware that Corps land at Melvern Lake was being used for an illegal

marijuana grow operation; law enforcement monitored the situation and only informed the Corps

of the issue the day before they planned to make arrests). Input from law enforcement is a “primary

factor” in considering the potential options the Corps has to respond to a problem on Corps land.

Id. at 1472:17-22.

[¶55] The decision whether to grant a Special Use Permit is often made by the local Operations

Project Manager, but it can be elevated to the District Commander level. See Tr. 1458:7-24 (Day

9; Kruger) (using the acronym “OPM” to refer to Operations Project Manager). In the case of the

DAPL protests, then-Omaha District Commander COL Henderson retained the decision-making

authority on the Standing Rock Sioux Tribe’s application for a Special Use Permit and was the




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ultimate decision-maker on it and the press release that accompanied its issuance. Tr. 1036:22-25,

1215:9-14 (Day 7; Henderson); Tr. 1378:11-12, 1418:19-1420:7 (Day 8; Jackson); Tr. 1376:10-16,

1378:5-12 (Day 8; Jackson); ECF 405-5, Dep. Tr. 85:7-10; (Gipe); see JX 65 at USACE_00011547

(August 17, 2016, email from COL Henderson to his team stating that “I am retaining the authority

to make any decision on special use permits (if we receive an application for one) based on life,

health, and safety concerns and on available information about potential extremist group

involvement at these camps”).

[¶56] Corps officials are never required to seek removal of people on its land for not complying

with the terms of a Special Use Permit. Tr. 1470:13-16 (Day 9; Kruger).

[¶57] The Special Use Permit Process is not the only way in which a District Commander may

permit people to be on Corps land. Corps guidance recognizes that Corps officials have authority

and discretion to use “alternative management techniques” in connection with people using its land.

Tr. 1447:7-13, 1465:12-1466:18 (Day 9; Kruger); see ECF No. 6-3, EP 1130-2-550 § 6-3(j) (“There

are many alternative management techniques in addition to the issuance of citations that should be

considered . . . .”); ECF No. 6-3, EP 1130-2-550 Appendix G (providing a list of such alternative

management techniques); see also Tr. 1468:5-23 (Day 9; Kruger) (groups of people will often show

up to hold events on Corps-managed land, and Corps officials’ approach is generally to work with

them to accommodate their use of the land while specifying conditions for that use). Alternative

management techniques may include creating overflow space for gatherings of the public,

separating different types of users of Corps land, or establishing areas for special uses. ECF No. 6-

3, EP 1130-2-550 Appendix G; Tr. 1465:15-1466:3 (Day 9; Kruger) (testifying about an instance

where there were large crowds at a campground that were creating a hazard, so Corps officials

established an overflow zone out of the campground on another area); id. at 1466:4-18, 1468:20-




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21 (testifying about an instance where a wedding party of 150 people were relocated to a different

area on Corps land so the wedding could continue without bothering other campers).

[¶58] The District Commander also has the discretion to permit people to be on Corps land without

a formal Special Use Permit. Tr. 1148:17-20, 1154:17-21 (Day 7; Henderson); see also ECF No.

6-3, EC 1130-2-550 Appendix E § E-1 (“Special Use Permits may be issued to authorize special

events such as water carnivals, fishing tournaments, boat regattas, music festivals, dramatic

presentations and other special programs or activities.” (emphasis added)). The Corps regularly

uses its discretion to allow individuals on its lands around the country, such as to host events for

the public, without requiring the participants to have a permit. See, e.g., Carlyle Lake Summer

Series, U.S. Army Corps of Engineers (last visited August 2, 2024), available at

https://www.mvs.usace.army.mil/Missions/Recreation/Carlyle-Lake/Events/Leisure-Summer-

Series/; News Release: Coralville Lake to Host Halloween Haunted Trail Event, U.S. Army Corps

of Engineers (Oct. 23, 2018), available at https://www.mvr.usace.army.mil/Media/News-

Releases/Article/1670109/coralville-lake-to-host-halloween-haunted-trail-event/.

[¶59] The District Commander has the authority to close Corps land as necessary for public health

and safety, resource protection, or other reasons in the public interest. 36 C.F.R. § 327.12(a); Tr.

1148:10-13 (Day 7; Henderson). But the Corps’s rules and regulations do not require the District

Commander to refuse public access to Corps-managed land at any time. See 36 C.F.R. § 327.12(a)

(“The District Commander may close or restrict the use of a project or portion of a project . . . .”

(emphasis added)); Tr. 1148:21-25 (Day 7; Henderson) (as District Commander, COL Henderson

was vested with the authority to close Corps-managed land).

[¶60] Providing a “free speech zone” for protestors on Corps land could be considered an

“alternative management technique” under the Corps’s guidance, and it is within the District




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Commander’s authority to permit people to be on Corps land via a free speech zone. Id. at 1447:7-

13; see Tr. 1423:11-1424:16 (Day 8; Jackson); Tr. 2010:7-2011:5 (Day 12; Spellmon).

   IV.     The Dakota Access Pipeline and the Standing Rock Sioux Tribe Litigation

[¶61] The Dakota Access Pipeline is a nearly 1,200-mile-long, domestic oil pipeline that is

designed to move over a half-million gallons of crude oil per day. JX 10 at ND_000137422;

Standing Rock Sioux Tribe et al. v. U.S. Army Corps of Engineers et al., 205 F. Supp. 3d 4, 7

(D.D.C. 2016). It runs through four states, originating in North Dakota, crossing South Dakota and

Iowa, and ending in Illinois. See JX 10 at ND_000137422; JX 13 at ND_000253223; Standing

Rock Sioux Tribe, 205 F. Supp. 3d at 7.

[¶62] The pipeline route crosses under Lake Oahe, through Corps-managed land. JX 9 at

ND_000135616. Its route also crosses Highway 1806 in Morton County, north of Corps land and

west of Lake Oahe. See JX 87 at MYERS_00000033. The pipeline route does not cross Standing

Rock Indian Reservation land, but it runs within a half-mile of the Reservation. Standing Rock

Sioux Tribe, 205 F. Supp. 3d at 7; see JX 13 at ND_000253224.

[¶63] Corps permission under the Rivers and Harbors Act of 1899 was required for the

construction of the portion of the pipeline below Lake Oahe, as well as a real estate easement for

the pipeline to cross Corps land under the Mineral Leasing Act. See Tr. 1032:14-1033:4 (Day 7;

Henderson); Tr. 1600:15-19 (Day 9; Futch); 33 U.S.C. §§ 403, 408; 30 U.S.C. § 185; Standing

Rock Sioux Tribe, 205 F. Supp.3d at 7. The regulatory decision for the permits and easement fell

within the Corps’s Civil Works authority, as delegated by the Corps Chief of Engineers. Tr. 1026:5-

12 (Day 7; Henderson). However, the ultimate decision on whether to grant the pipeline easement

rested with the Assistant Secretary of the Army for Civil Works. ECF No. 405-2, Dep Tr. 18:6-9

(Darcy).




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[¶64] Between 2014 and mid-2016, the Corps had (or sought to have) multiple consultations with

Standing Rock Sioux tribal leadership regarding the pipeline. See Standing Rock Sioux Tribe, 205

F. Supp. 3d at 14-24.

[¶65] On December 8, 2015, the Corps issued a draft Environmental Assessment for the proposed

pipeline crossing at Lake Oahe. See Standing Rock Sioux Tribe, 205 F. Supp. 3d at 20. On July

25, 2016, the Corps issued a final Environmental Assessment and finding of no significant impact

and it granted the Rivers and Harbors Act permission. See id. at 24.

[¶66] COL Henderson approved the necessary permits for the DAPL pipeline crossing on July 25,

2016. Tr. 1032:14-1033:4, 1158:20-24 (Day 7; Henderson).

[¶67] Once COL Henderson had approved the permits for the pipeline crossing, the next step was

congressional notification of the Corps’s intent to issue an easement for the pipeline to cross Lake

Oahe. See Tr. 1032:20-1033:4, 1034:8-12 (Day 7; Henderson); 30 U.S.C. § 185(w)(2). For larger

oil pipelines like DAPL, this step was done through the Assistant Secretary of the Army for Civil

Works. See Tr. 1034:8-12 (Day 7; Henderson).

[¶68] Approximately a month to six weeks after COL Henderson’s approval of the permits, he

received a letter from Jo Ellen Darcy, who was then the Assistant Secretary of the Army for Civil

Works. ECF No. 405-2, Dep Tr. 17:8-11 (Darcy); Tr. 1035:6-10 (Day 7; Henderson). The letter

stated that COL Henderson’s environmental analysis supporting the easement recommendation

would be reviewed further. See Tr. 1035:6-10 (Day 7; Henderson). At that point, COL Henderson

and other Corps officials did not have any control over the granting of an easement for the pipeline

to cross Lake Oahe. See Tr. 1262:25-1263:6 (Day 8; Henderson).

[¶69] Meanwhile, shortly after COL Henderson approved the permits for the pipeline in July 2016,

the Standing Rock Sioux Tribe filed a lawsuit in the U.S. District Court for the District of Columbia,




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challenging the approval. See Complaint, Standing Rock Sioux Tribe et al. v. U.S. Army Corps of

Engineers et al., No. 16-cv-1534, ECF No. 1 (D.D.C.) (filed July 27, 2016).

[¶70] On August 4, 2016, the Standing Rock Sioux Tribe filed a motion for a preliminary

injunction, seeking an order requiring the Corps to withdraw the pipeline authorization. See

Standing Rock Sioux Tribe et al. v. U.S. Army Corps of Engineers et al., No. 16-cv-1534, ECF Nos.

5-6. A hearing on the Tribe’s preliminary injunction motion was held on August 24, 2016. See

Standing Rock Sioux Tribe et al. v. U.S. Army Corps of Engineers et al., No. 16-cv-1534, ECF No.

27 (hearing transcript).

[¶71] On September 9, 2016, the district court issued an order denying the Tribe’s preliminary

injunction motion. Standing Rock Sioux Tribe, 205 F. Supp. 3d 4.

[¶72] The Tribe appealed to the U.S. Court of Appeals for the D.C. Circuit, which initially entered

an administrative injunction pending its consideration of the Tribe’s emergency motion for

inunction pending appeal. See Per Curiam Order, Standing Rock Sioux Tribe et al. v. U.S. Army

Corps of Engineers et al., No. 16-5259 (D.C. Cir. Sept. 16, 2016). On October 9, 2016, the D.C.

Circuit dissolved the administrative injunction and denied the Tribe’s emergency motion. See id.,

Per Curiam Order (entered October 9, 2016).

[¶73] On December 4, 2016, the Assistant Secretary of the Army for Civil Works determined that

the easement for the pipeline to cross under Lake Oahe would not be approved until further review

was completed. See Tr. 1063:7-10 (Day 7; Henderson); Standing Rock Sioux Tribe et al. v. U.S.

Army Corps of Engineers et al., 255 F. Supp. 3d 101, 119 (D.D.C. June 14, 2017).

[¶74] On January 18, 2017, the Department of the Army published a notice of its intent to prepare

an Environmental Impact Statement as to the pipeline. See Notice of Intent to Prepare an




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Environmental Impact Statement in Connection with Dakota Access, LLC’s Request for an

Easement to Cross Lake Oahe, North Dakota, 82 Fed. Reg 5,543-5,544 (Jan. 18, 2017).

[¶75] On January 24, 2017, shortly after he took office, President Trump issued a presidential

memorandum directing the Army to instruct the Corps to act quickly to review and approve the

pipeline easement. See Presidential Documents, Construction of the Dakota Access Pipeline,

Memorandum for the Secretary of the Army, 82 Fed. Reg. 11,129 (presidential memorandum dated

Jan. 24, 2017, originally published in Federal Register Jan. 30, 2017, corrected republication Feb.

17, 2017).

[¶76] The Department of the Army issued a decision to terminate the notice of intent to perform

an Environmental Impact Statement, and on February 8, 2017, the Corps granted the necessary

easement for the pipeline to cross under Corps land at Lake Oahe. See Standing Rock Sioux Tribe,

255 F. Supp. 3d at 120; Notice of Termination of the Intent To Prepare an Environmental Impact

Statement in Connection With Dakota Access, LLC’s Request for an Easement To Cross Lake

Oahe, North Dakota, 82 Fed. Reg. 11,021 (Feb. 17, 2017).

[¶77] Construction of the DAPL pipeline—including the section that passes beneath Lake Oahe—

was concluded in March 2017, and oil began flowing through the pipeline later that year. See Tr.

1616:17-1617:1, 1617:13-15 (Day 9; Futch); Standing Rock Sioux Tribe, 255 F. Supp. 3d at 120.

[¶78] After nearly a year of litigation, the judge in the District of Columbia litigation determined

that the Corps’s analysis that the pipeline would not have a significant impact was lacking in some

respects. See Standing Rock Sioux Tribe, 255 F. Supp. 3d at 112. Ultimately, the court ordered the

Corps to conduct an Environmental Impact Statement. See Standing Rock Sioux Tribe et al. v. U.S.

Army Corps of Engineers et al., 440 F. Supp. 3d 1, 26 (D.D.C. 2020); affirmed, 985 F.3d 1032

(D.C. Cir. 2021).




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[¶79] While the Corps prepares a final Environmental Impact Statement, the DAPL pipeline does

not have a valid easement to cross Corps-managed land beneath Lake Oahe. Tr. 1622:1-4 (Day 9;

Futch); Tr. 2015:4-6 (Day 12; Spellmon). Nonetheless, the DAPL pipeline is currently operational,

and oil is flowing through it beneath Lake Oahe, on Corps land. Tr. 1621:22-25 (Day 9; Futch);

Tr. 2015:7-9 (Day 12; Spellmon). Though the pipeline is technically trespassing on Corps land at

Lake Oahe—inasmuch as it does not have the necessary permission from the Corps to be there—

the Corps has not required Dakota Access to remove the pipeline from its land nor sought assistance

from State or local authorities to do so. Tr. 1622:5-7 (Day 9; Futch); Tr. 2015:10-12 (Day 12;

Spellmon).

   V.        DAPL Protest Events

             A. The Start of the DAPL Protests

[¶80] The first encampment of individuals protesting the DAPL pipeline in the vicinity of Lake

Oahe appeared in late April 2016. DX 4053 at USACE_00068809. This first encampment was

located to the south of the Cannonball River, on land claimed by Standing Rock Sioux member

LaDonna Brave Bull Allard and adjacent Standing Rock Indian Reservation land. See id.; ECF No.

404-6, Dep. Tr. 42:8-18 (Stasch); Tr. 341:6-14 (Day 2; Kirchmeier); Tr. 1557:25-1558:5 (Day 9;

Van Horn). At some point, a portion of this first, small camp crossed into Corps-managed land to

the south of the Cannonball River, though it remained right on the border of Corps and non-Corps

land. Tr. 1038:6-9, 1156:13-23 (Day 7; Henderson).

[¶81] As of May 2016, the camp numbered approximately 12 people, who were there to pray and

show their opposition to the pipeline. DX 4053 at USACE_00068809; see Tr. 1157:6-13 (Day 7;

Henderson) (“Initially they were protesting, first of all, even whether we even had the authority

over the land. They were praying for a good outcome with the consultation. They were protesting



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fossil fuels and oil and a number of those types of things that were going along with the permit.

But essentially they were protesting the Corps’ action, regulatory action, and trying to get a voice

heard on a more continual basis outside of the consultation process.”).

[¶82] The Corps was aware of this first protest encampment as of approximately May 2016. Tr.

1038:4-14, 1156:8-12 (Day 7; Henderson).

[¶83] At the outset, the protests were made up of local tribal members, who were residents of the

Standing Rock Indian Reservation and known to tribal leadership. See Tr. 1157:14-20 (Day 7;

Henderson); Tr. 2439:9-11 (Day 15; Iron Eyes).

[¶84] The DAPL protest camp remained small and peaceful until mid-August 2016. See DX 4053

at USACE_00068809. Witnesses for both sides agreed that, prior to mid-August 2016, the protest

encampment did not seem like anything to worry about. See Tr. 1038:6-14 (Day 7; Henderson)

(the protests started off with a “prayer camp” comprised of a “small, quiet group of people” who

weren’t doing any harm); Tr. 1522:5-9 (Day 9; Van Horn) (testifying the protests were originally

quiet and peaceful until the Standing Rock powwow in late August 2016); Tr. 160:19-161:4 (Day

1; Schulz) (testifying that the protests began as a peaceful exercise of First Amendment rights, and

there were about four months of peaceful protest activity from April to August 2016); Tr. 341:6-

14, 345:5-12 (Day 2; Kirchmeier) (Morton County Sheriff Kyle Kirchmeier learned about the

protest camp in April 2016 and assigned a deputy to monitor it, but did nothing about it until August

10, 2016); Tr. 428:16-429:2 (Day 3; Kirchmeier) (Sheriff Kirchmeier testifying he had no concerns

about the protests from April 2016 to August 10, 2016, and no idea that protests would become

what they did); Tr. 793:15-25 (Day 5; Dalrymple) (the Governor first learned of the protests from

Chairman Archambault in summer 2016, and he did not take any action about the protests at that

time because they did not seem particularly out of the ordinary); see also PX 1253 at 0002 (letter




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from the National Sheriffs’ Association stating that when the protests began earlier in the summer

of 2016, “Sheriff Kirchmeier and other supporting law enforcement agencies willingly obliged the

protesters who wanted to plan peaceful protests”).

[¶85] Early in the protests, the Chairman of the Standing Rock Sioux Tribe, Dave Archambault,

made multiple public calls inviting people to come protest and support the Tribe’s cause. See Tr.

1041:2-6, 1159:5-24 (Day 7; Henderson) (noting that after the Corps approved the permits for the

pipeline in late July 2016, the Tribe started calling for protestors to come and protest that decision

and noting that the Tribe had hired a public relations firm to “incite and foment” protest activity on

social media); Tr. 1519:17-1520:19, 1520:24-1521:3 (Day 9; Van Horn) and PX 1470 at 0007

(noting that Chairman Archambault called for protest help and spoke at the United Nations and that

other Tribes, members of the American Indian Movement, and outside groups all responded as a

result of those calls); Tr. 1522:17-23 (Day 9; Van Horn) (the Chairman’s calls for support got

significant attention). Those calls caused some people to come to the area and participate in protest

activity. See ECF No. 404-3, Dep. Tr. 100:1-9 60:1-11 (Estes) (testifying that he understood his

participation in the protests to be as a guest of the Standing Rock Sioux Tribe); Tr. 545:13-16 (Day

3; Laney) (Chairman Archambault’s call to action caused people to join the protests); Tr. 448:6-9

(Day 3; Kirchmeier) (the Chairman’s invitation was one reason why the protests grew so much

larger); see also Tr. 171:7-19, 171:23-172:1 (Day 1; Schulz) and DX 4174 at ND_000255240

(Schulz stated that the people participating in unlawful protest activity were Chairman

Archambault’s “friends and guests”). State officials believed that, as a result of these calls to join

the protests, Chairman Archambault bore “some level of responsibility . . . for the protest camps

and the actions of those staying there.” JX 144 at ND_000255264-ND_000255265; see Tr. 167:15-

168:1 (Day 1; Schulz).




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[¶86] Initially, the Standing Rock Sioux Tribe had led and promoted the DAPL protests. See, e.g.,

Tr. 166:7-10, 167:15-168:1 (Day 1; Schulz) and JX 144 at ND_000255264-ND_000255265; ECF

No. 422, Dep. Tr. 24:20-24 (Perry). The protests were something the Tribe wanted to own and

sponsor. Tr. 1041:21-1042:1 (Day 7; Henderson). Tribal leaders picked the protest camp site and

took steps to provide for basic needs there, such as water and sanitary facilities. See DX 4053 at

USACE_00068809. The Tribe provided resources within the Main Camp on Corps-managed land

to the north of the Cannonball River as the protests continued into the fall of 2016, including

distributing food, clothing, medicine, and information inside the camp.             See JX 150 at

ARMY_00110827.

[¶87] As more people joined the protests, Chairman Archambault and the Tribe recognized that

they did not have control over the larger group. See ECF No. 422, Dep. Tr. 24:20-24 (Perry) (“The

discussion generally was that the chairman started the protest against the pipeline, and then a lot of

outside people come in—came in, and he did not feel as he was—had any control over . . . the larger

group.”); Tr. 1103:22-1104:1 (Day 7; Henderson) (by October 2016, even by Chairman

Archambault’s own admission, he did not have control over all the different factions in the protest

camp); Tr. 775:13-776:10 (Day 5; Dalrymple) (testifying that his office was in communication with

Chairman Archambault very early on in the protests and continued to coordinate with him as the

protests went on, even as the Chairman acknowledged that “he was no longer in control of the

situation”); Tr. 847:25-848:4 (Day 6; Burgum) (testifying that the Tribe was not in control of the

protest camps by mid-December 2016).

[¶88] It ultimately became difficult, if not impossible, to identify the leaders of the protests. See

Tr. 847:9-24 (Day 6; Burgum) (testifying that Chairman Archambault told the Governor in mid-

December 2016 the Chairman did not know who the leaders of the camp were, but they did not




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involve Standing Rock Sioux Tribe leaders); JX 8 at DOI_00026799 (report from the BIA dated

September 17, 2016, stating that “[i]n recent days, the communication between [law enforcement]

and the camps have become confusing as to who is speaking on behalf of the camps”); Tr. 2626:16-

21, Tr. 2640:7-10, Tr. 2630:22-2631:5 (Day 16; Cruzan) (testifying that BIA law enforcement tried

to find the leaders of the Main Camp to deal with but never did).

[¶89] As the protests continued, protestors spread to and stayed at a variety of locations. See, e.g.,

JX 164 (State-produced vehicle counts and population estimates for various camps). Some

protestors stayed off of Corps land. They stayed in the Sacred Stone Camp and other camps on

Standing Rock Indian Reservation land. Tr. 2604:24-2605:2 (Day 16; Cruzan); DX 4053 at

USACE_00068809; Tr. 140:18-20 (Day 1; Schulz); 1491:17-25 (Day 9; Van Horn); JX 266-N at

slides 9-10, 26. Some protestors also stayed at the tribal-owned Prairie Knights Casino on

Reservation land, using that as a base of operations. Tr. 159:25-160:2 (Day 1; Schulz); Tr. 2613:8-

16 (Day 16; Cruzan) (testifying that Cruzan was at the casino three or four times a week and saw

hundreds and hundreds of protestors there eating, staying there, showering, and resting); Tr. 461:1-

6, 465:19-466:1 (Day 3; Kirchmeier) (testifying that protestors stayed at the casino and used it for

planning protest activities). Protestors also stayed at camps on Corps land, both north and south of

the Cannonball River. See Tr. 2604:20-2605:2 (Day 16; Cruzan); Tr. 1514:2-5 (Day 9; Van Horn);

JX 266-N at slides 9-10, 26. They camped on private property, and in the adjacent right-of-way for

State Highway 1806. Tr. 429:25-430:5 (Day 3; Kirchmeier); Tr. 1513:24-1514:20 (Day 9, Van

Horn); Tr. 1988: 12-22 (Day 12; Spellmon). They stayed at hotels in Bismarck and Mandan. Tr.

159:21-24 (Day 1; Schulz); Tr. 460:24-25 (Day 3; Kirchmeier); Tr. 2512:22-23 (Day 16; LaDuke).

Some stayed with friends and family in the area. Tr. 160:3-5 (Day 1; Schulz). Finally, protestors

who lived locally came from their own homes and communities. See Tr. 2439:3-6, 2440:6-11 (Day




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15; Iron Eyes).

[¶90] Protestors came not just from Corps land, but also from camps off of Corps land, hotels, the

casino, or from the houses of their friends and family to engage in direct protest action. Tr. 160:11-

18 (Day 1; Schulz).

           B. The DAPL Protests Escalate Quickly and Unexpectedly

[¶91] On August 10, 2016, the first law enforcement response to the protests occurred. See Tr.

345:11-20 (Day 2; Kirchmeier). Sheriff Kirchmeier’s office received a call that protestors were

blocking pipeline company surveyors from going onto the private land known as the Cannonball

Ranch to do their survey. See id. at 345:14-346:5. Law enforcement did not arrest any of the

protestors that day. See id. at 346:12-347:8; JX 51 (spreadsheet reflecting arrests throughout the

protests, which does not record any arrests on August 10, 2016). The next day, after protestors

again blocked the pipeline company’s construction activities at the Cannonball Ranch site, law

enforcement made the first arrests of protestors. See Tr. 346:16-347:23 (Day 2; Kirchmeier); JX 9

at ND_000135658. The day after that, August 12, 2016, law enforcement arrested Chairman

Archambault and a Standing Rock Sioux Tribal Council member during another protest at the

pipeline construction site. See JX 9 at ND_000135658; JX 51 (rows 449 and 453).

[¶92] Sheriff Laney estimated that, on August 10, 2016, the first day of law enforcement’s protest

response, there were 30-40 protestors present. See Tr. 504:1-8 (Day 3; Laney). The total number

of arrests from the next day, August 11, 2016, was 13 people. See JX 9 at ND_000135658; JX 51

(arrests spreadsheet, filtered by date for August 11, 2016, reflects 13 arrestees on that date).

[¶93] The State erroneously asserts that the estimate of the total population of the protest camps

was 500-2,000 people as of August 10. See ECF No. 450-1 at 8 ¶ 29. In fact, that estimate was

from two weeks later, on August 24, 2016. See PX 1050 at 0003.




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[¶94] As of mid-August 2016, State officials did not know the protests would grow as large or

last as long as they ultimately did. See Tr. 156:9-12 (Day 1; Schulz); Tr. 428:22-429:2 (Day 3;

Kirchmeier); Tr. 534:5-7 (Day 3; Laney); Tr. 794:5-8, 797:17-798:8 (Day 5; Dalrymple); Tr. 980:2-

18 (Day 6; Dohrmann); ECF No. 404-2, Dep. Tr. 55:1-56:2 (Davis). Sheriff Kirchmeier testified

that, as of August 12, 2016, after he spoke with protestors about giving them the opportunity to

protest while ensuring that legal construction work could continue, “it was all pretty good at that

point.” Tr. 348:9-13 (Day 2; Kirchmeier).

[¶95] On approximately August 15, 2016, the protest encampment spilled over onto Corps-

managed land north of the Cannonball River. See DX 4024 at USACE_00031883 (email from Lake

Oahe Operations Project Manager dated August 15, 2016, stating that “[p]rotestors are setting up

encampments on US Government lands”); JX 266-N at slide 26 (containing aerial images of the

area as of August 16); Tr. 430:19-22 (Day 3; Kirchmeier) (testifying that the Main Camp on Corps

land started on August 15 or 16, five or six days after the first arrests of protestors on August 10);

Tr. 481:17-18 (Day 3; Laney) (testifying that he first saw protestors on Corps-managed land on

August 16).

[¶96] COL Henderson first learned of the protest encampments on Corps land to the north of the

Cannonball River on August 15, 2016. Tr. 1162:3-7 (Day 7; Henderson). That same day or very

soon after, he and his team were in communication with the Morton County Sheriff. See id. at

1174:4-23. They were also in communication with BIA law enforcement at that time. See id. at

1174:23-25. And COL Henderson was in communication with the U.S. Attorney’s Office. See id.

at 1178:6-1180:3; JX 65 at USACE_00011546 (discussing phone calls COL Henderson had with

U.S. Attorney’s Office personnel on and around August 17, 2016).

[¶97] When he first heard that the protests were growing in size and had spilled onto Corps land




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north of the Cannonball River, COL Henderson thought the reports of “thousands” of people

coming from all over the country “may be a little exaggerated.” JX 61 at USACE_00002235; Tr.

1045:11-19 (Day 7; Henderson); see also id. at 1149:11-19. He believed that the protest activity

might increase leading up to a hearing scheduled for August 25, 2016, in the Standing Rock Sioux

Tribe litigation in Washington, D.C., but he thought that it would likely decrease after the court

issued a decision. See JX 68 at USACE_00031828 (email from COL Henderson to BG Spellmon

dated August 18, 2016, stating that he anticipated the protests “will continue to be a problem for

the next week or two (until after the PI hearing)”); PX 1043 at 0002 (email from COL Henderson

to other Corps officials dated August 23, 2016, stating that “[w]e expect the size and intensity of

this protest activity to grow over the next few days leading into the PI hearing scheduled for

25AUG16”); JX 108 at USACE_00058412 (Corps storyboard update stating that “the results of the

injunction determination” in that litigation “will likely impact upcoming activity at the protest/camp

sites”); Tr. 1054:17-22, 1059:24-1060:1, 1168:22-1169:5, 1203:7-12 (Day 7; Henderson)

(discussing COL Henderson’s assessment, based on his discussions with Chairman Archambault,

was that the population of the camps would wane following the injunction decision and the protests

would taper off before the winter). Other Corps officials also did not know the protests would grow

as large or last as long as they ultimately did as of mid-August 2016. See Tr. 1407:10-16 (Day 8;

Jackson); Tr. 1982:17-22 (Day 12; Spellmon).

[¶98] COL Henderson was not alone in his view that protest activity would wane following the

decision in the Standing Rock Sioux Tribe litigation; State and other federal officials also viewed

that decision as a potential turning point. At a meeting on August 23, 2016, involving State and

federal officials and tribal elders as representatives of the protest camps, the group discussed a “four

day period of celebration or mourning” following the court’s decision, after which it was proposed




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the Tribe would stop providing support to the protests. JX 8 at DOI_00026790-DOI_00026791;

see also id. at DOI_00026797 (at another meeting of the same group, on September 9, 2016, a tribal

elder communicated that Chairman Archambault did not agree with ending the Tribe’s support to

the protests after the four-day grace period, feeling instead that the protestors “would leave when

they are ready”).

[¶99] After it was first established on August 15 or 16, 2016, the Main Camp on Corps land north

of the Cannonball River grew extremely rapidly. See Tr. 218:4-13 (Day 2; Gallagher) (testifying

that the Rosebud and Sacred Stone Camps grew somewhat around this time, but it was the Main

Camp on Corps land to the north of the Cannonball River that grew the most). As Sheriff

Kirchmeier put it, that camp “blew up pretty quick.” Tr. 430:23-25 (Day 3; Kirchmeier). On

August 15 at 11:17 AM, the Lake Oahe Operations Project Manager told COL Henderson that “as

many as 300 people from the Pine Ridge Reservation” were on the road to join the protest. DX

4024 at USACE_00031883. Pine Ridge is approximately a five-hour drive to the Corps land in

question. See Tr. 1162:12-14 (Day 7; Henderson). As of late morning that day, the State estimated

the number of people coming from the Pine Ridge Reservation could be “as many as 800

protesters,” with additional protesters en route from the Spirit Lake Reservation “along with

logistical support and bail money.” JX 60. An aerial photo of the Main Camp area from August

16, 2016, shows that there were already dozens of teepees, tents, and vehicles present on the site by

that date. See JX 266-N at slide 26. As of August 18, 2016, the protest encampments numbered

an estimated 1,500 people. See Tr. 1049:9-13 (Day 7; Henderson); JX 68 at USACE_00031828;

see also Tr. 550:22-551:2 (Day 3; Laney) (less than a week after the Main Camp was first

established, it had reached over a thousand people).




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           C. As the Protests Escalated, Law Enforcement Sought to Accommodate the
              Protestors

[¶100] From the start—and even after law enforcement began arresting protestors on August 10—

State and local law officials made clear that they supported the protestors’ exercise of their First

Amendment rights, and they made accommodations for protestors. Early in the protests, State or

local officials closed public roads to allow protestors to march and ride horses from the North Camp

to where the pipeline crossed the highway. See Tr. 161:17-21, 162:17-20 (Day 1; Schulz); JX 13

at ND_000253231; JX 69 at MYERS_00001792. On August 10, Sheriff Kirchmeier told protestors

that they could protest in certain areas that did not block entrances to private property; he wanted

to encourage people to exercise their First Amendment rights so long as it wasn’t interfering with

other people. See Tr. 430:9-18 (Day 3; Kirchmeier). On August 16, Sheriff Kirchmeier gave a

quote to the Bismarck Tribune about options for deescalating the protests, stating that those options

included giving protestors more land and more comfort, room for tents, water, and a dumpster. Id.

at 431:21-433:7. That same day, August 16, Sheriff Kirchmeier attended a meeting with Standing

Rock Sioux Tribe members about how to deescalate tensions, discussing options including offering

more land, comfort, and amenities to the protestors. Id. at 432:2-5433:14. On August 18, 2016,

State officials again closed a public roadway to allow protestors to demonstrate, this time in

Bismarck near the State capitol. See JX 8 at ND_000135659. A set of public-facing talking points

from the State Department of Emergency Services dated August 19, 2016, emphasized that “[t]here

are constitutional rights to assemble to protest. Law enforcement is here to enable and support

those rights.” JX 69 at MYERS_00001793. From approximately August 19-22, 2016, the North

Dakota Department of Health provided assets on-site at the protest encampment on Corps land to

the north of the Cannonball River, including a first aid station and potable water. JX 9 at

ND_000135659; JX 69 at MYERS_00001792; see Tr. 819:6-9 (Day 5; Dalrymple); Tr. 981:10-


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982:2 (Day 6; Dohrmann). Those assets were removed after the camps “grew rather rapidly” and

“resources . . . were really not an issue.” Tr. 1017:22-1018:2 (Day 7; Dohrmann).

[¶101] Sheriff Kirchmeier thought it was a good idea to give protestors more space as a matter of

public safety, and he discussed with protestors potential areas that could be provided for their use,

including the Cannonball Ranch area. Tr. 433:21-434:9, 434:15-17 (Day 3; Kirchmeier) (testifying

that it was only when protestors moved off public property or into the roadway that they became a

problem). North Dakota Indian Affairs Commission Executive Director Scott Davis opined that a

free speech zone can be a helpful tool to limit the spread of protest to a more dangerous area, such

as a highway, and that creating a safe space for protestors to go can help reduce clashes with law

enforcement. See ECF No. 404-2, Dep Tr. 114:17-21, 116:22-117:19 (Davis). In fact, on August

11, 2016, law enforcement provided protestors with a place to protest, telling protestors they could

be in the ditch along the highway if they wanted, so long as they were not blocking private property.

Tr. 346:16-347:8 (Day 2; Kirchmeier); see also Tr. 2429:17-2430:2 (Day 15: Iron Eyes) (testifying

that initially, state law enforcement allowed protestors to be in the highway right of way). Other

State officials agreed it was a good idea to give protestors a safe place to exercise their First

Amendment rights. See Tr. 164:7-12 (Day 1; Schulz).

[¶102] In their conversations, law enforcement officials communicated to COL Henderson and his

team that law enforcement was reluctant to take actions that could further incite the protestors or

create a confrontation between the Tribe and law enforcement. Tr. 1175:17-1176:9, 1180:13-

1181:12 (Day 7; Henderson). COL Henderson understood that Morton County Sheriff’s Office

was taking “essentially a containment approach” to the protestors, whereby local law enforcement

would ensure protestors were confined to an area separate from the pipeline workers and law

enforcement and would respond to protest activity outside the camps on a case-by-case basis. Id.




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at 1176:10-1177:1, 1203:23-1204:6; see JX 68 at USACE_00031828 (COL Henderson email to

BG Spellmon dated August 18, 2016, reporting that “[l]aw enforcement appears to be taking more

of a containment posture (as opposed to intervening)”); DX 4052 at USACE_00002575 (COL

Henderson email to the Corps’s Deputy Commanding General for Civil and Emergency Operations,

MG Ed Jackson, dated August 26, 2016, noting that “[l]aw enforcement is keeping their distance”

from the protest camps).

[¶103] Officials with the U.S. Attorney’s Office also told COL Henderson that it would not be

worthwhile to issue trespassing citations to protestors on Corps land, because any such citations

would not be enforced or brought to court. Tr. 1179:8-16 (Day 7; Henderson).

[¶104] COL Henderson was aware that the Corps had little to no control over the decisions of

hundreds of people to come to occupy the Corps-managed land north of the Cannonball River in

mid-August. See Tr. 1165:12-19, 1279:10-12 (Days 7-8; Henderson).

[¶105] Informed by his discussions with federal and local law enforcement officials, COL

Henderson decided not to ask law enforcement to remove the individuals camped on Corps land.

See id. at 1181:25-1182:15, 1204:12-16, 1205:8-17. His judgment was that such an approach would

likely be a provocation that could cause injuries or deaths, and therefore it was “essentially not an

option” for him. Id. at 1182:4-15; see id. at 1193:14-1194:23 (explaining the considerations COL

Henderson discussed with law enforcement officials in coming to this decision); see also 1237:16-

20, 1238:16-20 (Day 8; Henderson) (testifying that reports COL Henderson received in early

October 2016 about the presence of weapons in the camp, as well as his own tour of the camp on

October 7, reinforced his decision not to seek forcible removal to avoid a potentially violent

confrontation). Additionally, COL Henderson understood that requesting removal of all the

protestors was “totally unenforceable.” Tr. at 1197:13-25 (Day 7; Henderson).




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           D. State and Local Officials Declare an Emergency, and the State Deploys the
              National Guard

[¶106] On August 15, 2016, the Chairman of the Morton County Commission, Cody Schulz, signed

an Emergency Declaration in connection with the DAPL protests. See JX 59; Tr. 71:17-18 (Day 1;

Schulz). That Emergency Declaration recognized the “civil unrest occurring at the location of the

Dakota Access Pipeline construction site which will require extraordinary manpower and other

resource expenditures.” JX 59.

[¶107] On August 17, 2016, an Emergency Operations Center (“EOC”) was established in the

Morton County Sheriff’s Office. Tr. 72:14-23 (Day 1; Schulz); Tr. 352:18-22 (Day 2; Kirchmeier).

That later became the State EOC, located at Fraine Barracks. Tr. 353:18-23 (Day 2; Kirchmeier).

[¶108] On August 19, 2016, Governor Dalrymple signed an Emergency Declaration in connection

with the DAPL protests. JX 71. The Governor issued that Emergency Declaration because it

became clear “that local law enforcement will not have sufficient resources to deal with” the

emergency situation, so the State declared it would assist with providing resources. Tr. 750:24-

751:7 (Day 5; Dalrymple); see JX 71 at ND_000134182.

[¶109] On September 7, 2016, Governor Dalrymple activated the North Dakota National Guard in

response to the DAPL protest situation. Tr. 777:23-778:1 (Day 5; Dalrymple); JX 104.

[¶110] The decision to activate the National Guard was a difficult one for Governor Dalrymple.

See Tr. 806:24-807:6 (Day 5; Dalrymple). The Governor was concerned about the appearance of

people in military uniforms being mobilized to deal with protestors, and he wanted to be sure the

State was not appearing heavy handed in its response or “messaging the wrong thing to people in

terms of how we’re going to maintain order.” Tr. 778:23-779:1, 807:7-12 (Day 5; Dalrymple). His

successor, Governor Burgum, shared the desire to avoid the “optics that might have come from a[n]

overly heavy-handed sort of military-type operation to sort of march through and, ‘clear the



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camps.’” Tr. 908:22-25, 911:20-23 (Day 6; Burgum). MG Dohrmann was specifically concerned

about the “optics” of deploying military units onto historically tribal land, because of the history of

conflict between the Army and Native American Tribes. Tr. 985:16-986:1 (Day 6; Dohrmann); see

also JX 266 at USA_00001737 (noting that the North Dakota National Guard was originally formed

to respond to the historical Sioux Uprising). He worried that such a deployment could spark

backlash and increase the size of the protest camps. See Tr. 985:16-986:1 (Day 6; Dohrmann). And

Sheriff Laney understood that bringing in the National Guard could send a counterproductive

message or trigger outsize ramifications, particularly given the history between the Standing Rock

Sioux Tribe and the State of North Dakota. See Tr. 540:3-9, 541:2-6 (Day 3; Laney). Their

concerns were well-founded: protestor Chase Iron Eyes testified that the use of the National Guard

in response to the DAPL protests “made [him] think that the Indian Wars had never ended.” Tr.

2434:3-10 (Day 15: Iron Eyes).

[¶111] Ultimately, the National Guard was tasked with maintaining traffic checkpoints and

assisting law enforcement in backfilling other duties. Tr. 778:3-22 (Day 5; Dalrymple); Tr. 930:1-

18 (Day 6; Dohrmann).

[¶112] In his order activating the National Guard, Governor Dalrymple emphasized that “[c]itizens

have the right to peacefully assemble and protest, and those rights need to be protected.” JX 104.

           E. The September 3, 2016, “Dog Bite” Incident and Further Escalation of the
              Protests

[¶113] On September 3, 2016, a clash occurred between protestors and DAPL personnel and private

security at the DAPL construction site on private land, at the entrance to the Cannonball Ranch




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approximately two miles north of the Cannonball River. Tr. 236:25-237:3 (Day 2; Gallagher); Tr.

357:16-17 (Day 2; Kirchmeier); DX 4091 MYERS_00042039-MYERS_00042040.

[¶114] The day before, the Standing Rock Sioux Tribe’s Historic Preservation Officer, Tim Mentz,

had submitted a declaration in the Washington D.C. litigation. See Standing Rock Sioux Tribe, No.

16-cv-1534, ECF No. 29 (filed Sept. 2, 2016). That declaration described a survey of tribal sacred

sites on the land north of the Cannonball River near the pipeline construction route. See id.

[¶115] DAPL protestors believed that, just after this declaration was filed, the pipeline company

moved heavy equipment to the area and started to destroy sacred sites. See Tr. 2442:3-18 (Day 15;

Iron Eyes); see also ECF No. 405-4, Dep. Tr. 27:8-14 (Chairman Archambault conveyed to

Secretary Jewell concerns that the pipeline route would damage sacred sites that were off the

Reservation but in ancestral tribal homelands); Tr. 449:7-14 (Day 3; Kirchmeier) (protestors

believed that the land north of the Cannonball River was unceded tribal land and that sacred sites

on the land would be harmed by the pipeline’s construction). A group of protestors traveled to the

location where the pipeline construction route crossed Highway 1806 and saw DAPL workers doing

construction activity there. Tr. 2442:19-2443:3 (Day 15; Iron Eyes). Some of the protestors crossed

the fence surrounding the construction site, and there was a physical altercation between some

protestors and DAPL workers. Id. at 2443:4-12.

[¶116] The pipeline company had a number of private security personnel on-site, and those private

security contractors quickly deployed attack dogs in response to the protestors. Id. at 2443:13-24;

Tr. 1516:11-19 (Day 9; Van Horn); JX 266-N at slide 29. Some protestors sustained bites from the

dogs. See JX 266-N at slide 29 (embedded video of the encounter, at timestamp 2:46-3:55).

[¶117] Later, an image that was said to show a young child who was bitten by a dog during the

September 3 incident was shared widely on social media. Tr. 1517:2-9 (Day 9; Van Horn); JX 25S.




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In reality, that image had been taken years previously and had no connection with the DAPL

protests. Tr. 1517:2-9 (Day 9; Van Horn).

[¶118] Law enforcement was not present as the September 3 altercation was happening. Tr. 357:

19-22, 358:14-17 (Day 2; Kirchmeier); Tr. 544:3-5 (Day 3; Laney); ECF No. 404-2, Dep. Tr. 102:6-

10 (Davis).

[¶119] The September 3 incident was an inflection point in the protests, and it garnered significant

attention on social media and in the national news media. Tr. 94:18-95:1, 96:1-9 (Day 1; Schulz);

Tr. 1208:6-8 (Day 7; Henderson). Soon after the events of September 3, the protests became more

violent and active, and they attracted much larger numbers of people. Tr. 989:14-18 (Day 6;

Dohrmann); Tr. 1208:2-5, 13-22 (Day 8; Henderson); Tr. 1514:25-1515:3, 1517:10-15, 1569:15-

25 (Day 9; Van Horn); Tr. 2443:25-3 (Day 15; Iron Eyes); DX 4075 at USACE_00177754.

Additionally, the focus of the protests grew to encompass not only the pipeline itself, but concerns

of police brutality and government oppression. Tr. 1208:13-22 (Day 8; Henderson). As a State-

produced presentation about the protests stated, the protests were “forming” from August 10

through September 3, 2016, and while they included “some illegal activity,” they were “rarely

violen[t] and tone was not overtly antagonistic” during that time. JX 13 at ND_000253218. After

September 3, the “violence escalate[d]” and the “social media narrative and false information”

grew. Id.

[¶120] Following the events of September 3, Morton County conducted an investigation into the

pipeline company’s private security contractor’s use of dogs. Tr. 448:14-24 (Day 3; Kirchmeier).

Morton County determined that the private security contractor was not properly licensed to do

security work in the State of North Dakota. Id.; JX 161 at ET-ND-SUBPOENA-00011794.




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Without that license, the contractors should not have been performing security services within the

State. See Tr. 1625:4-7 (Day 9; Futch).

           F. The Joint Statements by the U.S. Departments of Justice, the Interior, and the
              Army

[¶121] On September 9, 2016, the Department of Justice, the Department of the Interior, and the

Department of the Army issued a joint public statement in response to the court’s denial of the

preliminary injunction in the Washington, D.C. litigation. See JX 111.

[¶122] The September 9 joint statement said that the Department of the Army would not authorize

the pipeline’s construction on Corps land at Lake Oahe until it determined whether it was necessary

to reconsider its prior approval decisions. JX 111 at MYERS_00009883.

[¶123] With regard to the DAPL protests, the September 9 joint statement said that “we fully

support the rights of all Americans to assemble and speak freely. We urge everyone involved in

protest or pipeline activities to adhere to the principles of nonviolence. Of course, anyone who

commits violent or destructive acts may face criminal sanctions from federal, tribal, state, or local

authorities.” Id. at MYERS_00009884.

[¶124] The purpose of the September 9 joint statement was to inform the public about the review

of the pipeline’s permitting that the Department of the Army planned to conduct, and to deescalate

tensions and potential escalated violence following the court’s ruling against the Standing Rock

Sioux Tribe. ECF No. 405-3, Dep. Tr. 60:17-61:4, 63:10-64:6, 71:17-72:3 (Hornbuckle).

[¶125] The Corps was not a party to the September 9 joint statement, and Corps officials

responsible for making decisions about the protests were not aware of it in advance and would have

had no decision-making authority over it in any event. Tr. 1061:25-162:4, 1213:10-23 (Day 7;

Henderson); Tr. 1422:9-13 (Day 8; Jackson); Tr. 1912:8-1913:5 (Day 12; Spellmon); ECF No. 413-




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3 at 5 ¶ k. COL Henderson testified the September 9 joint statement came as a “surprise” to him.

Tr. 1062:25-1062:4 (Day 7; Henderson).

[¶126] Approximately a month later, on October 10, 2016, the same three federal agencies issued

a second joint statement, in response to the D.C. Circuit’s order denying the Tribe’s request for an

emergency injunction in the Standing Rock Sioux Tribe litigation. See PX 1216; Per Curiam Order,

Standing Rock Sioux Tribe, No. 16-5259 (D.C. Cir. Oct. 9, 2016).

[¶127] The October 10 joint statement said that the Army continued to review issues raised by the

Tribe, and that in the meantime, the Army would not authorize DAPL’s construction on Corps land

at Lake Oahe. PX 1216.

[¶128] As to the DAPL protests, the October 10 joint statement said that “[w]e continue to respect

the right to peaceful protest and expect people to obey the law.” Id.

[¶129] The October 10 joint statement was intended to inform the public about the D.C. Circuit’s

decision and the Army’s ongoing review. ECF No. 405-3, Dep. Tr. 95:6-20 (Hornbuckle).

[¶130] As with the September 9 joint statement, the Corps was not a party to the October 10 joint

statement, though unlike the September 9 joint statement, COL Henderson was made aware of the

October 10 joint statement shortly before it was publicized.            See Tr. 1288:18-19 (Day 8;

Henderson).

[¶131] There is no evidence that the October 10, 2016, joint statement had any meaningful impact

on the protests. See Tr. 1289:5-12 (Day 8; Henderson) (testifying that the October 10 statement

“was a nonevent” that “really [didn’t] register with us”).

           G. The Standing Rock Sioux Tribe’s Request for a Special Use Permit and the
              Corps’s Response

[¶132] On August 15, 2016, an attorney for the Standing Rock Sioux Tribe approached COL

Henderson’s team about permission for a spiritual encampment on Corps land. DX 4024 at


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USACE_00031883; Tr. 1160:3-17, 1163:3-5 (Day 7; Henderson); ECF No. 404-6, Dep. Tr. 114:6-

16; 116:6-10-16 (Stasch). The attorney told the Lake Oahe Operations Project Manager that the

Tribe wanted “to cover the encampment” including non-tribal members who were coming to

participate in the protest. See DX 4024 at USACE_00031883.

[¶133] COL Henderson believed that it was necessary to engage with the Tribe in good faith

regarding its Special Use Permit request, to honor the Corps’s trust responsibilities to the Tribe. Tr.

1108:16-23, 1165:11 (Day 7; Henderson). COL Henderson’s team and the Tribe engaged in a

good-faith discussions about the Tribe’s request beginning on August 15, 2016, and continuing for

approximately a month. See id. at 1160:24-1161:3, 1166:16-23; DX 4024 at USACE_00031883.

[¶134] In response to the initial outreach from the Tribe’s attorney on August 15, COL Henderson

responded to his team that same day that the Tribe should seek a Special Use Permit. DX 4024 at

DX 4024 at USACE_00031882. COL Henderson’s team told the Tribe that it should seek a Special

Use Permit for the gathering, whereby the Tribe would accept responsibility for the protest

gathering, would bond and insure it, and would clean up any mess that may result from it. Tr.

1160:18-24, 1165:20-1166:2 (Day 7; Henderson); ECF No. 404-6, Dep. Tr. 114:6-16; 116:6-16

(Stasch); see DX 4024 at USACE_00031883. The attorney for the Tribe responded that they would

seek a Special Use Permit. See Tr. at 1160:24-1161:3 (Day 7; Henderson).

[¶135] The Tribe submitted a Special Use Permit application to the Corps on August 18, 2016. See

DX 4043.3 The Corps rejected the Tribe’s first application and explained what would be required

as far as insurance, bonding, and a description of the event. See Tr. 1186:21-1187:4 (Day 7;

Henderson). The Tribe then re-submitted its request for a Special Use Permit. See JX 114 at



3
 The State’s proposed Findings of Fact and Conclusions of Law cites a portion of this exhibit that
was not admitted into evidence. See ECF 450-1 at p. 15 ¶ 63; Tr. 1184:5-1186:9 (Day 7;
Henderson). The Court does not consider that portion of the exhibit in rendering its decision.

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USACE_00014661 (Corps storyboard summary dated September 11, 2016, noting that “Chairman

Archambault again requested a Special Use Permit (SUP) on Friday”); JX 117 at

USACE_00052124 (email among Corps officials, noting that the Tribe had supplemented its

Special Use Permit request on September 2, 2016, with information including a map). The Corps

continued to discuss this re-submitted Special Use Permit application with the Tribe, including how

it related to the changing conditions on the ground with the protests.            See DX 4053 at

USACE_00068809; ECF No. 404-6, Dep. Tr. 141:7-10 (Stasch); Tr. 1166:12-23 (Day 7;

Henderson).

[¶136] At the time the Corps was discussing the Special Use Permit application with the Tribe, the

Tribe had committed to handling sanitary logistics at the camps, including waste disposal. Tr.

1227:24-1228:8 (Day 7; Henderson). COL Henderson understood that in the initial weeks of the

protests, the Tribe was making a good-faith effort to handle these logistics, but those efforts later

failed as the protest camps grew larger. See id. at 1228:16-25.

[¶137] COL Henderson ultimately decided to offer the Standing Rock Sioux Tribe a Special Use

Permit to peacefully protest on Corps land to the south of the Cannonball River, which he did on

September 16, 2016. See JX 129. The offered Special Use Permit explicitly did not include the

area to the north of the Cannonball River, because that area was already leased for grazing. See id.

at USACE_00023969, USACE_00023974; Tr. 1219:11-15 (Day 7; Henderson).

[¶138] The offered Special Use Permit included certain conditions, including that the Tribe must

secure a performance bond in the amount of $100,000 to remediate any damage to Corps property,

as well as insurance of at least $1 million for each occurrence of property damage, $5 million for

personal injuries, or a single-limit policy of $5 million covering all claims per occurrence. JX 129

at USACE_00023969-USACE_00023972. The proposed bond would have accrued to the benefit




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of the Corps, and the proposed insurance would have named the Tribe as the primary insured and

the United States as a secondary insured. See Tr. 1082:2-7 (Day 7; Henderson) (“The Tribe was

going to own the responsibility, the liability, the cost of cleanup, that they were going to bond it,

that they were going to insure it.”); Tr. 1473:2-9 (Kruger; Day 9) (the primary insured would be the

event holder who was taking out the insurance policy); ECF No. 8, EC 1130-2-550 Appendix E

§ E-6(c)(1) (discussing potential for imposing a liability insurance requirement, naming the United

States government as an “additional insured”).

[¶139] COL Henderson’s hope in offering the Tribe the Special Use Permit was that the Tribe

would help facilitate a peaceful move of protestors off the Corps land north of the Cannonball, as

he had been discussing with Chairman Archambault. See Tr. 1219:16-1220:8 (Day 7; Henderson).

[¶140] COL Henderson viewed the Special Use Permit as a way to separate the protestors from the

pipeline workers and to prevent potentially dangerous confrontations between the two. Tr. 1207:6-

11 (Day 7; Henderson). He also intended for it to clarify the Tribe’s responsibility for the protests

that were ongoing, and to emphasize where and what activity was permitted. Id. 1222:1-16; DX

4095 at ARMY_00115852.

[¶141] COL Henderson also thought it was important for the Corps to make a statement to address

widespread public confusion about where protestors could and could not be, what they could and

could not do on Corps land, and whether the Corps was denying protestors’ First Amendment rights.

Tr. 1081:3-1083:22, 1217:11-20, 1223:20-1224:7 (Day 7; Henderson). He further wanted to make

clear that the Standing Rock Sioux Tribe was taking ownership of the protests and the associated

liability and cleanup, as indicated in communications the Corps had with tribal leadership during

the SUP permitting application process. Id. at 1081:21-1082:7, 1082:16-23, 1217:11-20.




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[¶142] On September 16, 2016, the Corps issued a press release regarding the Tribe’s SUP

application. See JX 128. The press release was titled “U.S. Army Corps of Engineers grants Special

Use Permit to Standing Rock Sioux Tribe,” and it stated as follows:

       Today the U.S. Army Corps of Engineers (Corps) issued a Special Use Permit to the
       Standing Rock Sioux Tribe to use Federal lands managed by the Corps near Lake
       Oahe.

       Omaha District Commander, Col. John W. Henderson, informed Standing Rock
       Sioux Tribal Chairman Dave Archambault II, that the Tribe’s Spiritual gathering,
       located south of the Cannonball River, has been granted a Special Use Permit, which
       allows the Tribe to gather to engage in a lawful free speech demonstration on Federal
       lands designated in the permit.

       The Tribe’s Special Use Permit application requested use of lands to the north and
       south of the mouth of the Cannonball River; however, because the northern property
       is subject to an existing grazing lease, this portion of the application is not being
       acted on at this time.

       The Special Use Permit allows the Tribe to use Federal lands subject to Federal rules
       and regulations including Title 36 of the Code of Federal Regulations Part 327, Title
       33 of the United States Code, Section 408, and applicable Federal, state and local
       regulations. Per Title 36, several activities require written permission from the
       District Commander. Additional permission will be required for activities identified
       in Title 36 such as construction, either temporary or permanent, of any structures
       within areas identified in the Special Use Permit.

       “Among our many diverse missions is managing and conserving our natural
       resources. I want to encourage those who are using the permitted area to be good
       stewards and help us to protect these valuable resources,” said Henderson.

       The purpose for requesting and granting a Special Use Permit under Title 36 is to
       provide applicants temporary use of federal lands for lawful purposes. In turn, the
       applicant assumes responsibility for maintenance, damage and restoration costs,
       ensures the health, welfare, safety, supervision, and security of participants and
       spectators, and provides liability insurance. This permit requires that the Standing
       Rock Sioux Tribe work with its supporters to ensure that the land is restored to its
       previous state so that others may benefit from use in the future.

       “Thousands of people have peacefully gathered in prayer and solidarity against the
       Dakota Access Pipeline,” said Dave Archambault II, Chairman of the Standing Rock
       Sioux Tribe. “We appreciate the cooperation of the Corps in protecting the First
       Amendment rights of all water protectors.”




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       “The U.S. Army Corps of Engineers has a deep respect for the traditions, culture,
       and concerns of all Native American Tribes, and we are committed to strengthening
       our enduring partnership with the Standing Rock Sioux Tribe,” said Henderson.

Id.

[¶143] COL Henderson believed it was important that the press release specify that only lawful

protest activity was permitted, because the Corps did not condone unlawful activity. Tr. 1226:22-

24 (Day 7; Henderson). The press release stated that the SUP allowed the Tribe to use the specified

area of Corps-managed land “subject to Federal rules and regulations including Title 36 of Code of

Federal Regulations Part 327, Title 33 of the United States Code, Section 408, and applicable

Federal, state and local regulations.” JX 128.

[¶144] The press release made clear that the permission to gather on Corps land was limited. It

stated that the Tribe’s Special Use Permit application had sought permission to gather on Corps

land to the north and south of the Cannonball River, but the Special Use Permit would not be granted

for Corps land to the north of the river because that area was already subject to an existing grazing

lease. See id. It also stated that written permission from the District Commander would be required

for activities such as construction of structures within the permitted area. See id.

[¶145] The     Corps’s     September      16,    2016,     press    release     statement   that    a

Special Use Permit had been “granted” was inaccurate. The Standing Rock Sioux Tribe did not

fulfill the conditions for the Special Use Permit, and a final, signed Special Use Permit was never

in place. See Tr. 1224:10-11 (Day 7; Henderson); JX 135 at ARMY_00070506-ARMY_00070507.

[¶146] There is no evidence that the Corps’s September 16 press release caused the protests to grow

larger, become more disruptive, or last longer. See Tr. 1234:23-1235:4 (Day 7; Henderson) (the

statement “deflated some of the angst” among protestors, but generally did not have much of an

impact on the protests’ “size or growth or . . . nature”); ECF No. 404-3, Dep. Tr. 58:11-23 (Estes)




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(protestor testifying that the September 16 press release did not cause him to come to the protest

camps and did not have any bearing on anything that was going on for him); Tr. 2516:7-12 (Day

16; LaDuke) (another protest attendee testifying that as for the September 16 press release, she did

not require permission from Corps to go on her own land, and that other protestors felt the same);

Tr. 2445:1-12 (Day 15; Iron Eyes) (testifying that as for the September 16 press release, what the

Corps was doing “wasn’t really relevant to . . . what [the protestors] were doing,” and it did not

make any difference to him in making his decisions about whether to engage in protests); id. at

2445:25-2446:4 (another protestor testifying that based on his participation in and observation of

the protests, he did not observe any impact from the September 16 press release on protests).

Indeed, the State’s expert emphasized that the September 16 press release was not widely viewed

on social media as compared to the September 9 joint statement (which the Corps was not a party

to). See Tr. 2947:25-2949:12 (Day 18; Warner) (testifying that the Corps’s September 16 statement

was only posted 36 times on Facebook; by contrast, the September 9 statement was posted over 500

times and had over 100,000 interactions).

           H. The North Camp and the “Big Push” Operation

[¶147] In mid-August 2016, a camp that came to be known as the North Camp or the 1851 Treaty

Camp formed at the main entrance to the Cannonball Ranch from Highway 1806. Tr. 217:3-19

(Day 2; Gallagher); Tr. 2446:23-2447:3 (Day 15; Iron Eyes); DX 4091 at MYERS_00042040; see

Tr. 201:9-25, 215:15-23, 216:16-24, 217:12-15 (Days 1-2; Gallagher) (Gallagher saw protestors

gathering around the Cannonball Ranch entrances and alongside Highway 1806 on approximately

August 10, 2016); PX 2041 at 0006 (aerial photo Gallagher took on August 10, 2016, which shows

protestors erecting teepee structures at the north entrance to the Cannonball Ranch as of that date);

Tr. 542:23-25 (Day 3; Laney) (testifying that the North Camp was established in the first few days




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of the protests). The purpose of the North Camp, from protestors’ perspective, was to “protect and

pray at the . . . grave sites that were desecrated by DAPL heavy equipment.”               JX 8 at

DOI_00026798. At its inception, the camp numbered 20-30 individuals. JX 8 at DOI_00026804

(noting that the Standing Rock Sioux Tribe and local law enforcement were “concerned” with the

group that set up the North Camp).

[¶148] The North Camp was not on Corps property. See Tr. 474:6-12 (Day 3; Kirchmeier); DX

4091 at MYERS_00042040. It was located on State property, in the right-of way ditch adjacent to

Highway 1806, for several weeks.           Tr. 474:6-12 (Day 3; Kirchmeier); DX 4091 at

MYERS_00042039-MYERS_00042040; see JX 8 at DOI_00026805, DOI_00026807 (as of

September 13, 2016, the North Camp numbered 50-75 people and was located on the shoulder of

the highway). This was the same location that Sheriff Kirchmeier had offered to protestors to gather

on August 11, 2016. See Tr. 347:2-6 (Day 2; Kirchmeier).

[¶149] Eventually, the North Camp shifted slightly, to sit mostly on private property (at the

entrance to the Cannonball Ranch) and partially on State property (the land near the Cannonball

Ranch entrance on highway right-of-way). See Tr. 331:19-24 (Day 2; Johnson); Tr. 372:9-16,

423:1-7, 474:6-12 (Days 2-3; Kirchmeier); Tr. 507:3-5 (Day 3; Laney); Tr. 595:6-8 (Day 3;

Pederson); Tr. 1488:7-12, 1513:24-1514:1, 1514:6-20, 1515:24-1516:4 (Day 9; Van Horn); DX

4091 at MYERS_00042040. The North Camp was located approximately one to two miles north

of the Main Camp.       Tr. 1488:7-9 (Day 9; Van Horn); DX 4091 at MYERS_00042039-

MYERS_00042040.

[¶150] State and local law enforcement were aware that at least some protestors at the North Camp

were breaking the law and were potentially dangerous. See PX 1126 at 0002 (Joint Intelligence

Update from the North Dakota State and Local Intelligence Center and Morton County DAPL




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Intelligence Group dated September 13, 2016, describing a traffic stop of individuals coming from

the North Camp who were found to be carrying marijuana, paraphernalia, and a variety of weapons

including three handguns, an AK-47, three throwing knives, an expandable baton, and multiple

types of ammunition); Tr. 595:11-15 (Day 3; Pederson) (protest activities around the North Camp

had blocked the State highway entirely); ECF No.404-2, Dep. Tr. 107:14-108:21 (Davis) (the North

Camp was the location that was more likely to be violent, or where protesters were more likely to

break the law, because of its proximity to the pipeline construction site); JX 21 (at video timestamp

0:28-0:52, Sheriff Kirchmeier discussing protestors camping on private land and putting up

roadblocks along the highway); see also JX 8 at DOI_00026816 (BIA law enforcement report

discussing that, on September 28, 2016, protestors were observed lining up at the North Camp and

departing toward DAPL construction sites and tearing down concertina wire).

[¶151] Nonetheless, State and local law enforcement did not arrest or forcibly disperse the

protestors at the North Camp. Instead, they met repeatedly with the North Camp’s leaders,

attempting unsuccessfully to convince protestors to move to the Main Camp on Corps land. See,

e.g., JX 8 at DOI_00026804 (on September 10, 2016, local law enforcement and BIA law

enforcement met and agreed law enforcement would continually reach out to the protestors at the

North Camp to tell them the camp on the side of the highway was in violation of State law and ask

them to move to the Main Camp on Corps land); DOI_00026809-DOI_00026811 (discussing a

meeting with MG Dohrmann, COL Gerhart, BIA officials, and protest leaders from the North Camp

on September 19, 2016); id. at DOI_00026811 (Sheriff Kirchmeier had a call with one of the camp

leaders, Mekasi, about the same topic on September 20, 2016; law enforcement had “an agreement

to wait an[d] see if camp leadership can convince north camp to move to main camp on its own”);

see also id. at DOI_00026815 (State police had a meeting with protestors at the North Camp on




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September 24, 2016, about the theft of a no-trespassing sign); id. at DOI_00026817 (MG Dohrmann

and COL Gerhart had a meeting with North Camp leadership on September 29, 2016, facilitated by

an official from the Department of Justice’s Community Relations Service). Local law enforcement

also communicated to leaders of the North Camp that they wanted protestors from that camp to stop

walking in the highway to the construction site, as that necessitated a closure of Highway 1806 that

was disruptive for locals and Tribal commerce. See id. at DOI_00026804.

[¶152] Protestors remained camped at the North Camp through September 2016 and for most of

October 2016. See, e.g., Tr. 1514:21-23 (Day 9; Van Horn) (testifying that Terry Van Horn first

learned about the existence of the North Camp in early September 2016); DX 4091 at

MYERS_00042039 (email from Van Horn dated September 12, 2016, inquiring about including

the North Camp on a map); JX 164 (State-produced spreadsheet with estimated vehicle counts

beginning on October 14, 2016, which includes entries for the North Camp as of that date and

through late October).

[¶153] Prior to September 20, 2016, the private land that part of the North Camp sat on was owned

by an individual named Dave Meyers. Tr. 506:22-24 (Day 3; Laney). On September 20, 2016, Mr.

Meyers sold the land to the pipeline company. Id.; Tr. 1635:9-11 (Day 9; Futch); see JX 9 at

ND_000135663-ND_000135664 (on September 22, 2016, it was announced that a deed

documenting the sale had been recorded).

[¶154] Immediately after the September 20 sale, the pipeline company notified state and local law

enforcement that the protestors on private property at the North Camp were trespassing, and the

company asked that they be removed. Tr. 372: 17-21 (Day 2; Kirchmeier); Tr. 507:6-10 (Day 3;

Laney); Tr. 1635:9-15 (Day 9; Futch). By that point, the camp had grown to include dozens or




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hundreds of people, with structures such as tents, outhouses, and storehouses for provisions. Tr.

1612:1-10 (Day 9; Futch).

[¶155] Over a month later, on October 27, 2016, State and local law enforcement moved the North

Camp protestors south, away from their encampment on private and State land and into the Main

Camp on Corps land north of the Cannonball River. See, e.g., Tr. 178:17-23 (Day 1; Schulz); Tr.

450:15-17, 450:25-451:6 (Day 3; Kirchmeier); 589:15-19 (Day 3; Pederson); Tr. 1544:17-19 (Day

9; Van Horn). That operation came to be known as the “Big Push.” See id.

[¶156] The day before the Big Push operation, October 26, 2016, the North Camp numbered

approximately 300-360 people.       See JX 164 (State-produced vehicle count spreadsheet and

population estimate, at column M, rows 15-20). The State knew that they would need hundreds of

law enforcement officers to move that number of protestors safely. Tr. 507:21-24 (Day 3; Laney).

In the end, the Big Push operation involved 400-500 law enforcement officers, many more law

enforcement officers than the number of protestors present. Tr. 1004:13-19 (Day 7; Dohrmann);

see JX 164 at column M, rows 15-20.

[¶157] State and local law enforcement officials initially hoped that they could convince protestors

to voluntarily move out of the North Camp to Corps land north of the Cannonball River. See Tr.

374:15-23 (Day 2; Kirchmeier); Tr. 515:6-18 (Day 3; Laney). Sheriffs Kirchmeier and Laney and

MG Dohrmann and COL Gerhart met with a leader of the camp named Mekasi on October 26. See

Tr. 374:9-12 (Day 2; Kirchmeier); Tr. 515:6-18 (Day 3; Laney). They “communicated over and

over again that this does not have to be a confrontation” and urged the protestors to go to the Main

Camp on Corps land where State and local law enforcement would not arrest them. Id. In a video

of the conversation, Sheriff Laney can be heard telling Mekasi that protestors could stay at the Main

Camp on Corps land “for a year . . . we don’t care.” DX 4256 (at video timestamp 16:35-17:02).




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[¶158] State and local law enforcement’s efforts to convince the protestors to leave the North Camp

voluntarily were unsuccessful. Law enforcement thus opted to forcibly disperse the protestors from

the North Camp on private property and the State highway right-of-way. See Tr. 595:11-15 (Day

3; Pederson).

[¶159] The purpose of the Big Push operation was not to arrest or remove all the protestors from

the area of the North Camp, but rather to move them. See Tr. 450:15-20 (Day 3; Kirchmeier);

600:15-16 (Day 3; Pederson).

[¶160] Law enforcement formed a line across Highway 1806 and, marching slowly, moved

protestors south down the highway until they reached the Main Camp on Corps land. Tr. 450:24-

451:6 (Day 3; Kirchmeier); Tr. 515:21-517:2 (Day 3; Laney).

[¶161] Throughout the Big Push operation, law enforcement officers repeatedly told protestors that

they were “free to go” and instructed protestors “to walk south to the 7 Council fires camp and they

would not be arrested.” JX 166 at USACE_00005409 (a Morton County press release regarding

the Big Push operation); see also Tr. 619:12-18 (Day 3; Pederson) (officers told protestors to “go

south” to the Main Camp on Corps land as they cleared the North Camp); Tr. 453:16-24 (Day 3;

Kirchmeier) (law enforcement told protestors to go to the Main Camp on Corps land because he

thought that announcement would deescalate tensions and he believed protestors were likely to go

there anyway).

[¶162] It took law enforcement the entire day of October 27, 2016, to move protestors just over

two miles. Tr. 517:1-2 (Day 3; Laney); Tr. 598:6-22 (Day 3; Pederson).

[¶163] In the course of the Big Push operation, a protestor named Red Fawn Fallis fired a gun while

being arrested by law enforcement officers, nearly injuring one of the officers. Tr. 375:13-19 (Day

2; Kirchmeier); JX 167 at ND_000095815. Protestors from the North Camp also threw Molotov




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cocktails and debris at officers. JX 167 at ND_000095815.

[¶164] Completing the Big Push operation stretched law enforcement’s resources to their limit. See

Tr. 507:15-508:3 (Day 3; Laney) (testifying that “[w]e knew we needed hundreds of law

enforcement officers to do this if we were going to do this the right way, to do it safely” and that

law enforcement put out a call to entities around the country to assist with the operation); Tr. 598:6-

22 (Day 3; Pederson) (testifying that law enforcement had planned to split officers into a day and a

night shift during the Big Push, but ultimately “had to use everybody during the day” and still “had

to put out another emergency call to every agency in the state that had already given up resources

for more”). The Governor had invoked the Emergency Management Assistance Compact earlier

in October 2016, to solicit additional law assistance from other states. See Tr. 779:2-15 (Day 5;

Dalrymple). State and local law enforcement needed these additional law enforcement officers to

complete the Big Push operation. Tr. 964:1-14 (Day 6; Dohrmann) (testifying that law enforcement

was “conscious of the fact that we would need significant resources” for the Big Push and that they

needed to execute it while law enforcement from other states were available, before the EMAC

agreements expired). Ultimately, the force used to conduct the Big Push—an operation that did not

fully evict protestors, but simply moved them approximately two miles south to the Main Camp on

Corps land—was the largest that law enforcement deployed at any single time during the entire

period of the protests. Tr. 450:21-24 (Day 3; Kirchmeier); see JX 266 at ND_000253662 (“[I]t

took law enforcement 8 hours to push the protesters 2.18 miles.”).

           I. Faith Spotted Eagle’s Request for a Prayer Ceremony

[¶165] In mid-November 2016, Faith Spotted Eagle—a Yankton Sioux tribal leader and a leader

within the DAPL protests—reached out to the Corps seeking permission to conduct a prayer

ceremony on Corps-managed land near the DAPL drill site. Tr. 1108:24-1109:5, 1109:25-1110:3,




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1132:13-17 (Day 7; Henderson); Tr. 2462:8-14 (Day 15; Iron Eyes); PX 1302. The ceremony

would be attended by a group of tribal elders and spiritual leaders, totaling no more than 30 people.

See PX 1302 at 0001; JX 193 at USACE_00026983.

[¶166] COL Henderson decided to facilitate that request because Ms. Spotted Eagle was working

with a group of peaceful protestors. Tr. 1254:8-16 (Day 8; Henderson). He viewed it as an act of

diplomacy and a means of keeping the trust of tribal members who could potentially assist in

steering the protests toward non-violence. See id.

[¶167] Ms. Spotted Eagle sought a Special Use Permit for this activity, and COL Henderson

communicated with her about completing that form. See PX 1302 at 0001-0002; JX 193. However,

no Special Use Permit was finalized for the prayer ceremony Ms. Spotted Eagle sought to hold.

See Tr. 1110:14-18 (Day 7; Henderson). COL Henderson gave permission for the prayer ceremony

to proceed, within his authority as District Commander. Id. at 1110:14-21.

[¶168] To reach the location of the prayer ceremony, Ms. Spotted Eagle and the other participants

took a boat. Tr. 1111:23-1112:1 (Day 7; Henderson). When their boat broke down, Corps officials

towed it with their boat. See id. at 1112:4-6.

[¶169] The prayer ceremony event occurred peacefully and without incident. It did not lead to any

confrontation with law enforcement, nor to any illegal activity. Tr. 1253:23-1254-7 (Day 8;

Henderson).

[¶170] There is no evidence that State or local law enforcement responded to the prayer ceremony

organized by Ms. Spotted Eagle.

           J. The Backwater Bridge Incident

[¶171] On the night of November 20-21, 2016, there was a large clash between protestors and law

enforcement on the Backwater Bridge. See, e.g., JX 9 at ND_000135679-ND_000135680. The




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protestors on the bridge that night came from the Main Camp on Corps land, and also from the

casino on Standing Rock Indian Reservation land. See JX 227 at ND_000256396; Tr. 465:3-466:1

(Day 3; Kirchmeier).

[¶172] The Backwater Bridge forms a part of Highway 1806, to the north of Corps land on the

north side of the Cannonball River. See JX 266-N at slides 10, 101; JX 265 at ND_000204146. It

served as a point of separation between protestors and the DAPL drill site, so it was important for

law enforcement that protestors not cross the bridge. See Tr. 405:10-406:3 (Day 3; Kirchmeier).

[¶173] The night of November 20-21, protestors began moving onto the Backwater Bridge in

increasing numbers. Id. at 405:1-2. Law enforcement directed them to leave the bridge, and they

did not comply. Id. at 405:2-4, 407:15-17. The crowd continued to grow, and protestors were

hostile towards the law enforcement officers. See id. at 405:5-7. The protestors were determined

and “very committed to their cause,” and they placed themselves in physical danger. Tr. 721:10-

14 (Day 4; Gerhart).

[¶174] During the confrontation, a protestor named Sophia Wilansky sustained a severe injury to

her arm. See Tr. 2453:23-2454:18 (Day 15; Iron Eyes); JX 266-N at slide 118. Ms. Wilansky and

other protestors contended that her injury was caused by an impact from a less-lethal munition that

law enforcement launched toward protestors. See Tr. 2454:4-18 (Day 15; Iron Eyes); Complaint,

Wilansky v. Morton Cnty. et al., No. 18-cv-00236-DMT-ARS, ECF No. 1 (D.N.D. filed Nov. 19,

2018).

[¶175] In the course of the night, protestors started fires on the Backwater Bridge, and a fire truck

was deployed to the area to control them. Tr. 379:4-10 (Day 2; Kirchmeier); Tr. 264:14-23 (Day

2; Gallagher).

[¶176] The temperatures that night were below freezing. See Bismarck, ND Weather History,




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Weather         Underground,           https://www.wunderground.com/history/daily/us/nd/cannon-

ball/KBIS/date/2016-11-20 (last visited Aug. 8, 2024) (listing the temperature measured at a

weather station in Bismarck the night of November 20 as between 22-24 degrees Fahrenheit).4

[¶177] At some point during the night, Sheriff Kirchmeier authorized the use of the fire truck’s

water hose on protestors, for crowd-control purposes. See Tr. 406:12-23 (Day 3; Kirchmeier).

[¶178] Using the fire hose was not something law enforcement officers are trained on or generally

have experience with. See Tr. 1345:13-1346:15 (Day 8; Pearson). Using a fire hose on protestors

at the Backwater Bridge, in freezing cold weather, had the potential to create health issues. See id.

at 1350:4-8, 1351:4-12. And, as the State’s law enforcement expert noted, the use of fire hoses on

protestors in particular creates poor optics, given the history of law enforcement using fire hoses

against civil rights protestors in the 1960s. See id. at 1352:10-19.

[¶179] Protestors viewed the Backwater Bridge incident as an example of excessive force and an

inappropriately militarized response by the State. See Tr. 2518:19-2519:21 (Day 16; LaDuke).

[¶180] This incident was another flashpoint in the protests. See Tr. 1259:6-16 (Day 8; Henderson).

It made it more difficult for the Tribe to persuade protestors to move off of Corps land. See id.

And, for at least some protestors, it deepened their resolve to participate in the protests. See Tr.

2519:22-2520:9, 2532:14-18 (Day 16; LaDuke).

[¶181] Immediately following the Backwater Bridge incident on the night of November 20-21, the

population of the protest encampments grew quickly. See JX 164 (State-produced vehicle count



4
  The Court takes judicial notice of the fact of the temperature that night, as it can be accurately and
readily determined from sources whose accuracy cannot reasonably be questioned. Fed. R. Evid.
201(b); see, e.g., Ramirez v. Birkholtz, No. 5:20-02036 GW (ADS), 2023 WL 6164471, at *2 (C.D.
Cal. Aug. 25, 2023) (taking judicial notice of the temperature on a particular day, as reported by a
website, and noting that “[o]ther district courts have routinely taken judicial notice of weather
temperatures under similar circumstances”), recommendation adopted, 2023 WL 6163984 (C.D.
Cal. Sept. 20, 2023).


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and population estimate spreadsheet, at columns DI and DS and rows 53 and 55, indicating that the

estimated total number of protestors at locations on and off Corps land grew from approximately

1,875-2,250 people on November 20, 2016, to approximately 4,315-5,178 people on November 25,

2016).

           K. The Corps’s November 2016 Letters to Law Enforcement and Tribal Leaders

               i.      November 1, 2016, Letter to Sheriff Kirchmeier

[¶182] On November 1, 2016, COL Henderson sent a letter to Sheriff Kirchmeier requesting law

enforcement support at the Turtle Hill area on Corps land. See JX 174; Tr. 281:6-8 (Day 2;

Gallagher). Protestors had attempted to build a bridge from the Main Camp across Cantapeta Creek

into the Turtle Hill area and attempted to access it via small boats, which would have put them past

the line law enforcement had established and close to the area where the pipeline crew was working.

See Tr. 1118:9-15; 1250:6-14 (Days 7-8; Henderson); Tr. 275:3-21 (Day 3; Gallagher); JX 266_N

at slides 101-105, 107-108; JX 9 at ND_000135673. State and local enforcement were concerned

that if protestors got past the Turtle Hill area, they would have a clear path to the construction area.

Tr. 388:13-25 (Day 2; Kirchmeier); see Tr. 275:3-12 (Day 3; Gallagher).

[¶183] COL Henderson wrote the letter to Sheriff Kirchmeier after local law enforcement requested

that he specifically ask for their assistance to keep protestors out of the Turtle Hill area and away

from the DAPL worksite. Tr. 1129:5-14, 1250:1-25 (Days 7-8; Henderson). In a video taken during

COL Henderson’s visit to Standing Rock Sioux tribal headquarters a few days after he wrote the

November 1 letter, a protestor is seen confronting COL Henderson about the letter. See PX 1290

(email and native video attachment file); Tr. 1252:2-1253:6 (Day 8; Henderson) (discussing that

meeting and COL Henderson’s interaction with protestors). The protestor asks COL Henderson

why he made the request for Morton County’s law enforcement assistance; COL Henderson



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responds, “I did it at their request.” See id. (video timestamp 1:01-1:11)); see also JX 218 at

USACE_00125816 (email from LTG Semonite dated November 26, 2016, noting that COL

Henderson made the request “at the request of law enforcement” to prevent protestors from

outflanking law enforcement and interfering with the pipeline construction activity).

[¶184] COL Henderson made the request to Sheriff Kirchmeier in writing, so that the Corps would

have responsibility for that decision, in the event there was a confrontation between protestors and

law enforcement or other collateral consequences from that decision. See Tr. 1129:5-14, 1250:15-

25 (Days 7-8; Henderson).

[¶185] The letter did not request law enforcement support for any other area of Corps land because

COL Henderson understood from discussions with State and local law enforcement officials that

they did not want to initiate a mass removal of protestors on Corps land, and that it would be a bad

idea to do so. Id. at 1251:8-20.

               ii.     November 25, 2016, Letter to Sheriff Kirchmeier

[¶186] On November 22, 2016, COL Henderson had a telephone call with MG Dohrmann, Sheriff

Kirchmeier, and U.S. Attorney Chris Myers. See JX 204 at USACE_00009350 (email from COL

Henderson to his leadership and other Corps officials summarizing the meeting); see also JX 205

at USACE_00009354 (a different email chain reflecting the same summary).

[¶187] As a result of that discussion, COL Henderson believed it was necessary to better define

and communicate State and local law enforcement’s jurisdiction to enforce the law on Corps land:

that is, that State and local law enforcement did not need to ask the Corps’s permission to come

onto Corps land to enforce state and local laws.            See JX 204 at USACE_00009350-

USACE_00009351 (COL Henderson’s email explaining that “proprietary jurisdiction” means that

“Morton County has jurisdiction to conduct law enforcement activities on Corps land (to include



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inside of the camps) when enforcing State and local laws . . . . Therefore, they do not need to ask

permission to come on to public lands to enforce local laws. This has always been the case”); Tr.

1260:7-1261:6, 1261:17-1262:2 (Day 8; Henderson) (recalling that COL Henderson, MG

Dohrmann, Sheriff Kirchmeier, and U.S. Attorney Myers discussed this on their November 22 call).

[¶188] On the November 22 telephone call, COL Henderson discussed with MG Dohrmann, Sheriff

Kirchmeier, and U.S. Attorney Myers that he would be issuing two letters: one to Sheriff

Kirchmeier clarifying the jurisdictional questions they had discussed, and another to tribal

leadership closing the Corps land north of the Cannonball River and encouraging protestors to move

out of that area. See JX 205 at USACE_00009354-USACE_00009355; Tr. 1264:10-1265:6 (Day

8; Henderson). General Dohrmann and Sheriff Kirchmeier expressed their support for the plan to

issue those letters. Tr. 1265:7-9 (Day 8; Henderson).

[¶189] On November 25, 2016, COL Henderson sent the letter to Sheriff Kirchmeier that they had

discussed three days previously. See Tr. 1265:3-6 (Day 8; Henderson); JX 210. The letter had two

purposes: first, to memorialize the discussion COL Henderson had with State and local law

enforcement officials and the U.S. Attorney on November 22 regarding law enforcement’s

jurisdiction to enforce the law on Corps land; and second, to inform the Sheriff about the Corps’s

closure of the land to the north of the Cannonball River. Tr. 1131:2-8 (Day 7; Henderson). COL

Henderson understood that law enforcement entity was interested in going into the camp and

forcibly removing protestors, and his letter was not intended as a request that they do so. See id. at

1125:5-11, 1131:10-14.

[¶190] COL Henderson’s November 25 letter to Sheriff Kirchmeier stated that he was rescinding

his November 1 request for law enforcement support because it was not required, as State and local




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law enforcement already had jurisdiction go onto Corps land to enforce state and local laws without

prior permission from the Corps. JX 210 at USACE_00009574. Specifically, he wrote:

       With the Corps of Engineers having proprietary jurisdiction over its property, rather
       than exclusive or concurrent jurisdiction, the State of North Dakota retains criminal
       jurisdiction over these lands. Therefore, the State and its political subdivisions, such
       as Morton County, already have the necessary jurisdiction to enforce state and local
       laws as it deems appropriate. See 40 U.S.C. § 3112.

       Through its criminal jurisdiction, Morton County law enforcement has the right to
       conduct law enforcement activities on these Corps lands when enforcing State and
       local laws and does not need to seek permission from the Corps to enter Corps lands
       to enforce such laws. . . . In 36 C.F.R. § 327.26, the State’s criminal jurisdiction over
       these federal lands is further acknowledged, as it reaffirms that state and local law
       enforcement have the authority to enforce and protect against, inter alia, acts of
       “[c]ivil disobedience and criminal acts” occurring on these Corps’ project lands by
       applying “state and local laws.”

Id.; see 40 U.S.C. § 3112(a) (“It is not required that the Federal Government obtain exclusive

jurisdiction in the United States over land or an interest in land it acquires.”); id. § 3112(c) (“It is

conclusively presumed that jurisdiction has not been accepted until the Government accepts

jurisdiction over land as provided in this section.”); 36 C.F.R. § 327.26(a) (“Except as otherwise

provided in this part or by Federal law or regulation, state and local laws and ordinances shall apply

on project lands and waters.”); id. § 327.26(b) (“These state and local laws and ordinances are

enforced by those state and local enforcement agencies established and authorized for that

purpose.”).

[¶191] As COL Henderson testified, the Corps’s proprietary jurisdiction over the area meant that

“there was no reason for me to have that [November 1] request out there. I didn’t need to do it in

the first place.” Tr. 1271:6-16 (Day 8; Henderson) (testifying that he, MG Dohrmann, Sheriff

Kirchmeier, and U.S. Attorney Myers discussed this and came to “a consensus” on what proprietary

jurisdiction meant during their November 22 conversation). Thus, the November 25 letter did not

change or limit law enforcement’s abilities to enforce state and local laws on Corps-managed land:



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the decision whether to enter onto Corps land to enforce those laws still rested within the discretion

of State and local law enforcement. See id.

[¶192] Sheriff Kirchmeier testified that he knew Morton County law enforcement had jurisdiction

to enforce state and local laws on Corps land without prior permission from the Corps, so COL

Henderson’s November 25 letter explaining this was not news to him. Tr. 466:15-23 (Day 3;

Kirchmeier). Notwithstanding that understanding, Sheriff Kirchmeier continued to make public

comments after receiving COL Henderson’s November 25 letter that State and local law

enforcement “lack jurisdiction” and that the protests were a “federal problem.” See JX 228 at

USACE_00011018. COL Henderson reached out to MG Dohrmann about this, noting that “these

statements are not helpful” and querying whether Sheriff Kirchmeier’s public suggestions that the

protests were solely a “federal problem” meant that Morton County Sheriff’s Office would “just

ignore” their law enforcement jurisdiction in other areas of Corps-managed land in the County,

such as the Oahe and Garrison recreation areas. See id.

[¶193] After Sheriff Kirchmeier received COL Henderson’s November 25 letter, he did not inform

COL Henderson that he disagreed with COL Henderson’s understanding of law enforcement’s

jurisdiction on Corps land. See id. at 466:15-467:9. Nor did he think to tell COL Henderson that

Morton County law enforcement could only remove protestors from Corps land if the Corps

specifically asked them to. Id. at 467:7-16. There is no evidence that any other law enforcement

official informed the Corps that they disagreed with COL Henderson’s explanation of State and

local law enforcement’s jurisdiction in the November 25 letter. See Tr. 185:8-12 (Day 1; Schulz);

Tr. 2013:2-13 (Day 12; Spellmon); cf. JX 220 (evacuation order from Governor Dalrymple dated

November 28, 2016, ordering “a mandatory evacuation of all persons located in areas under the

proprietary jurisdiction of the United States Army Corps of Engineers located in Morton County”




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as described in COL Henderson’s November 25 letter to Sheriff Kirchmeier); JX 252 (evacuation

order from Governor Burgum dated February 15, 2017, ordering a “mandatory evacuation of all

persons occupying and residing in the evacuation area, specifically defined as the areas in Morton

and Sioux Counties adjacent to the Cannonball River, under the proprietary jurisdiction of the

United States Army Corps of Engineers”).

[¶194] Law enforcement remained in the Turtle Hill area on Corps land, ensuring protestors did

not illegally interfere with pipeline construction activities, even after COL Henderson rescinded his

written request of November 1 for law enforcement assistance in that area. See ECF 450-1 at 97, ¶

405; Tr. 519:17-520:10, 521:11-4 (Day 3; Laney).

               iii.    November 25, 2016, Letter to Tribal Leaders

[¶195] On November 22, 2016, COL Henderson had a telephone call with Chairman Archambault.

See JX 204 at USACE_00009351. They discussed the ongoing effort to move protestors from the

Main Camp on Corps land north of the Cannonball River to another location for the winter, and

Chairman Archambault explained that this effort was moving slowly because of internal problems

with the tribal council. Id.

[¶196] On November 25, 2016, COL Henderson sent a letter to the sixteen tribal leaders of the

Great Plains Tribal Chairmen’s Association. See JX 213; Tr. 1266:14-17 (Day 8; Henderson).

[¶197] COL Henderson’s letter to tribal leadership stated that the Corps-managed land to the north

of the Cannonball River was closed effective December 5, 2016, and “no member of the general

public, to include Dakota Access pipeline protestors, can be on these Corps’ lands.” JX 213 at

USACE_00089654. It stated that “[a]ny person found to be on the Corps’ lands north of the

Cannonball River after December 5, 2016, will be considered trespassing and may be subject to

prosecution under federal, state, and local laws.” Id.



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[¶198] The letter also stated that the Corps was establishing a free speech zone on Corps-managed

land to the south of the Cannonball River “for anyone wishing to peaceably protest the Dakota

Access pipeline project, subject to the rules of 36 C.F.R. Part 327.” Id.; see Tr. 1267:1-6 (Day 8;

Henderson).

[¶199] COL Henderson’s letter to tribal leadership attached a map, which identified the area to the

north of the Cannonball River that was being closed to protestors, as well as the free speech zone

to the south of the river where peaceful, lawful protests would be allowed. See JX 213 at

USACE_00089654; JX 211 at USACE_00009614-USACE_00009616.

[¶200] The November 25 letter to tribal leaders was part of the Corps’s effort to “strongly

encourag[e] Tribal leaders to move out of this area in an effort to prevent loss of life and indemnify

the [U.S. government] from liabilities assumed by trespassers.” JX 204 at USACE_00009351. It

was meant to support the Tribe’s efforts to persuade protestors to leave that area. See Tr. 1124:22-

1125:11 (Day 7; Henderson). Corps officials hoped that, with leadership from the Tribe, protestors

would be willing to leave the Main Camp area voluntarily. See id. at 1127:21-22. Those protestors

who chose to stay would be those who did not respond to tribal leadership, so the letter would serve

the purpose of separating the two groups. Tr. 1128:2-21, 1268:14-20 (Days 7-8; Henderson).

[¶201] COL Henderson explained that he had not closed the Corps-managed land north of the

Cannonball River earlier for multiple reasons. See Tr. 1269:24-1270:20 (Day 8; Henderson). The

dynamic of the protestors and the surrounding conditions had changed significantly from mid-

August to late November 2016. See id.; see also, e.g., FoF [¶171]-[¶181], supra (discussing the

significant confrontation between protestors and law enforcement on the Backwater Bridge on the

night of November 20-21, 2016). And the effort to close the area of the Main Camp in late




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November was part of a coordinated effort among the Corps, State and local law enforcement, and

the Standing Rock Sioux Tribe. See Tr. 1269:24-1270:20 (Day 8; Henderson).

[¶202] Many State officials saw COL Henderson’s November 25 letter to tribal leaders as a positive

development. See Tr. Tr. 456:9-12 (Day 3; Kirchmeier) and PX 1332 (Sheriff Kirchmeier viewed

the letter as “an important and heartening step”); Tr. 994:16-25 (Day 6; Dohrmann) (MG Dohrmann

supported the Corps trying to establish a free speech zone as a way to keep the protests within an

area where it could be managed); PX 1319 (Morton County Commission Chairman Schulz called

the announcement in the November 25 letter that the Main Camp area would be closed “the first

step toward a peaceful resolution to the situation”); see also ECF No. 404-2, Dep. Tr. 114:17-21

(Davis) (North Dakota Indian Affairs Commission Executive Director Davis opining that a free

speech zone can be a helpful tool to limit the spread of protest to a more dangerous area, such as a

highway).

            L. The Protests Continue into Winter 2016

[¶203] On November 28, 2016, Governor Dalrymple issued an evacuation order for the area of

Corps land north of the Cannonball River, where the Main Camp had been established. JX 220.

The Governor’s order required “a mandatory evacuation of all persons located in areas under the

proprietary jurisdiction of the United States Army Corps of Engineers located in Morton County.”

[¶204] The Governor issued the order because the conditions in the camp were becoming

dangerous, due to winter weather. Tr. 783:22-784:13 (Day 5; Dalrymple); see also JX 14 at

DOI_00013277 (State-produced incident report about the protests including a chart of the estimated

camp populations and winter storm/extreme cold events).

[¶205] The Governor’s evacuation order was not predicated in any way on any action or statement

by the federal government. Id. at 819:21-24; see JX 220 at ND_000152408 (list of authorities and




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reasons for the Governor’s issuance of the order, which list does not include any statement or action

by the federal government); Tr. 1011:16-22 (Day 6; Dohrmann) (none of the listed authorities are

contingent on an approval from the Corps). Indeed, the order explicitly stated that the evacuation

area “shall remain in effect even if the United States Army Corps of Engineers redefines or

removes” the closure of the Corps-managed land north of the Cannonball River. JX 220 at

ND_000152407.

[¶206] The Governor’s Office stated publicly that the State would not take any means to enforce

the evacuation order. Tr. 820:24-821:1 (Day 5; Dalrymple).

[¶207] The Governor’s order did not cause the protestors to voluntarily leave the camp. Id. at

821:16-20.

[¶208] The protest encampments reached their peak population in early December 2016. See JX

164 at columns EC, rows 51-56. This swell in the camps’ population coincided with a group of

veterans who arrived at the camps in support of the protestors on December 4. Tr. 988:22-989:13

(Day 6; Dohrmann). Estimates of the total number of people in the camps at the time ranged as

high as 10,000 people. See Tr. 2469:24-1270:3 (Day 15; Iron Eyes); Tr. 538:13-15 (Day 3; Laney).

             M. Protest Activity Decreases, and the Remaining Protestors Are Eventually
                Evacuated

[¶209] At the end of December 2016, the population of the protest camps began to wane. As of

December 28, 2016, the high estimate of the total population of the protest camps was

approximately 900 people. See JX 164 (State-produced vehicle count and population estimate

spreadsheet, at column FL, row 55). Throughout January 2017, the high estimate total camp

population ranged from approximately 750 to 900 people. See id. (columns FQ-HE, row 55). As

of February 1, 2017, the total number of people in the camps was estimated to be between

approximately 700-840 people. See id. (column HE, rows 53 and 55); see also Tr. 469:8-11 (Day


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3; Kirchmeier) (by February 2017, the number of people in the camps was a lot smaller than it had

been in the fall); Tr. 944:6-7, 1021:24-25 (Days 6-7; Dohrmann) (same).

[¶210] In early February 2017, State and federal officials decided together that the remaining

protestors in the camps should be removed. See Tr. 966:13-22 (Day 6; Dohrmann). As MG

Dohrmann testified, State and local law enforcement did not contemplate clearing the camps any

earlier because of the number of people who had been there earlier, the size of the force that would

have been required to clear so many protestors, and the high potential for injury and loss of life.

See Tr. 1002:25-1003:16 (Day 7; Dohrmann) (testifying that it would not have been feasible to

clear the camps prior to February 2017); see also Tr. 469:15-470:3 (Day 3; Kirchmeier) (by that

time, the protest camps were much smaller and the State was therefore more able to effect a removal

with the manpower they had, without as much concern for safety or escalated tensions that it could

cause); Tr. 1278:6-13 (Day 8; Henderson) (the number of people at the camps was much smaller

and more manageable by February 2017, and there were more resources available at that time to

effectuate a closure of the area); PX 1388 at 0001 (email from MG Dohrmann to a federal official

with the National Security Council dated February 10, 2017, opining that an evacuation of the

camps should be completed while the population was “down to the hundreds” from their prior,

larger numbers).

[¶211] The fact that the camps’ population had reduced made it much easier to plan an eviction,

because it required less law enforcement manpower and posed less of a risk of a violent

confrontation. See Tr. 469:8-24 (Day 3; Kirchmeier); Tr. 1003:1-10 (Day 7; Dohrmann); see also

Tr. 1137:17-22 (Day 7; Henderson) (by February 2017, law enforcement was willing to remove

people from the camps).




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[¶212] Another factor affecting the decision to remove protestors from the camps in February 2017

was that weather conditions had changed significantly by then. Weather had caused the camps’

population to decline. See Tr. 454:19-21 (Day 3; Kirchmeier) (weather had impact on decreasing

the size and intensity of the protests); Tr. 1539:6-13 (Day 9; Van Horn) (same); Tr. 785:1-8 (Day

5; Dalrymple) (the protest situation “was certainly winding down” as he left office in mid-

December 2016, and he attributed much of that winding down to “the conditions of the North

Dakota winter”); JX 14 at DOI_00013277 (chart in a State-produced incident report showing that

the estimated camp population dropped precipitously after the first winter storm). And there was a

large chance of flooding in the area of the camps at that time of year, which would put people in

danger and risk debris from the camp being washed into the river. See, e.g., Tr. 123:22-124:22;

186:11-18 (Day 1; Schulz); Tr. 413:6-8, 469:8-11 (Day 3; Kirchmeier); Tr. 875:23-876:24 (Day 6;

Burgum); Tr. 1277:23-1278:5 (Day 8; Henderson); JX 14 at DOI_00013268-DOI_00013270. As

one State-produced After Action Report opined, the protests could have continued “almost

indefinitely” were it not for the harsh North Dakota winter weather and prospect of spring flooding

intervening to bring them to an end. JX 9 at ND_000135646. Governor Burgum testified that the

primary reason he issued his evacuation order in February 2017 was “a real concern about life safety

and the timeframe” of potential flooding in the area of the camps. Tr. 875:23-877:7 (Day 6;

Burgum).

[¶213] Finally, the decision to remove the remaining protestors from the protest camps in February

2017 was impacted by the change in presidential administrations. President Trump was inaugurated

on January 20, 2017. With the new administration came a change in attitude toward the DAPL

pipeline, and a directive to issue the pending easement. See Tr. 993:1-10 (Day 6; Dohrmann); ECF

No. 404-1, Dep. Tr. 22: 16-23:6 (Bachmeier); see also PX 1388 at 0001 (February 10, 2017, email




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from MG Dohrmann stating that “with the return of warmer weather and the issuance of the

easement, we believe time is of the essence” to evacuate the protest camps). The change in

presidential administrations also signaled a change in “tone” from the federal government in

Washington, D.C. towards the protestors, and a willingness from the federal government to provide

additional law enforcement resources, which was important to law enforcement’s decision to clear

the camps at that time. Tr. 970:6-15, 1020:15-21, 1022:4-6 (Days 6-7; Dohrmann).

[¶214] On February 3, 2017, COL Henderson sent a letter to Chairman Archambault, stating that

the Corps was extending the closure of its land to include not just the area north of the Cannonball

River that was the subject of COL Henderson’s November 25 letter, but the Corps-managed land

to the south of the river as well. JX 247 at MYERS_00044667. COL Henderson noted that there

was “a high potential for spring flooding at the mouth of the Cannonball River due to spring runoff

and ice jams,” which posed risks to safety and the environment. Id. The letter gave February 22,

2017, as the deadline by which protestors must collect their personal property from the camps. See

id. at MYERS_00044668.

[¶215] On February 15, 2017, Governor Burgum issued a mandatory evacuation order for “the

areas in Morton and Sioux Counties adjacent to the Cannonball River, under the proprietary

jurisdiction of the United States Army Corps of Engineers.”           JX 254 at ND_000112818-

ND_000112819. The Governor’s order gave February 22, 2017, as the deadline for protestors to

leave the area. Id. at ND_000112819.

[¶216] As with Governor Dalrymple’s evacuation order of November 28, 2016, Governor

Burgum’s issuance of the evacuation order was not dependent on any prior action or statement by

the federal government. See JX 254 at ND_000112819 (list of authorities and reasons for the

Governor’s issuance of the order, which list does not include any statement or action by the federal




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government); Tr. 1013:16-20 (Day 7; Dohrmann) (none of the listed authorities are contingent on

an approval from the Corps); Tr. 877:24-878:22 (Day 6; Burgum) (testifying that the State had the

authority to issue the evacuation order for Corps-managed lands, but not Reservation land).

Governor Burgum’s evacuation order specifically stated that it would remain in effect “even if the

United States Army Corps of Engineers redefines the prohibited areas.” JX 254 at ND_000112819.

[¶217] COL Henderson did not issue a specific authorization for State and local law enforcement

to enter Corps land to clear the protest camps, beyond his November 25, 2016, and February 2,

2017, letters that made clear which areas protestors were not permitted to be in. See Tr. 1137:13-

22 (Day 7; Henderson), JX 213; JX 247.

[¶218] COL Henderson’s letter and the Governor’s evacuation order were coordinated, as they

included the same deadlines to evacuate the camps. Tr. 1137:10-12 (Day 7; Henderson); JX 247 at

MYERS_00044668; JX 254 at ND_000112819.

[¶219] Following the Corps’s and the Governor’s evacuation orders in February 2017, some

protestors left voluntarily. Tr. 128:22-25 (Day 1; Schulz). On February 23, law enforcement began

clearing those protestors who remained from the Main Camp on Corps land. Id.; Tr. 527:14-528:5

(Day 3; Laney).

[¶220] State and federal officials worked together to clear the different protest camps on and off

Corps land. The clearing effort was done by local law enforcement, mutual aid law enforcement,

the North Dakota Highway Patrol, and the BIA. Tr. 125:14-25 (Day 1; Schulz). State and local

law enforcement were primarily responsible for clearing protestors from the Main Camp and the

Rosebud Camp on Corps-managed land. See Tr. 971:9-12 (Day 6; Dohrmann). And BIA law

enforcement cleared protestors from the Sacred Stone camp on Reservation land. Tr. 2648:1-13,

2650:12-14 (Day 16; Cruzan); ECF No. 405-11, Dep. Tr. 23:6-13 (O’Neal). COL Henderson and




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members of his team were onsite for the evacuation, and they assisted with facilitating the cleanup

of the floodplain. Tr. 971:14-18 (Day 6; Dohrmann).

[¶221] A number of federal law enforcement agencies assisted with the evacuation effort, including

Customs and Border Patrol, which provided aerial surveillance of the protest camp areas from its

unmanned drone and via helicopter; and the National Park Service, Bureau of Land Management,

and Fish and Wildlife Service, which provided personnel to assist the BIA with removing protestors

from Reservation land. ECF No. 405-14, Dep. Tr. 34:12-35:8-16, 35:10-16, 46:15-20, 130:1-17

(Walker); ECF No. 405-11, Dep. Tr. 20:9-15, 22:5-20 (O’Neal); Tr. 2648:1-13 (Day 16; Cruzan).

[¶222] The protest camps were cleared of people as of February 23, 2017. Tr. 125:8-11 (Day 1;

Schulz).

[¶223] There was a “great potential” for loss of life during the protests. JX 14 at DOI_00013275;

Tr. 329:20-330:6 (Day 2; Johnson). But in the end, there were no deaths related to the law

enforcement response at any time throughout the protests. Id. Tr. 724:8-18 (Day 4; Gerhart)

(testifying that this was a great accomplishment); see Tr. 329:20-330:6 (Day 2; Johnson) (testifying

that it was “remarkable” and a testament to law enforcement’s response that there were no deaths);

JX 9 at ND_000135620 (State-created After Action Report noting “[t]he most important statistic of

all: ZERO deaths related to the law enforcement response. There was one death of a protestor who

fell through the ice on the Cannonball River.”).

           N. Cleanup of the Protest Encampment Areas

[¶224] When COL Henderson announced the closure of Corps lands in February 2017, his

expectation was that the Corps and the Standing Rock Sioux Tribe would be responsible for the

cleanup of the encampment areas. Tr. 1278:22-24 (Day 8; Henderson). The Corps was prepared

to complete that cleanup itself. Id. at 1278:25-1279:2. In fact, as of February 23, 2017, the Corps




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had lined up a contractor to clean up the Main Camp area to the north of the Cannonball River, as

well as the Rosebud Camp on Corps-managed land to the south of the river. PX 1405 at 0003; Tr.

468:18-469:6 (Day 3; Kirchmeier).

[¶225] But the State decided to clean up the area of the Main Camp on Corps land itself. This was

because the State was not confident the Corps could get the cleanup completed prior to the spring

snowmelt; thus, the State took it upon themselves to do the cleanup instead. Tr. 188:16-25 (Day 1;

Schulz); Tr. 884:1-7 (Day 6; Burgum). The evidence does not indicate whether that belief by the

State that the Corps might not get the cleanup completed prior to the spring snowmelt was

reasonable, or how delayed the State thought the Corps would be, or whether the amount of delay

the State thought there could be would have made any difference.

[¶226] The State’s cleanup of the Main Camp area began on February 23, 2017, and was largely

completed by February 27, 2017. Tr. 137:17-18 (Day 1; Schulz).

[¶227] The State also cleaned up areas on private property and along Highway 1806, where trash

was left behind from the North Camp. Tr. 187:7-14. (Day 1; Schulz). The State did not do any

cleanup in any other areas besides the Main Camp and the North Camp locations. Id. at 187:15-18.

[¶228] The State engaged contractors to do the cleanup of the Main Camp and North Camp areas.

Id. at 187:19-188:1 (those contractors were named Dakota Sanitation and Peanut Pie). The total

cleanup cost to the State was $428,601.85. Id. at 187:19-188:9; see id. at 137:22-25. There is no

evidence as to what proportion of that amount was for cleaning up the Main Camp area on Corps-

managed land versus the North Camp area on State and private land.

[¶229] The Corps handled the cleanup of the camps south of the Cannonball River, engaging

contractors to complete that work. See id. at 188:11-15. The Standing Rock Sioux Tribe and its

contractors also provided some assistance in cleaning those areas. See id.




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[¶230] The cleanup effort for the Main Camp on Corps land to the north of the Cannonball River

was complete as of March 3, 2017. See JX 9 at ND_000135698. The cleanup of the Rosebud Camp

area to the south of the Cannonball River was completed as of March 6, 2017, and the cleanup of

the Sacred Stone camp area was completed shortly thereafter.          See id. at ND_000135698-

ND_000135699.

[¶231] March 31, 2017, was the last day that law enforcement actively patrolled in connection with

the DAPL protests. Tr. 416:1-3 (Day 3; Kirchmeier). After that date, normal operations in the area

were restored, and the protest event was considered officially closed. Id.; JX 9 at ND_000135700.

   VI.     The Majority of the Protestors Were Peaceful; a Minority Engaged in Illegal
           Activity

[¶232] Many of the protestors remained peaceful and non-violent during the entirety of the DAPL

protests. See, e.g., Tr. 1570:1-4 (Day 9; Van Horn) (throughout the protests, there was a component

of the protestors that remained peaceful); Tr. 490:23-491:2 (Day 3; Laney) (there were some

“peaceful, prayerful protestors” and other protestors who were violent); JX 22 (public-facing video

produced by the State, in which Sheriff Laney says “many of the people in [the camp] are peaceful

and prayerful. . . . We either meet those people and have good conversations, or they do their

ceremony and they leave. We never have any confrontations with them.”); Tr. 984:4-8 (Day 6;

Dohrmann) (some protestors were there to follow the law and protest peacefully, despite being

present on Corps land without a Special Use Permit). Indeed, State officials testified that a large

majority of the protestors were peaceful and did not pose a threat to public safety or property. See

Tr. 161:7-16; 163:10-16, 163:20-164:6 (Day 1; Schulz) (estimating that only twenty percent of

protestors were non-peaceful, while the other eighty percent were peaceful); Tr. 809:8-24 (Day 5;

Dalrymple) (estimating that there were approximately 200 or 250 to 300 law-breaking individuals

in the camps, but that the other protesters in the camps were peaceful and not causing a threat to


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public safety); JX 69 at MYERS_00001793 (State-created, public-facing talking points dated

August 19, 2016, stating that law enforcement “is here to enable and support” the constitutional

rights to assemble and protest, and that “[p]eaceful protestors are not the issue”); PX 2027 (Morton

County press release dated December 4, 2016, quoting Schulz as saying that “a majority of the

people who have participated in this protest have been peaceful” and it was “an active minority”

that posed a threat to law enforcement).

[¶233] Some of the protestors’ activity off of Corps land was peaceful. For example, on August

24, 2016, protestors held a “walk and prayer service involving 25 horseback riders, 30 pedestrians

and 30 vehicles,” which “concluded without incident.” JX 8 at DOI_00026803. Another peaceful

protest event occurred at the State capitol in fall 2016 for which protestors obtained a permit in

advance, and which did not involve any lawbreaking. Tr. 638:14-639:16 (Day 4; Pederson); Tr.

504:14-19 (Day 3; Laney), see also 723:17-18 (Day 4; Gerhart) (there were multiple peaceful,

lawful protests at the capitol). As another example, a group of protestors gathered outside the

Morton County/Mandan PD Law Enforcement Center following the arrest of a protestor. Tr. 491:4-

492:5 (Day 3; Laney). In a video of the event, protestors hold signs, chant, and drum. JX 266-N

(video, at slide 27). A representative of the protestors speaks with Sheriff Laney, explaining that

the protestors are not there to be arrested. The representative passes along the Sheriff’s instructions

about where the protestors can and cannot gather to the rest of the group. Id. Sheriff Laney tells

the protestor representative that law enforcement is “here to protect everybody’s right to protest . .

. they’re exercising their rights as Americans.” Id. On November 12, 2016, a caravan of

approximately 100 vehicles traveled to a pipeline yard in Mandan and “engaged in protest activities

that included marching, speaking, and ceremonial/prayer activities.” JX 8 at DOI_00026777. State




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and local law enforcement “responded to the site and monitored the situation” but made no arrests,

and protestors eventually departed of their own accord without incident. See id.

[¶234] But some protestor activity off of Corps land was unlawful. At various times throughout

the protests, some protestors would leave the camps on Corps land—and the locations other than

Corps land where some protestors were staying—and conduct protest activity elsewhere. See Tr.

160:11-18 (Day 1; Schulz); Tr. 229:2-9 (Day 2; Gallagher); Tr. 326:10-24 (Day 2; Johnson); Tr.

486:18-487:2, 489:2-24 (Day 3; Laney); Tr. 943:19-944:2, 1007:1-3 (Days 6-7; Dohrmann). That

activity sometimes included illegal acts, such as vandalism and blocking public roads and bridges.

See, e.g., Tr. 79:4-11, 82:8-18; 86:17-19, 93:10-94:3, 94:4-14, 148:1-7, 148:15-17 (Day 1; Schulz);

Tr. 229:10-20 (Day 2; Gallagher); Tr. 326:10-24 (Day 2; Johnson); Tr. 409:14-410:15, 411:15-17,

425:6-20 (Day 3; Kirchmeier); Tr. 487:6-488:3, 488:8-13, 493:15-494:3 (Day 3; Laney); Tr.

754:22-24, 7554:25-755:4 (Day 5; Dalrymple); Tr. 872:16-21, 873:10-18 (Day 6; Burgum);

PX 1253.

[¶235] Most of the protestors who left Corps land to protest came from the Main Camp on the land

north of the Cannonball River. See, e.g., Tr. 286:8-13 (Day 2; Gallagher); Tr. 582:4-20 (Day 3;

Pederson); Tr. 1502:1-6 (Day 9; Van Horn).

[¶236] Some protestors also broke the law on Corps land, engaging in conspiracy to commit various

crimes elsewhere, off of Corps property. See N.D.C.C. § 12.1-06-04.

[¶237] However, the activity the State was primarily concerned with was protest activity that

occurred off of Corps land, when protestors engaged in violent or otherwise illegal activity. Tr.

93:19-94:3 (Day 1; Schulz); Tr. 433:21-434:9, 434:15-17 (Day 3; Kirchmeier); JX 9 at

ND_000135658-ND_000135700 (State After-Action Report’s day-by-day summary of events,

detailing the actions of protestors and the corresponding law enforcement response); JX 10 at




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ND_000137425-ND_000137426 (another State-produced After-Action Report, summarizing the

problematic “tactics, techniques, and procedures” used by some DAPL protestors). Peaceful

protestors were not an issue for the State; it was the minority of protestors who acted violently or

broke the law that were the problem. See Tr. 984:1-3 (Day 6; Dohrmann); PX 2027; JX 69 at

MYERS_00001793.

   VII.    Factors that Contributed to the Protests’ Growth and Duration

[¶238] The DAPL protests were unique and unprecedented. See, e.g., Tr. 158:11-15 (Day 1;

Schulz); Tr. 428:22-429:2 (Day 3; Kirchmeier); Tr. 622:20-25 (Day 3; Pederson); Tr. 723:5-10

(Day 4; Gerhart); Tr. 980:2-18 (Day 6; Dohrmann); Tr. 797:17-798:8 (Day 5; Dalrymple); Tr.

900:12-14 (Day 6; Burgum); ECF No. 404-2, Dep. Tr. 76:7-77:3 (Davis); ECF No. 421, Dep. Tr.

131:13-18 (O’Connell); ECF No. 405-14, Dep. Tr. 183:4-8 (Walker); JX 9 at ND_000135621. As

a State-produced After-Action Report noted, “[b]ecause an event of this scope and magnitude had

never occurred in North Dakota history, all levels of government were slow to recognize the

enormity of the situation.” JX 9 at ND_000135621. “Civil unrest of this magnitude and duration,

in a rural county, was never imagined to be a realistic threat.” Id. at ND_000135628 (discussing

how this “lack of pre-planning for a civil unrest incident” increased the amount of work for the

State in its response). Morton County Commission Chairman Cody Schulz wrote that “[a]t the start

of the DAPL protest, law enforcement and county leaders never expected the activity to shift so

quickly—and to remain for so long.” JX 272 at 1. Many different factors contributed to the start,

growth, and continuation of the protests.

[¶239] The protestors’ own beliefs and independent motivations. The protestors themselves each

had their own motives and made independent decisions about how and whether to protest. Many

were driven by their own sincere beliefs. See, e.g., Tr. 2523:7-2524:6 (Day 16; LaDuke) (protest



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attendee Winona LaDuke testifying that she believed the protestors shared her commitment to being

a water protector); ECF No. 421, Dep. Tr. 131:13-18 (O’Connell) (FBI agent testifying that in his

many years of law enforcement experience, he had never dealt with the kind of “ideology-driven”

activities of the DAPL protestors); ECF No. 404-1, Dep. Tr. 22:6-9, 23:7-18 (Bachmeier) (there

was coalition of protestors with deeply held, honest beliefs regarding treaty rights of indigenous

neighbors who were willing to go through a lot to remain and protest). Others were paid to

participate in the protests. See Tr. 1501:10-18 (Day 9; Van Horn); JX 196; ECF No. 404-2, Dep.

Tr. 82:19-84:8 (Davis). As then-Policy Advisor to Governor Burgum, Levi Bachmeier, testified,

the DAPL protests “drew different people in for different reasons.” ECF No. 404-1, Dep. Tr. 16:18-

25 (Bachmeier). As MG Dohrmann testified, each of the individual protestors had his or her own

motivations for being at the camps. Tr. 982:8-14 (Day 6; Dohrmann). And Scott Davis testified

that, based on his experience protestors would not listen to instruction about where to protest. ECF

No. 404-2, Dep. Tr. 149:2-6 (Davis). As such, protestors’ actions were often unpredictable. Tr.

156:23-157:1 (Day 1; Schulz); Tr. 1630:14-16 (Day 9; Futch).

[¶240] The protest camps themselves were not a monolith, and they included various factions. Id.

at 982:15-17; see also id. at 966:2-9 (testifying that COL Henderson’s November 25 letter was an

attempt to defuse the situation that did not work because of the decentralized nature of the protest

camps); PX 1223 at 0002 (email from BG Spellmon, discussing what different factions of the

protest camps might do in reaction to a decision on the pipeline easement); JX 66 at FBI_0000011

(FBI summary of the protest situation dated August 18, 2016, stating that the protests had no

specific leader and were “a very fragmented group” with a variety of concerns). What started as a

Native American effort to protect the water near the Standing Rock Indian Reservation morphed

into all manner of non-Native groups joining the camps. Tr. 982:18-21 (Day 6; Dohrmann); see




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also JX 13 at ND_000253221 (discussing the variety of sociopolitical and socioeconomic issues

protestors were concerned with).

[¶241] The decision-making on the DAPL pipeline easement. Initially, the protests were about the

DAPL pipeline and the Corps’s authority to grant the pipeline permission to cross the portion of

land at Lake Oahe. Tr. 1159:5-24 (Day 7; Henderson) (the protests were, in part, an attempt to

influence the Corps’s decision making about the pipeline as well as the Standing Rock Sioux Tribe’s

litigation); id. at 1039:10-20 (Day 7; Henderson) (“[P]art of their protest was decision authority

over the land itself . . . . Part of it was this feeling that they didn’t need permission to be there . . .

.”); id. at 1153:6-10 (during consultations, tribal members expressed that “this was their historic

land that had been taken from them” and that the Corps “didn’t necessarily have the authority to

determine how it would be used going forward”); Tr. 1283:21-1284:3 (Day 8; Henderson)

(Chairman Archambault told COL Henderson that protestors wanted to demonstrate on the Tribe’s

former treaty land, as opposed to BIA land); ECF No. 404-2, Dep. Tr. 93:20-94:17 (Davis) (the

Corps has a trust relationship with the Tribes, and that was significant in the Tribe’s grievances

associated with the pipeline construction).

[¶242] Protestors were concerned about the potential environmental impacts of the DAPL pipeline,

and that concern was a primary motivating factor for the protests. See Tr. 2512:1-9 (Day 16;

LaDuke) (testifying that her primary reason for protesting the pipeline was to hold the pipeline

company accountable and reveal the issues with public safety and water quality the pipeline posed);

ECF No. 404-2, Dep. Tr. 35:10-20, 79:15-80:7 (Davis) (testifying that the reason “bad actors” came

to the protests was “environmental,” due to concerns with the potential impact of the pipeline on

the Standing Rock Sioux Tribe’s water source); Tr. 449:3-6 (Day 3; Kirchmeier) (the controversial

nature of the pipeline contributed to growth of protests); Tr. 545:9-12 (Day 3; Laney) (same).




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Relatedly, protestors were concerned that the pipeline would disrupt sacred tribal sites. See PX

1470 at 0007.

[¶243] Delays in consideration of the easement for the pipeline by the Department of the Army

fueled the protests to grow and continue. Tr. 158:1-6 (Day 1; Schulz); Tr. 1931:6-12 (Day 12;

Spellmon); PX 1223 at 0002.

[¶244] Historical and cultural factors. History and cultural context were also factors that led the

protests to grow. ECF No. 404-2, Dep. Tr. 92:12-93:19 (Davis). Sioux people have a long history

of taking actions when their territory or sovereignty is infringed upon. See DX 4217 at ii. Those

actions have included physically occupying land, filing lawsuits, lobbying the federal government,

and other tactics. See id. In particular, when Sioux people believed their treaty rights were being

infringed upon, they have often reacted to that encroachment via spiritual movements, institutional

channels, and armed responses. Tr. 2577:2-12, 2579:25-2580:8 (Day 16; Greenwald).

[¶245] The DAPL protestors drew upon this history of Native occupation and protests. See id. at

2562:1-10. Native Americans participating in the DAPL protests explicitly connected those

protests to key historical events in Sioux and Native American history, such as the taking of the

Black Hills, the Grattan Affair, the 1862 Dakota conflict, the occupation of Alcatraz Island in 1969-

1971, and the 1973 occupation of Wounded Knee. See id. at 2583:14-2584:1, 2558:16-2560:25;

DX 4217 at 4, 9-18, 25-31; see also Tr. 2581:6-19 (Day 16; Greenwald) (the occupation of Alcatraz

Island was an example of occupying a symbolically important place by Indians of various Tribes,

which gained a lot of attention from the media and celebrities); id. at 2582:18-24 (the occupation




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of Wounded Knee in 1973 was of a symbolically important place, that is, where the massacre of

Wounded Knee happened in 1890).

[¶246] This history, coupled with the belief of many Sioux and their supporters that the area of the

protests was unceded Sioux territory, contributed to the protests’ start, growth, and duration. See

DX 4217 at i, 1-4, 8; DX 4256 (video at timestamp 17:30-18:56); Tr. 541:10-21 (Day 3; Laney);

Tr. 985:5-15 (Day 6; Dohrmann); Tr. 2508:24-2509:8 (Day 16; LaDuke); Tr. 2421:16-19 (Day 15:

Iron Eyes); ECF No. 404-3, Dep. Tr. 22:1-6 (Estes); JX 13 at ND_000253221; JX 266 at

USA_00001706.

[¶247] The presence of law enforcement—and the North Dakota National Guard in particular—at

sites of historical significance to the Sioux also increased protestors’ resolve. See Tr. 2433:2-13,

2434:6-2435:13 (Day 15; Iron Eyes) (testifying that the National Guard set up at Fort Abraham

Lincoln, which was where Custer departed from to go to the Battle of the Little Big Horn, and that

he felt like Fort Lincoln was being “reactivated as a military fort”).

[¶248] Calls for support from the Standing Rock Sioux Tribe. Calls from leadership of the Standing

Rock Sioux Tribe to support the protests also contributed to the protests’ beginning, and to their

growth. See Tr. 2424:2-2426:13 (Day 15; Iron Eyes) (testifying that the idea of occupying the land

north of the Cannonball River in opposition to the pipeline came about at a traditional ceremony

led by a legendary medicine man, Leonard Crow Dog, in summer 2016); Tr. 545:13-16 (Day 3;

Laney) (Chairman Archambault’s call to action caused people to join the protests); Tr. 1519:18-

1521:11, 1522:17-23 (Day 9; Van Horn) and PX 1470 at 0007 (discussing calls by tribal leadership

for people to help protests to stop the pipeline); DX 4053 at USACE_00068809 (tribal leaders

picked the protest camp site and took steps to provide for basic needs there, such as water and

sanitary facilities); JX 150 at ARMY_00110827 (the Tribe provided resources within the Main




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Camp on Corps-managed land to the north of the Cannonball River as the protests continued into

the fall of 2016, including distributing food, clothing, medicine, and information inside the camp);

JX 4043 at USACE_00058026 (Tribe’s August 18, 2106 Special Use Permit application, stating

that the Tribe is providing “in-kind donations relating to water, sewer, etc.”).

[¶249] Protestor and Lower Brule Sioux Tribe member Nicholas Estes testified that he was at the

protest camps because there was a call to bring together the Oceti Sakowin. ECF No. 404-3, Dep.

Tr. 8:24-25, 15:14-20; 16:4-7 (Estes) (confirming that call did not come from the Corps); see also

id. at 60:20-61:5 (Estes took his guidance on whether he was welcome on the land of the protest

camps from the Standing Rock Sioux tribal leadership, not the Corps). And Winona LaDuke, a

member of the Mississippi Band of Anishinaabe who attended the protests as a self-described water

protector, testified that she was aware of Chairman Archambault’s call early in the protests for

people to come and act as water protectors, and that that call reaffirmed her decision to come to

protest. Tr. 2506:18-21, 2512:10-14 (Day 16; LaDuke).

[¶250] The Standing Rock Sioux Tribe’s litigation against the Corps.               Another factor that

contributed to the protests was the Standing Rock Sioux Tribe’s litigation against the Corps to stop

the pipeline easement from being approved. Developments in that lawsuit—particularly the

September 9, 2016, ruling denying the Tribe’s preliminary injunction motion—were a flashpoint in

the protests. See Tr. 485:5-7 (Day 3; Laney) (law enforcement was aware of court hearings in the

litigation, including on the Tribe’s request for injunctive relief); Tr. 96:23-97:10; 97:17-19 (Day 1;

Schulz) (the North Dakota National Guard was activated in preparation for the court’s ruling in that

lawsuit on September 9); id. at 102:10-21 (in the week after the September 9 ruling, there were

arrests for trespassing and vandalism, and “enhanced” protest activity); Tr. 484:16, 485:11-18 (Day

3; Laney) (law enforcement knew that if the court issued a ruling on the injunction that the pipeline




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company could continue construction, the protesters would “up their game and try to stop [the

construction] from happening”); JX 94 at ND_000158168 (email from Sheriff Laney dated August

30, 2016, stating that “[w]hile it has been quiet this week, if the judge issues his ruling, things will

change rapidly” and citing multiple intelligence reports that “if the judge rules against the tribe, the

protestors will become unruly”); DX 4040 at MYERS_00032883 (report of EOC briefing of August

22, 2016, which stated that intelligence “continues to indicate” that if the ruling in the Standing

Rock Sioux Tribe litigation went in favor of Dakota Access, “significant protests will be violent”);

Tr. 1534:15-1536:4 (Day 9; Van Horn) (discussing DX 4040 and explaining that if the ruling went

for Dakota Access, intelligence indicated that “it would definitely solicit more people to come for

the cause to support stopping the pipeline from being built”).

[¶251] The joint statement issued by the Departments of Justice, Interior, and Army on September

9, 2016, following the court’s decision also bolstered some protestors’ feeling that their concerns

were being heard and the protests were having an impact. See Tr. 931:23-932:2, 992:11-25 (Day

6; Dohrmann); Tr. 2463:16-24 (Day 15: Iron Eyes) (testifying that the September 9 statement made

him feel that there would be additional dialogue by the federal government with the DAPL

protestors); see also Tr. 2947:25-2949:12 (Day 18; Warner) (State’s expert witness testifying that

the September 9 joint statement was widely interacted with on social media—approximately 25

times as much as the Corps’s September 16 press release about the Tribe’s Special Use Permit); PX

2036 at 0016 (State expert’s report stating that the social-media interactions for the September 16

press release “pales in comparison” to the September 9 joint statement).

[¶252] Not all protestors viewed the September 9 joint statement as impactful. See ECF No. 404-

3, Dep. Tr. 56:12-12 (Estes) (testifying that the Sept. 9 statement did not cause him to come to the

protest camp or engage in any sort of civil disobedience in opposition to the pipeline).




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[¶253] Social media. Social media also played an important role in the protests’ growth and

continuation. See, e.g., Tr. 910:11-14 (Day 6; Burgum) and JX 268 at ND_000149565 (“Biased,

inaccurate, and falsified social media accounts were used to recruit protestors throughout the nation

and the world.”); Tr. 448:25-449:2 (Day 3; Kirchmeier) (social media caused the protests to grow);

Tr. 987: 11-14 (Day 6; Dohrmann) (same); ECF No. 404-2, Dep. Tr. 77:13-20, 78:10-22 (Davis)

(same); Tr. 545:5-8 (Day 3; Laney) (the portrayal of protests on social media “definitely added fuel

to the fire”).

[¶254] Terry Van Horn, a National Security Intelligence Specialist with the U.S. Attorney’s Office

who collected intelligence to provide to law enforcement throughout the protests, testified that

social media activity had a “direct” correlation with protest activity on the ground. Tr. 1524:25-

1525:12 (Day 9; Van Horn).

[¶255] The perception that State and local law enforcement were being heavy-handed. Closely

tied to the important role of social media was the widespread perception among protestors that State

and local law enforcement were being heavy handed in their response to the protests. See Tr.

2519:14-23 (Day 16; LaDuke); ECF No. 404-3, Dep. Tr. 28:9-18 (Estes); ECF No. 404-2, Dep. Tr.

99:17-20 (Davis). That perception—based in part on misinformation some protestors spread via

social media—was “used to solicit more people to come stop the pipeline from being built.” Tr.

1529:23-1530:4, 1531:7-16 (Day 9; Van Horn); see Tr. 910:15-20 (Day 6; Burgum) (testifying that

images were circulated on social media that suggested law enforcement was using too much force

against protestors). As one State official testified, the impact of law enforcement’s decisions on

the protests was “simply undeniable.” ECF No. 404-1, Dep. Tr. 16:13-17 (Bachmeier). As an

After-Action Report by the State observed, “[t]he mere presence” of law enforcement SWAT teams

“helped feed the protesters[’] narrative of a vast government-military-industrial-conspiracy.” JX 9




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at ND_000135637.

[¶256] Law enforcement’s decision to arrest Chairman Archambault in the early days of the protest

response, on August 12, 2016, led to increased scrutiny on law enforcement’s actions and a “larger

call to action by protestors.” Tr. 627:1-3 (Day 3; Pederson); see also Tr. 2545:9-12 (Day 16;

LaDuke) (testifying that she thought that it was very bad judgment by the State to arrest a tribal

chairman; it showed great disrespect by the State for tribal people).

[¶257] The Big Push operation that law enforcement planned and executed also led to an influx of

additional protestors. See, e.g., Tr. 2452:13-20 (Day 15: Iron Eyes); JX 181 at ND_000112446

(email from Sean Johnson, then the Planning Chief from the State Department of Emergency

Services, dated November 7, 2016, stating that the numbers of protestors at the time were “twice as

high as we were before the big push on 10/27”); JX 164 (State-produced vehicle count and

population estimate spreadsheet, indicating (at column R, rows 53 and 55), that the estimated total

population of the camps on October 27 was 1053-1263 people; and indicating (at column BK, rows

53 and 55), that the estimated total population on November 7 was 2013-2415). As the United

States’ law enforcement expert explained, the Big Push operation was designed in such a way that

protestors viewed it as “exceedingly . . . militarized,” and such militarized responses “provoke

defiance and rebellion.” Tr. 2408:8-25 (Day 15; Maguire).

[¶258] The Backwater Bridge incident on November 20-21, 2016, also caused the number of

protestors to increase. Tr. 989:22-25 (Day 6; Dohrmann). Protestor Winona LaDuke testified that

she saw the incident as a rapid escalation of militarization by the State in its protest response. Tr.

2518:22-23 (Day 16; LaDuke). The State’s law enforcement expert acknowledged that the use of

a fire hose on protestors in cold weather presented poor optics. See Tr. 1352:10-19 (Day 8;

Pearson); see also id. at 1345:13-1346:15 (testifying that he, as a law enforcement professional, has




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never used water against a crowd, never trained other officers regarding the use of water on a crowd,

and never received such training himself); JX 9 at ND_000135637-ND_000135638 (State’s After-

Action Report observing that law enforcement had “no formal, pre-planned policies on the use of

less-than-lethal munitions and agents,” and that “[t]he historical lack of experience with large scale

violent protests meant that little planning had gone into the use of less-than-lethal munitions and

agents.”). The United States’ law enforcement expert, who reviewed extensive video evidence of

the incident, opined that State and local law enforcement’s use of a fire hose to spray protestors on

a frigid night was contrary to accepted police practices, and that it is not something that law

enforcement usually do because it is an indiscriminate and potentially dangerous use of force. See

Tr. 2333:14-2336:4 (Day 15; Maguire).

[¶259] Law enforcement’s decisions regarding the use of equipment caused a negative response

among protestors. For example, law enforcement’s use of riot gear in responding to the protests

created bad feelings among members of the Standing Rock Sioux Tribe. ECF No. 404-2, Dep. Tr.

138:2-18 (Davis). And the State faced further backlash for deploying an unarmed air defense

missile system, such that the asset was eventually removed from the protest response. Tr. 986:2-

18 (Day 6; Dohrmann).

[¶260] There were also many instances in which State and local law enforcement chose not to arrest

all protestors who were engaged in illegal activities. See infra FoF [¶342]. Law enforcement

publicized the fact that they would not make mass arrests of protestors. See, e.g., JX 225 at video

timestamp 0:01-0:45; JX 166 at USACE_00005409; DX 4256 (at video timestamp 16:35-17:02).

[¶261] Actions by the pipeline company. Certain decisions and actions by the pipeline company

caused protest activity to increase in volume and intensity.         For example, the “dog bite”

confrontation between protestors and DAPL private security personnel on September 3, 2016,




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precipitated a swell in the protest camp population. Tr. 989:14-25 (Day 6; Dohrmann); Tr. 448:10-

13 (Day 3; Kirchmeier); Tr. 2439:7-9 (Day 15: Iron Eyes); see Tr. 544:15-545:4 (Day 3; Laney)

(testifying that thousands of people came to join the protests after that incident, the protests became

considerably more confrontational, and the way the incident was portrayed on social media fueled

the protests); Tr. 2514:3-13, 2515:5-8 (Day 16; LaDuke) (testifying that she felt that, by using dogs

in the confrontation with protestors on September 3, 2016, the State and DAPL brutalized and

traumatized her people, and further testifying that those events strengthened her resolve to protest).

That incident was a major flashpoint in the protests. See Tr. 94:18-95:1, 96:1-6 (Day 1; Schulz);

Tr. 989:14-18 (Day 6; Dohrmann); Tr. 1208:2-8, 1208:13-22 (Day 7; Henderson). Tr. 1514:25-

1515:3, 1517:10-15, 1569:15-25 (Day 9; Van Horn); Tr. 2443:25-3 (Day 15; Iron Eyes). As Sheriff

Laney testified, when he saw the video of the September 3 dog bite incident on social media, he

knew “everything was going to change. And we all saw that.” Tr. 496:7-10 (Day 3; Laney).

[¶262] As another example, the pipeline company’s decision to do construction activities in an area

where the Tribe had identified sacred sites caused the protests to increase in intensity. See Tr.

2442:3-25 (Day 15: Iron Eyes); ECF No. 404-2, Dep. Tr. 68:18-69:5 (Davis); JX 8 at

DOI_00026798. North Dakota Indian Affairs Commission Executive Director Davis testified that

he asked the pipeline company to back off of construction because it seemed the company was

purposely building the pipeline quickly, which would cause more people to come and increase the

potential for violence, thus requiring a law enforcement response. ECF No. 404-2, Dep. Tr. 66:5-

67:11, 68:4-14, 69:6-20 (Davis). The pipeline company was not open to that request. Id. at 67:12-

19; see also Tr. 1996:3-20 (Day 12; Spellmon) (Dakota Access’s statement of intent to continue

constructing pipeline close to Lake Oahe “added additional fuel to the protest community in the

camps”); PX 1223 at 0004 (same).




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[¶263] For its part, the pipeline company has sought to place the blame for the protests on

environmental advocacy organizations including Greenpeace and Earth First. The company filed

two lawsuits alleging that those organizations entered into a criminal conspiracy in connection with

the DAPL protests, which was intended to—and did—incite violence, property destruction, and

criminal sabotage.    Tr. 1632:12-1633:8, 1633:14-20 (Day 9; Futch); see Complaint, Energy

Transfer Equity, L.P. et al. v. Greenpeace Int’l et al, No. 17-cv-173-BRW, ECF No. 95 (D.N.D.

filed Aug. 22, 2017); Complaint, Energy Transfer Equity, L.P. et al. v. Greenpeace Int’l et al., No.

30-2019-CV-00180, Index # 2 (N.D. Dist. Ct. Morton Cnty. filed Feb. 21, 2019). The company

claims that Earth First provided $500,000 in seed money to form the Red Warrior Camp, which

was an offshoot of the Main Camp on Corps-managed land north of the Cannonball River. Tr.

1633:9-13 (Day 9; Futch); see also Tr. 1491:9-16 (Day 9; Van Horn). The company did not include

the Corps (or the United States) as a defendant in those cases, and it has no evidence that the Corps

directed the protestors or the organizations that were named as defendants to commit the alleged

bad acts. See Tr. 1634:15-1635:1 (Day 9; Futch).

[¶264] Online donations. Additionally, millions of dollars in online donations supported the

protests, causing them to grow and to continue. See JX 9 at ND_000135646 (State-created After

Action Report stating that the “vast, ongoing funding streams” from online crowdsource donations

meant the protests could “last almost indefinitely, unless other factors intervene, in this case, the

harsh North Dakota winter and potential for spring flooding”); Tr. 987:15-988:6 (Day 6;

Dohrmann). An estimated $12 million to $19 million in total was donated to support the DAPL

protestors, via websites such as GoFundMe. See PX 1470 at 0017; Tr. 1528:9-18, 1528:22-23 (Day

9; Van Horn); ECF No. 404-1, Dep. Tr. 15:25-16:8 (Bachmeier).

[¶265] Some individuals who participated in the DAPL protests were paid directly for their protest




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activities. See ECF No. 404-2, Dep. Tr. 82:19-84:8 (Davis) (Davis strongly suspected that there

were paid protesters who were there to stir the pot and incite violence); Tr. 1501:10-18 (Day 9; Van

Horn) and JX 196 at MYERS_00024230 (discussing protestors being paid for participation in

certain protest activities, including for being arrested).

[¶266] There is no evidence that any of the money donated to the protestors came from officials

with the Corps. See Tr. 1532:7-12 (Day 9; Van Horn); ECF No. 404-2, Dep. Tr. 88:13-15 (Davis).

[¶267] Celebrity involvement. Throughout the protests, a number of celebrities came to the camps

and otherwise expressed their support. For example, actress Shailene Woodley participated in a

peaceful protest at the DAPL construction site, livestreaming her activities on social media. See

Tr. 2326:6-13 (Day 15; Maguire). Shortly after concluding her live stream, as she was leaving the

protest and returning to her vehicle, Ms. Woodley was arrested for trespassing. See id. at 2326:6-

18, 2327:11-24; Tr. 1533:3-20 (Day 9; Van Horn) and PX 1470 at 0028. That arrest received

significant media attention. See Tr. 2326:21-23 (Day 15; Maguire). Other celebrities including

Mark Ruffalo, Susan Sarandon, and Jesse Jackson were present at the protests at various times. JX

13 at ND_000253290.

[¶268] The involvement of celebrities lent credibility to protestors’ cause and increased public

attention on the protests.    Tr. 1532:23-1533:2 (Day 9; Van Horn); Tr. 991: 14-17 (Day 6;

Dohrmann); ECF No. 404-2, Dep. Tr. 96:18-25 (Davis).

    VIII. Statements and Permissions by the Corps Did Not Increase the Protests

[¶269] In contrast to the various factors discussed above, there is no evidence that statements or

permission by the Corps increased the protests’ size, duration, or intensity. As an initial matter,

Corps officials never permitted protestors to erect structures, dig pits, or create roads on Corps land;

nonetheless, protestors did those things regardless. Tr. 1086:7-14 (Day 7; Henderson); JX 128



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(September 16 press release stating that the Tribe was permitted to use the designated Corps land

“subject to Federal rules and regulations including Title 36 of the Code of Federal Regulations Part

327,” further stating that “[a]dditional permission will be required for activities identified in Title

36 such as construction, either temporary or permanent, of any structures within areas identified in

the Special Use Permit”); JX 213 at USACE_00089654 (COL Henderson’s November 25, 2016,

letter to tribal leadership stating that “[t]here are currently many Title 36 violations occurring on

the Corps’ lands north of the Cannonball River, including, but not limited to, unauthorized

structures, fires, improper disposal of waste, and camping,” that “any tribal government that

sponsors such illegal activity is assuming the risk for those persons who remain on these lands,”

and emphasizing that people were permitted to peacefully protest in the free speech zone south of

the Cannonball River “subject to the rules of 36 C.F.R. Part 327”). The Corps also never stated

that protestors were allowed to camp on Corps land to the north of the Cannonball River. See Tr.

1115:13-14, 1115:24-1116:6 (Day 7; Henderson) (COL Henderson never supported a Special Use

Permit or even considered granting one for the area north of the Cannonball River because it was

the subject of a grazing lease that was never canceled); DX 4095 at ARMY_00115852 (September

13, 2016, email from COL Henderson reporting that he told Chairman Archambault about “our

limitation for providing a permit in the area north of the Cannonball” and discussed a move out of

the area, to the south); JX 128 (September 16 press release, stating a Special Use Permit would not

be granted for Corps land to the north of the river because that area was already subject to an

existing grazing lease); JX 133 at USACE_00084338-USACE_00084339 (in response to media

inquiries about protestors on the land to the north of the river, the Corps’s answer was “that they

are encouraged to relocate to the permitted area. If they remain in place it is at their own risk and

at a potential risk to the lessee”); JX 213 at USACE_00089654 (November 25 letter to tribal




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leadership formally closing the area north of the Cannonball). Nonetheless, protestors gathered

there, establishing the “Main Camp” that came to be the largest of all the various protest

encampments. E.g., Tr. 1482:11-17 (Day 9; Van Horn).

[¶270] There is no evidence that the Corps’s September 16, 2016, press release or COL

Henderson’s November 25, 2016, letter to tribal leadership caused the protests to grow larger, last

longer, or be more disruptive than they otherwise would have. The only evidence from protestors

themselves is that those statements did not cause protestors to come to the area or stay longer once

they were there. See ECF No. 404-3, Dep. Tr. 100:1-9 (Estes) (testifying that neither statement

caused him to come to North Dakota or stay in North Dakota during the protests); id. at 58:11-23

(testifying that September 16 press release did not cause him to come to the protest camps and did

not have any bearing on anything that was going on for him); id. at 61:19-62:1 (testifying that the

November 25 letter did not cause him to come to the protest camps or stay any longer than he

otherwise would have); Tr. 2516:7-12 (Day 16; LaDuke) (testifying that as for the September 16

press release, she did not require permission from Corps to go on her own land, and that other

protestors felt the same); id. at 2522:15-23 (testifying that the November 25 letter did not cause her

to engage in any civil disobedience or stay any longer at the camps); Tr. 2445:1-12 (Day 15: Iron

Eyes) (testifying that as for the September 16 press release, what the Corps was doing “wasn’t really

relevant to . . . what [the protestors] were doing,” and it did not make any difference to him in

making his decisions about whether to engage in protests); id. at 2445:25-2446:4 (testifying that

based on Iron Eyes’s participation in and observation of the protests, he did not observe any impact

from the September 16 press release on protests). Scott Davis, the North Dakota Indian Affairs

Commission Executive Director, similarly testified that the people he personally knew who were

participating in the DAPL protests never mentioned the September 16 press release, and that they




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never talked with him about the November 25 letter. ECF No. 404-2, Dep. Tr. 21:6-10, 21:15-20

(Davis).

[¶271] Contemporaneous estimates of the camps’ population and counts of vehicles at the camps

did not show a meaningful increase in protest activity immediately following either statement by

the Corps, or any large-scale movement of protestors from the area of Corps-managed land to the

north of the Cannonball River onto the area south of the Cannonball River. See DX 4225 at 57-62

(United States’ marketing research and consumer behavior expert’s report, plotting the available

camp population estimates and vehicle count information over time and discussing those findings);

JX 8 (a compilation of contemporaneous summaries of protest events created by BIA law

enforcement, including estimates of the protest camps’ population); JX 164 (State-created estimates

of camp populations, beginning in mid-October 2016). Nor was there an increase in social media

activity, which generally correlated strongly with protest activity on the ground, following those

statements. See Tr. 1524:25-1525:12 (Day 9; Van Horn); DX 4225 at 62-119; Tr. 2765:8-15 (Day

17; Steckel). Nor did State and local law enforcement observe a change in the protest situation on

the ground following either statement. See Tr. 463:7-9 (Day 3; Kirchmeier) (Sheriff Kirchmeier

did not notice any change in activity on ground following the September 16 press release); Tr.

546:20-547:3 (Day 3; Laney) (Sheriff Laney recalled the protests growing after the Standing Rock

Sioux Tribe’s call to join the protests early on, the Standing Rock powwow in late August 2016,

and the dog bite incident of September 3, but he did not recall the September 16 press release being

a catalyst for the protests’ growth); Tr. 463:20-24 (Day 3; Kirchmeier) (Sheriff Kirchmeier saw no

change in the protests following COL Henderson’s November 25 letter to tribal leadership).

[¶272] The State itself did not consider either of these Corps statements to be significant at the

time. After-action reports produced by the State shortly after the protests did not include the




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September 16 press release or the establishment of the free speech zone on November 25 as

significant events. See JX 9 at ND_000135663, ND_000135681 (an After-Action Report produced

by the North Dakota Department of Emergency Services that includes a 40-plus-page summary of

the protest events with day-by-day entries from August 10, 2016, through March 31, 2017, which

does not mention the September 16 press release at all, and mentions the November 25 letter only

to say that it “primarily advis[ed] that effective December 5, 2016 the Corps managed federal

property north of the Cannonball River is closed to all public use and access”); JX 265 at

ND_000204152, ND_000204170 (a different version of that report, containing nothing different as

to those two statements); JX 10 at ND_000137422-ND_000137424 (another After-Action Report,

produced by the North Dakota State and Local Intelligence Center, that does not mention the

September 16 statement or the November 25 letter in its summary of protest events); see Tr. 991:25-

992:3 (Day 6; Dohrmann) (testifying that the after-action reports accurately analyzed the events

that were substantial factors in causing the protests to occur); see also JX 13 at ND_000253226-

ND_000253227 (a State-produced presentation about the protests that also does not include the

September 16 press release or November 25 letter’s statement regarding a free speech zone in its

“Timeline of Significant Events”); JX 14 at DOI_00013244, DOI_00013249, (a State-produced

Incident Overview about the protests that does not include the September 16 statement in its list of

“Major Events” during the protests, and only mentions the November 25 statement to say that the

Corps had “ordere[d] occupants of Oceti Sakowin evicted”). Sheriff Laney did not even recall the

issuance of the September 16 press release. Tr. 546:1-9 (Day 3; Laney).

[¶273] More broadly, there is no evidence that the Corps’s granting or denying permission to the

protestors to be on its land made any difference for protestors. COL Henderson believed that even

if the Tribe had a finalized Special Use Permit, it would not have stopped what had already been




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ongoing for a month before the Corps’s September 16 statement. See Tr. 1141:19-23 (Day 7;

Henderson). The only evidence from protesters themselves about the significance of permission

from the Corps is that such permission was not relevant to their decision-making on whether and

where to protest. See Tr. 2517:9-12 (Day 16; LaDuke) (testifying that it would have made no

difference whether the Corps issued a Special Use Permit or not; she was at the camp at the request

of the Lakota people and that was all the authority she needed to be there); Tr. 2426:25-2427:2 (Day

15: Iron Eyes) (testifying that the decision to locate the Main Camp on Corps land to the north of

the Cannonball River was not influenced by any kind of permission or consent from federal

government); id. at 2455:13-17 (testifying that at no time did it make any difference to him whether

or not protestors had a permit from the Corps to be on Corps land, and in his observation of other

protestors, it did not make any difference to anyone else involved); see also ECF No. 404-3, Dep.

Tr. 15:14-20; 16:4-8 (Estes) (testifying that he was at the camps because there was a call to bring

together the Oceti Sakowin, a call that was not made by the Corps); id. at 63:8-14 (testifying that

he could not think of any statement from the federal government during the time of the protests that

caused him to come to the protest camps or stay at them). As Sheriff Kirchmeier put it in a

presentation about the protests, “although the federal government doesn’t recognize the land the

pipeline is on as Sioux territory, other people disagree. So, while the government might say, ‘hey,

you’re trespassing,’ other groups can come back and say ‘no, you’re trespassing and we’re not

leaving.’” JX 266 at USA_00001706.

[¶274] Protestors testified that they did not even view the Corps as having the authority to grant or

deny permission for the protests in the area. See ECF No. 404-3, Dep. Tr. 23:17-25 (Estes)

(testifying that he did not believe that the Corps had a right to say who belonged on the land where

the protests camps were located); id. at 60:20-61:5 (Estes took his guidance on whether he was




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welcome on the land of the protest camps from the Standing Rock Sioux tribal leadership, not the

Corps); Tr. 2516:25-2517:2 (Day 16; LaDuke) (testifying that she did not believe Corps had any

authority to tell her where she could do her activities as a water protector); id. at 2545:15-21

(testifying that she did not believe the Corps had any authority to tell her as a water protector what

she could do and where she could do it because she is an Indigenous person and her land and water

are her responsibility). As COL Henderson put it, the Special Use Permit was a “piece of paper”

that “wasn’t going to mean anything” to protestors, nor would it stop what was already happening

on Corps land. Tr. 1141:19-23, 1265:14-18 (Days 7-8; Henderson).

[¶275] Practically, the Corps did not have the ability to control protestors’ activities.        MG

Dohrmann testified that, by September 2016, the protest camps were not responsive to what the

Corps said could or could not be done on Corps land, and by that point it would not have mattered

what the Corps wanted to do with the land. Tr. 983:8-11, 1004:24-1005:4 (Days 6-7; Dohrmann)

(opining that if protestors wanted to protest on Corps land, they were going to find a way to do it,

no matter what authorities did in response). COL Henderson also testified that Corps officials did

not have control over where protestors congregated or what they did. Tr. 1279:10-12 (Day 8;

Henderson).

   IX.     Corps Officials Made Reasonable Decisions in a Difficult Situation with the
           Limited Resources at Their Disposal

           A. Corps Officials Needed to Consider Many Factors

[¶276] COL Henderson recognized that the DAPL protests presented a difficult and complex

situation. Tr. 1071:11-15 (Day 7; Henderson). While protestors were indeed trespassing on Corps

land, they were also engaged in First-Amendment-protected protest activity on public land. Id. at

1050:2-17, 1167:22-1168:3, 1190:12-1191:3, 1191:21-1192:5.            And the protests involved a

federally recognized Native American Tribe with which the Corps had a trust relationship and with


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which it was engaging in consultations regarding the pipeline. See id. at 1157:21-1158:19; Tr.

2460:14-15 (Day 15: Iron Eyes) (testifying that there were a lot of non-Native people at protests,

but at no point did they outnumber the Native protestors).

[¶277] Moreover, Corps officials knew that, had the Corps attempted to remove everyone from

their land, that action would not have ended the protests; rather, it would pose the risk that protestors

would form new camps “on adjacent private property, or state lands, where additional damage

would be incurred,” which “would only worsen the problem.” PX 1223 at 0001 (email from BG

Spellmon dated October 13, 2016); see also Tr. 470:8-17 (Sheriff Kirchmeier knew from his

experience during the protests that if there was one camp in existence and another camp was cleared,

the protestors who weren’t arrested tended to migrate from the cleared camp to the one that was

still in existence).

[¶278] This situation was different from the usual situation where there are trespassers on Corps

land, which typically involve small numbers of people who are not there to conduct First

Amendment activities and are not sponsored by a federally recognized Native American Tribe, and

which would not require a massive exercise of force by law enforcement to remove them from the

area. See Tr. 427:20-428:4 (Day 3; Kirchmeier), cf. Tr. 149:18-150:18; 151:19-152:2, 152:21-24,

153:5-18, 153:24-154:1 (Day 1; Schulz) (discussing a prior instance of trespassing in the years

before the DAPL protests, when a single Canadian individual was camping on Corps land in Morton

County; that person was not engaged in any kind of free speech activity and left voluntarily after

law enforcement requested he do so).

[¶279] The Corps only had two park rangers assigned to the entire Lake Oahe project area, who did

not have law enforcement authority. See Tr. 1098:16-18, 1152:11-14 (Day 7; Henderson); Tr.




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1460:13-15 (Day 9; Kruger). COL Henderson was concerned about making a decision that could

jeopardize their safety. See Tr. 1098:14-20, 1139:3-10 (Day 7; Henderson).

[¶280] Corps officials needed to be sensitive to all of these realities, and in their decisions about

how to respond to the protests they wanted to avoid creating a conflict or flash point that would

exacerbate the situation.    Tr. 1050:2-25 (Day 7; Henderson); Tr. 1910:13-1911:2 (Day 12;

Spellmon). Given his prior experience in active combat zones, COL Henderson was aware of the

need to build coalitions and evaluate potential courses of action in such difficult situations, to avoid

injuries or loss of life. See Tr. at 1144:6-1145:8 (Day 7; Henderson); see also Tr. 1279:23-7 (Day

8; Henderson) (COL Henderson was concerned and worried that the situation in which thousands

of protestors were in a standoff with law enforcement would lead to people being hurt).

           B. Corps Officials Communicated Regularly with State and Local Officials

[¶281] During the protests, COL Henderson and his team “were in constant coordination” with

State and local officials. Tr. 1138:25-1139:2 (Day 7; Henderson); see, e.g., Tr. 87:14-17, 165:12-

16 (Day 1; Schulz) (COL Henderson personally communicated with Morton County Commission

Chairman Cody Schulz 15-20 times throughout the protests; Schulz also met in person with BG

Spellmon during the protests); Tr. 934:15-24, 993:14-19, 993:25-994:6 (Day 6; Dohrmann) (COL

Henderson spoke with MG Dohrmann often during the protests, including about what actions could

be taken in response and their potential consequences; BG Spellmon also met and spoke with MG

Dohrmann during the protests); Tr. 1411:11-23 (Day 8; Jackson) (MG Jackson testifying that he

and MG Dohrmann both participated in National Security Council meetings about the protests).

[¶282] COL Henderson communicated with State officials regarding the protests on Corps land.

He discussed with law enforcement the need to find a safe place to keep protestors separated from

law enforcement and DAPL workers, and to avoid actions that could become a flashpoint in the




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protests. Tr. 1074:11-1075:2 (Day 7; Henderson).

[¶283] COL Henderson also communicated with State leadership regarding the Tribe’s request for

a Special Use Permit after the Corps first received it in mid-August and as he was deciding how to

respond. Id. at 1187:5-8, 1221:17-21. Corps officials provided the Governor’s office with an

advance copy of the draft press release announcing the Corps was offering the Tribe a Special Use

Permit; the Corps did not receive any objection to the draft release from the Governor’s office. Id.

at 1221:1-8.

[¶284] COL Henderson assigned dedicated Corps personnel to liaise with State and local law

enforcement at the Morton County and State Emergency Operations Centers during the protests.

See Tr. 1030:11-13, 1030:19-1031:1, 1031:8-11 (Day 7; Henderson); Tr. 971:20-23 (Day 6;

Dohrmann). The purpose of assigning those liaisons was to ensure a good flow of communication,

and those Corps individuals both received information from the State and provided the State with

information about decisions the Corps was making. Id. at 1031:12-21.

[¶285] The opinion that State and local law enforcement shared with COL Henderson was that

forcibly removing the protestors from Corps land would be a very bad idea. Tr. 1085:17-22,

1180:13-1181:12, 1204:12-16, 1272:17-1273:2 (Days 7-8; Henderson); see also Tr. 1279:3-9 (Day

8; Henderson) (at no point in the protests up until the camps’ closure in February 2017 did any State

or local official express to COL Henderson that it would have been a good idea to enter Corps land

and remove protestors by force).

[¶286] Further, COL Henderson understood that State and local law enforcement were not

equipped or willing to enforce a mass eviction. See Tr. 1052:4, 1052:24-1053:1, 1197:13-25,

12:05:13-17, 1212:10-21 (Day 7; Henderson); see also DX 4075 at USACE_00177754 (Corps

storyboard summary dated September 7, 2016, reporting that the U.S. Attorney for the District of




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North Dakota “indicated that there is little local desire to enforce an eviction of protestors from the

site upon a permit denial”); DX 4095 at ARMY_00115852 (email from COL Henderson to his

superiors dated September 13, 2016, stating that “I don’t think anyone is willing to force an

eviction”); DX 4136 at USACE_00178842 (on October 27, 2016, Captain Pederson of the North

Dakota Highway Patrol told Corps officials that the State would not put any law enforcement

resources on Corps land, that federal law enforcement would be required to conduct all enforcement

activities on federal land, and that the State’s “resources will not be available” and were

“depleted”); Tr. 1248:23-1249:6 (Day 8; Henderson) (that message from Captain Pederson was

consistent with the information the Corps had been receiving from State and local law enforcement

since the beginning of the protest response in mid-August 2016).

           C. Corps Officials Attempted to Mitigate the Situation by Working Closely with
              Tribal Leadership

[¶287] COL Henderson communicated regularly with Chairman Archambault and other tribal

leaders throughout the protests, in an attempt to deescalate tensions and to negotiate compliance

with the Corps’s requests. See Tr. 1105:18-1106:1 (Day 7; Henderson); e.g., id. (discussing the

back-and-forth communications COL Henderson and his team had in mid-August to mid-

September 2016 after the Tribe submitted its Special Use Permit application); PX 1345 (email

embedding COL Henderson’s text message communications with Chairman Archambault between

September 15, 2016, and December 12, 2016); JX 8 at DOI_00026779, DOI_00026809 (discussing

meetings and conversations COL Henderson had with tribal leadership in September and November

2016); PX 1202 at 0001-0002 (discussing a lengthy conversation COL Henderson had with

Chairman Archambault on October 3, 2016); JX 150 at ARMY_00110826-ARMY_00110827

(discussing COL Henderson’s meetings with Chairman Archambault and LaDonna Bravebull




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Allard on October 7, 2016).

[¶288] COL Henderson and his team worked with the Tribe on their Special Use Permit application

for a month, from August 15, 2016, until the Corps offered the Tribe the Special Use Permit and

issued the related press release on September 16, 2016. See DX 4024 at USACE_00031882; Tr.

1165:20-1166:2, 1166:16-23 (Day 7; Henderson).

[¶289] As of at least early October 2016, tribal leaders and Corps officials were actively working

towards a move of protestors off of Corps land to the north of the Cannonball River—which was

not included in the area that would be authorized under the offered Special Use Permit—to an area

south of the river closer to the town of Cannonball. Tr. 1103:3-14 (Day 7; Henderson); PX 1202

at 0001-0002; JX 150 at ARMY_00110825-ARMY_00110827; PX 1223 at 0001; see JX 129. By

that point, Chairman Archambault also wanted protestors to leave, and the Corps did what it could

to support a tribal-led effort to move the protestors off of the land. Tr. 1117:5-10 (Day 7;

Henderson). The Corps supported a move of protestors off of Corps land north of the Cannonball

River to the area south of the River because they believed there were better options for emergency

response and BIA law enforcement in the south area. Tr. 1127:22-1128:1 (Day 7; Henderson).

[¶290] Corps officials continued to work with the Tribe toward a move off of Corps land in the

following weeks. In early November 2016, at a meeting between COL Henderson and tribal

leadership, the Tribe suggested a 30-day pause in the pipeline’s work in the area to allow the Tribe

to facilitate the move. See Tr. 1252:2-23 (Day 8; Henderson). COL Henderson supported the plan

for the Tribe to lead the move, as opposed to the Corps or law enforcement, in hopes the Tribe

could convince protestors to voluntarily leave the area of the Main Camp. See id. The pipeline

company was strongly opposed to the idea, despite the fact that it would not have the required

permission to construct the pipeline on Corps land in that timeframe. See 1258:1-13 (Day 8;




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Henderson) (describing this as an “unforced error” on the part of the pipeline company that “further

inflam[ed] tensions with the protestors”).

[¶291] COL Henderson recognized that Chairman Archambault had more control than any other

person or entity did during the protests. See Tr. 1103:22-1104:6 (Day 7; Henderson). COL

Henderson and his team also believed that protestors would have responded more positively to a

statement from tribal leadership telling them to leave Corps land than one from the Corps or law

enforcement. Id. at 1117:11-19, Tr. 1235:8-14 (Day 8; Henderson).

[¶292] In his discussions with tribal leadership, COL Henderson emphasized the need for the Tribe

to discourage violence, trespassing on private land, and provoking confrontations with law

enforcement. Id. at 1236:22-1237:15; PX 1202 at 0001 (email from COL Henderson dated October

4, 2016, recounting a conversation he had with Chairman Archambault in which he emphasized

these points).

[¶293] In COL Henderson’s conversations with tribal leadership—and in the Corps’s statements to

the public—he made clear that protestors were not permitted on Corps land to the north of the

Cannonball River. See PX 1345 at 0009 (text message from COL Henderson to Chairman

Archambault dated October 28, 2016, stating that COL Henderson “can’t condone the continued

occupation of the land north of the Cannonball River”); JX 128 (September 16 press release, stating

that a Special Use Permit would not be granted for Corps land to the north of the Cannonball River

because that area was already subject to an existing grazing lease); JX 213 at USACE_00089654

(November 25 letter to tribal leadership formally closing the area north of the Cannonball).

[¶294] The Corps’s approach in working with tribal leadership mirrored the State’s approach. The

State often negotiated with protest leaders in an attempt to seek voluntary compliance. See, e.g.,

Tr. 172:14-20 (Day 1; Schulz) (State officials met with members of the protest camps they believed




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to have influence many times throughout the protests); id. at 85:16-18 (Morton County officials

kept an open line of communication with the Standing Rock Sioux Tribe during the protests); Tr.

502:10-16 (Day 3; Laney) (when State law enforcement encountered protesters blocking roadways,

they would have dialogue with them to try and get the protest to break up); JX 8 at DOI_00026790-

DOI_00026793, DOI_00026795-DOI_00026797, DOI_00026799 (describing several meetings

that State, local, and BIA officials had with representatives of the protest camps in late August to

mid-September 2016 to discuss options for peacefully concluding the protests); JX 266-N (video,

at slide 27) (video in which law enforcement officials discuss where protestors may gather with a

protest representative); Tr. 374:9-23 (Day 2; Kirchmeier) and Tr. 515:6-18 (Day 3; Laney)

(discussing the meeting with a North Camp protest leader named Mekasi the day before the Big

Push, in which law enforcement hoped to convince protestors to voluntarily leave the area). And

State officials were in regular communication with Standing Rock Sioux Tribe leaders throughout

the protests. See Tr. 432:2-433:14 (Day 3; Kirchmeier) (on August 16, 2016—one day after the

Corps first learned about protestors being on Corps land north of the Cannonball River—Sheriff

Kirchmeier attended a meeting with Standing Rock Sioux Tribe members about how to deescalate

tensions, discussing options including offering more land, comfort, and amenities to the protestors);

Tr. 539:1-4 (Day 3; Laney) (State officials considered their relationship with the Standing Rock

Sioux Tribe in formulating their protest response); Tr. 775:13-776:9 (Day 5; Dalrymple) (testifying

that the Governor’s office was in communication with Chairman Archambault very early on in the

protests and continued to coordinate with him as the protests went on, even as it became clear the

protests were no longer within his control); id. at 786:21-787:7, 807:19-23 (testifying that the

Governor worked with Chairman Archambault and the Standing Rock Sioux tribal council to defuse

tensions and practice diplomacy); Tr. 846:10-25 (Day 6; Burgum) (testifying that one of Governor




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Burgum’s first acts when he took office was to call Chairman Archambault to get his perspective

and engage in diplomacy); Tr. 984:15-25 (Day 6; Dohrmann) (in deciding how to respond to the

protests, MG Dohrmann considered the need to maintain the relationship between the State and the

Standing Rock Sioux Tribe); Tr. 166:1-6 (Day 1; Schulz) (Morton County Commission Chairman

Schulz talked with Chairman Archambault 15-20 times throughout the protests, met with tribal

council members on multiple occasions, and kept an open line of communication with the Standing

Rock Sioux Tribe).

[¶295] As MG Dohrmann testified, the State implemented the “DIME” model: employing

diplomatic, information, military/law enforcement, and economic measures, with law enforcement

force being used as a last resort. Tr. 937:11-18 (Day 6; Dohrmann). The State’s expert agreed that

trying to defuse a difficult situation by negotiating with protest leaders or organizers is a good

strategy. See Tr. 2094:21-24, 2095:13-18 (Day 13; Handy).

[¶296] The pipeline company also took a similar approach to the Corps and the State in attempting

to work with the Tribe to deescalate the protests. At one point in late fall or winter 2016, the

company offered to donate the Cannonball Ranch land to the Standing Rock Sioux Tribe in

exchange for the Tribe’s assistance in controlling the activities of protestors. Tr. 1629:7-25 (Day

9; Futch).

             D. Corps Officials Coordinated with Other Federal Officials and Sought Federal
                Law Enforcement Assistance

[¶297] In addition to communicating regularly with State officials and tribal leadership, Corps

officials also coordinated with members of federal law enforcement agencies about how best to

respond to the protests. In mid-August, individuals with the U.S. Attorney’s Office told COL

Henderson that it would not be worthwhile to issue trespassing citations to protestors on Corps land

because any such citations would not be enforced. Tr. 1179:8-16 (Day 7; Henderson). That


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message from the U.S. Attorney’s Office was the same as the protests continued into fall of 2016.

See Tr. 1242:2-1243:18 (Day 8; Henderson); JX 150 at ARMY_00110828. Darren Cruzan, the

Director of the BIA’s law enforcement branch, advised Corps officials on September 15, 2016, that

“[a]ny attempt to forcefully remove the camp or even allude to that being an option at this time in

my opinion could derail any progress that we have made to this point.” JX 122 at DOI_00022359

(the top email in this chain notes that Director Cruzan’s request was passed along to the Corps that

day); see Tr. 2599:14-16 (Day 16; Cruzan).

[¶298] Corps officials requested federal law enforcement assistance to deal with the protests. In

August 2016, COL Henderson spoke with officials from the U.S. Attorney’s Office in North Dakota

to understand the law enforcement jurisdiction over the area of the protest encampments and how

to request federal law enforcement support. Tr. 1099:25-1100:13 (Day 7; Henderson).           COL

Henderson went on to request federal law enforcement support through his own chain of command

and from various federal law enforcement agencies informally on several occasions throughout the

protests. See Tr. 1120:9-23, 1140:3-15, 1265:21-23, 1297:9-13 (Days 7-8; Henderson). Those

requests either went unanswered, or COL Henderson received the response that other federal

agencies were not willing to make their law enforcement resources available. Id. at 1100:24-

1101:2, 1140:12-16.

[¶299] In December 2016, COL Henderson made a written request to the Department of Justice,

via the U.S. Attorney General, for federal law enforcement support. Id. at 1100:17-1101:7,

1296:24-1297:8; see DX 4172 (draft of COL Henderson’s written request for federal law

enforcement assistance). He made this formal request—after having made several similar, informal

requests previously—to create a written record of the request and to ask for a written response. Tr.

1265:21-1266:1 (Day 8; Henderson).         Before the request was submitted, COL Henderson




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coordinated it jointly with MG Dohrmann, so that it would be sent via multiple channels. Id. at

1274:3-1275:4; DX 4172 at USACE_00024756 (emails between COL Henderson and his team,

discussing that MG Dohrmann was willing to sign the letter and that he had suggested that other

State law enforcement officials should sign it as well). COL Henderson completed the request and

submitted it to his superior, BG Spellmon. Tr. 1296:7-20 (Day 8; Henderson); Tr. 1971:9-13 (Day

12; Spellmon). BG Spellmon passed the request on to LTG Semonite, who was then the Chief of

Engineers for the Corps, and he also sent the request via letter to the U.S. Attorney General. Tr.

1972:6-14 (Day 12; Spellmon).

[¶300] The Department of Justice ultimately did not grant the Corps’s request for federal law

enforcement assistance. See Tr. 1275:5-7 (Henderson; Day 8); see also ECF No. 405-3, Dep. Tr.

25:24-26:18, 28:5-18, 38:17-39:7, 39:25-40:16 (Hornbuckle).

            E. COL Henderson Decided Not to Ask the State to Forcibly Remove the
               Protestors

[¶301] In deciding how to respond to the protests, COL Henderson took into account the input he

received from stakeholders, as well as concerns about health, safety, sanitation, the right to free

speech and assembly, and other factors in deciding how to respond to the protests. Tr. 1196:22-

1197:7, 1199:7-12 (Day 7; Henderson); see JX 76 at USACE_00045055 (COL Henderson told

Governor Dalrymple in a discussion on August 22 that he “would balance the

life/health/safety/sanitation/risk information with freedom of speech and freedom of assembly

rights”).

[¶302] COL Henderson considered a range of options. He did not view doing nothing as a viable

option, because that was creating confusion. Tr. 1211:10-16 (Day 7; Henderson). He also did not

view seeking the removal of all protestors as trespassers as a viable option, because he feared it

would spark violence, he wanted to respect the First Amendment rights of those who were there to


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peacefully protest, and he knew law enforcement would not enforce such an edict in any event. See

id. at 1193:14-1194:23, 1197:13-25, 1211:17-22, 1212:10-1213:2, 1222:4-9. In coordination with

law enforcement, and taking into account their assessment of the situation, COL Henderson also

decided not to ask law enforcement to forcibly remove protestors en masse from Corps land. Tr.

1085:5-8, 1085:17-22, 1167:10-19, 1181:25-1182:15, 1204:12-16, 1205:8-17. (Day 7; Henderson).

Ultimately, COL Henderson decided to take a different approach: offering a Special Use Permit to

the Tribe for a specified area south of the Cannonball River, for protestors to peacefully and

lawfully exercise their First Amendment rights, in a way that would make clear the Tribe took

responsibility for the protest gathering. See id. at 1211:23-1212:9; Tr. 1219:16-1220:8.

[¶303] The United States’ law enforcement expert, Professor Ed Maguire, agreed that not

attempting to clear the camps at an early stage was a wise decision, because it allowed an

opportunity for tensions to calm and for law enforcement to begin establishing relationships with

protestors. See Tr. 2341:11-15 (Day 15; Maguire); see also id. at 2345:16-18 (opining that the

Corps did a good job of trying to consider various sensitivities and complexities of the protests and

formulate a thoughtful response).

[¶304] MG Dohrmann testified that COL Henderson did “a very good job” in responding to the

protests based on the authority COL Henderson had. Tr. 993:20-22 (Day 6; Dohrmann).

   X.      Federal Agencies Other than the Corps Provided Law Enforcement Support to
           the State Throughout the Protests, but Not to the Extent the State Requested

[¶305] Several federal agencies other than the Corps contributed to the law enforcement response

to the protests in a variety of ways. See, e.g., Tr. 560:23-561:3 (Day 3; Pederson) (testifying that

the EOC had representatives from U.S. Attorney’s Office, BIA, the Corps, the FBI, HSI or CBP,

and, at times, the U.S. Marshals Service); Tr. 958:21-959:4 (Day 6; Dohrmann) (similar). (None

of these other federal agencies were under the direction of the Corps. See Tr. 1201:18-21 (Day 7;


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Henderson); Tr. 1394:2-6 (Day 8; Jackson); Tr. 1462:16-19 (Day 9; Kruger).)

[¶306] BIA. Throughout the duration of the protests, the BIA policed the protest camps on the

Sioux County side of the Cannonball River. Tr. 421:4-6 (Day 3; Kirchmeier) and JX 99 at

MYERS_00000092- MYERS_00000094.

[¶307] The BIA deployed as many additional officers as it could from across the country to the

Standing Rock Indian Reservation, to maintain peace and enforce the law there. ECF No. 405-4,

Dep. Tr. 115:22-25, 194:11-17, 255:11-13 (Jewell); ECF No. 405-11, Dep. Tr. 24:3-8, 62:25-63:8

(O’Neal); Tr. 2606:16-23 (Day 16; Cruzan). However, BIA law enforcement was understaffed at

the Standing Rock Indian Reservation and across the country at the time of the protests, and

historically. ECF No. 405-11, Dep. Tr. 39:12-17 (O’Neal); Tr. 2606:1-8, 2652:1-7 (Day 16;

Cruzan).

[¶308] As of August 18, 2016, 12 BIA police officers from other reservations were detailed to the

Standing Rock Indian Reservation; those details continued throughout the protests. Id. at 2609:19-

25, 2610:21-24. And Darren Cruzan, the head of the BIA’s Office of Justice Services (the BIA’s

law enforcement arm), spent three to four months on the ground and served as the BIA Incident

Commander during the DAPL protests. See Tr. 2599:7-20; 2605:14-16, 2606:16-23, 2607:12-21,

2612:18-2613:1 (Day 16; Cruzan). Detailing BIA law enforcement to the Standing Rock Indian

Reservation to respond to the protests strained BIA’s resources nationwide, creating more staffing

shortages in the areas from which officers were reassigned. See id. at 2610:11-16; JX 270 at

DOI_00007712.

[¶309] The BIA also assigned program analysts to the Tactical Operations Center, to work with

and share information among State and local law enforcement and federal partners. See ECF No.

405-11, Dep. Tr. 17:7-10, 17:18-25, 18:16-19:4 (O’Neal).




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[¶310] The BIA also deployed a Unified Command Vehicle from Oklahoma to the DAPL protests,

which remained deployed throughout the protests. Tr. 2606:16-23, 2612:18-2613:1 (Day 16;

Cruzan).

[¶311] CBP. Customs and Border Protection provided aerial surveillance support throughout the

protests. CBP deployed an MQ-9 drone from August 22, 2016, through December 23, 2016, and

again from January 4, 2017, through approximately February 20, 2017. ECF No. 405-14, Dep. Tr.

35:10-16, 46:15-20 (Walker). The MQ-9 drone provides a secure video feed that is viewable by

authorized users on the ground in real time. Id. at 30:18-31:6. The operator and those viewing the

feed can communicate in real time via a chat function. Id. at 31:6-8. CBP provided the drone feed

directly to the EOC, and State and local law enforcement at the EOC could and did request the

drone move to particular locations in real time. Id. 47:8-16, 81:10-82:14; see Tr. 961:22-962:16

(Day 6; Dohrmann). CBP also provided an intelligence agent who consulted and liaised with the

State and the EOC to ensure information was coming through via the secure video feed. ECF No.

405-14, Dep. Tr. 129:14-19 (Walker).

[¶312] In total, the CBP drone flew almost 281 hours of flight time in support of the State in

connection with the protests. Id. at 129:7-13. Ordinarily, when CBP deploys its drone assets to

assist another agency, CBP would request and receive reimbursement from the other agency. Id. at

157:17-158:11. The total reimbursement amount for the flight time CBP provided to the State for

the DAPL protests would have been approximately $1.5 million. Id. at 158:12-23. But CBP did

not seek reimbursement for its flight time from the State. Id. at 158:24-159:3.

[¶313] CBP provided additional aerial surveillance assistance via helicopter, during the Big Push

operation and during the evacuation of the protest camps in February 2017. Id. at 34:12-35:8,

130:1-17.




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[¶314] CBP also provided approximately ten officers for on-the-ground assistance at observation

posts and traffic control points for approximately four weeks in October to November 2016. Id. at

87:2-24, 88:3-7, 90:13-23, 129:20-25. During that time, some CBP officers additionally assisted

State and local law enforcement in responding to a group of protestors who were attempting to

outflank a line of law enforcement personnel. See id. at 89:8-17, 119:4-9.

[¶315] CBP also provided camera equipment for on-the-ground surveillance of the camps on

Corps, tribal, and State land. Id. at 87:24-88:2.

[¶316] FBI. The FBI’s role in responding to protest situations is limited; it conducts investigations

of violations of federal law and collects and shares intelligence. ECF No. 421, Dep. Tr. 152:18-

153:2 (O’Connell); see also ECF No. 422, Dep. Tr. 26:18-27:8 (Perry) (FBI officials communicated

to State officials, including the Governor, the limits of assistance the FBI could provide). The FBI

did not feel that using its SWAT or similar resources in response to the DAPL protests was within

the FBI’s purview or jurisdiction. ECF No. 422, Dep. Tr. 38:19-25 (Perry).

[¶317] Additionally, the FBI’s Bismarck office was significantly understaffed during the time of

the DAPL protests. ECF No. 421, Dep. Tr. 169:1-5 (O’Connell); ECF No. 422, Dep. Tr. 15:7-12

(Perry). It assigned temporary duty agents to backfill the regular responsibilities of the Bismarck

office to free up time for another agent to focus on the DAPL protests. ECF No. 422, Dep. Tr.

36:22-37:9, 38:10-12 (Perry).

[¶318] Despite the understaffing at the Bismarck office, the FBI supervisor for that office, Jacob

O’Connell, was present at the protest camps on a daily basis to gather information which he would

pass up his chain of command to try to obtain resources to respond, or report to others. ECF No.

421, Dep. Tr. 27:9-25 (O’Connell). O’Connell participated in daily briefings with State and local

law enforcement. Id. 67:1-15. Robert Perry, who was then the Assistant Special Agent in Charge




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of the FBI Field Office in Minneapolis with leadership responsibility for the North Dakota area,

also attended meetings at the State Emergency Operations Centers several times. ECF No. 422,

Dep. Tr. 11:21-12:12, 17:20-18:4 (Perry).

[¶319] The FBI assigned an intelligence analyst to spend time at the law enforcement command

post. Id. at 15:18-16:1.

[¶320] The FBI provided agents who were trained on command-post operations, to consult with

State and local officials. ECF No. 422, Dep. Tr. 73:5-8 (Perry).

[¶321] In total, the FBI assigned approximately 15 positions to the DAPL protest response, with

between 50 and 100 FBI employees rotating through those positions. ECF No. 421, Dep Tr.

135:8-19 (O’Connell).

[¶322] The FBI also provided cameras on-site to monitor the protests. ECF No. 422, Dep. Tr.

37:10-14 (Perry).

[¶323] The FBI also opened investigations into violations of federal criminal law, and it worked

with the State of North Dakota and other federal agencies to help investigate instances of federal

legal violations. ECF No. 422, Dep. Tr. 49:4-11, 70:12-71:19 (Perry). The FBI also shared the

investigative information it received with State and local law enforcement. Id. at 72:2-13. Most

often, State officials already knew the information the FBI was sharing through its intelligence

gathering. Id. at 50:8-21.

[¶324] U.S. Marshals Service. The Marshals Service does not have general policing duties. See

ECF No. 429-1, Dep. Tr. 23:17-24:1 (Ward). The Marshals Service’s authority to participate

directly in the law enforcement response to the protests was limited, absent a directive from the

Attorney General or initiation of the Stafford Act by the Office of the President. See ECF No. 405-

12 Dep. Tr. 83:10-18, 85:2-8 (Orr); PX 1310, at ND_000110337.




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[¶325] The Marshals Service’s resources in the area of the protests were limited. See ECF id. at

80:14-81:6 (testifying that if the Corps had asked him as the U.S. Marshal to provide a law-

enforcement response on Corps land, he likely would not have granted that request because he only

had four or five deputies, and they were responsible for other tasks).

[¶326] Nonetheless, various officials of the U.S. Marshals Service deployed to assist with the

protest response at different times, including individuals from the Judicial Security Division and an

incident management team. See ECF No. 405-12, Dep. Tr. 106:10-110:7 (Orr). Marshals Service

officials taught Morton County deputies how to do a security survey for Sheriff Kirchmeier’s

residence, and the Marshals Service provided two armored SUVs for Morton County’s use for a

time. See id. The Marshals Service also met with officials of the Federal Protective Service to

facilitate increased Federal Protective Service staffing at courthouses in the area, in order to free up

State and local law enforcement resources. See id.; see also Tr. 1570:7-22 (Day 9; Van Horn)

(explaining that Federal Protective Service’s role is to protect federal buildings and courthouses

and their occupants).

[¶327] Department of Justice. Other components of the Department of Justice provided a variety

of resources in response to the protests, including from the Department’s Office of Community

Oriented Policing Services, Community Relations Service, Office of Tribal Justice, and the Civil

Rights Division. ECF No. 405-3, Dep Tr. 15:17-18:2, 18:8-19:9, 21:8-21:19, 22:1-4, 22:21-23:4,

26:7-26:12, 28:19-29:18 (Hornbuckle).

[¶328] The Department of Justice’s Office of Community Oriented Policing Services (“COPS”)

assists law enforcement at the state, local, and tribal levels. ECF No. 405-3, Dep. Tr. 16:11-16

(Hornbuckle). COPS has expertise in mass-protest events and constitutional policing, and provides

information to local law enforcement dealing with significant issues like the DAPL protests. Id. at




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16:18-17:2. In September 2016, DOJ deployed individuals from the COPS office to the State law

enforcement command center to meet with local sheriffs and suggest strategies to deescalate

tensions. Id. at 17:3-14.

[¶329] The Department of Justice’s Community Relations Service (“CRS”) provides facilitated

dialogue and mediation services. Id. at 18:11-21. Beginning in August 2016, the Department of

Justice deployed individuals from CRS’s regional offices with experience working with Native

American Tribes to the Standing Rock Reservation to facilitate dialogue and seek to deescalate the

protest situation. Id. at 18:22-19:9. Those individuals were onsite on multiple occasions, including

for a meeting on September 5, 2016, that included stakeholders from various groups: law

enforcement, the Tribe, and protest camp leaders. Id. at 20:2-11. CRS personnel also sought to

assist in the coordinated planning effort by State and federal officials to evacuate the remaining

protesters at the camps in February 2017. Id. at 33:2-14. One of the CRS officials who was

deployed to assist with the protest response was an individual named Rosa Salamanca. Id. at 50:7-

10; Tr. 961: 9-21 (Day 6; Dohrmann). Ms. Salamanca arranged a number of meetings with

representatives from State and local law enforcement, BIA Office of Justice Services Director

Cruzan, and representatives from the various protest camps. See, e.g., JX 8 at DOI_00026790-

DOI_00026791, DOI_00026817.

[¶330] The Office of Tribal Justice is DOJ’s point of contact with federally recognized Native

American Tribes, and it provides advice on legal and policy matters relating to the Tribes. ECF

No. 405-3, Dep. Tr. 22:21-25 (Hornbuckle). The Director of the Office of Tribal Justice traveled

to North Dakota in September of 2016 and met with tribal members and protestors, and he attended

the State law enforcement command center. Id. at 23:1-4.

[¶331] An official with the Department’s Civil Rights Division also traveled to North Dakota in




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September 2016 to investigate complaints the Department of Justice had received that protestors’

civil rights had been violated by DAPL’s private security personnel and State and local law

enforcement. Id. at 21:12-19, 21:17-19, 22:5-7. The Civil Rights Division continued to monitor

the protest situation thereafter, given the concerns that were raised about potential violations of

First Amendment rights. Id. at 22:1-4.

[¶332] The U.S. Attorney’s Office for the District of North Dakota also provided resources in

connection with the protest response effort. Terry Van Horn, a National Security Intelligence

Specialist with the U.S. Attorney’s Office, was assigned to the EOC and then the Tactical

Operations Center to assist Morton County law enforcement with the protest response. Tr. 1477:24-

1479:14, 1507:2-5 (Day 9; Van Horn). Mr. Van Horn collected intelligence via social media, drone

footage, protestors who were arrested, and other sources; he then provided that information to State

and local law enforcement. Id. at 1507:6-1508:16. Mr. Van Horn was physically present at one

or the other of these State operations centers for six and a half days a week throughout the protests,

from mid-August 2016 to March 2017. Id. at 1479:15-19.

[¶333] The ultimate decision-makers as to whether to deploy more federal law enforcement

resources to assist with the protest response were DOJ officials, not the Corps. See ECF No. 405-3,

Dep. Tr. 101:19-25 (Hornbuckle).

[¶334] The Department of Justice did not provide the State with all of the on-the-ground law

enforcement personnel, equipment, and monetary support the State requested. See JX 236, PX

1332, PX 1349, and Tr. 423:13-20, 455:5-10 (Day 3; Kirchmeier) (Sheriff Kirchmeier requested

federal law enforcement manpower and financial assistance; those requests were not answered); Tr.

772:13-14 (Day 5; Dalrymple) (the State wanted “hundreds” of federal law enforcement officers to

assist, “not one or two”). The Department of Justice determined, as a result of deliberative




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discussions among numerous of its components, not to grant those requests. See ECF No. 405-3,

Dep. Tr. 28:5-29:13 (Hornbuckle); see also ECF No. 429-1, Dep. Tr. 147:15-148:1 (Ward)

(testifying that it was his impression that the decision whether to deploy federal law enforcement

assets was made by senior political leadership above the Director of the Marshals Service).

Department of Justice officials recognized that federal law enforcement officers are limited in their

jurisdictional authority, and that State and local law enforcement had the primary responsibility for

policing the areas in Morton County where the protests occurred. ECF No. 405-3, Dep. Tr. 24:9-

13 (Hornbuckle); see Tr. 1462:23-1463:2 (Day 9; Kruger); Tr. 1151:15-1152:6 (Day 7; Henderson);

DX 4004 at USA_00000227. The Department of Justice was also limited by resource constraints.

See ECF No. 405-3, Dep. Tr. 24:13-15 (Hornbuckle). Department of Justice officials also had

concerns that deploying federal law enforcement personnel to the protests could escalate an already

tense situation and cause more harm than good. Id. at 24:1-8; see also Tr. 2344:19-2345:8 (Day

15; Maguire) (opining that the decision not to mobilize federal law enforcement personnel to the

protests was a good one because, given the complexities of the protests and the varying concerns at

issue, doing so likely would have led to increased violence and conflict and ultimately increased

the protests’ duration).

   XI.     The State Chose Not to Forcibly Remove Protesters En Masse

[¶335] The State’s protest response effort was led initially by Sheriff Kirchmeier, as Incident

Commander. Tr. 661:19-23 (Day 4; Gerhart). Eventually the State transitioned to a Unified

Command structure, made up of Sheriff Kirchmeier, MG Dohrmann, and COL Gerhart. Id. at

661:23-662:10. However, the final say on the law enforcement response to the protests remained

with Sheriff Kirchmeier. See Tr. 979:17-21 (Day 6; Dohrmann).




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           A. The State Viewed the Protestors on Corps Land as Trespassers and Knew
              Some Protestors Were Violating State and Local Laws

[¶336] At the time of the DAPL protests, both State and federal officials viewed the protestors

camped on Corps land to be trespassers. See, e.g., Tr. 1050:2-5, 1085:2-4, 1197:22-25 (Day 7;

Henderson) (“They were trespassing. They didn’t have permission to be there, and any way you

look at it, they were trespassing. We knew they were trespassing. Law enforcement knew they

were trespassing. They were trespassing.”); PX 1047 at 0003 (email from COL Henderson dated

August 24, 2016, attaching storyboard summarizing updates regarding the protest situation, which

stated that protestors on Corps-managed lands were “considered trespassing”); Tr. 180:7-13 (Day

1; Schulz) (testifying that Schulz understood that protestors camped on Corps land were not allowed

to be there and that he did not think protestors had a permit to camp anywhere on Corps land near

the Cannonball River); Tr. 859:9-860:6 (Day 6; Burgum) (recalling driving by the protest camps

and characterizing the people in the camps as “trespassers basically taking over federal land”); id.

at 879:6-7 (“I wouldn’t call them ‘campers.’ I’d call them ‘trespassers.’”). In particular, State and

local law enforcement recognized that the Corps had never permitted protestors to be on Corps land

to the north of the Cannonball River. See Tr. 424:6-8 (Day 3; Kirchmeier) (testifying that the Corps

never formally or informally sanctioned the Main Camp on Corps land north of the Cannonball

River).

[¶337] State and local law enforcement knew that some protestors who were staying at the protest

camps—in particular, at the Main Camp on Corps land to the north of the Cannonball River—were

leaving the camps to violate state and local laws elsewhere. See Tr. 229:2-9 (Day 2; Gallagher);

Tr. 326:10-24 (Day 2; Johnson); Tr. 486:18-487:2, 489:2-24 (Day 3; Laney); Tr. 582:4-20 (Day 3;

Pederson); Tr. 943:19-944:2, 1007:1-3 (Days 6-7; Dohrmann).

[¶338] The crimes committed by some protestors included, inter alia, vandalism and property



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damage; trespassing on State and private property; rioting; blocking bridges, highways, and

roadways; theft of agricultural products and livestock; arson; threats; and assaults on DAPL workers

and law enforcement personnel. See, e.g., JX 10 at ND_000137425-ND_000137426; Tr. 79:4-11,

82:8-18; 86:17-19, 93:10-94:3, 94:4-14, 148:1-7, 148:15-17 (Day 1; Schulz); Tr. 229:10-20 (Day

2; Gallagher); Tr. 326:10-24 (Day 2; Johnson); Tr. 409:14-410:15, 411:15-17, 425:6-20 (Day 3;

Kirchmeier); Tr. 487:6-488:3, 488:8-13, 493:15-494:3 (Day 3; Laney); Tr. 754:22-24, 754:25-

755:4 (Day 5; Dalrymple); Tr. 872:16-21, 873:10-18 (Day 6; Burgum); JX 266-N at

ND_000253619 and ND_000253622; PX 1253 at 0002-0003; PX 1319 at 0001. Each of those

offenses is a crime under North Dakota law. See N.D. Cent. Code § 12.1-21-05 (criminal mischief,

applicable to acts of vandalism); id. § 12.1-22-03 (criminal trespass – noncriminal offense on posted

property); id. §§ 12.1-25-01, 12.1-25-03, 12.1-25-04 (inciting and engaging in a riot and

disobedience of public safety orders under riot conditions); id. § N.D.C.C. § 39-10-49 (stopping,

standing, or parking prohibited in specified places, including intersections and bridges); id. § 12.1-

23-02 (theft of property); id. § 12.1-21-01 (arson); id. §§ 12.1-17-05, 12.1-17-04, 12.1-17-07, 12.1-

17-07.1 (menacing; terrorizing; harassment, including making threats to injure via electronic

communication; and stalking); id. § 12.1-17-01 (simple assault and assault on peace officers). To

the extent some protestors conspired together to commit these offenses, that was also a crime under

State law. See N.D. Cent. Code § 12.1-06-04.

           B. State and Local Law Enforcement Had Jurisdiction to Enforce Violations of
              State and Local Laws but Often Chose Not to

[¶339] State and local law enforcement had jurisdiction to enforce violations of State and local law

on Corps land. See Tr. 1462:23-1463:2 (Day 9; Kruger); Tr. 1151:15-1152:6 (Day 7; Henderson);

DX 4004 at USA_00000227; JX 204 at USACE_00009351; JX 210 at USACE_00009574; 40

U.S.C. § 3112; 36 C.F.R. § 327.26. The exercise of that general policing jurisdiction was not


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dependent on permission from the Corps for law enforcement to enter its land, a fact which the

Corps communicated to law enforcement officials and which Sheriff Kirchmeier already knew. See

Tr. 1260:7-1261:6, 1261:17-1262:2 (Day 8; Henderson); Tr. 466:18-23 (Day 3; Kirchmeier); JX

204 at USACE_00009351; JX 210 at USACE_00009574; see also Tr. 543:7-9 (Day 3; Laney)

(Sheriff Laney was told that Morton County enforces state laws on Corps land). MG Dohrmann

acknowledged that State and local law enforcement “don’t need Corps permission to enforce—or

for us to enforce a law on Corps land where there’s proprietary jurisdiction,” but nonetheless he

testified that law enforcement officers “don’t go onto land unless the landowner asks us to enforce

a law there.” Tr. 1019:11-14 (Day 7; Dohrmann).

[¶340] On multiple occasions during the protests, State and local officials entered the Corps’s land

without prior permission, for a variety of reasons. At the beginning of the protests, the State

deployed water and first aid stations and a mobile command post trailer to the area of the Main

Camp on Corps land without the Corps’s prior permission. See JX 9 at ND_000135659; JX 69 at

MYERS_00001792; Tr. 819:6-9 (Day 5; Dalrymple); Tr. 981:10-982:2 (Day 6; Dohrmann); JX 69

at MYERS_00001792. Later in the protests, State officials entered Corps land to clear snow to

create an emergency evacuation route, despite being notified by Corps officials that they may need

a permit to do so. See Tr. 120:20-121:24 (Day 1; Schulz) (testifying that he “had the legal authority

given the county and state emergency declaration to make that . . . decision and do that,” and that

he told the Corps he would not wait to fill out a permit and “the snow was getting moved”).

[¶341] During the Big Push operation, State and local law enforcement did not consult the Corps

before they pushed protestors from the North Camp on private and State property onto the Main

Camp on Corps land. See Tr. 450:25-451:6, 453:12-15 (Day 3; Kirchmeier) (Sheriff Kirchmeier

instructed protestors to go to the Main Camp on Corps land, even though he knew they did not have




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a legal right to be there); Tr. 1246:7-18 (Day 8; Henderson); JX 166 at USACE_00005409.

[¶342] Though law enforcement had the authority to enforce state and local laws in Morton

County—both on and off Corps land—they often chose not to exercise that jurisdiction. State and

local law enforcement repeatedly encountered groups of protestors who were breaking the law off

of Corps land and exercised their discretion not to arrest those individuals. See, e.g., Tr. 285:20-

286:4 (Day 2; Gallagher); Tr. 730:22-731:9 (Day 4; Gerhart) (testifying that protestors were

blocking the east end of Memorial Bridge on October 17, 2016; the protestors were breaking the

law and could have been arrested); JX 265 at ND_000204147 (State-created After Action Report

does not list any protestor arrests on that day); Tr. 642:8-644:21 (Day 4; Pederson) and JX 265 at

66 (testifying that at a protest at a federal building in Bismarck on November 14, 2016, protestors

did not have a permit and were blocking traffic; law enforcement decided not to disperse the

protestors); JX 8 at DOI_00026779 (on November 6, a group of protestors “attempted to gain access

to the drill pad site by crossing the river and climbing up Sacred Mound/Turtle Hill”; law

enforcement “thwarted” the protestors efforts but only arrested one individual, not the entire group);

Tr. 608:3-24 (Day 3; Pederson) and JX 9 at ND_000135680-81 and JX 265 at ND_000204169-

ND_000204170 (on November 24, 2016, officers from at least three different law-enforcement

agencies responded to protestors blocking an intersection in Mandan from approximately 9:40 a.m.

to 11:20 a.m.; only two protestors out of a group from a caravan of approximately 200 vehicles

were arrested).

           C. State and Local Law Enforcement Recognized the Need to Accommodate
              Protestors and Believed Forcible Removal Was a Bad Idea

[¶343] State officials recognized that many protestors attended the protests to peacefully exercise

their First Amendment rights. See, e.g., Tr. 418:5-10 (Day 3; Kirchmeier); Tr. 486:2-9, 535:21-23

(Day 3; Laney); Tr. 983:16-25 (Day 6; Dohrmann). State officials believed they needed to respect


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and enable the exercise of those protestors’ rights. See, e.g., Tr. 440:17-441:1 (Day 3; Kirchmeier);

486:2-9, 490:8-15 (Day 3; Laney); Tr. 983:16-25 (Day 6; Dohrmann). From the early days of the

protests, the State conveyed to the public that law enforcement would enable and support protestors’

constitutional rights. See Tr. 441:6-442:7 (Day 3; Kirchmeier) and JX 69 at MYERS_00001793

(public-facing State-created talking points dated August 19, 2016, stating that “[t]here are

constitutional rights to assemble to protest. Law enforcement is here to enable and support those

rights”).

[¶344] State and local law enforcement took a containment posture towards the protest

encampments, rather than removing protestors. See Tr. 1130:2-5 (Day 7; Henderson) (testifying

that, although State and local law enforcement always had jurisdiction to enforce the law on Corps

land, “[n]obody thought it was a good idea to go in and create or incite or inflame the situation

further than it already was”); PX 1051 at ARMY_00115672 (August 26, 2016, email in which

Assistant Secretary for the Army Darcy states that “we are deferring to Federal, state, and local law

enforcement in the region, who to date have counseled a strategy of containment rather than

confrontation”); see also Tr. 816:15-19, 817:5-14 (Day 5; Dalrymple) (Governor Dalrymple never

heard any of the State and local law enforcement officers leading the State’s protest response

express a desire to take a less accommodating approach to the protestors). State and local law

enforcement preferred to keep the protestors contained on Corps land. See Tr. 1180:13-1181:24

(Day 7; Henderson) (testifying about law enforcement’s concern about provoking protestors further

and desire to “keep it contained into the Corp-managed areas”); id. at 1194:5-23 (explaining

concerns COL Henderson and law enforcement officials discussed regarding where protestors

would go if they were evicted from Corps land); JX 68 at USACE_00031828 (COL Henderson

email dated August 18, 2016, reporting this containment approach by law enforcement to his




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commanding officer); JX 122 (September 15, 2016, email from BIA law enforcement official

stating that “[f]rom the outset, the Sheriff from Morton County has stated that he is fine if the people

camp all winter long, his contention is that they move out of the ditches on both sides of highway

1806, and back into the camp”); DX 4256 (at video timestamp 16:35-17:02) (in a meeting with

leaders of the North Camp the day before the Big Push operation, Sheriff Laney emphasized that

protestors could stay at the Main Camp on Corps land “for a year . . . we don’t care”); JX 223

(Morton County Sheriff’s Office press release dated December 3, 2016, announcing that to

deescalate tensions, law enforcement agreed to move away from the north side of the Backwater

Bridge—where the large conflict between protestors and law enforcement occurred two weeks

before—if protestors stayed in the “identified protest area which is the main camp and south of the

Backwater Bridge, not on it”). MG Dohrmann believed it was safer to have protestors on Corps

land or the Reservation than near the area of the pipeline construction, and he supported the Corps

trying to establish a free speech zone as a way to keep the protests within an area where it could be

managed. Tr. 994:16-25, 1006:23-25, 1008:6-14 (Days 6-7; Dohrmann).

[¶345] Consistent with its approach of containing protestors on Corps land, the State did not bar

the entry/exit points to the Main Camp on Corps land—both of which passed over the State

Highway Department’s right of way. See Tr. 724:19-725:6, 727:23-728:16 (Day 4; Gerhart).

[¶346] The pipeline company also favored a containment approach to the protests, which would

put distance between the company’s work activity and the protestors and preserve the safety of

people and property. Tr. 1626:12-1627:3 (Day 9; Futch). In late July or early August, the company

offered the Standing Rock Sioux Tribe a zone where people could peacefully protest the pipeline.

Id. at 1625:23-1626:11. Chairman Archambault declined the offer at that time, because the

protestors were already comfortable at the camp on the Standing Rock Indian Reservation on the




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south side of the Cannonball River. See id. at 1629:3-6. The pipeline company also made another

offer to Tribe in late fall or winter of 2016, to give the Tribe the Cannonball Ranch land in exchange

for the Tribe’s help in controlling the protests. See id. at 1629:7-25. Again, Chairman Archambault

declined the offer, this time because he did not think it would be a good idea to accept something

from Dakota Access given that the Tribe was in litigation against the pipeline project. See id. at

1629:22-1630:13.

[¶347] Generally, the view of State and local law enforcement—which they expressed to Corps

officials, other federal officials, and the general public—was that attempting to remove protestors

en masse from Corps land was a bad, and risky, option. See Tr. 1098:21-1099:4, 1176:10-1177:1,

1180:13-1181:24, 1272:17-1273:2, 1279:3-9 (Days 7-8; Henderson) (law enforcement expressed

to COL Henderson that attempting to remove protestors from Corps land was a bad idea that would

risk violence and potentially injury or death); DX 4075 at USACE_00177754 (Corps storyboard

summary document dated September 7, 2016, stating that there was “little local desire to enforce

an eviction of protestors from the site upon a permit denial”); JX 225 at video timestamp 0:01-0:45

(State-produced public-facing video from a December 4, 2016, briefing in which Sheriff Laney said

the idea that law enforcement would go and “push a whole lot of people off Corps land for camping

without a permit” was “ludicrous”). From the outset of the protests, Sheriff Kirchmeier told federal

officials “that he is fine if the people camp all winter long, his contention is that they move out of

ditches on both sides of highway 1806, and back into the camp.” JX 122 at DOI_00022359 (email

from the Director of BIA’s Office of Justice Services, Darren Cruzan, dated September 15, 2016).

[¶348] State officials recognized the potential for a dangerous situation if a forcible eviction were

attempted. As Governor Burgum put it in a meeting with COL Henderson, the Governor did not

want a clearing out of the camps because he did not want “a ‘Wounded Knee’ to be part of North




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Dakota’s history.” JX 235 at USACE_00001781; Tr. 1276:16-19 (Day 8; Henderson); see Tr.

909:4-12 (Day 6; Burgum) (Governor Burgum testifying about his keen awareness of the historic

events of Wounded Knee in the 1880s and the Second Wounded Knee in the 1970s, at which people

died, and stating that “we didn’t want this to inflate into a conflict where there was the possibility

that someone could actually get killed over this conflict”); id. at 908:22-25, 911:20-23, 913:11-16

(testifying that the State was “trying to avoid the confusing misinformation and optics that might

have come from a overly heavy-handed sort of military-type operation to sort of march through

and, ‘clear the camps’”); see also Tr. 454:14-17 (Day 3; Kirchmeier) (law enforcement did not take

enforcement action against the Main Camp at the time of the Big Push operation due to concerns

about officers’ safety).

[¶349] State officials also recognized that writing citations for camping without a permit—or just

going into the camps and telling protestors to disperse—would not induce the protestors to leave

the general area of the protests. See JX 225 at video timestamp 0:01-0:45; Tr. 522:7-20 (Day 3;

Laney); Tr. 454:3-6, 464:21-23 (Day 3; Kirchmeier); see also Tr. 177:2-13 (Day 1; Schulz) (the

State asked protestors to leave voluntarily dozens of times during the protests, and protestors rarely

left in response to those requests); Tr. 1006:8-11 (Day 7; Dohrmann) (testifying that it would have

been a bad idea to make a pronouncement that law enforcement was not prepared to back up and

enforce). Sheriff Laney acknowledged that issuing citations to the protestors “doesn’t mean they’re

going to leave. Doesn’t mean they’re going [to] do anything other than get more agitated.” Tr.

523:8-12 (Day 3; Laney). He emphasized that law enforcement’s decision not to issue such

citations was a “sign of our trying to deescalate” the protest situation and to show that “we’re not

trying to be aggressive.” Id. at 523:13-20. And Sheriff Kirchmeier explained that if one camp were




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cleared, protestors who were not arrested would simply move to a different camp. Tr. 470:13-17

(Day 3; Kirchmeier).

[¶350] Forcibly removing protestors from Corps land was not a potential course of action that law

enforcement considered in August 2016, at the start of the protest response. See Tr. 345:5-12,

437:5-9 (Days 2-3; Kirchmeier); Tr. 1002:25-1003:16 (Day 7; Dohrmann).

[¶351] Law enforcement did not view a forcible eviction as a viable option at any point in the

protests until February 2017. MG Dohrmann testified that, before February 2017 when the camps

were eventually cleared, it would have been ill advised to remove the protestors from the camps.

Tr. 1003:11-16 (Day 7; Dohrmann); see id. at 1002:6-1003:5 (testifying that the size of the camps,

coupled with the law enforcement force that would be needed to remove them, meant that the

potential for injury and loss of life was too high to contemplate a forcible removal until the very

end of the protests); id. at 1003:17-1004:12 (testifying that it would have been ill advised to forcibly

clear the camps in September 2016 since it would have taken a very large force and there were

concerns about safety and negative optics).

[¶352] State and local law enforcement recognized that deescalating tensions with protestors was

the better course of action than attempting to remove them, and they tried to deescalate tensions as

much as possible. See, e.g., Tr. 432:2-433:14, 439:19-25 (Day 3; Kirchmeier); Tr. 490:6-22, 494:6-

20 (Day 3; Laney); Tr. 724:4-7 (Day 4; Gerhart). This deeescalation approach to the protests was

essentially the same as the Corps’s. See Tr. 1989:18-24 (Day 12; Spellmon) (BG Spellmon

observed as much to MG Dohrmann and Sheriff Kirchmeier in discussing the camp that was located

in part on State land along the highway; they were silent in response); PX 1223 at 0001 (October

13, 2016, email from BG Spellmon noting “[t]here is already at least one smaller camp off corps

property that the state has not dealt with for the same challenges I outline here”).




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           D. The State Lacked the Manpower to Forcibly Remove All Protestors

[¶353] Another reason the State did not attempt to initiate a forcible eviction of protestors from

Corps land prior to February 2017 was its lack of law enforcement manpower. From the start of

the protest response on August 10, 2016, the Morton County Sheriff’s Office lacked the personnel

to handle the protests. See Tr. 62:7-14. (Day 1; Schulz) (the Morton County Sheriff’s Office had

just 33 sworn deputies to serve a “very geographically large county”); ECF No. 404-2, Dep. Tr.

54:20-55:2 (Davis) (when Davis first heard of the protests, he was worried about violence and the

fact that the State didn’t have enough resources to manage a potentially large crowd); JX 66 at

FBI_0000011 (email from FBI official dated August 18, 2016, writing that State law enforcement

“have no ability to address the problem of 100s of violent protesters at the site. Retreated 3-4

times”). And Morton County had no specialized equipment, training, or prior experience to deal

with a large-scale civil disturbance such as the protests. Tr. 426:19-427:13 (Day 3; Kirchmeier).

MG Dohrmann thought that Morton County needed immediate help following the August 10

incident that marked the beginning of the State’s protest response.       Tr. 922:20-23 (Day 6;

Dohrmann).

[¶354] Throughout the protests, the State lacked the law enforcement resources to effect a forcible

removal of protestors from the encampments. As Sheriff Laney noted in an email dated August 30,

2016, simply protecting the pipeline worksite—not effecting a full-scale eviction of the protest

camps—“will require a VERY large deployment of law enforcement.” JX 94 at ND_000158168-

ND_000158169 (Sheriff Laney went on to observe that the available law enforcement resources

throughout the entire State might not be sufficient). When the Governor activated the North Dakota

National Guard on September 7, 2016, law enforcement “were already spread incredibly thin.” Tr.

97:17-22 (Day 1; Schulz); id. at 157:2-7 (“[W]e had limited resources and the size and scope of the




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protest continued to grow and it was unbalanced in terms of—the numbers of protestors versus the

numbers of law enforcement officers made that hard.”). Even after the State invoked the EMAC in

October 2016, the available law enforcement resources were insufficient to clear protestors from

the Main Camp. Tr. 1564:15-1565:7 (Day 9; Van Horn). Captain Pederson testified that “[t]here

was not a time during these protests where I felt that we had adequate law enforcement resources

or adequate resources as a whole.” Tr. 598:9-11 (Day 3; Pederson). Sheriff Kirchmeier testified

that the State never had excess manpower or equipment during the protests, and they were typically

short on those things. Tr. 471:7-14 (Day 3; Kirchmeier). MG Dohrmann believed that, due to the

large size of the camps and the level of force that would have been required to clear them, a forcible

eviction of the camps was not possible until February 2017. Tr. 943:13-15, 1003:1-10 (Days 6-7;

Dohrmann). And Governor Dalrymple testified that the State requested federal law enforcement

resources because “this was not something that local law enforcement or State Highway Patrol

would be able to handle. We simply did not have the manpower or the expertise to deal with it.”

Tr. 767:13-17 (Day 5; Dalrymple).

[¶355] Removing protestors from an area would have required a large ratio of law enforcement

officers to protestors. See PX 1908 (in a video of a discussion between a law enforcement officer

and protestor Chase Iron Eyes, at timestamp 0:29-0:34, the officer says that “when you got 50

[protestors] up there, that means we have to come with over 100 [law enforcement officers]”). For

example, it took 400-500 law enforcement officers an entire day to move 300-360 protestors out of

the North Camp area during the Big Push operation. See Tr. 517:1-2 (Day 3; Laney); JX 164 at

rows 15-20, column M; Tr. 1004:13-19 (Day 6; Dohrmann).

[¶356] State and local enforcement were keenly aware that attempting a mass eviction without

sufficient manpower would pose serious risks to officers’ safety. See, e.g., Tr. 454:14-17, 469:8-




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470:7 (Day 3; Kirchmeier); Tr. 1002:19-1003:5 (Day 6; Dohrmann).

[¶357] The potential window of time between when State and federal officials recognized the

protests required a response and when the protests were small enough for law enforcement to safely

conduct a mass eviction of protestors from Corps land was extremely brief and early in the protests.

Sheriff Laney testified that he believed Sheriff Kirchmeier could have put together a law

enforcement team of the right size to stop the protests if the Corps had asked him to “from day one,

when we [sic] were 30 to 40 people out there.” Tr. 526:14-22 (Day 3; Laney); see also Tr. 717:8-

23 (Day 4; Gerhart) (testifying that the State had the resources to remove protestors at some

unspecified date after August 10, but only if the total number of protestors was 15-20 people); Tr.

813:4-16 (Day 5; Dalrymple) (testifying that it would have been “theoretically feasible” to tell

protesters to vacate Corps land if the protestors numbered 30 people, but that evicting 3,000

protestors would have been “a big, big challenge”).

[¶358] By August 10, 2016, when the State first responded to protest activity (which was occurring

on private property at the Cannonball Ranch, and not on Corps property), approximately 30-40

protestors were present. See Tr. 504:1-8 (Day 3; Laney); Tr. 345:13-346:5 (Day 2; Kirchmeier);

Tr. 215:17-23 (Day 2; Gallagher). The State chose not to arrest all of those individuals, and the

number of protestors in the Cannonball Ranch area increased from August 10 through 12. See Tr.

348:14-16 (Day 2; Kirchmeier); JX 8 at DOI_00026804, DOI_00026809-DOI_00026811,

DOI_00026811 (discussing multiple meetings State and local law enforcement had with protestors

from the North Camp throughout September 2016, in which law enforcement discussed that they

were requesting protestors to move out of the North Camp area voluntarily).

[¶359] On or about August 15, protestors began gathering on Corps land just north of the

Cannonball River; that camp very shortly numbered in the hundreds of people. See DX 4024 at




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USACE_00031883; JX 266-N at slide 26; Tr. 1162:3-7 (Day 7; Henderson). By August 18, the

protest encampments numbered an estimated 1,500 people. See Tr. 1049:9-13 (Day 7; Henderson);

JX 68 at USACE_00031828; Tr. 550:22-551:2 (Day 3; Laney). There was simply no evidence that

State and local law enforcement had the time or ability to muster a sufficient force before the

number of protestors grew beyond their control—even if the Corps had requested law enforcement

to remove protestors in mid-August. As the State’s own After-Action report noted, “[b]ecause an

event of this scope and magnitude had never occurred in North Dakota history, all levels of

government were slow to recognize the enormity of the situation.” JX 9 at ND_000135621.

[¶360] The risk presented by the possibility of forcibly clearing the camps on Corps land was

compounded by reports that some protestors in the camps were armed. See, e.g., Tr. 351:15-19

(Day 2; Kirchmeier) (Sheriff Kirchmeier heard reports of possible weapons and pipe bombs in the

protest camps as of August 17, 2016); Tr. 361:17-23 (Day 2; Kirchmeier) (the Sheriff also heard

repeated reports of long guns in the camps); Tr. 1483:1-7 (Day 9; Van Horn) (there were

intelligence reports throughout the protests that some people in the Main Camp had weapons).

Indeed, during the Big Push operation, a protestor from the North Camp shot a weapon in the

direction of law enforcement as she was being arrested, nearly injuring one of the officers. See Tr.

375:13-19 (Day 2; Kirchmeier); JX 167. The fact that some protestors had weapons reinforced

COL Henderson’s concern about making a decision that could turn into “a flash point where

somebody got hurt or killed.” Tr. 1237:16-20, 1238:16-20 (Day 8; Henderson).

[¶361] The State communicated to Corps officials that State and local law enforcement did not

have the capacity to forcibly remove the protestors from Corps land. See, e.g., Tr. 1197:13-25 (Day

7; Henderson) (testifying that no local or State authorities had the capability to enforce an eviction

notice for protestors, though “[w]e all knew they were trespassing”). On multiple occasions, State




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and local officials informed the Corps that the State lacked sufficient law enforcement resources to

respond to the protests. See Tr. 1052:4, 1052:24-1053:2 (Day 7; Henderson) (Governor Dalrymple

told COL Henderson there were limited law enforcement resources to deal with the protest situation

as of August 18-20, 2016); DX 4136 at USACE_00178842 (North Dakota Highway Patrol Captain

Pederson told Corps officials on October 27, 2016, that the State would not put any law enforcement

resources on Corps land, that federal law enforcement would be required to conduct all enforcement

activities there, and that the State’s “resources will not be available” and were “depleted” (capitals

in original)); Tr. 1248:23-1249:6 (Day 8; Henderson) (that message from Captain Pederson was

consistent with the information the Corps had been receiving from State and local law enforcement

since the beginning of the protest response in mid-August 2016).

[¶362] In their communications with Corps officials and other federal officials, State and local

officials regularly emphasized that they wanted the federal government to deploy federal law

enforcement resources to assist with the on-the-ground response to the protests. See, e.g., Tr.

381:24-382:1 (Day 2; Kirchmeier) (testifying about an ongoing request for federal law enforcement

assistance that was discussed a lot but not fulfilled); id. at 385:1-12, 385:24-386:1, 395:14-22,

397:17-24, 398:7-14 (discussing requests for federal law enforcement support made to President

Obama, Attorney General Lynch, Secretary Jewell, and Secretary Johnson); JX 223 at

ND_000136414; JX 150 at ARMY_00110828 (describing a meeting with COL Henderson,

Governor Dalrymple, and others, at which there were “no new requests, but a reiteration” of the

State’s requests that the Corps stay in touch and “advocating for federal support for their law

enforcement activities”); Tr. 87:14-88:11 (Day 1; Schulz) (Morton County Commission Chairman

Schulz met with BG Spellmon on October 3, 2016, and made “two specific requests”: first, that the

Corps “proclaim the individuals trespassers and have them arrested or evicted,” and second, “I




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requested federal law enforcement support to maintain public safety”); Tr. 970:3-15 (Day 6;

Dohrmann) and PX 1388 (State officials asked federal officials with the National Security Council

for more federal law enforcement resources in February 2017 to assist with clearing the camps);

ECF No. 404-2, Tr. 220:2-10, 220:21-221:23 (Davis) (opining that the Corps should have exercised

policing authority to remove people from Corps land). State officials believed that the Corps simply

announcing the closure of its land would not suffice; they wanted the federal government to provide

law enforcement resources to assist with an eviction and the protest response more generally. See

Tr. 181:4-14 (Day 1; Schulz) (testifying that the Corps denying the Special Use Permit alone would

not have had an impact on protestors, it needed to be coupled with a federal law enforcement effort);

Tr. 112:20-113:5, 115:11-116:3 (Day 1; Schulz) and PX 1319 (stating that the Corps’s closure of

the area of the Main Camp “means nothing unless the federal government follows up by sending

federal law enforcement personnel to enforce the decision”).

[¶363] State officials made clear that they viewed the protests on Corps land as the result of an

insufficient response by federal law enforcement, and as a federal problem that was the federal

government’s responsibility to solve. See, e.g., JX 225 at video timestamp 0:01-0:45 (State-

produced public-facing video from a December 4, 2016, briefing in which Sheriff Laney says State

and local law enforcement would not move to evict protestors en masse from Corps land but that

they hoped “the federal government will come in and start dealing with the federal Reservation on

federal Corps land”); ECF No. 404-2, Dep. Tr. 86:1-19 (Davis) (testifying that the protests would

never have grown to the magnitude that they did if the federal government had deployed law

enforcement resources to manage the protests); DX 4143 and Tr. 1542:10-1543:17 (Day 9; Van

Horn) (recounting a conversation in which Sheriffs Kirchmeier and Laney expressed that

“absolutely no way will they send State/local officers” to enforce an anticipated request from the




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Corps to evict protestors from Corps land, and “if the [Corps of Engineers] wants them [the

protestors] off, they (feds) can enforce the eviction order and move them off”); PX 1319 (press

release from Morton County Commission Chairman Schulz dated November 26, 2016, stating that

“[d]uring the past three months, County and State leaders have been requesting federal law

enforcement resources to deal with issues that are clearly the federal government’s responsibility,

but those requests have been largely ignored”); JX 144 at ND_000255264 (Chairman Schulz

writing that decisions by federal officials in Washington, D.C. had “made the situation worse, by

creating increased uncertainty and by flat out refusing additional assistance requested by our [law

enforcement] leaders”). State witnesses repeatedly testified about their frustration with the federal

government for not providing more federal law enforcement support, particularly in the form of

federal personnel on the ground. See, e.g., Tr. 180:18-24 (Day 1; Schulz); Tr. 423:13-20, 455:5-10

(Day 3; Kirchmeier); Tr. 772:13-14 (Day 5; Dalrymple). And the evidence showed that the State

was not prepared to initiate a mass eviction of protestors without additional federal law enforcement

resources. See, e.g., JX 235 at USACE_00001782 (COL Henderson observed after his meeting

with Governor Burgum in early January 2017 that the Governor was “very interested in the status

of our request for federal law enforcement assistance as the extent of federal support writ large

essentially drives what COAs [courses of action] are feasible to the State”); DX 4136 at

USACE_00178842 (on October 27, 2016, Captain Pederson of the North Dakota Highway Patrol

told Corps officials that the State would not put any of its law enforcement resources on Corps land,

that federal law enforcement would be required to conduct all enforcement activities on federal

land, and that the State’s “resources will not be available” and were “depleted”); Tr. 1248:23-

1249:6 (Day 8; Henderson) (that message from Captain Pederson was consistent with information

the Corps had been receiving from State and local law enforcement since the beginning of the




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protest response in mid-August 2016); see also Tr. 1564:15-21 (Day 9; Van Horn) (testifying that

a lack of law enforcement resources to evict protestors was part of the State’s unwillingness to

attempt an eviction); Tr. 772:13-14 (Day 5; Dalrymple) (the State wanted “hundreds” of federal

law enforcement officers to assist, “not one or two”); JX 219 (press release from Morton County

Commission Chairman Schulz dated November 26, 2016, stating that COL Henderson’s decision

to close the Corps land north of the Cannonball River “means nothing unless the federal government

follows up by sending federal law enforcement personnel to enforce the decision”).

[¶364] Given the realities of their resource constraints, State and local law enforcement

communicated to Corps officials that they did not want the Corps to ask them to conduct a full-

scale forcible removal of the protestors. See Tr. 1129:5-14 (Day 7; Henderson).

[¶365] In fact, there is no evidence that law enforcement ever asked the Corps to request the forcible

removal of protestors, as trespassers, from the encampments on Corps land. See Tr. 1246:19-22,

1253:20-22 (Day 8; Henderson) (at no point during the protests did Sheriff Kirchmeier ask COL

Henderson to declare the protestors as trespassers and seek to have law enforcement remove them);

Tr. 1006:12-14 (Day 7; Dohrmann) (MG Dohrmann never asked the Corps for permission to move

in and clear protestors off of Corps-managed land); see also Tr. 488:23-489:1 (Day 3; Laney)

(testifying that law enforcement “wanted [the Corps] to ask protestors to leave,” but not that law

enforcement ever asked the Corps to request their assistance to forcibly remove the protestors).

[¶366] As discussed in Section I.V.M above, it was not until February 2017—when the camps’

population had waned significantly, and the prospect of spring flooding imminently threatened

those who remained—that the State contemplated a forcible eviction from the camps.




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   XII.    The State’s Protest Expenditures

[¶367] The State is seeking to recover its costs related to the DAPL protests, for its expenditures

on law enforcement payroll, travel, and equipment. See PX 1439; PX 1455; ECF No. 450-1 at p. 74

¶ 325. Those costs total $37,203,120.95. See PX 1455 (sum of amounts in column K); ECF No.

450-1 at p. 74 ¶ 327.

[¶368] The State is seeking the full amount of its protest-response expenditures, throughout the

entirety of the period from August 10, 2016, through the end of the protests and beyond. See, e.g.,

Tr. 147:5-7, 160:23-25 (Day 1; Schulz) (the State considers August 10, 2016, through March 31,

2017, to be the incident period of the protest that required State officials to respond); Tr. 1664:25-

1665:20 and PX 1455 (the State damages calculation spreadsheet lists all of the State’s DAPL

response costs for this time period, totaling approximately $37.2 million); Tr. 2230:10-17 (Day 14;

Wilson) (“The State’s damages calculation accumulates all of the costs that . . . were incurred to

respond to the protests, not just those costs that were caused directly by the . . . Corps’ actions.”).

[¶369] The State’s damages claim, as stated in its proposed Findings of Fact and Conclusions of

Law, includes various inconsistencies. First, the State inconsistently lists its total claimed damages

as $37,864,867.30 in some places, and $37,854,867.30 in others. See ECF No. 450-1 at pp. 74,

103, 106 ¶¶ 325, 430, 449, 451. This appears to be a typographical error. Based on the amount

reflected in the State’s damages documentation, see PX 1439 and PX 1455, the Court assumes the

total damages amount the State is seeking is in fact $37,854,867.30. Second, the State’s proposed

Findings of Fact and Conclusions of law inconsistently record the amount claimed for EMAC

expenditures. Compare ECF No. 450-1 at pp. 70-71 ¶¶ 298-306 (claimed EMAC expenses adding

up to $3,227,988.84) with id. at p. 74 ¶ 325 (identifying claimed EMAC expenses as totaling

$4,045,088.39). And it erroneously cites to entries in PX 1455 regarding EMAC expenses. See,




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e.g., ECF No. 450-1 at p. 70 ¶¶ 298, 300 (listing the same entry in PX 1455 as including expenses

for two different EMAC states, Alabama and Kentucky); id. at p. 71 ¶ 306 (identifying cells K7125

and K7128 as EMAC expenses for the State of Wisconsin when those cells in fact refer to the State

of Wyoming).

[¶370] The State’s calculation of its damages does not exclude expenses not attributable to the

actions of Corps officials that are at issue in this case. The State’s damages calculation does not

exclude expenses incurred before the Corps’s September 16, 2016, press release. See Tr. 2231:1-

13, 2232:16-20 (Day 14; Wilson). Nor does the State’s damages calculation reduce the amount of

damages sought from the United States to include only its costs associated with protestors on federal

land, as opposed to Reservation land, private land, or State-owned land. See DX 4218 at 11; Tr.

2231:14-2232:1, 2232:16-20 (Day 14; Wilson); see also Tr. 1757: 19-23 (Day 10; Tolstad) (State’s

damages expert did not categorize the State’s claimed expenses based on whether they were

incurred responding to protest activity on federal land as opposed to other land). And the State’s

damages calculation does not distinguish between response costs associated with protestors staying

on Corps land to the south of the Cannonball River versus the north, and thus does not exclude

expenses associated with protestors staying in the area to the north. Tr. 2232:2-7, 2232:16-20 (Day

14; Wilson).

[¶371] The State’s damages calculation also does not take into account the fact that some of the

protest activity State officials responded to (and incurred expenses for) was peaceful, First

Amendment-protected activity. See DX 4218 at 11; Tr. 2232:8-20 (Day 14; Wilson); see also Tr.

1757:14-18 (Day 10; Tolstad) (State’s damages expert did not attempt to categorize expenses

according to those that may have been incurred responding only to such activity as opposed to

illegal activity).




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[¶372] The State’s damages calculation also does not account for the fact that individuals or entities

besides the United States may be responsible for those damages. See DX 4218 at 11; Tr. 2232:21-

2233:4 (Day 14; Wilson); see also Tr. 1757:5-8 (Day 10; Tolstad) (State’s damages expert did not

assess whether anything the Corps did or did not do was the actual cause of the State’s damages).

[¶373] None of the State’s damages documentation provides information sufficient to make any of

the differentiations discussed above. See DX 4218 at 11-12; Tr. 2229:8-2233:22 (Day 14; Wilson).

It is not possible to make these differentiations based on the evidence presented at trial. Further, as

the United States’ damages expert observed after conducting an extensive review of the backup

documentation that underlies the State’s damages calculation, it is not possible to make those

differentiations based on the State’s underlying damages documentation, either. See DX 4218 at

11-12; Tr. 2172:2-17, 2230:10-17, 2231:1-2233:4 (Day 14; Wilson); see also Tr. 1757:9-23 (Day

10; Tolstad) (State’s damages expert did not endeavor to make such differentiations).

[¶374] As to the state’s claim for damages in the form of equipment costs, some of the equipment

items the State purchased in connection with the DAPL protests were used after the protests ended.

See, e.g., Tr. 459:3-10, 459:15-20 (Day 3; Kirchmeier) (the Morton County Sheriff’s Office

purchased several Chevy Tahoe vehicles as part of the protest response, which were still in the

Sheriff’s Office’s fleet as of February 2024); id. at 459:11-15 (the Morton County Sheriff’s Office

also purchased riot gear as part of the protest response, which it turned in to the State Department

of Emergency Services when the protest period concluded); Tr. 1662:2-8, 1698:2-12 (Day 10;

Gaugler) (after the protests concluded, durable goods purchased for the protests continued to be

used; such items—including, for example, radios—considered to be owned by Adjutant General’s

office, and the Department of Emergency Services then distributed to local law enforcement

agencies within the State that needed them). Moreover, as a State-produced After-Action Report




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noted, some of the State’s protest-related equipment expenditures appeared to be the result of

“agencies . . . taking the opportunity to get the state to buy them items that were lacking in their

departments before the event ever began.” JX 9 at ND_000135645 (“Examples of questionable

purchases include gun racks for patrol vehicles, binoculars, and outer wear for individual officers.”).

The State’s claimed equipment cost damages do not include any reduction for scrap, salvage, or

future use value—that is, value the State would have gotten for disposing of the equipment, or value

it got from the continued use of the equipment after the protests ended. See Tr. 1698:17-20 (Day

10; Gaugler); Tr. 2214:14-2215:21 (Day 14; Wilson); DX 4218 at 8-11.

[¶375] The State’s claimed damages also includes $2,256,484.56 in regular payroll expenses—that

is, payroll that agencies or entities within the State would have incurred regardless of whether the

protests had occurred. See Tr. 2194:4-2206:11 (Day 14; Wilson); DX 4218 at 6-7 & Exhibits 4-5.

This includes regular, non-overtime payroll for employees of State-wide agencies, as well as local

entities for which the State seeks to recover damages. See Tr. 2204:19-2205:6 (Day 14; Wilson);

DX 4218 at 6-7 & Exhibits 4-5. The State only hired three individuals specifically for the protest

response, all of whom were terminated after the protests ended, in spring 2017. Tr. 1691:20-

1692:11 (Day 10; Gaugler).

[¶376] Additionally, the State is seeking to recover interest charged on the Bank of North Dakota

loans through May 4, 2018, totaling $651,746.35.          See Tr. 27:3-4 (Day 1; State’s opening

statement); ECF No. 450-1 [¶¶ 323, 450].

[¶377] The State funded its protest response by taking out loans from the Bank of North Dakota,

via the State Office of Adjutant General. Tr. 949:24-950:7 (Day 6; Dohrmann); Tr. 1592:2-6 (Day

9; Morrissette); Tr. 1701:17-20 (Day 10; Gaugler). These loans from the Bank of North Dakota

were essentially lines of credit that the Adjutant General could draw from up to a certain amount,




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and the Bank of North Dakota would deposit the funds into the Adjutant General’s account. Tr.

1648:16-1649:5 (Day 10; Gaugler). There was no repayment schedule for those loans. Tr. 1582:13-

20, 1591:18-25 (Day 9; Morrissette).

[¶378] The Bank of North Dakota is unique in that it is State-owned. Tr. 192:10-11 (Day 1;

Schulz); Tr. 1573:5-6, 1585:15-19, 1586:1-3 (Day 9; Morrissette); ECF No. 404-1, Dep. Tr. 48:15-

16 (Bachmeier); see also N.D.C.C. § 6-09-01 (“[T]he state of North Dakota shall engage in the

business of banking . . . under the name of the Bank of North Dakota.”). The Bank itself is a State

agency. Tr. 1585:20-21 (Day 9; Morrissette). Its funds can be withdrawn by the State legislature

as needed, and its dividends typically form part of the State’s general revenues. Id. at 1586:16-

1587:24.

[¶379] State agency operating and special funds are required to be on deposit at the Bank. Id. at

1573:8-11. Any interest that State agencies pay on loans from the Bank of North Dakota form part

of the Bank’s profits, which can be transferred into the State’s general fund by the legislature. Id.

at 1589:10-16. Thus, in the case of the Office of Adjutant General’s loans for the DAPL protest

response, any interest paid on those loans would become profits of the Bank of North Dakota, which

the State legislature could transfer to the State’s general fund. Id. at 1593:5-11.

[¶380] There is no evidence that the Bank of North Dakota was forced to forego any loan

opportunities or other uses of its capital in order to extend the loans to the Office of Adjutant

General in connection with the DAPL protests. See Tr. 2212:21-25 (Day 14; Wilson) (review of

State’s damages documentation did not reveal any evidence of any lost opportunity cost to the Bank

of North Dakota as a result of extending the loans for the protest response); Tr. 1765:25-1766:7

(Day 10; Tolstad) (the Bank has no capital requirements, and the State’s damages expert did not

examine whether the Bank forewent any revenue based on issuing the loans). In fact, in 2016 and




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2017, the Bank’s lending to State agencies was a “fraction” of the amount of loans the Bank

extended for other purposes such as agriculture, student loans, and commercial loans. Tr. 1747: 9-

14 (Day 10; Tolstad).

[¶381] In addition to law-enforcement protest-response costs and prejudgment interest, the State

has suggested it is seeking to recover costs for property damage and cleanup of certain protest camp

areas, see Tr. 26:22-27:7 (Day 1; State’s opening statement); ECF No. 450-1 at p. 2 ¶ 7, p. 101 ¶

421, but the State’s evidence of its protest expenditures did not include documentation of such

expenses, see PX 1439; PX 1455.

   XIII. The State Has Already Received $25 Million to Cover Its Protest Expenses

           A. $10 Million Grant from the Federal Government

[¶382] In 2017, the State received $10 million via an Emergency Federal Law Enforcement

Assistance (“EFLEA”) grant from the federal government. Tr. 189:5-15 (Day 1; Schulz); Tr.

1699:15-19 (Day 10; Gaugler).

[¶383] The EFLEA program is run by the federal government. Id. at 189:14-18. The program

provides federal grant funds to state and local governments for emergency law enforcement

assistance. Id. 189:19-24. It is funded through federal appropriations from the United States

Treasury, and states do not contribute any funds to receive awards under EFLEA. See, e.g., Joint

Resolution, Pub. L. No. 98-473, Title II § 609Y, 98 Stat. 1837 (authorizing appropriation of federal

funds to provide monetary assistance to states under the EFLEA program); Consolidated

Appropriations Act, 2017, Pub. L. No. 115-31, 131 Stat. 137, Sec. 5 & 131 Stat. 229, Sec. 542

(authorizing appropriation of sums from the United States Treasury in Fiscal Year 2017, including

“15,000,000 for emergency law enforcement assistance for events occurring during fiscal years

2016 and 2017” as part of the EFLEA program).



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[¶384] The State sought EFLEA funds through the North Dakota Attorney General’s office to

“partially reimburse North Dakota for emergency law enforcement costs” associated with the

DAPL protests. Tr. 189:25-190:3, 191-8 (Day 1; Schulz); Tr. 1656:9-16 (Day 10; Gaugler); JX 28

at USA_00001581. That is, the entirety of the $10 million EFLEA grant the State received was

meant as reimbursement for some of the State’s DAPL-related costs—the same costs it is seeking

to recover in this litigation. Tr. 191:10-17 (Day 1; Schulz); Tr. 1699:20-23 (Day 10; Gaugler); Tr.

2180:4-2182:13 (Day 14; Wilson).

[¶385] The State applied the $10 million in EFLEA funds to repay some of the loans it took out

from the Bank of North Dakota in connection with the protest response. PX 1439; Tr. 191:25-192:9

(Day 1; Schulz); Tr. 1699:20-23, 1700:19-24 (Day 10; Gaugler); Tr. 1766:12-18 (Day 10; Tolstad);

Tr. 2182:25-2183:5 (Day 14; Wilson); see Tr. 192:14-23 (Day 1; Schulz) (the EFLEA funds passed

through the North Dakota Department of Emergency Services before being transferred to the Bank

of North Dakota).

[¶386] The State’s damages claim in this litigation does not include an offset or other reduction for

the $10 million it previously received from the federal government in connection with the DAPL

protests. Tr. 191:18-24 (Day 1; Schulz); Tr. 2183:16-19 (Day 14; Wilson).

           B. $15 Million Payment from Dakota Access

[¶387] The State also received a payment of $15 million from the pipeline company in October

2017. Tr. 1618:9-18 (Day 9; Futch). The company made the payment in recognition of the impact

that the protests had on the State, and as a reimbursement for the State’s costs associated with the

protests. See JX 251 at ET-ND-SUBPOENA-00002915; ECF No. 404-1, Dep. Tr. 30:1-3, 14-16

(Bachmeier). The CEO of Energy Partners, the parent company of Dakota Access, said in February

2017 that “I feel that we somehow have caused” the stress on the State from the protests, and that




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the pipeline company would like to assist financially in alleviating that stress. JX 251 at ET-ND-

SUBPOENA-00002915.

[¶388] The recipient of the payment was the State Department of Emergency Services, and the

place of deposit was the Bank of North Dakota. ECF No. 404-1, Dep. Tr. 44:16-20 (Bachmeier).

The pipeline company wired the $15 million directly to the Bank of North Dakota. Id. at 44:10-20.

[¶389] Before this $15 million payment, the pipeline company had not made any other nonroutine

payments to the State, or any donations at all to the State, in at least the preceding five years. See

Tr. 1631:18-1632:3 (Day 9; Futch). The State received various donations in connection with the

DAPL protest, but none as much as the $15 million payment from the pipeline company—nor even

in the $1 million range. ECF No. 404-1, Dep. Tr. 46:22-47:13 (Bachmeier). The pipeline company

made donations in various areas along the pipeline’s route, but all of those donations in total—to

different entities across four states—totaled less than this single $15 million payment to the State

in connection with the DAPL protests. See Tr. 1619:5-21 (Day 9; Futch).

[¶390] A witness for the pipeline company characterized the payment as a no-strings-attached

donation. See id. at 1618:22-24. But the company did not treat the payment as a charitable

contribution for tax-reporting purposes. Id. at 1631:14-17.

[¶391] The pipeline company recorded the payment to the State as a capital expenditure associated

with the Dakota Access pipeline project. Tr. 2184:3-2185:17 (Day 14; Wilson). That is, the

pipeline company recorded it as an expense that was necessary to build the pipeline. Id. at 2185:15-

19.

[¶392] Other evidence indicates the $15 million payment from the pipeline company was intended

as a partial reimbursement for the State’s protest-response costs. See Tr. 431:8-17 (Day 3;

Kirchmeier) (based on discussions with pipeline company officials in mid-August 2016, Sheriff




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Kirchmeier understood that the company was planning to reimburse law enforcement for their

protest-response expenses); JX 263 (email from MG Dohrmann to a pipeline company official dated

March 22, 2017, attaching an estimate of the State’s protest-response costs). The State treated the

payment as a reimbursement of the State’s costs related to unlawful activity in opposition to

construction of the DAPL pipeline. See N.D. House Bill 1024, Section 8. Legislative Intent – Cost

Reimbursement – Loan Payments (2017) (declaring that the Governor and the Department of

Emergency Services will “accept reimbursement . . . for state costs incurred relating to unlawful

activity associated with the construction of the Dakota access pipeline” and requiring that “[a]ny

reimbursements received be used to repay the Bank of North Dakota loans . . . obtained to provide

the funding necessary to respond to the unlawful activity associated with the construction of the

Dakota access pipeline”); ECF No. 404-1, Dep. Tr. 41:6-12, 42:21-43:12 (Bachmeier) (this was the

authorizing language that allowed the Governor to accept the funds from the pipeline company);

see also DX 4218 at 4-6 (internal pagination) (report of United States’ damages expert discussing

the payment from the pipeline company).

[¶393] The State did in fact apply the $15 million from the pipeline company to repay a portion of

the loans the State took out from the Bank of North Dakota to pay for its protest response. See PX

1439; Tr. 1700:25-1701:11, 1701:23-25, 1702:8-10 (Day 10; Gaugler); Tr. 1766:22-1767:1 (Day

10; Tolstad); Tr. 2190:5-23 (Day 14; Wilson).

[¶394] The State’s damages claim in this litigation does not include any reduction to account for

the $15 million it received from the pipeline company. See Tr. 1702:11-19 (Day 10; Gaugler); DX

4218 at 4-5 (internal pagination).

   XIV. The State’s Administrative Tort Claim

[¶395] The State submitted an administrative tort claim to the Corps on July 19, 2018. JX 274.




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That claim listed a sum certain amount of $38,005,071.66. Id. at USA_00000002, USA_00000030.

[¶396] The State’s administrative tort claim was not presented to any federal agency other than the

Corps. See JX 274 at USA_00000001 (cover letter from State Attorney General directed solely to

the Corps and referencing “North Dakota’s Federal Tort Claims Act claim against the U.S. Army

Corps of Engineers”); id. at USA_00000002 (claim form listing only the Corps as the “appropriate

federal agency” for the claim to be submitted to); see also id. at USA_00000008 ¶ 15 (“If the

USACE does not approve the claim within six months, North Dakota expressly reserves the right

to file suit under the FTCA.”).

[¶397] The State’s administrative tort claim stated that it “presents a claim for damages under the

Federal Tort Claims Act . . . for negligence, gross negligence, creation of a public nuisance, and

civil trespass stemming from the actions and inactions of the United States of America, by and

through its executive agency the United States Army Corps of Engineers (“USACE”).” Id. at

USA_00000004 ¶ 1; see id. at USA_000004-USA_00000005 ¶¶ 2-4 (discussing “USACE’s

tortious conduct” and “[a]ctions and inactions by USACE”). The State’s claim alleged liability of

the United States “by and through its agency the USACE” only, and it did not identify any other

federal agencies whose actions the State claimed were a basis for liability.            See id. at

USA_00000008 ¶ 13; USA_00000030-USA_00000033 ¶¶ 100-118; see also id. at USA_00000015

¶ 41 (the State’s administrative claim mentions other federal agencies besides the Corps in only one

sentence, to emphasize the Corps’s awareness of protest activity based on intelligence reports from

the FBI and BIA).




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                                      LEGAL ARGUMENT
   I.      Jurisdiction

           A. The FTCA’s Jurisdictional Limits

[¶398] The FTCA provides a limited waiver of the government’s sovereign immunity for suits

arising out of certain tortious conduct of federal employees acting within the scope of their

employment. See 28 U.S.C. § 1346(b)(1); Brownback v. King, 592 U.S. 209, 212 (2021); Bellecourt

v. United States, 994 F.2d 427, 430 (8th Cir. 1993).

[¶399] The plaintiff in an FTCA action must establish six elements. These are that the claim is “[1]

against the United States, [2] for money damages, . . . [3] for injury or loss of property, or personal

injury or death [4] caused by the negligent or wrongful act or omission of any employee of the

Government [5] while acting within the scope of his office or employment, [6] under circumstances

where the United States, if a private person, would be liable to the claimant in accordance with the

law of the place where the act or omission occurred.” FDIC v. Meyer, 510 U.S. 471, 477 (1994)

(quoting Section 1346(b)).

[¶400] All of the six FTCA elements are jurisdictional. Brownback, 592 U.S. at 217. The

application of the various exceptions to the FTCA’s waiver of sovereign immunity is also a question

of jurisdiction. See Sheridan v. United States, 487 U.S. 392, 398 (1988); Mound v. United States,

__ F.4th __, 2023 WL 3911505, at *1 (8th Cir. June 9, 2023).

[¶401] “Subject-matter jurisdiction can never be waived or forfeited.” Auer v. Trans Union, LLC,

902 F.3d 873, 877 (8th Cir. 2018); see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at any

time that it lacks subject-matter jurisdiction, the court must dismiss the action.”). Federal courts

have the “obligation” to satisfy themselves of their own jurisdiction at all stages of a litigation.

Auer, 902 F.3d at 877; see, e.g., U.S. Express Lines Ltd. v. Higgins, 281 F.3d 383, 388-89 (3d Cir.

2002). As the party invoking the federal court’s jurisdiction, the burden rests with the State to prove


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that subject-matter jurisdiction—and a waiver of the United States’ sovereign immunity—exists.

See, e.g., Barnes v. United States, 448 F.3d 1065, 1066 (8th Cir. 2006); V S Ltd. P’ship v. Dep’t of

Hous. & Urban Dev., 235 F.3d 1109, 1112 (8th Cir. 2000).

[¶402] A lawsuit against the United States is the exclusive remedy for claims arising out of the

allegedly tortious conduct of federal employees. See 28 U.S.C. § 2679(b)(1). By statute, the United

States must be named as the defendant in an FTCA action. See id. § 2674. The FTCA’s use of a

nominal defendant is similar to other statutes, such as Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e-16(c), which require that the head of the agency whose employees’ conduct is at

issue be named as the defendant—though that agency head’s own conduct is very rarely at issue.

               i.    Only Acts or Omissions by Individual Employees May Form the Basis
                     for Liability

[¶403] Liability under the FTCA must be premised on acts or omissions by federal employees. 28

U.S.C. § 1346(b)(1) grants federal courts jurisdiction over claims for “injury or loss of property . . .

caused by the negligent or wrongful act or omission of any employee of the Government while

acting within the scope of his office or employment.’” (emphasis added). The statute further

provides that the United States may be liable only “if a private person” or “a private individual”

would be liable to the plaintiff in the same circumstances. Id. §§ 1346(b)(1), 2674.

[¶404] The FTCA’s waiver of sovereign immunity thus does not extend to all claims for injuries

that might be attributed to the federal government writ large, or to any entity or agency of the

government. Rather, the FTCA waives sovereign immunity where an individual employee or

employees committed a tort while acting within the scope of their employment. See St. John v.

United States, 240 F.3d 671, 676 (8th Cir. 2001); see also Haceesa v. United States, 309 F.3d 722,

728 (10th Cir. 2002) (Section 1346(b)’s language “unmistakably is couched in the language of an

employer’s respondeat superior liability”—i.e., liability for the wrongful acts and omissions of the


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United States’ employees); 28 U.S.C. § 2679(a) (“The authority of any federal agency to sue and

be sued in its own name shall not be construed to authorize suits against such federal agency on

claims which are cognizable under section 1346(b) of this title, and the remedies provided by this

title in such cases shall be exclusive.”). Because the United States is not an individual employee

but only an employer, the FTCA’s “private person” and “private individual” language “suggests

that the only shoes that the Government stands in under the FTCA are those of private employers.”

Haceesa, 309 F.3d at 728-29 (explaining that this conclusion is consistent with the conclusion

reached by the Eighth Circuit in St. John).

[¶405] Liability under the FTCA turns on the “law of the place” where the alleged tort occurred.

28 U.S.C. § 1346(b)(1). Under North Dakota law, an employer may be vicariously liable for the

negligence of its employees while the employees are acting within the scope of their employment.

E.g., Riemers v. Grand Forks Herald, 688 N.W.2d 167, 171 (N.D. 2004). However, the release of

the employee from liability—through the application of a privilege, immunity, or otherwise—also

releases the master from liability. See id.

[¶406] Thus, the State’s claims can be based only on the negligent acts or omissions of federal

employees, acting within the scope of their employment. The State cannot recover for actions or

inactions by “the United States” as a whole, or by one of its agencies. And, to the extent an

individual employee would not be liable, the United States also cannot be held liable, consistent

with principles of respondeat superior liability under North Dakota law.

               ii.   Only Acts or Omissions by Corps Employees May Form the Basis for
                     Liability

[¶407] An FTCA suit “shall not be instituted . . . unless the claimant shall have first presented the

claim to the appropriate Federal agency and his claim shall have been finally denied by the agency

. . . .” 28 U.S.C. § 2675(a). The presentment requirement is jurisdictional: if it is not satisfied, the


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plaintiff’s claims must be dismissed. See, e.g., McNeil v. United States, 508 U.S. 106, 111, 113

(1993) (affirming dismissal for lack or jurisdiction because an administrative-tort claim had not

been filed, and holding that “[t]he FTCA bars claimants from bringing suit in federal court until

they have exhausted their administrative remedies”); Mader v. United States, 654 F.3d 794, 805-08

(8th Cir. 2011) (“[S]trict compliance with § 2675(a) is a jurisdictional prerequisite to suit under the

FTCA.”); Bellecourt, 994 F.2d at 430 (“Presentment of an administrative claim is jurisdictional and

must be pleaded and proven by the FTCA claimant.”).

[¶408] An administrative-tort claim “shall be presented to the Federal agency whose activities give

rise to the claim.” 28 C.F.R. § 14.2(b)(1). Here, the State submitted its administrative-tort claim

to the Corps and no other federal agency. FoF [¶395], [¶396]. The claim made clear that the State’s

claims were premised on the actions of the Corps only. FoF, [¶396], [¶397].

[¶409] Consistent with the State’s administrative-tort claim, the State’s Complaint—which it never

sought to amend—asserts claims that are based on acts or omissions of the Corps only. See

generally ECF No. 1 (seeking to recover from the United States “by and through its executive

agency USACE,” discussing the Corps’s actions throughout the protests in detail, and mentioning

the Corps over 200 times, while mentioning other federal agencies in passing only four times); see

also Provancial v. United States, 454 F.2d 72, 74 & n.1 (8th Cir. 1972) (noting that “[t]here was

nothing contained in the claim to alert the Department of Justice to believe that any other agency

was involved” and denying request to amend complaint to add claims against U.S. Public Health

Service because the administrative claim submitted to the Department of Justice “did not mention

the names of nor allege any negligence against” Public Health Service officers).

[¶410] The State has stated that “the federal involvement” in the DAPL protest response “was

broader than just the Corps or the Department of the Army or just a couple of public statements




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made by the Corps.” Tr. 18:23-25 (Day 1; State’s opening statement). In particular, the State has

suggested liability may be based on actions other than those of Corps employees, such as the

Department of Justice, Department of Interior, and Department of the Army issuing two joint

statements about the Standing Rock Sioux Tribe litigation and the pipeline permitting action; the

decision of the Department of the Army’s Assistant Secretary of the Army of Civil Works to delay

the final decision on the pipeline’s permission to cross federal land at Lake Oahe; President

Obama’s public statements or other decisions in connection with the protests; and the decision of

the Department of Justice not to deploy more federal law enforcement resources in response to the

protests. See, e.g., Tr. 15:15-17 (Day 1; State’s opening statement); Tr. 2157:15-21 (Day 14; State’s

response to United States’ Rule 52(c) motion5); ECF No. 450-1 (State’s proposed Findings of Fact

and Conclusions of Law) at p. 2 ¶ 5, pp. 23-25 ¶¶ 90-97, pp. 37-38 ¶¶ 142-143, pp. 51-53 ¶ 203, ¶¶

207-211, pp. 59-62 ¶¶ 245-251, ¶¶ 254-257, pp. 93-95 ¶ 393, ¶¶ 397-398. But as the Court

recognized before trial, while “other federal agencies[] may have been involved in the factual

scenario relating to the DAPL protests, . . . the alleged liability has always been based on the

USACE’s tortious conduct,” and “the liability of the United States in this matter flows directly from

the USACE’s actions, not the actions of the other agencies.” ECF No. 280 at pp. 8-9 ¶¶ 15-16; see

id. at p. 9 ¶ 15 (noting that if the State sought to include the separate actions of non-Corps agencies,

“it would have to amend its Complaint accordingly”).

[¶411] Consistent with that prior ruling, the Court declines to impose liability on the United States

for the actions of non-Corps officials that the State raises. There is no evidence that Corps




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  In denying the United States’ Rule 52(c) motion, the Court stated that it “agrees [with] and adopts
the State’s arguments in total.” Tr. 2169:2-3 (Day 14). Given the flaws in the State’s reasoning
discussed herein, the Court does not adopt the State’s arguments in its Conclusions of Law and
Order for Judgment.


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employees issued the September 9 or October 10 joint statements; made the decision to delay the

decision on the pipeline easement; or made the decision not to deploy more federal law enforcement

resources to respond to the protests. See FoF [¶125] (the Corps was not a party to the September 9

joint statement, and Corps officials were not even aware beforehand that it would be issued); FoF

[¶130] (the Corps was also not a party to the October 10 joint statement); FoF [¶67], [¶68], [¶73]

(Corps officials had completed their portion of the approval process for the pipeline crossing when

the Secretary of the Army for Civil Works informed them that the Corps’s permitting decisions

would be reviewed further and the pipeline permitting would be delayed); FoF [¶300], [¶333] (it

was the Department of Justice that ultimately decided not to grant requests by State and Corps

officials to deploy additional federal law enforcement resources to the DAPL protests). Nor is there

any evidence that Corps officials controlled the actions of those other federal agencies or officials.

See FoF [¶13] (Corps officials do not direct the activities of the Department of the Army or its

personnel, and they do not report to the Assistant Secretary of the Army for Civil Works); FoF

[¶20] (the Corps cannot order another federal entity or agency to deploy law enforcement on Corps

land).

[¶412] Because the State presented its administrative claim to the Corps only, and because that

claim alleged tortious conduct on the part of the Corps alone, the State cannot recover for claims

based on the acts of other federal agencies or non-Corps officials.

               iii.   The United States Is Not Subject to Strict Liability

[¶413] The FTCA’s waiver of sovereign immunity does not extend to claims for absolute or strict

liability. See 28 U.S.C. § 1346(b). Absolute or strict liability “are imposed automatically when

any damages are sustained as a result of the decision to engage” in a risky activity; the FTCA, by

contrast, “requires a negligent act.” Dalehite v. United States, 346 U.S. 15, 44–45 (1953); see Laird




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v. Nelms, 406 U.S. 797, 803 (1972) (confirming that the FTCA does not permit the imposition of

strict liability “of any sort” on the United States, even where state law provides for it).

[¶414] For nuisance claims, North Dakota law incorporates an absolute liability standard. See

Rassier v. Houim, 488 N.W.2d 635, 637 (N.D. 1992) (“[O]rdinarily, a person who creates or

maintains a nuisance is liable for the resulting injury to others regardless of the degree of care or

skill exercised to avoid the injury.” (quoting Knoff v. Am. Crystal Sugar Co., 380 N.W.2d 313, 636-

37 (N.D. 1986)). This standard applicable to nuisance claims—imposition of liability based on the

fact of an injury, regardless of whether a standard of care was breached—is different from the

standard for negligence claims, which involves the “violation of a relative duty, the failure to use

the degree of care required under particular circumstances in connection with an act or omission

which is not of itself wrongful.” Id. In other words, “a nuisance may be created wholly without

negligence.” Id. (quoting Knoff, 380 N.W.2d at 317). Thus, in a nuisance action under North

Dakota law, “[p]roof of absence of negligence is not a defense to an action grounded in nuisance,

because the focus is upon the condition created and not upon the exercise of care or skill by the

defendant.” Knoff, 380 N.W.2d at 317.

[¶415] Because the FTCA imposes liability only for torts under the “law of the place” that involve

a negligent act, and the State’s nuisance claim does not require a showing of a negligent act under

North Dakota law, the United States cannot be held liable under the FTCA as to the State’s nuisance

claim. The United States argued in its motion to dismiss that, insofar as the State’s nuisance claim

relied on an absolute liability theory, the claim should be dismissed. ECF No. 6 at 25-26. The

Court ruled that it would “limit any liability to ‘negligent or wrongful act or omission’ of the Corps.”

ECF No. 38 at p. 29 ¶ 68. But in an FTCA action, a court must assess liability based on the “law

of the place.” 28 U.S.C. § 1346(b)(1). A court, therefore, cannot avoid the FTCA’s bar on liability




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for state torts based on absolute or strict liability by judicially amending a state nuisance claim to

add a new element of negligence, and then looking to this new negligence-based nuisance cause of

action under state law.

[¶416] In any event, even if the State can pursue a negligence-based nuisance claim, the Court has

determined that the United States cannot be liable on such a claim absent a showing of a “‘negligent

or wrongful act or omission’ of the Corps.” ECF No. 38 at p. 29 ¶ 68. Accordingly, the United

States cannot be held liable simply based on the fact that some DAPL protestors camped on Corps-

managed land, or simply based on the fact that some of the protestors on Corps land engaged in

unlawful activity. The State must establish that Corps officials acted negligently in connection with

the DAPL protests.

               iv.   The United States Cannot be Held Liable for Discretionary Functions

[¶417] The FTCA’s waiver of sovereign immunity does not extend to claims “based upon the

exercise or performance or the failure to exercise or perform a discretionary function or duty on the

part of a federal agency or an employee of the Government, whether or not the discretion involved

be abused.” 28 U.S.C. § 2680(a). This discretionary function exception applies when: (1) the

challenged conduct or omission is discretionary, meaning that it “involves an element of judgment

or choice instead of being ‘controlled by mandatory statutes or regulations’”; and (2) “that judgment

is of the kind the discretionary function exception was designed to shield.” Berkovitz v. United

States, 486 U.S. 531, 536 (1988).

[¶418] “The applicability of the discretionary function exception to a particular ‘claim’ turns on

what it is ‘based upon’ and whether that specific wrongful action involves ‘a discretionary function

or duty.’” Miller v. United States, 992 F.3d 878, 887 (9th Cir. 2021) (emphasis in original).

Whether a claim is “based upon” a discretionary function or duty depends on whether the




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discretionary act caused the injuries at issue. If a plaintiff’s claimed injuries “were caused” by a

discretionary act, then, “as a matter of law,” the claims are “based upon” those decisions and barred

by the exception. Fisher Bros. Sales Inc. v. United States, 46 F.3d 279, 286 (3d Cir. 1995); cf.

Clark v. United States, 695 F. App’x 378, 386 (10th Cir. 2017) (unpublished) (“To circumvent the

discretionary function exception, the mandatory duty alleged must be one whose breach bears a

causal relationship to the Plaintiffs’ injuries, thereby giving rise to their cause of action against the

government.” (citing cases)).

[¶419] To overcome the discretionary function exception, a plaintiff must therefore identify a

specific non-discretionary act that proximately caused the plaintiff’s injury. For example, in

Berkovitz, the federal government approved the release of a particular lot of a polio vaccine. See

486 U.S. at 533. The federal Communicable Disease Center determined that a dose of the vaccine

from that lot caused the plaintiff, an infant, to contract polio. See id. The Supreme Court held that

the discretionary function exception barred judicial review of the government’s discretionary

decision as to the appropriate method for regulating the release of vaccine lots, but it did not bar the

plaintiff’s claim that the agency released a vaccine lot without complying with the mandatory safety

standards. See id. at 533, 546-48 & n.13. In Berkovitz, the causal chain was clear: the federal

government did not comply with mandatory safety standards, and, as a result, the plaintiff received

a vaccine that caused him to suffer harm. There was no suggestion that an intervening discretionary

decision occurred between the non-compliance with mandatory standards and the plaintiff’s injury.

[¶420] Similarly, in Appley Brothers v. United States, the Eighth Circuit concluded at the motion-

to-dismiss stage that the discretionary function exception did not apply when the challenged non-

discretionary decision led directly to the claimed harm, and that harm was not caused by any later

agency exercise of discretion. In that case, the plaintiffs, who stored grain at a warehouse, claimed




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that they were harmed after a grain shortage at the warehouse and that their harm was the direct

result of a federal grain inspector’s failure to comply with a mandatory handbook provision

governing the inspection of grain warehouses. See 7 F.3d 720, 725-26 (8th Cir. 1999). The

government argued that, even if an inspection had been conducted, it would not have necessarily

resulted in suspension of the license—that is, that the non-discretionary act was not the cause of the

harm alleged. See id. at 726. Observing that the case presented “a very close question,” the Eighth

Circuit rejected that argument. See id. at 725-26. The court explained that, once the federal

inspector failed to comply with the handbook’s mandatory provisions, that failure “prevented” the

agency “from exercising discretion to decide” whether to revoke the warehouse’s license. Id. The

court reasoned that the inspector’s failure to comply with the manual meant that the agency did not

have the information necessary “to make an informed exercise of discretion.” Id. at 726. The court

rejected the government’s argument that an inspection would not necessarily have led to closure of

the warehouse as being “simply inconsistent” with the evidence, which showed that the agency

eventually did shut down the warehouse after a later inspection discovered deficiencies. Id.

[¶421] The Appley Brothers court cited, with approval, an earlier decision where a federal

employee’s omission left the agency with no discretion on how to act. See id. at 724-25 (discussing

McMichael v. United States, 856 F.2d 1026, 1033-34 (8th Cir. 1988)). In McMichael, the plaintiff

challenged a federal employee’s failure to evacuate a munitions plant as a thunderstorm

approached, which led to a deadly explosion. See 856 at 1029, 1033. The claim was based on a

federal inspector’s failure to complete a checklist, which prescribed a specific course of action the

inspector must follow in the event of an electrical storm. 856 F.2d at 1033. The court held that,

because the inspector “had no choice but to adhere to that directive,” the discretionary function

exception did not apply. Id.




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[¶422] The Eighth Circuit reviewed the Appley Brothers case again following summary judgment.

It emphasized that the plaintiff’s claim could proceed because the plaintiff’s injuries were the direct

result of the non-discretionary act (failing to comply with handbook provisions about how to a

warehouse inspection). See Appley Bros. v. United States, 164 F.3d 1164, 1168-69, 1171-73 (8th

Cir. 1999). The court found that, if the federal inspector had conducted an investigation, as he was

required to do, “it is highly likely [the inspector] would have discovered the massive shortages of

grain” and revoked the warehouse’s license, as it did when a shortage was discovered in a

subsequent inspection. Id. at 1173.

[¶423] In Buckler v. United States, the Eighth Circuit again recognized that, for an FTCA claim to

proceed, the alleged non-discretionary act—and not a later discretionary decision—must be the

direct cause of the plaintiff’s injuries. See 919 F.3d 1038, 1053-54 (8th Cir. 2019) (“[W]hat matters

for our analysis is the nature of the [relevant agency policy] provision material to the challenged

decision.” (citing Compart’s Boar Store, Inc. v. United States, 829 F.3d 600, 605 (8th Cir. 2016)).

In Buckler, the Eighth Circuit addressed whether the discretionary function exception barred a claim

that a federal mine inspector failed to fulfill his mandatory duty to inspect training records. See id.

at 1054. Discussing Appley Brothers, the court stated that “parsing a government employee’s

duties” as “thinly” as the court did in that case “is confusing to say the least.” Id. at 1053. Analyzing

the facts in Buckler, the court found that most of the claims were barred by the discretionary

function exception. See id. at 1046-53. The one claim that could proceed involved the failure to

inspect training records, and the plaintiff’s allegation that the inspection records had been falsified,

which the court declined to dismiss “without further factual development of this threshold

jurisdictional question.” Id. at 1054 (noting that failing to conduct an investigation was arguably

“a simple abuse of discretion” that would be encompassed by the discretionary function exception,




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but “[f]alsifying records . . . would seem to be more than a mere abuse of discretion”).

[¶424] These cases reflect the principle that the discretionary function exception does not bar a

claim if the plaintiff shows that the claimed harm resulted directly from a non-discretionary,

negligent act by a federal employee, and not from an intervening discretionary act. But a plaintiff’s

claim is barred by the discretionary function exception when “a robust exercise of discretion

intervenes between an alleged government wrongdoer and the harm suffered by a plaintiff.” Gen.

Dynamics Corp. v. United States, 139 F.3d 1280, 1285 (9th Cir. 1998). For example, in General

Dynamics, the court held that the discretionary function exception barred a corporation’s suit

because its claimed injuries were not directly caused by the purported non-discretionary act—a

government audit that reported the corporation’s alleged fraud—but by the prosecutor’s intervening

discretionary decision to indict and prosecute the corporation for fraud. Id. at 1282, 1286. Thus,

even if the government violates a mandatory duty, a plaintiff’s claims are barred by the

discretionary function exception if the harm “actually flows” from some intervening discretionary

act. Id. at 1286.

[¶425] The Court held that the Corps’s September 16, 2016, and November 25, 2016, statements

were the non-discretionary acts upon which liability may be based. In denying the United States’

motion to dismiss, the Court determined that the Corps “has discretion to decide whether to grant

or deny a special use permit.” ECF No. 38 at p. 16 ¶ 40. But the Court found the Corps violated a

mandatory, non-discretionary duty by not following the Special Use permitting process when it:

(1) issued the September 16, 2016, press release inaccurately announcing that a Special Use Permit

had been granted to the Tribe; and (2) wrote the November 25, 2016, letter to tribal leadership that

announced the establishment of a free speech zone on Corps land to the south of the Cannonball

River. See ECF No. 38 at pp. 16-19 ¶¶ 38, 42-45, p. 19 ¶ 45, pp. 21-22 ¶ 50. As the Court found,




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“[b]oth of these were written permission granted to the protestors to use Corps land, which

circumvented the mandatory permit requirements.” Id. at p. 19 ¶ 45. The Court held that, while

the Corps “may have had discretion in how to enforce permit violations on its property,” it did not

have discretion “to forego the permitting process entirely and issue a de facto permit” in the form

of those two statements. Id.

[¶426] The Court’s Order did not hold that any other actions by the Corps besides the statements

on September 16 and November 25, 2016, violated a mandatory duty. See id. at p. 19 ¶ 45; id. at

21-22 ¶ 50 (“[T]he Corp[s] simply gave written permission in the form of a press release and a

letter allowing the protestors to use Corps-managed land.”). The Court noted that it was not clear

from the Complaint which of the two statements by the Corps allegedly “invited, enabled, and

encouraged” the DAPL protestors’ activity, but the Court stated that “both actions by the Corp[s]

were a ‘written permission granted by the District Commander,’ neither of which were predicated

by a properly-submitted permit application.” Id. at p. 15 ¶ 35 (citation and alteration omitted)

(emphases added). That is, the Court made clear that the statements of September 16 and November

25—and those two statements alone—were the non-discretionary acts for which liability could be

imposed.

[¶427] In contrast, the Court expressly recognized that the Corps’s decisions as to how to enforce

violations of Title 36 on Corps-managed land were discretionary. See id. at 19 ¶ 45 (the Corps

“may have had discretion in how to enforce permit violations on its property”); id. at 24 ¶ 55 (“36

C.F.R. Part 327 and the Implementing Guidance do not require any specific enforcement conduct

by the Corps in response to the protestors’ conduct . . . .”).

[¶428] The Court then determined that the State could proceed with its claim on the ground that the

Corps’s “failure to comply with the mandatory permitting process tainted all other decisions made




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by the Corp[s]. Here, the maxim applies: ‘You break it, you bought it.’” Id. at 24 ¶ 55. That is,

the Court held that the State could proceed on a theory that the Corps “broke” a duty when it issued

the September 16 and November 25 statements, and it therefore “bought” the consequences of all

the decisions it made afterwards. See id. at 24 ¶ 55; id. at 25 ¶ 58 (holding the discretionary function

exception “is not a bar to decisions made without regard to mandatory procedures and the bad

consequences resulting from not following those mandatory procedures” (emphasis added)).6

[¶429] The case was allowed to proceed to discovery, and ultimately to trial, on the reasoning

outlined in the Court’s Order on the motion to dismiss. That is, the case proceeded on the basis of

the Court’s holding that the Corps “failed to follow a mandatory permit process” by issuing the

September 16 and November 25 statements and that those statements and the Corps’s decisions that

followed could be a basis for liability, if the State met its burden of proof on each element of its

claims. Id. at p. 22 ¶ 50, see id. at pp. 19 ¶ 45, 21-22 ¶ 50.

[¶430] This Court thus determined that the State’s claims could proceed based on two specific

actions by the Corps that it found to be a breach of a non-discretionary duty: the Corps’s September

16, 2016, press release and COL Henderson’s November 25, 2016, letter to tribal leaders. See ECF




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  The United States respectfully disagrees with the Court’s decision that the September 16 and
November 25 statements were non-discretionary actions under the Corps’s rules and guidance, for
the reasons discussed in the United States’ briefs on its motion to dismiss and motion for summary
judgment, and in response to the State’s partial motion for summary judgment. See ECF Nos. 6,
16, 30, 350, 364, 369. The United States will not repeat those arguments in these proposed Findings
of Fact and Conclusions of Law, but specifically preserves them and urges the Court to reconsider
its prior rulings on this issue in light of the full record after trial. See Berkovitz, 486 U.S. 547-48
(emphasizing that the plaintiffs had merely alleged, but not proved, their factual allegations as to
the applicability of the discretionary function exception at the motion to dismiss stage, and holding
that the case could proceed based on what evidence might be adduced in discovery on that issue);
see also, e.g., FoF [¶43]-[¶60] (discussing the Corps’s Special Use Permit process and the discretion
it leaves to Corps officials, including in connection with imposing conditions such as liability
insurance and performance bonds); FoF [¶132]-[¶146] (discussing the Standing Rock Sioux Tribe’s
request for a Special Use Permit and the Corps’s response to that request).

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No. 38 at pp. 16-19 ¶¶ 38, 42-45, p. 19 ¶ 45, pp. 21-22 ¶ 50. As to those two statements, the Court

rejected the discretionary function defense based on the record then before the Court on the United

States’ motion to dismiss. Cf. Berkovitz, 486 U.S. at 547-48 (emphasizing that the plaintiffs had

merely alleged, but not proved, their factual allegations as to the applicability of the discretionary

function exception at the motion to dismiss stage, and holding that the case was permitted to proceed

based on what evidence might be adduced in discovery on that issue); Buckler, 919 F.3d at 1054

(declining to dismiss a claim based on the discretionary function exception without “further factual

development of this threshold jurisdictional question”).

[¶431] At this stage, the Court must re-assess whether the State has shown, on the record following

trial and in accordance with the legal principles set forth above, that the harms it complains of

resulted directly from those acts, and not from a later intervening discretionary act by the agency.

See, e.g., Auer, 902 F.3d at 877 (federal courts have “an obligation to satisfy” themselves that

jurisdiction exists); U.S. Express Lines Ltd., 281 F.3d at 388-89 (that obligation applies “at all stages

of the litigation”). As reflected in the facts set forth above, the State has not made this showing.

[¶432] As discussed in more detail in Section II.D below, the State does not show that the harms it

suffered—the expenditure of money to mount a law-enforcement response to the protests—were

directly and proximately caused by either of the Corps’s statements on September 16 or November

25, 2016. The September 16 and November 25 statements informed protestors that they could

gather for a peaceful demonstration on Corps land to the south of the Cannonball River (and not

the north), so long as protestors obeyed the Corps’s Title 36 regulations and state, local, and federal

laws. See FoF [¶142], [¶197]-[¶198], [¶269]. Despite those statements, protestors acted otherwise:

protestors remained camped in large numbers on Corps land to the north of the river, where they

had not been told they could gather. See FoF [¶271].




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[¶433] Instead, the evidence shows that a variety of other factors, including protestors’ own

convictions and decisions, history and culture, calls for support from the Standing Rock Sioux

Tribe, decisions on the pipeline easement, and social media and online donations, were the primary

motivators of protest activity on the ground. See FoF [¶238]-[¶268].

[¶434] The State’s claimed harms also involved numerous intervening acts of discretion by Corps

officials and others. See, e.g., FoF [¶59] (discussing the Corps District Commander’s discretion to

close Corps land); FoF [¶17], [¶56] (noting that Corps officials have discretion as to whether to

issue citations, to seek removal of people from Corps land, or to take other steps to ensure visitors’

compliance with Corps rules and regulations); FoF [¶66], [¶68], [¶73], [¶243] (discussing the

Department of the Army’s decision to seek further review and delay the decision on the easement

for the pipeline to cross Lake Oahe); FoF [¶300], [¶334] (discussing the Department of Justice’s

decision not to deploy more federal law enforcement resources in response to the protests). That

is, unlike the plaintiffs’ claims in Appley Brothers, a robust exercise of discretion intervened here

between the two statements by the Corps and the harms the State alleges. And unlike the non-

discretionary conduct in Appley Brothers, the Corps’s September 16 and November 25 statements

did not deprive agency officials of information necessary to make an informed exercise of their

discretion.

[¶435] That the Corps’s statements of September 16 and November 25, 2016, preceded some of

the discretionary decisions that form the basis of the State’s claims is not enough to conclude that

the State’s harms were directly caused by those statements, and were not caused by the discretionary

decisions that followed. The only acts the State alleges would have remedied or prevented its harm

are discretionary—specifically, the Corps closing its land or seeking forcible removal of protestors,

or the federal government deploying more law enforcement resources. See, e.g., ECF No. 450-1 at




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p. 35 ¶ 132, pp. 59-61 ¶¶ 245-51, p. 65 ¶ 271, p. 79 ¶¶ 340-342, p. 84-85 ¶¶ 361-63. Those were

all “robust exercise(s) of discretion” that intervened between the Corps’s alleged wrong (the

issuance of the statements) and the harm suffered by the State (expending protest-response costs).

Gen. Dynamics Corp., 139 F.3d at 1285. Because the trial record shows that the State’s claimed

harm is “based upon” discretionary functions, the State’s claims are barred by the discretionary

function exception.

[¶436] The State now offers a different theory, that liability can be based on the Corps’s not seeking

removal of protestors on its land in mid-August 2016. The State now seeks to pursue a theory of

liability that is different from the claim the Court permitted to proceed at the motion to dismiss

stage. The State contends that the Corps erred by making “no effort to remove the DAPL protestors

when that was a realistic option” in mid-August 2016. ECF No. 450-1 at p. 2 ¶ 5 (State’s proposed

Findings of Fact and Conclusions of Law); see id. at pp. 64-65 ¶¶ 269, 271; id. at p. 84 ¶ 361; id. at

p. 96 ¶ 404; see also id. at p. 92 ¶ 388 (contending the time “when it was feasible” to control the

protestors or Corps-managed land was “in August 2016”); see also FoF [¶368] (the State is seeking

to recover the full amount of its protest-response expenses as damages, including expenses incurred

from August 10, 2016, onward). This theory fails, for at least two reasons: first, because the State

claims the Corps’s error occurred a month before the first non-discretionary act at issue, and second,

because the State’s claimed harms are not “based upon” either of the non-discretionary acts the

Court identified. See 28 U.S.C. § 2680(a).

[¶437] First, the State’s new theory is based on the Corps’s decision not to seek removal of

protestors from its land in mid-August 2016—a month before September 16, 2016, the date of the

first statement the Court found to be non-discretionary and a potential basis for liability. In essence,

the State contends the United States is liable based on a situation that was already “broken” beyond




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repair by the time the Corps “bought it” by violating a non-discretionary duty. See ECF No. 38 at

24 ¶ 55.

[¶438] As an initial matter, the State’s theory is not based on a fair reading of the evidence. The

State erroneously claims the Corps was aware protestors had spilled onto Corps land in large

numbers as of August 10, 2016. See ECF No. 450-1 at p. 8 ¶ 29, p. 98 ¶ 408. To support this

assertion, the State cites PX 1050, a Corps storyboard document dated August 24, 2016—two weeks

after the August 10 date the State identifies. See ECF No. 450-1 at p. 8 ¶ 29. The State also cites

JX 61, a chain of several emails among Corps officials that notes, on the afternoon of August 15,

2016, that “there appears to be significant protest activity brewing at SRST today in addition to the

smaller protests that are ongoing at a DAPL work site near their reservation and at our Oahe office

today. . . . It’s hard to say what will actually happen . . . my assessment is that their claims of

‘thousands’ of people coming for [sic] all over the country may be a little exaggerated.” JX 61 at

USACE_00002235. The email chain contains no mention of protests on August 10, or on any day

prior to August 15, 2016. See id. at USACE_00002235-USACE_00002241. The State also cites

record testimony that does not establish that the Corps knew large numbers of protestors were

gathering on its land as of August 10, 2016. See ECF No. 450-1 at p. 8 ¶ 29 (citing COL

Henderson’s testimony at Tr. 1040:3-9 and BG Spellmon’s testimony at Tr. 1904:25–1905:4).

Neither witness testified as to the August 10 date the State asserts. See Tr. 1040:3-9 (Day 7;

Henderson) (testifying that protestors were camping on Corps-managed lands north of the

Cannonball River “by the middle of August 2016”); Tr. 1904:25-1905:4 (Day 12; Spellmon)

(testifying that he first learned protestors were camping on Corps-managed land in North Dakota

sometime “in the middle of August of 2016”).

[¶439] In fact, the evidence shows that it was on August 15, 2016, when Corps officials first learned




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protestors were gathering on Corps land to the north of the Cannonball River in greater numbers

than they had previously gathered elsewhere. See FoF [¶94]-[¶99]. Previously, the protests had

consisted of approximately 12 local Standing Rock Sioux Tribe members, who had been peacefully

gathered on Reservation land to the south of the Cannonball River, occasionally spilling over onto

adjacent Corps land south of the river. See FoF [¶80]-[¶84]. Prior to mid-August 2016, State and

local law enforcement and Corps officials all thought that encampment was nothing to worry about.

See FoF [¶84].

[¶440] At 11:17 AM on August 15, 2016, when COL Henderson first learned that protestors had

spilled onto Corps land north of the Cannonball River, an estimated 300 people were already on the

road to join the camp within a matter of hours. See FoF [¶96]. Estimates from the State put that

number of people coming to join the protests as high as 800. See id. That same day or very soon

after, COL Henderson reached out to Sheriff Kirchmeier, BIA law enforcement officials, and the

U.S. Attorney’s Office to discuss the protest situation. See FoF [¶96].

[¶441] Also on August 15, 2016, very soon after he learned protestors were gathering on Corps

land to the north of the Cannonball River, COL Henderson learned that a representative of the

Standing Rock Sioux Tribe had contacted COL Henderson’s team, seeking permission for a

spiritual encampment on Corps land. See FoF [¶132]. That same day, COL Henderson told his

team that the Tribe should seek a Special Use Permit for the encampment. See FoF [¶134].

Responding to the Tribe’s inquiry, COL Henderson’s team told the Tribe’s representative that the

Tribe should seek a Special Use Permit. See id.

[¶442] Three days later, on August 18, 2016, the Tribe submitted an application for a Special Use

Permit. FoF [¶135]. The Corps rejected that application because it did not include insurance and

bonding provisions or a description of the event. See id. In early September 2016, the Tribe re-




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submitted its application. See id. After that, Corps officials continued to discuss the re-submitted

Special Use Permit application with the Tribe, including how it reflected the changing conditions

on the ground with the protests. See FoF [¶135].

[¶443] On September 16, 2016, COL Henderson offered the Special Use Permit to the Tribe. See

FoF [¶137]. That same day, the Corps issued the press release that incorrectly stated that the Special

Use Permit had been granted (not merely offered). See FoF [¶142], [¶145].

[¶444] The evidence shows that, immediately upon learning that protestors were gathering on

Corps land in significant numbers, that protestors had spilled onto Corps land to the north of the

Cannonball River, and that the protest situation might pose a concern, COL Henderson and his team

began working to get a Special Use Permit in place. The evidence further shows that Corps officials

continued to work with the Tribe in an attempt to secure a valid Special Use Permit that reflected

the situation on the ground and would include the necessary conditions. In sum, from August 15

to September 16, 2016, the Tribe obtained, completed, and submitted a Special Use Application to

the Corps, and the Corps assessed the application and determined what conditions should apply to

the Special Use Permit. These are exactly the steps the Court found the Corps was required to take

under its implementing guidance. See ECF No. 38 at p. 16 ¶ 38; p. 17-19 at ¶¶ 42-44.

[¶445] The Corps did not violate any mandatory duty with regard to the permitting process until

September 16, 2016 (if at all). At the time the State alleges the Corps wrongfully did not act to

seek removal of protestors—sometime in mid-August 2016—the Corps was doing precisely what

this Court has held it should do when faced with an unauthorized use of its land: receive an

application for a Special Use Permit, consider that application, and impose certain conditions if the

Special Use Permit is to be granted. See ECF No. 38 at p. 16 ¶ 38; p. 17-19 ¶¶ 42-44.

[¶446] The Corps’s decision in mid-August not to announce the closure of its land, or to seek the




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forcible removal of protestors cannot be the basis for liability, because the Corps had not breached

any mandatory duty at that point. See 28 U.S.C. § 2680(a); ECF No. 38 at p. 16 ¶ 38, pp. 17-19 ¶¶

42-44; see also FoF [¶53] (members of the public who want to use Corps land for activities

ordinarily requiring a Special Use Permit often do not submit an application before entering Corps

land); FoF [¶52] (the process of securing a Special Use Permit often involves significant back-and-

forth between the applicant and Corps officials); FoF [¶54] (when members of the public enter

Corps land without authorization, Corps officials respond by exercising their best judgment and the

tools at their disposal); FoF [¶59] (the District Commander may close Corps land as necessary for

the public interest, but he is under no mandatory obligation to do so).

[¶447] The State does not identify the date in mid-August 2016 on which it thinks a mass forcible

eviction of protestors would have been “feasible” and on which it contends the Corps should have

sought that eviction. But it was at some point before August 18, 2016, when the number of

protestors in the camps had grown to an estimated 1,500 people, see FoF [¶99], and State and local

law enforcement were stretched beyond their capacity to simply manage the protests, even without

attempting a full-scale eviction, see FoF [¶353], [¶357]. In fact, it was almost certainly even earlier,

before August 15, 2016, when the number of protestors was already swelling into the hundreds.

See FoF [¶96].

[¶448] The evidence shows that as of mid-August 2016, State and local law enforcement were not

willing or prepared to evict protestors. Rather, they were focused on containing the protests and

accommodating protestors as much as possible, as reflected by their actions during this period. On

August 11, Sheriff Kirchmeier told protestors that they could protest in certain areas (including the

ditch along the public highway) that did not block entrances to private property; he testified that he

wanted to encourage people to exercise their First Amendment rights so long as it was not




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interfering with other people. FoF [¶91], [¶101]. On August 12, Sheriff Kirchmeier spoke with

protestors about giving them an opportunity to protest without disrupting the pipeline construction

activities, testifying that the situation with protestors was “all pretty good” as of that point.

FoF [¶92][¶93].   On August 16, Sheriff Kirchmeier gave a quote to the Bismarck Tribune,

discussing options for deescalating the protests, including giving protestors more land, more

comfort, room for tents, water, and a dumpster. FoF [¶100]. That same day, Sheriff Kirchmeier

met with Standing Rock Sioux Tribe members about how to deescalate tensions, talking about

options such as giving protestors more land, comfort, and amenities. Id. From approximately

August 19 through 22, the North Dakota Department of Health was providing a first aid station,

potable water, and other assets on-site at the protest camps.

[¶449] Removing hundreds of protestors would have required hundreds, if not thousands, of law

enforcement officers. For example, the Big Push operation on October 27, 2016—which moved

just 300-360 protestors two miles south, from the North Camp on private and State property to the

Main Camp on Corps land—took 400-500 law enforcement officers an entire day and stretched law

enforcement’s resources to their limit. See FoF [¶355]; see also id. (at video timestamp 0:29-0:34,

a police officer tells protestor Chase Iron Eyes that “when you got 50 [protestors] up there, that

means we have to come with over 100 [law enforcement officers]”). The evidence did not show

that State and local law enforcement had the ability to muster a force of that size at any point in

mid-August 2016. See FoF [¶353], [¶357]. And State officials knew that attempting a mass eviction

without sufficient manpower would have posed serious risks to officers’ safety. FoF [¶356].

[¶450] The State concedes that State and local law enforcement did not have the manpower to effect

a forcible removal of the protest camps as the protests began to grow and intensify in August and

September 2016. See, e.g., ECF No. 450-1 at p. 67 ¶ 285 (“When the protests against the DAPL




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began to intensify in August 2016, North Dakota did not have the law enforcement resources

necessary to address the developing situation in Morton County.”); id. at p. 68 ¶ 291 (“As the DAPL

Protests continued to grow in August and September 2016, North Dakota’s law enforcement

resources were not sufficient to protect the safety of the citizens of North Dakota, their property, or

ensure that public order could be maintained.”); see also FoF [¶353]-[¶366] (discussing evidence

of State’s lack of sufficient manpower throughout the protests).

[¶451] In any event, the State’s contention that the Corps should have sought the forcible removal

of protestors at some point in mid-August 2016 cannot be the basis for liability. As the Court held,

the first of the Corps’s non-discretionary acts that can form a basis for liability was not until a month

later, on September 16, 2016. See ECF No. 38 at pp. 16-19 ¶¶ 38, 42-45, p. 19 ¶ 45, pp. 21-22 ¶

50. The Corps’s decisions and actions prior to September 16, 2016, obviously did not lead to or

“proximate[ly] cause” the State’s alleged harms. Buckler, 919 F.3d at 1054.

[¶452] Second, the State’s new theory of liability—that the Corps erred by not seeking the removal

of protestors in mid-August 2016—fails because there is no evidence that the State’s claimed

damages associated with this alleged failure resulted from the two later statements the Court

identified as non-discretionary acts on which liability may be based. This latest theory of the State’s

appears to rest on the Corps’s law enforcement decisions, but the Court has ruled, and the State

explicitly acknowledges, that the Corps’s enforcement-related decisions were discretionary. See,

e.g., ECF No. 38 at p. at 24 ¶ 55 (“36 C.F.R. Part 327 and the Implementing Guidance do not require

any specific enforcement conduct by the Corps in response to the protestors’ conduct . . . .”); ECF

No. 450-1 at p. 77 ¶ 335 (State’s proposed Findings of Fact and Conclusions of Law stating that

“the United States’ subsequent discretionary actions do not remedy the Corps[s’] failure to follow

its special use permitting process” (emphasis added)); id. at p. 79 ¶ 340 (“The Corps’ subsequent




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discretionary decisions whether or not to issue citations to DAPL Protestors, and whether or not to

request that North Dakota law enforcement evict the DAPL Protestors from Corps-managed lands,

and whether the Corps could have employed ‘alternative management techniques’ to allow DAPL

Protestors to occupy Corps-manage[d] lands have no bearing on the Corps’ liability.” (emphasis

added)); id. at p. 96 ¶ 403 (“[S]ubsequent discretionary decisions such as whether, or how, to

remove the DAPL Protestors from Corps-managed land became irrelevant . . . .” (emphasis added)).

[¶453] The State’s new theory—that the Corps erred in not seeking removal of protestors in mid-

August 2016—is clearly based on the United States’ discretionary law-enforcement decisions. The

State objects to the federal government’s not providing more law enforcement resources to assist

with the DAPL protests, to the Corps’s decision not to issue citations to protestors for Title 36

violations, and to the Corps’s decision not to ask State and local law enforcement to remove

protestors from Corps land. See, e.g., id. at p. 2 ¶ 5 (“[T]he United States made no effort to remove

the DAPL Protestors when that was a realistic option.”); id. at pp. 58-62, 64-65 ¶¶ 237-257, 268,

270 (discussing evidence presented at trial regarding the federal government’s lack of law

enforcement assistance, the Corps not asking law enforcement to engage in a full-scale clearing of

the camps, and the Corps not writing citations for Title 36 violations); id. at pp. 84-85, ¶ 362 (“[T]he

United States itself could have cleared the DAPL Protests [sic] camps by issuing an order closing

all Corps-managed lands, but the Corps never did so.”); id. at p. 85 ¶ 363 (“The Corps . . . had the

ability to control the conduct of the DAPL Protestors through the Corps Title 36 enforcement

powers, but again the Corps declined to exercise that available control option.”); id. at p. 95 ¶ 398

(“[T]he United States wholly failed to provide any sort of a law enforcement response to the DAPL

Protests, implicitly supporting the DAPL Protestors while denying North Dakota the resources it

needed to address the unlawful DAPL Protest situation.”) (emphasis in original)). The evidence at




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trial made clear that, while the federal government did exercise its discretion to provide law

enforcement assistance in a variety of ways, see FoF [¶305]-[¶332], the State’s primary complaint

was that the United States did not provide as much federal law enforcement assistance as the State

wanted in response to the protests, see FoF [¶333]-[¶334], [¶363].

[¶454] The State’s other theories of liability are similarly based upon discretionary decisions. The

State also seems to suggest two other theories to support its claim, in addition to federal officials’

discretionary enforcement decisions—one based on the Assistant Secretary of the Army’s decision

to delay the decision on the pipeline easement, and another based on actions President Obama took

during the protests. The discretionary function exception bars the State from recovering on both

theories.

[¶455] First, the State seems to suggest that liability can be based on the Assistant Secretary of the

Army’s decision to delay the decision on the pipeline easement. See, e.g., ECF No. 450-1 at pp.

23-25 ¶¶ 90-97 (discussing the joint statement by the Departments of the Army, Justice, and Interior

dated September 9, 2016, which announced that the Army would not authorize construction of the

pipeline on Corps land until the Army determined whether it needed to reconsider its previous

decisions permitting the pipeline’s crossing); id. at pp. 93-95 ¶ 393 (discussing testimony of State’s

expert that the September 9 joint statement could be viewed as supporting protestors’ cause); id. at

pp. 37-38 ¶¶ 142-43 (discussing the October 10, 2016, joint statement by the same three federal

agencies, which requested the pipeline company voluntarily pause construction activity within 20

miles of Lake Oahe and local law enforcement’s reaction that joint statement); id. at p. 49 ¶ 190

(discussing request from North Dakota’s congressional delegation that the Corps act on the pipeline

easement and provide federal law enforcement resources), pp. 51-53 ¶ 203 (citing LTG Semonite’s

assessment that protest activity would continue at the status quo until there was a decision on the




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DAPL easement); id. at pp. 52-53 ¶¶ 207-211 (discussing the December 4, 2016, announcement by

the Assistant Secretary of the Army that the easement for the pipeline would not be approved and

its impact on protestors and State and local law enforcement); id. at p. 95 ¶ 397 (stating that the

October 10 joint statement by the Departments of the Army, Justice, and Interior and the December

4 statement that the easement would not be approved “encouraged and supported the DAPL

Protestors”).

[¶456] The decision by the Assistant Secretary of the Army for Civil Works to seek additional

analysis and delay a final decision on the easement for the pipeline to cross Lake Oahe was

discretionary. As to the first prong of the discretionary function analysis, the Army and the Corps

were not under an obligation to issue an easement for the pipeline, so the Assistant Secretary’s

decision necessarily involved “an element of judgment or choice.” Herden v. United States, 726

F.3d 1042, 1046 (8th Cir. 2013). As to the second prong, the Army’s decision on the pipeline

easement was susceptible to a public policy analysis and was therefore the type of judgment the

discretionary function exception was intended to shield from judicial review. See Berkovitz, 486

U.S. at 536; Herden, 726 F.3d at 1047. It therefore cannot form the basis for the United States’

liability. See 28 U.S.C. § 2680(a).

[¶457] Additionally, the decision to delay the pipeline easement was not made by Corps officials.

See FoF [¶13], [¶68], [¶73]. For that reason, too, this decision cannot be a basis upon which liability

can be imposed, as discussed in Section I.A.ii above.

[¶458] Second, the State contended at trial that “the United States’ conduct with regard to the

protests flowed from the executive office of the President of the United States.” Tr. 15:15-17 (Day

1; State’s opening statement). The State also offered evidence about public comments then-

President Obama made about the DAPL protests and the pipeline in fall of 2016. See, e.g., PX 1084




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and ECF No. 405-4, Dep. Tr. 157:21-158:17, 159:17-160:6 (Jewell); Tr. 143:2-144:3 (Day 1;

Schulz); Tr. 394:19-24 (Day 3; Kirchmeier); Tr. 1809:2-25 (Day 11; Kuhlman); PX 1280 and Tr.

1943:5-1949:17 (Day 12; Spellmon); Tr. 2974:8-2975:11 (Day 18; Warner). But the State has not

shown the FTCA permits the Court to impose liability on the United States for those statements,

which are entirely discretionary.

[¶459] “The President possesses ‘extraordinary power to speak to his fellow citizens and on their

behalf.’” Trump v. United States, 603 U.S. __, 144 S. Ct. 2312, 2339 (quoting Trump v. Hawaii,

585 U.S. 667, 701 (2018)). And “[a]s the sole person charged by the Constitution with executing

the laws of the United States, the President oversees—and thus will frequently speak publicly

about—a vast array of activities that touch on nearly every aspect of American life.” Id. at 2339-

40. Given this discretion, the actions and statements of the President relating to the protests cannot

serve as a basis for liability, and any claim the State asserts based on those actions is barred by the

discretionary function exception.

                                          *       *       *

[¶460] Unlike the plaintiffs Appley Brothers, the State has not shown that the relevant acts here—

the Corps’s September 16 and November 25 statements, and the fact that the Special Use Permit

was never finalized—deprived the agency of any further discretion as to how to proceed. To the

contrary, the Corps retained extensive discretion on how to proceed even after those statements

were issued. See FoF [¶54] (when members of the public enter Corps land without authorization,

Corps officials exercise their best judgment and consider the tools at their disposal in determining

how to respond); FoF [¶56] (Corps officials are never required to seek removal of people on Corps

land for not complying with the terms of a Special Use Permit); FoF [¶57], [¶60] (Corps officials

can use alternative management techniques in response to people using Corps land); FoF [¶59] (the




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District Commander may close Corps land as necessary for the public interest, but he is under no

mandatory obligation to do so). And the evidence—including all of the testimony from protestors

themselves—points to the fact that no statement of the Corps, or permission or lack thereof from

the Corps, made any material difference in the protest situation on the ground. See FoF [¶269]-

[¶275]. In other words, the State has not met its burden to show that its claims were not caused by

(are not “based upon”) a discretionary act by the Corps. See 28 U.S.C. § 2680(a).

[¶461] Because the State’s claims (and its alleged damages) are not “based upon” a non-

discretionary function, the Court lacks jurisdiction under the FTCA and cannot find the United

States liable.

                 v.   The United States Cannot be Held Liable for Misrepresentations

[¶462] Setting aside the State’s claims about discretionary enforcement decisions and the decision

about the pipeline easement, see Section I.A.iv, supra, what remains is the State’s argument that

the Corps violated its non-discretionary permit regulations when it inaccurately stated that a Special

Use Permit had been granted. The State contends that the Corps violated its permitting regulations

by “falsely announcing or implying that a Special Use Permit had been issued when no such permit

had been issued,” and that the Corps “never corrected these announcements,” which the State claims

were “de facto violations of the Corps Special Use Permit process.” ECF No. 450-1 at p. 77 ¶ 335;

see id. at p. 93 ¶ 390 (arguing that these statements by the Corps were false and thus violated the

permitting process); id. at p. 100 ¶ 418 (same); id. at p. 104 ¶ 434 (arguing that failing to correct

the false statement violated the permitting process).

[¶463] A claim premised on false statements, or the failure to correct false statements, is barred by

the FTCA’s misrepresentation exception. The FTCA does not waive sovereign immunity for “[a]ny

claim arising out of . . . misrepresentation . . . .” 28 U.S.C. § 2680(h). “[T]he essence of an action




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for misrepresentation . . . is the communication of misinformation on which the recipient relies.”

Block v. Neal, 460 U.S. 289, 296 (1983). The intent of the misrepresentation exception is “to except

from the [FTCA] cases where mere ‘talk’ or failure to ‘talk’ on the part of a government employee

is asserted as the proximate cause of damage sought to be recovered from the United States.”

National Mfg. Co. v. United States, 210 F.2d 263, 276 (8th Cir. 1954). The Eighth Circuit has held

that “misrepresentation” has a broad meaning: “[t]o misrepresent means to give a false, improper

or imperfect representation.” (internal quotations omitted). Id. at 275.

[¶464] The exception applies even if the claim is based on an erroneous representation, even if the

error was not intentional. Block, 460 U.S. at 296-97 (holding that the exception applied to a claim

based on an “erroneous appraisal,” as “the alleged conduct that was the basis” of the claim “was in

essence a negligent misrepresentation”).        The FTCA’s misrepresentation exception thus

encompasses negligent misstatements, as well as omissions. See United States v. Neustadt, 366

U.S. 696, 702-03 (1961); Green v. United States, 629 F.2d 581, 584 (9th Cir. 1980) (collecting

cases). In Neustadt, the plaintiffs claimed that the Federal Housing Administration negligently

performed an inspection and appraisal of a property, that the plaintiffs received a statement

reporting the results of the inspection and appraisal, and that in reliance on that statement they

overpaid for the property. See id. at 696-701. The Supreme Court rejected the Court of Appeals’

reasoning that an FTCA claim could be maintained based on the underlying alleged negligence,

holding that the plaintiffs’ claim arose out of a misrepresentation and was therefore not actionable.

See id. at 704-06, 711; cf. Appley Bros., 7 F.3d at 728 (holding that the misrepresentation exception

did not apply where the plaintiffs’ claim did “not depend on the transmission of erroneous

information as an essential element”).

[¶465] The misrepresentation exception applies even where federal employees are under a specific




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statutory or regulatory duty to provide information. See Neustadt, 366 U.S. at 710-11; National

Mfg. Co., 210 F.2d at 269, 275-76.

[¶466] The misrepresentation exception has been applied in numerous contexts.             See, e.g.,

Tompkins v. United States, No. 8:21-cv-2286-TPB-CPT, 2022 WL 1155294, at *3 (M.D. Fla. Apr.

19, 2022) (collecting cases). In particular, the exception has been held to bar claims alleging

damages associated with injuries to persons or property. See, e.g., National Mfg. Co., 210 F.2d at

266-67, 275-76 (misrepresentation exception barred recovery for flood damage to property

resulting from reliance on inaccurate information about the course and action of the flood waters of

the Kansas River disseminated by federal officials); Hamre v. United States, 799 F.2d 455, 456 (8th

Cir. 1986) (misrepresentation exception barred recovery for injuries to homeowners’ property and

children’s illness resulting from presence of bats in the home, which was not disclosed in the

government’s appraisal); Tompkins, 2022 WL 1155294, at *1, *3 (misrepresentation exception

barred recovery for lasting injuries suffered by a VA-contracted home health aide who had a severe

allergic reaction to cats at her place of work, after erroneously being told the cats were

hypoallergenic); Diaz Castro v. United States, 451 F. Supp. 959, 960, 962-63 (D.P.R. 1978)

(misrepresentation exception barred recovery for injuries a police officer suffered when he was shot

by a prisoner whom government employees had assured him was sedated and not dangerous);

Vaughn v. United States, 259 F. Supp. 286, 286, 289 (N.D. Miss. 1966) (citing Neustadt and holding

that the misrepresentation exception barred recovery for personal injury resulting from an explosion

allegedly caused by reliance on a government map that did not show the correct placement of a gas

pipeline).

[¶467] Courts must examine the substance of the claim at issue to determine whether the claim is

one “arising out of” an alleged misrepresentation. See, e.g., Neustadt, 366 U.S. at 703 (courts must




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look “beyond the literal meaning of the language to ascertain the real cause of complaint”);

Omnipol, A.S. v. Multinational Defense Servs., LLC, 32 F.4th 1298, 1306 (11th Cir. 2022) (“[I]t is

the substance of the claim and not the language used in stating it which controls. . . . A plaintiff

cannot, therefore, circumvent the misrepresentation exception simply through artful pleading of its

claims.” (citations and internal quotations omitted)). For example, in Hamre, the plaintiffs argued

their claim was based on simple state-law negligence, and not on the appraiser’s misrepresentation.

See 799 F.2d at 456. But the Eighth Circuit held that the misrepresentation exception barred the

plaintiffs’ claim because the property defect was present before the government’s appraisal, but the

proximate cause of plaintiffs’ injury was their reliance on representations made by the government

appraiser about the property. See id. at 457. In Preston v. United States, the plaintiffs claimed they

were induced to store grain at a facility based on a federal agency’s approval of that facility, though

in fact the facility was in dire financial straits and eventually sold off grain belonging to the farmers

that it was not entitled to sell. 596 F.2d 232, 234-36 (7th Cir. 1979). Holding that the FTCA’s

misrepresentation exception barred plaintiffs’ claim, the Seventh Circuit emphasized the need to

“look[] behind the plaintiff’s characterization” of its claim to see if what the plaintiff is actually

complaining about is “an implied misrepresentation.” Id. at 237-38.

[¶468] Here, the Court previously identified two non-discretionary acts that can be the source of

liability: the issuance of a September 16, 2016, press release regarding the issuance of a Special

Use Permit, and the November 25, 2016, letter COL Henderson wrote to tribal leadership closing

Corps land to the north of the Cannonball River and establishing a free speech zone in the area to

the south of the river. See ECF No. 38 at 19 ¶ 45, 21-22 ¶ 50.

[¶469] The first of these statements, the September 16 press release, inaccurately stated that the

Standing Rock Sioux Tribe had been “granted” a Special Use Permit. See FoF [¶142], [¶145]. In




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fact, the Corps had offered the Tribe a Special Use Permit, but the Tribe did not complete the

requirements for the permit, so no valid Special Use Permit was ever in place. See FoF [¶145].

[¶470] The Court previously mentioned the misrepresentation exception but did not analyze its

application in detail, stating in its ruling on the motion to dismiss that “the announcements by the

Corps were written permissions or permits and were not misrepresentations.” ECF No. 38 at 4 n.1.

The Court did not have the benefit of briefing on the application of the misrepresentation exception,

nor of the fulsome evidentiary record that was developed at trial. Reconsideration of this issue is

warranted, particularly given that the issue implicates the Court’s subject-matter jurisdiction. See,

e.g., Auer, 902 F.3d at 877 (federal courts have an “obligation” to satisfy themselves that

jurisdiction exists); U.S. Express Lines Ltd., 281 F.3d at 388-89 (that obligation exists “at all stages

of the litigation”).

[¶471] Examining the substance of the State’s claims leads to the conclusion that—to the extent

the State’s claims do not arise out of the federal government’s discretionary decisions in connection

with the DAPL protests, as discussed in Section I.A.iv above—they arise from misrepresentations.

[¶472] The State has repeatedly made clear that its claims arise from misrepresentations. For

example, the State argued in its motion for partial summary judgment that “[t]he United States

violated its mandatory special use permitting process-related duties” by “represent[ing] to the

public that an effective SUP had been granted” and “never correcting that mis-representation.” ECF

No. 352 at 39-40; see ECF No. 373 at 8 (State’s reply in support of its motion for partial summary

judgment, arguing the Corps “attempted to circumvent . . . mandatory procedures when it issued

the September 16, 2016, press release, which falsely stated that the Corps had granted a special use

permit to the Standing Rock Sioux Tribe ‘SRST’ and thus implicitly and unlawfully allowed the

occupation . . . .”).




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[¶473] At trial, too, the State emphasized its theory is that the Corps violated permitting regulations

by falsely announcing that a Special Use Permit had been granted. The State argued that “[r]ather

than removing the ‘trespassing protestors,’ eventually the Corps decided to [publicly] announce

that it granted a Special Use Permit to allow some of the protestors to remain. We, of course, know,

and the Court has already ruled, that there was never a Special Use Permit.” Tr. 23:6-10 (Day 1;

State’s opening statement); see id. at 15:20-24 (emphasizing that the Corps “never attempted to

correct” the “claim[] that a Special Use Permit had been granted to allow the DAPL protestors to

occupy federal lands managed by the Army Corps of Engineers”); id. at 23:16-18 (“[T]he Corps

compounded the problem by failing to . . . correct their incorrect press release that a Special Use

Permit had been issued.”). The State made clear that its claims are based on various statements by

Corps and other federal agencies that constituted a breach of the duty to exercise reasonable care.

See Tr. 2156:13-2157:14 (Day 14; State’s argument on United States’ Rule 52(c) motion)

(identifying various public statements by the Corps and other agencies and arguing that the Corps

did not exercise reasonable care because it “never corrected any of these incorrect public-facing

statements, instead holding out to the public for the duration of the entire DAPL protest that the

protestors had a valid Special Use Permit on Corps-managed land”); id. at 2159:7-8, 10-17 (arguing

that the Corps “consented to the creation of the public nuisance” by making and “never correct[ing]

public-facing statements” about granting a Special Use Permit).

[¶474] In its post-trial brief, the State relies on the same theory. See, e.g., ECF No. 450-1 at

p. 76 ¶ 333 (State’s proposed Findings of Fact and Conclusions of law stating that “despite . . . not

having a completed Special Use Permit, including no required insurance or signature, the Corps

issued the Sept. 16 Press Release stating it had, in fact, issued a Special Use Permit”); id. at p. 93

¶ 390 (“When the Corps never received a signed or effective Special Use Permit back from the




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Standing Rock Sioux Tribe, it abandoned the special use permitting process and instead falsely

announced the Corps had granted a Special Use Permit to the DAPL Protestors in violation of its

non-discretionary and mandatory special use permitting procedures.”); id. at pp. 100-01 ¶ 418

(“[T]he Corps, not only negligently failed to follow the mandatory special use permitting process

in light of clearly foreseeable harm that would fall on North Dakota, but instead actively and

negligently subverted that mandatory special use permitting process by falsely claiming it had

granted a Special Use Permit to the DAPL Protestors and then . . . never revoking it’s [sic] the Sept.

16 Press Release and instead issuing continual statements that supported the DAPL Protestors[’]

goals . . . .”); id. at p. 104 ¶¶ 434-435 (“The Corps further violated its non-discretionary special use

permitting process by falsely issuing the Sept. 16 Press Release that stated a special use permit had

been granted to the DAPL protestors . . . . The Corps further violated its non-discretionary special

use permitting process by failing to ever correct the Sept. 16 Press Release.”).

[¶475] The State’s theory primarily centers on the September 16 press release that inaccurately

stated a Special Use Permit had been granted.           Additionally, the State suggests that COL

Henderson’s November 25 letter to tribal leaders, and another statement in November 2016 that

Faith Spotted Eagle had permission to go on Corps land despite the fact she did not have a finalized

Special Use Permit, were false statements for which liability can be imposed.7 The State argues

that these three statements “falsely announc[ed] or impl[ied] that a Special Use Permit had been

issued when no such permit had been issued.” ECF No. 450-1 at p. 77 ¶ 335. The State further

argues that the Corps erred by “never correct[ing] these false announcements, which were de facto

violations of the Corps Special Use Permit process.” Id. The State’s theory of liability turns on the



7
  The Court did not identify the statement that Faith Spotted Eagle had permission to go on Corps
land as a non-discretionary act on which liability could be based in its Order on the United States’
motion to dismiss. See generally ECF No. 38.

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statements the Corps made about the existence of a Special Use Permit and the impact those

statements had on protestors (allegedly encouraging and enabling them to participate in the

protests). See id. at p. 77 ¶ 335, pp. 100-01 ¶ 418.

[¶476] To the extent the State’s claims are not based on discretionary acts, they are based on the

false statement that the Corps had been granted a Special Use Permit. That is, the State alleges the

Corps made statements that communicated “misinformation” on which protestors relied. Block,

460 U.S. at 296. The FTCA does not waive the United States’ sovereign immunity for claims such

as this that arise out of misrepresentations. See 28 U.S.C. § 2680(h). The Court therefore lacks

jurisdiction to impose liability on the United States.

               vi.   The United States May Be Held Liable Only to the Extent a Private
                     Party Would Be Liable Under North Dakota Law

[¶477] The United States may be held liable for the negligent or wrongful acts or omissions of its

employees only to the extent a private party “would be liable to the claimant” under state tort law

in the same circumstances. 28 U.S.C. § 1346(b)(1); see id. § 2674. If a private person acting in

similar circumstances would not be liable to the State under North Dakota law for the harm the

State alleges, then there is no private analog, the FTCA does not waive the United States’ sovereign

immunity, and the Court lacks jurisdiction. See Buckler v. United States, 919 F.3d 1038, 1044 (8th

Cir. 2019) (citing 28 U.S.C. § 1346(b)(1)).

[¶478] Even if there is a federally imposed duty of some kind, that alone does not form the basis of

an actionable duty under state tort law. See Klett v. Pim, 965 F.2d 587, 589 (8th Cir. 1992)

(“Federally imposed obligations, whether general or specific, are irrelevant to our inquiry under the

FTCA, unless state law imposes a similar obligation upon private persons.” (citation omitted)).

[¶479] The Court has previously held that the Corps violated a non-discretionary federal duty in

“forego[ing]” or “circumvent[ing]” the Corps’s Special Use Permit process and “issu[ing] a de facto


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permit to the protestors.” ECF No. 38 at p. 19 ¶ 45; see also, e.g., ECF No. 1 at pp. 2-3 ¶¶ 5-8, p.

36 ¶¶ 110-12, p. 37 ¶¶ 116-17, p. 39 ¶¶ 125-27, p. 40 ¶¶ 130-32 (Complaint alleging the Corps “did

not fulfill its mandatory obligations set forth in regulations at 36 C.F.R. Part 327 that require

USACE to issue and enforce use permits that persons must have to conduct organized activities on

federal lands” and that this alleged failure “directly led” to the State’s claims and caused its

damages); ECF No. 450-1 at p. 93 ¶¶ 390-91, p. 96 ¶ 403, p. 101 ¶ 419, p. 102 ¶ 424 (State’s

proposed Findings of Fact and Conclusions of law, arguing that “the United States liability stems

from the Corps failure to follow its mandatory, non-discretionary special use permitting process”).

But that determination of the federal duty is distinct from the determination the Court must make

about the state-law duty—that is, when a private party (i.e., a landowner) would be liable to the

State under North Dakota law under the same circumstances.

[¶480] In this analysis of a state law analogue, the Corps’s authorities to enforce federal law or

regulatory violations is irrelevant, because a private party cannot enforce such laws or regulations.

While State and local law enforcement have jurisdiction to enforce state and local laws on Corps

land, see FoF [¶19], [¶39], [¶339], Corps officials alone have the authority to enforce the Corps’s

Title 36 regulations, through the issuance of Special Use Permits and citations and the use of other

tools at their disposal, see FoF [¶16], [¶18]. The Corps’s decisions as to how to effectuate its Title

36 authority do not have an analog under North Dakota law—that is, there is no state-law duty for

a private landowner to follow Special Use Permitting regulations. See Barnes, 448 F.3d at 1066-

67 (finding no private analog to support liability under the FTCA where there was a federal duty to

follow inspection standards set by the federal agency’s administrator, but state law set no

corresponding duty “to inspect and advise”); cf. Green Acres Enters., Inc. v. United States, 418

F.3d 852, 857 (8th Cir. 2005) (holding that because “the Corps alone has the authority to enforce




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the Clean Water Act and to make permit decisions” under that Act, “no private analogue exists,”

and the FTCA’s waiver of sovereign immunity did not apply).

[¶481] Because a private party would not be liable under North Dakota law for failing to effectuate

and enforce the Corps’s Title 36 regulations, no private-party tort-law analog exists for that failure,

and the FTCA’s waiver of sovereign immunity does not apply to claims arising from those actions.8

               vii. The FTCA Limits Any Recovery by the State to Damages for Injury or
                    Loss of Property

[¶482] In the FTCA, Congress waived the United States’ sovereign immunity in certain

circumstances, for particular types of damages only. The statute permits “claims against the United

States, for money damages . . . for injury or loss of property, or personal injury or death.” 28

U.S.C. § 1346(b)(1) (emphasis added).

[¶483] Here, the State seeks damages for the money it spent on law enforcement payroll, travel,

and equipment, as well as prejudgment interest on loans from the Bank of North Dakota to fund

those expenditures. See [¶367]. Aside from the prejudgment interest—which the State is not

entitled to recover, as discussed in Section II.E.vii, infra—all of the State’s claimed damages are

made up of these “emergency-response costs.”

[¶484] The United States has previously argued that the State’s emergency-response costs do not

constitute “money damages” for “injury or loss of property,” such that they can be compensable

under the FTCA. See ECF Nos. 63-64, 91. The Court rejected this argument, observing that the

State had alleged property damage at the DAPL protest sites that “necessitated North Dakota’s

emergency response, which included taking out the loan from the State-owned Bank of North

Dakota.” ECF No. 106 at 8-9, ¶ 24; see id. at 4-15. The Court now reconsiders that conclusion in



8
  The asserted state-law duty for other actions of Corps officials—such as a duty to ask law
enforcement to forcibly remove all protestors from Corps land—is addressed in Section II.B, infra.


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light of the trial record, and particularly in light of the fact that the State’s damages calculation and

supporting documentation presented at trial include only damages for emergency-response costs

and no specific evidence of damages in the form of cleanup costs or other property damage, see

FoF [¶367], as discussed in further detail below.

[¶485] The State has organized its damages into the following categories:

           a. Payroll: $6,422,757.05;

           b. Travel: $2,799,478.47;

           c. Equipment/Supplies/Materials (Department of Emergency Services & the North

               Dakota National Guard): $3,201,650.75;

           d. EMAC States: $4,045,088.39;

           e. North Dakota Mutual Aid: $12,385,795.98;

           f. State Agencies Assistance: $8,348,350.31; and

           g. Interest Accrued: $651,746.30.

ECF No. 450-1 at p. 74 ¶ 325; see also id. at pp. 70-72 ¶¶ 298-312. The State’s total damages claim

is $37,854,867.30. See id. at p. 74 ¶ 325, p. 106 ¶¶ 451-452.

[¶486] The State’s damages expert testified the State is not seeking to recover any expense meant

to compensate for personal injury to any human being or for loss of property. Tr. 1760:1-11 (Day

10; Tolstad). Nonetheless, the State has suggested its damages claim includes “property damage.”

See Tr. 26:22-23 (Day 1; State’s opening statement) (stating that the State’s damages include “repair

costs for property damage caused by the protestors”); Tr. 2161:3-4 (Day 14; State’s response to

United States’ Rule 52(c) motion) (same). But the State has adduced no evidence as to the nature

of any alleged damage to State property, how it was caused, or the associated amount of economic

damages specific to purported “property damage.” Moreover, none of the damages categories




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identified by the State appear to pertain to remediation of or compensation for damage to property,

and the State has provided the Court no guidance with how to locate any such line items in its

voluminous damages documentation summary spreadsheet, PX 1455. A review of the descriptions

of expenditures included in the spreadsheet, as well as several individual exemplar line items, did

not suggest that the spreadsheet includes expenditures relating to anything other than emergency-

response costs. The State has not established any damages associated with “property damage.” See

North Dakota Jury Instructions – Civil, § C - 70.06 - Burden of Proving Damages 2004 (2023 ed.)

(“The burden rests upon the [Plaintiff] . . . to prove the elements of damages, if any, by the greater

weight of the evidence.”).

[¶487] The State further suggests its damages claim includes amounts it spent on “cleanup costs.”

Tr. 27:4-5 (Day 1; State’s opening statement); Tr. 2161:12-13 (Day 14; State’s response to United

States’ Rule 52(c) motion). This presumably refers to the approximately $430,000 total that Morton

County paid to two contractors to clean up the areas of the Main Camp and the North Camp after

protestors were cleared from the area. See FoF [¶228].

[¶488] Again, the State’s evidence to support these purported “cleanup costs” damages is lacking.

See North Dakota Jury Instructions – Civil, § C - 70.06 - Burden of Proving Damages 2004. The

State has not adduced evidence that would permit the Court to determine whether—or how much—

it is entitled to recover in cleanup costs. The State did not offer any evidence identifying how much

of the $430,000 was spent cleaning the Main Camp on Corps land, as opposed to the North Camp

on private- and State-owned land. See FoF [¶226]-[¶228]. Nor did the State provide invoices or

any supporting documentation showing the amounts paid or enabling the Court to assess their

reasonableness. (The State’s summary of damages expenditures, PX 1455, does not include any

line items referencing either of the contractors Morton County hired—Dakota Sanitation and Peanut




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Pie—nor any line items with the amounts corresponding to the amounts Morton County

Commission Chairman Schulz testified the contractors were paid, see FoF [¶228].)

[¶489] Further, the State did not prove it was necessary for the State to conduct the cleanup of the

Main Camp on Corps land, when the Corps was prepared to complete that cleanup itself and had a

contractor lined up to do so as of at least February 23, 2017. See FoF [¶224]. While the State has

suggested that time was of the essence given the impending spring flooding, and that State officials

simply did not think the Corps could get the cleanup done quickly, such an argument is mere

conjecture, as the State did not establish the reasonableness of its belief that the Corps wouldn’t

move quickly enough, nor how delayed the State thought the Corps would be, nor whether that

amount of delay would have made any difference. See FoF [¶225]. The State thus has not proved

that it (instead of the Corps) was required to handle the cleanup as the result of any negligent,

non-discretionary delay by the Corps in cleaning up after the protestors were removed.

[¶490] The State also cannot assert that it is entitled to recover the approximately $430,000 in

cleanup costs on top of the emergency-response and prejudgment interest amounts that make up the

$37,854,867.25 total it claims in damages, because that would run afoul of the FTCA’s sum certain

requirement. The FTCA bars a plaintiff from recovering in an FTCA action more than the sum-

certain amount that was listed in the administrative tort claim presented to the relevant federal

agency. See 28 U.S.C. § 2675(b). Here, the State’s administrative claim listed a sum certain of

$38,005,071.66. See FoF [¶395]. The State now seeks $37,854,867.30 total in damages; adding

the approximately $430,000 in cleanup costs to that amount would put the total above the sum-

certain listed in the State’s administrative tort claim. See FoF [¶367].

[¶491] The Court thus cannot find that the State has established by a preponderance of the evidence

that it is entitled to recover damages for its costs in cleaning up protest encampment areas.




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           B. Article III Standing

[¶492] Article III of the Constitution confines the federal courts’ jurisdiction to “Cases” and

“Controversies.” Under Article III, a case or controversy exists only if the plaintiff has standing to

sue. E.g., United States v. Texas, 599 U.S. 670, 675 (2023). The burden rests with the plaintiff to

show “an injury in fact caused by the defendant and redressable by a court order.” Id. (citing Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). While monetary costs are an injury, they

are not necessarily a “legally and judicially cognizable” one. Id. (citation omitted).

               i. The State Lacks Standing to Challenge the United States’ Law
                  Enforcement Decisions

[¶493] As reflected in the Complaint, the State’s claims in this case rest on the theory that the State

suffered harm due to the federal government’s failure to enforce the law, specifically by not forcibly

evicting protestors from Corps land or deploying more federal law enforcement personnel to the

area. See, e.g., ECF No. 1 ¶ 6 (Complaint alleging that the Corps’s conduct, “which included

outright abdication of federal law enforcement responsibility,” caused the State to incur the

damages sought in this litigation); id. ¶ 7 (“As a result of [the Corps’s] failure to remove or control

the trespassers and enforce the law, North Dakota was obligated to step in to protect public safety

and provide necessary law enforcement, sanitation services, and first responder services, resulting

in the significant costs and damages incurred by North Dakota); id. ¶ 13 (discussing the Corps’s

alleged “abdication of the responsibility it undertook to maintain public safety at the protest site”);

id. ¶ 14 (“Because of [the Corps’s] overwhelming failure to fulfill its legal obligations to enforce

the law and protect public safety and the environment on federal land, North Dakota was required

to mobilize its resources . . . .”); id. ¶ 36 (alleging protestors used Corps land “as a safe haven due

to the failure of the [Corps] to enforce the law”); id. ¶ 38 (alleging the Corps has “a legal

responsibility, and specific mandatory legal duties, to enforce the law, protect public safety and the


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environment, and maintain public order on these public lands”); id. ¶ 78 (alleging the Corps

“abdicated its responsibility to prevent and then close the illegal encampments on federal land, and

otherwise to enforce law and order”); id. ¶ 107 (“North Dakota incurred $38,005,071.66 that it was

forced to expend due to the federal government’s refusal to enforce the law, prevent illegal conduct

that was openly conducted on and from federal property, and respond for over eight months to an

increasingly dangerous emergency.”); id. ¶ 117 (alleging the Corps “continued to negligently

breach its duty every day that it stood by while trespassers brazenly and openly violated federal law

that USACE was responsible to enforce”).

[¶494] The State advanced the same theory—that its harm resulted from federal decisions about

enforcing the law—at trial and in its proposed Findings of Fact and Conclusions of Law. See

FoF [¶333] (discussing evidence that the federal government did not provide all of the law

enforcement resources that the State wanted); FoF [¶362]-[¶363] (discussing evidence that,

throughout the protests, State officials repeatedly expressed that they viewed the protests as a

problem for federal law enforcement to solve, and that the State wanted the federal government to

deploy law enforcement resources to the protests to do so); ECF No. 450-1 at p. 2 ¶ 5, pp. 64-65 ¶¶

269, 271, p. 84 ¶ 361, p. 96 ¶ 404 (asserting the Corps erred by not seeking removal of protestors

in mid-August 2016); id. at pp. 58-62, 64-65 ¶¶ 237-257, 268, 270, pp. 84-85, ¶ 362, p. 95 ¶ 398

(discussing evidence presented at trial regarding the federal government’s lack of law enforcement

assistance, the Corps not asking law enforcement to engage in a full-scale clearing of the camps,

the Corps not writing citations for Title 36 violations, and the Corps not closing all of its land to

protestors).

[¶495] In United States v. Texas, the Supreme Court held that federal district courts lack jurisdiction

over claims by a state against the federal government challenging how the federal government chose




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to enforce the law. See 599 U.S. 670 (2023). In that case, two states claimed that the Department

of Homeland Security violated federal statutes stating that it “shall” arrest certain noncitizens, and

that DHS’s failure to strictly enforce those laws imposed costs on them since they needed to

incarcerate or supply services to noncitizens. Id. at 674.

[¶496] The Supreme Court held that Article III bars district courts from exercising jurisdiction over

claims by states amount to challenges to federal discretion in enforcing the law. See id. at 686. The

Court pointed to a host of reasons that barred Article III district courts from exercising jurisdiction

over such claims, which it explained amounted to challenges to federal enforcement decisions about

whether to pursue arrest and prosecution. See id. at 675-85. The Court explained that such claims

“run up against the Executive’s Article II authority to enforce federal law.” Id. at 678. It further

explained that “bedrock Article III constraints” bar states from relying on the “indirect effects on .

. . state spending” to challenge federal enforcement decisions. Id. at 680 n.3 (citing cases and noting

that “this Court has consistently recognized that federal courts are generally not the proper forum

for resolving claims that the Executive Branch should make more arrests or bring more

prosecutions”). The Court also explained id. at 1972 n.3, that “courts lack meaningful standards”

for assessing enforcement choices the federal government must make in light of “resource

constraints and regularly changing public-safety and public-welfare needs.” Id. at 679-78. Finally,

the Court explained that exercising jurisdiction over such claims would improperly permit similar

challenges to “Executive Branch under-enforcement” of other laws. Id. at 681.

[¶497] These principles bar this Court from exercising jurisdiction over the State’s claims here. As

in the Texas case, the State here seeks to rely on the indirect effects of federal enforcement decisions

on state spending as a basis to challenge the federal government’s decisions about enforcing federal

law against the protestors. See ECF No. 450-1 at p. 2 ¶ 5, pp. 58-62, 64-65 ¶¶ 237-257, 268, 270,




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pp. 64-65 ¶¶ 269, 271, p. 84 ¶ 361, p. 96 ¶ 404 (discussing evidence presented at trial regarding the

lack of federal law enforcement assistance, the Corps not asking law enforcement to engage in a

full-scale clearing of the camps, and the Corps not writing citations for Title 36 violations); FoF

[¶367] (the State is seeking to recover its protest-response costs as damages). The Supreme Court

has held that such a case cannot proceed. Accordingly, even if the FTCA did waive sovereign

immunity for the State’s claims, Article III bars the Court from hearing such claims.

               ii. The State Lacks Standing to Sue the United States in a Parens Patriae
                   Capacity to Recover for Any Harms to the State’s Citizens

[¶498] The State has suggested that it is bringing this suit not only to recover for injuries to the

State itself, but also in a parens patriae capacity, on behalf of the citizens of North Dakota. See

ECF No. 78 at 23 n.6 (State’s brief in response to the United States’ motion for partial summary

judgment stating that “North Dakota brought this FTCA action to protect its citizens[’] interests as

parens patriae”); see also ECF No. 450-1 at p. 63 ¶ 258 (State’s proposed Findings of Fact and

Conclusions of Law discussing the impact of the DAPL protests on North Dakota citizens); id. at

89-92 (arguing that the State can recover for acts that impacted land adjacent to the Corps’s land);

ECF No. 1 ¶¶ 7, 14-15, 107 (confirming the State brings this suit as a sovereign governmental entity

to recover protest-response costs, and not as a landowner itself).

[¶499] A state cannot assert standing to sue the United States as a third party on behalf of the state’s

citizens, who are also citizens of the United States. See Murthy v. Missouri, 144 S. Ct. 1972, 1996-

97 (2024) (citing Haaland v. Brackeen, 599 U.S. 255, 295 n.11 (2023)) (“States do not have

‘standing as parens patriae to bring an action against the Federal Government.’” (quoting Brackeen,

599 U.S. at 295). “[I]t is the United States, and not the state, which represents [citizens] as parens

patriae, when such representation becomes appropriate.” Massachusetts v. Mellon, 262 U.S. 447,

486 (1923). Thus, the State lacks standing to seek recovery in a parens patriae capacity from the


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United States for any harms allegedly caused to the citizens of North Dakota.

            C. Political Question Doctrine

[¶500] As discussed above, the State has suggested its claims go beyond the two purportedly non-

discretionary acts by Corps officials at issue (the statements of September 16 and November 25,

2016, see ECF No. 38 at 19 ¶ 45, 21-22 ¶ 50) to include such acts by non-Corps officials as failing

to deploy more law enforcement personnel to remove or otherwise respond to the DAPL protesters.

See Section I.A.iv, supra. The State never sought to amend its Complaint and is not now permitted

to expand the scope of potential liability beyond the acts alleged in the Complaint and identified in

the motion to dismiss, which allowed the case to proceed. In any event, to the extent the State’s

claims purport to be based on the federal government’s decision not to deploy law enforcement or

military resources in response to the DAPL protests, those claims present a non-justiciable political

question.

[¶501] “The political question doctrine excludes from judicial review those controversies which

revolve around policy choices and value determinations constitutionally committed for resolution

to the halls of Congress or the confines of the Executive Branch.” Japan Whaling Ass’n v. Am.

Cetacean Soc’y, 478 U.S. 221, 230 (1986). Non-justiciable political questions arise where there is:

       [1] a textually demonstrable constitutional commitment of the issue to a coordinate
       political department; or [2] a lack of judicially discoverable and manageable
       standards for resolving it; or [3] the impossibility of deciding without an initial
       policy determination of a kind clearly for nonjudicial discretion; or [4] the
       impossibility of a court undertaking independent resolution without expressing lack
       of the respect due coordinate branches of government; or [5] an unusual need for
       unquestioning adherence to a political decision already made; or [6] the potentiality
       of embarrassment from multifarious pronouncements by various departments on one
       question.

Baker v. Carr, 369 U.S. 186, 217 (1962).

[¶502] The political question doctrine has been held to preclude judicial review of many foreign




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relations, national security, and military decisions; Presidential declarations of national emergency;

certain decisions regarding Indian Tribes; and a President’s decision whether to sign a bill into law.

See, e.g., Carmichael v. Kellogg, Brown & Root Servs., Inc., 572 F.3d 1271, 1281-82 (11th Cir.

2009); Schneider v. Kissinger, 412 F.3d 190, 193-98 (D.C. Cir. 2005); Jicarilla Apache Tribe v.

United States, 601 F.2d 1116, 1126 (10th Cir. 1979); Ctr. for Biological Diversity v. Trump, 453 F.

Supp. 3d 11, 31-34 (D.D.C 2020); South Dakota v. U.S. Dep’t of Interior, 775 F. Supp. 2d 1129,

1135-36 (D.S.D. 2011); Hershey Foods Corp. v. USDA, 158 F. Supp. 2d 37, 41 (D.D.C. 2001).

[¶503] Courts have held that the political question doctrine bars claims that challenge the federal

government’s response (or non-response) to civil disturbances and protests. See Gilligan v.

Morgan, 413 U.S. 1, 3, 10-11 (1973) (holding that a lawsuit arising out of the National Guard’s

efforts to “to preserve civil order and protect public property” in response to “civil disorder” at a

college campus presented a nonjusticiable political question); Monarch Ins. Co. of Ohio v. District

of Columbia, 353 F. Supp. 1249, 1258 (D.D.C. 1973) (finding that FTCA claims arising out of the

United States’ alleged negligence in preparing for and responding to civil disturbances and rioting

following the assassination of Dr. Martin Luther King involved not only the discretionary function

exception, but also “political questions which are beyond the jurisdiction of this Court”), aff’d, 497

F.2d 683 (D.C. Cir. 1974); Industria Panificadora, S.A. v. United States, 763 F. Supp. 1154, 1160-

61 (D.D.C. 1991) (holding that an FTCA claim arising out of the alleged “failure by the United

States personnel . . . to assign sufficient military police after the civil disorders in Panama City

occurred” “presents a clear nonjusticiable political question”).

[¶504] Here, the State’s claims are premised on the federal government’s decision not to deploy

law enforcement or military resources to respond to the DAPL protests. See, e.g., ECF No. 1 ¶¶ 6-

7, 13-14, 36, 38, 78, 107; ECF No. 450-1 at p. 2 ¶ 5, pp. 58-62 ¶¶ 237-257, pp. 64-65 ¶¶ 269, 271,




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p. 84-85 ¶¶ 361-62, p. 95 ¶ 398, p. 96 ¶ 404, 268, 270. Those claims “revolve around policy choices

and value determinations constitutionally committed for resolution to the halls of Congress or the

confines of the Executive Branch.” Japan Whaling Ass’n, 478 U.S. at 230. Thus, the State’s claims

present a political question that is non-justiciable.

    II.     The State’s Tort Claims

            A. Burden of Proof

[¶505] The State bears the burden to establish all elements of its claims by a preponderance of the

evidence. See Investors Real Estate Trust Properties, Inc. v. Terra Pacific Midwest, Inc., 686

N.W.2d 140, 144 (N.D. 2004); 58 Am. Jur. 2d Nuisances §§ 171-72; North Dakota Jury Instructions

– Civil, Burden of Proof Requirements (2023 ed.); id. § C - 70.06 - Burden of Proving Damages

2004.

[¶506] The FTCA’s jurisdictional grant, discussed above, does not extend to claims for absolute or

strict liability. See 28 U.S.C. § 1346(b); Dalehite, 346 U.S. at 44-45; Laird, 406 U.S. at 803; Duff

v. United States, 999 F.2d 1280, 1282 n.6 (8th Cir. 1993). Thus, as the Court has previously held,

the State must establish Corps officials’ negligent conduct as to each of the State’s claims, for those

claims to be actionable. See ECF No. 38 at 29 (“[T]he Court will limit any liability to ‘negligent

or wrongful act or omission’ of the Corps.”).

[¶507] To establish a negligence claim under North Dakota law, the plaintiff bears the burden of

demonstrating (1) a duty, (2) a breach of that duty, (3) causation, and (4) damages. E.g., Investors

Real Estate Trust Properties, 686 N.W.2d at 144.

[¶508] Before trial, the Court had not yet determined whether the State has carried its burden to

establish these elements through evidence. In a prior order during discovery, the Court stated that

the Corps’s “failure to follow the permitting procedure opened the gates to North Dakota being



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damaged by the United States, its agencies, and third parties. The [Corps] created a liability mess.”

ECF No. 280 at pp. 6-7 ¶ 12. The Court further stated that the Corps’s “failure to follow the

permitting procedures permits North Dakota to seek damages from the resulting tortious conduct—

the gigantic federally created mayhem.” Id. In making those statements, the Court cited its Order

on the United States’ motion to dismiss, which denied the motion and allowed the case to proceed

to discovery, on the premise that “the Corps failure to comply with the mandatory permitting

process tainted all other decisions made by the Corp[s]. Here, the maxim applies: ‘you break it,

you bought it.’” ECF No. 38 at p. 24 ¶ 55.

[¶509] The Court’s Order on the motion to dismiss did not determine that the State has carried its

burden to show negligence. In ruling on the motion to dismiss, the Court accepted the allegations

in the Complaint as true, as it was required to do. See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)); Park Irmat Drug Corp. v.

Express Scripts Holding Company, 911 F.3d 505, 512 (8th Cir. 2018). That is, the Court’s decision

whether to grant the United States’ motion to dismiss the State’s claims based on the discretionary

function exception was based on the allegations in the State’s Complaint. Cf. Berkovitz, 486 U.S.

at 547-48 (emphasizing that the plaintiffs “ha[d] not proved their factual allegations” at the motion-

to-dismiss stage and holding that the United States’ motion to dismiss should be denied because

plaintiff “may yet show, on the basis of materials obtained in discovery or otherwise,” that the

discretionary function exception did not apply). The Court’s Order on the United States’ motion to

dismiss was not a fact-based determination that the United States breached a duty or caused the

State’s damages. See ECF No. 383 at p. 9 ¶ 19 (clarifying that that the Court had resolved the legal

question of the existence of a duty in its Order on the motion to dismiss, but not the “factual

questions” of breach and causation, which would be resolved at trial). The Court did not resolve,




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before trial, whether the State carried its burden to prove the elements of negligence through

evidence.

[¶510] Significant evidence was adduced at trial, including on the issues of duty, breach, causation,

and damages. As the factfinder, the Court must assess the evidence presented at trial to determine

whether the State has established each of the required elements of its claims. See, e.g., Knorr v. K-

Mart Corp., 300 N.W.2d 47, 50 (N.D. 1980) (proximate cause is a separate element from duty and

breach; all of those elements must be proved separately).

            B. Duty

[¶511] As discussed above, the United States may be held liable for the negligent acts or omissions

of its employees only to the extent a private person would be held liable in the same circumstances

under state tort law. See 28 U.S.C. § 1346(b). Thus, the Court must determine whether a private

landowner in the Corps’s position would owe a duty to the State in the circumstances of the DAPL

protests. If it would not, there is no actionable claim. See id.; Kappenman v. Klipfel, 765 N.W.2d

716, 720 (N.D. 2009).

[¶512] The Court previously held that the Restatement (Second) of Torts, Sections 318 and 838,

supply the relevant duty here. See ECF No. 38 at pp. 27-29 ¶¶ 64-68; ECF No. 383 at pp. 7-8 ¶¶ 14-

16. Specifically, the Court held that Restatement Section 318 applies to the State’s negligence,

gross negligence, and trespass claims; and Restatement Section 838 applies to the State’s nuisance

claim. See id. The Court found that the duties outlined in these sections of the Restatement “are

consistent with North Dakota tort law for purposes of concluding that North Dakota’s claims for

public nuisance, gross negligence, and third-party trespass claims satisfy the FTCA’s requirement

that the claims be ‘in accordance with the law of the place where the act or omission occurred.’”

ECF No. 38 at p. 28 ¶ 66 (citation omitted). The Court has also decided that the United States owed




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these duties in this situation. See ECF No. 383 at pp. 7-10 ¶¶ 14-21 & n.1 (Court’s Order on the

parties’ motions for summary judgment, relying on its prior Order on the motion to dismiss). The

Court’s prior rulings could be read to conclude that there was “a duty upon the United States to

protect North Dakota from harm.” ECF No. 383 at p. 8 ¶ 17 (noting that this conclusion was based

on “the facts as articulated in discovery”). But the Court did not specifically identify any authority

establishing that showed that under North Dakota negligence law, a private landowner owed a duty

to the State.

[¶513] Because the Court’s prior rulings expressly ruled on the record in discovery, not on the trial

record, and because those rulings did not identify authority showing that under North Dakota

negligence law, a private landowner owed a duty to the State, the Court finds it should reexamine

its prior conclusions based on the trial record. The Supreme Court and the Eighth Circuit have both

recognized that it is appropriate to reexamine such threshold questions on a fuller evidentiary

record. See, e.g., Berkovitz, 486 U.S. at 547-48 (emphasizing that the plaintiffs “ha[d] not proved

their factual allegations” at the motion-to-dismiss stage, and holding that the United States’ motion

to dismiss should be denied because plaintiff “may yet show, on the basis of materials obtained in

discovery or otherwise,” that the discretionary function exception did not apply); Appley Bros., 164

F.3d at 1166 (after previously addressing an order on a motion to dismiss, the appeals court re-

examined issues of discretionary function and duty in a tort case “on the expanded record” that

existed following summary judgment).

[¶514] The North Dakota Supreme Court has not adopted Restatement Sections 318 or 838 to

define a landowner’s duty. But whether the source of the applicable duty is North Dakota state law

or the Restatement, the Corps did not owe a duty to the State under the circumstances, as discussed

below.




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               i.    A Private Landowner Under Like Circumstances Would Not Owe a
                     Duty to the State to Compensate It for Emergency Protest-Response
                     Expenses

[¶515] The State brings this suit to recover damages connected with its emergency protest-response

costs, particularly its law-enforcement expenses. See, e.g., ECF No. 1 ¶¶ 7, 14, 107. That is, the

State brings this suit as a sovereign, not as a landowner, seeking its protest-response expenses. See

id. ¶ 15.

[¶516] The FTCA requires the Court to determine whether a private party under like circumstances

would be liable “to the claimant”—here, to the State. 28 U.S.C. § 1346(b)(1). Under North Dakota

law, the existence of a duty depends on the identity of the injured party; that is, “the plaintiff must

show that the defendant had a duty to protect the plaintiff from injury.” Saltsman v. Sharp, 803

N.W. 2d 553, 558 (N.D. 2011) (emphasis added) (quoting Botner v. Bismarck Parks & Rec. Dist.,

782 N.W. 2d 662 (N.D. 2010)); see Hale v. Ward Cnty., 848 N.W.2d 245, 252 (N.D. 2014)

(discussing adverse decision in prior appeal to the North Dakota Supreme Court and emphasizing

that a private party cannot base a public nuisance claim on “the risk of special injury to the property

of other third persons” (emphasis added)). Negligence requires “a duty on the part of an allegedly

negligent person to protect the plaintiff from injury.” Hurt v. Freeland, 589 N.W. 2d 551, 555 (N.D.

1999) (quoting Diegel v. City of West Fargo, 546 N.W. 2d 367, 370 ((N.D. 1996) (emphasis

added)). As discussed in Section I.A.vi above, the existence of a federal duty for federal officials

to take some action does not alone establish that the federal officials owed a duty to the plaintiff in

an FTCA case under state law. See, e.g., Barnes, 448 F.3d at 1066-67.

[¶517] No cases from the North Dakota Supreme Court suggest that private landowners owe a

common-law duty to exclude or control third parties who may engage in off-premises unlawful

conduct in order to protect the State from expending resources in response. That is, even assuming




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North Dakota tort law would hold a private landowner liable to another person for injuries to that

person or their property caused by individuals staying on the landowner’s property, it does not

follow that the private landowner has a duty to pay the State for its expenses associated with

responding to such actions. Nor does it follow that the State has a right to seek those costs.

[¶518] To the contrary, under the widely adopted, common-law free-public-services doctrine, “the

cost of public services for protection from fire or safety hazards is to be borne by the public as a

whole, not assessed against the tortfeasor whose negligence creates the need for the service.” Dist.

of Columbia v. Air Fla., Inc., 750 F.2d 1077, 1080 (D.C. Cir. 1984) (citation omitted); see, e.g.,

City of Flagstaff v. Atchison, Topeka & Santa Fe Ry. Co., 719 F.2d 322, 323-24 (9th Cir. 1983);

Canyon Cnty. v. Sygenta Seeds, Inc., No. CV05–306–S–EJL, 2005 WL 3440474, at *2-3 (D. Idaho

Dec. 14, 2005); City of Phila. v. Beretta U.S.A., Corp., 126 F. Supp. 2d 882, 894-95 (E.D. Pa. 2000);

Walker Cnty. v. Tri-State Crematory, 284 Ga. App. 34, 36-37 (Ga. Ct. App. 2007).

[¶519] No North Dakota case has explicitly endorsed or rejected the free-public-services doctrine,

but it is likely the North Dakota Supreme Court would apply it here. The doctrine is widely

accepted for good reason. The decision to provide tax-supported services such as law enforcement

and emergency response “is a legislative policy determination,” and “[i]t is not the place of the

courts to modify such decisions.” Air Florida, 750 F.2d at 1080. Courts are “especially reluctant

to reallocate risks where a governmental entity is the injured party.” Id. And the State’s legislature

has the power to “protect itself from extraordinary emergency expenses by passing statutes or

regulations that permit recovery from negligent parties.” Id.; see, e.g., United States v. Chesapeake

& O. Ry. Co., 130 F.2d 308, 309-10 (4th Cir. 1942) (discussing United States’ ability to recover

fire-fighting costs under a Virginia law that specifically provided that a person who sets a fire “shall

be liable for the full amount of all expenses incurred in fighting the fire”).




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[¶520] The North Dakota Legislative Assembly has done just that in certain specific circumstances.

See, e.g., N.D.C.C. § 12.1-17-07 (providing that a person who is convicted of harassment based on

contacting emergency responder communication systems or making false reports to a public safety

agency “is also liable for all costs incurred by any unnecessary emergency response,” in addition

to any criminal penalty). If the widely accepted free-public-services doctrine did not apply in North

Dakota, it would not have been necessary for the legislature to have made such a carveout allowing

for the recovery of emergency-response costs in particular circumstances.9 The State has not

identified any similar statutory provision that allows it to recover its emergency-response expenses

(including payroll and equipment expenses) from a private landowner under like circumstances.

[¶521] Accordingly, under North Dakota law, a private landowner does not owe a duty to the State

under like circumstances to control third parties to prevent the State from incurring emergency-

response expenses. Given the lack of such a duty to the State, the State does not have the right to

recover its emergency-response costs in this FTCA action.

               ii.   No Tort Liability for First Amendment-Protected Conduct

[¶522] A state may not impose tort liability in a way that intrudes on First Amendment rights. See

NAACP v. Claiborne Hardware Co., 458 U.S. 886, 913 (1982). Thus, as relevant here, the First

Amendment imposes a limitation on the scope of any duty that a state may impose on a landowner

who invites and host individuals who seek to engage in activity protected by the First Amendment.

[¶523] Actions related to protest activity implicate the First Amendment. “The First Amendment

‘was fashioned to assure unfettered interchange of ideas for the bringing about of political and




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  The United States suggested, in its request that the Court certify a question to the North Dakota
Supreme Court about the applicable duty, that the North Dakota Supreme Court could also consider
whether the State should be permitted to recover its protest-response costs in light of the free public
services doctrine. See ECF No. 350 at 39 n.7.


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social changes desired by the people.’” Meyer v. Grant, 486 U.S. 414, 421 (1988) (citation

omitted). State and federal officials all agreed that the DAPL protests involved the exercise of First

Amendment rights. See, e.g., FoF [¶84], [¶101], [¶302], [¶330], [¶343]; see also FoF [¶232]-[¶233]

(the evidence shows that a significant number of the DAPL protestors were engaged in a non-violent

exercise of their First Amendment rights, and only a minority of protestors acted violently and

unlawfully). At least two First Amendment rights were implicated by the protestors’ conduct during

the DAPL protests: freedom of speech and freedom of assembly. The right of assembly is regarded

“not only as an independent right but also as a catalyst to augment the free exercise of the other

First Amendment rights with which it was deliberately linked by the draftsmen.” Richmond

Newspapers, Inc. v. Virginia, 448 U.S. 555, 577 (1980). The freedom of assembly is also unique

among the First Amendment rights in that it is the only one that requires a group to exercise.

[¶524] The location where a First Amendment right is exercised may be of great significance. For

example, in City of Ladue v. Gilleo, the Supreme Court found that a ban on the placement of

political signs at a house implicated the First Amendment right to free speech. 512 U.S. 43, 56-57

(1994). As the Court noted, “[d]isplaying a sign from one’s own residence often carries a message

quite distinct from placing the same sign someplace else, or conveying the same text or picture by

other means.” Id. at 56. The location of the speech provides information about the identity of the

speaker, which “is an important component of many attempts to persuade.” Id. (citing Aristotle 2,

Rhetoric, Book 1, ch. 2, in 8 Great Books of the Western World, Encyclopedia Brittanica 595 (M.

Adler ed., 2d ed. 1990)). “[T]he Supreme Court has recognized that the specific place where a

message is communicated may be important to the message and, consequently, of constitutional

significance itself.” Nationalist Movement v. City of Bos., 12 F. Supp. 2d 182, 192-93 (D. Mass.

1998) (citing City of Ladue, 512 U.S. at 56, and holding that a city violated the First Amendment




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rights of parade organizers by attempting to force them to change the location of the parade). As

the Nationalist Movement court observed, “[t]o change the location . . . was to change the character

of the message. . . . The place of the event was a substantive feature of the message.” Id. (emphasis

in original).

[¶525] For the DAPL protestors, their desire to enter and remain on Corps land was part of their

First Amendment rights to free speech. Protestors believed that the area of the Main Camp on

Corps land to the north of the Cannonball River belonged to the Sioux by treaty.                 See

FoF [¶22]-[¶26]. The idea of occupying Corps land north of the Cannonball River in opposition to

the pipeline arose during a traditional ceremony lead by a legendary medicine man, Leonard Crow

Dog, in the summer of 2016. FoF [¶248]. And protestors saw the occupation of Corps land, in

particular, as a way of expressing opposition to the Corps’s decision-making and to the Corps in

general. See FoF [¶27], FoF [¶81]; DX 4217 at 2 (Chairman Archambault wrote in an op-ed in the

New York Times, “When the Army Corps of Engineers damned the Missouri River in 1958, it took

our riverfront forests, fruit orchards and most fertile farmland to create Lake Oahe. Now the Corps

is taking our clean water and sacred places by approving this river crossing”). That is, the location

of the protest on Corps land was, as in City of Ladue, 512 U.S. at 56-57, central to the expression

of the protestors’ message.

[¶526] In short, the Corps faced a situation where protestors were seeking to engage in speech and

to assemble on its land. The State’s theory is that the Corps—in the position of a private

landowner—should be held liable for allegedly inviting those protestors to its land and then not

evicting them from its land. See, e.g., ECF No. 450-1 at p. 58 ¶ 239, p. 94 ¶ 396, p. 100 ¶ 418. But

the First Amendment does not permit the imposition of such tort liability.

[¶527] As the Supreme Court has held, state may not impose tort liability in a way that intrudes on




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First Amendment rights, including the right to peaceably assemble. See Claiborne Hardware Co.,

458 U.S. at 913. Claiborne involved tort claims relating to a boycott of white-owned businesses in

protest of segregationist policies. See id. at 888-89. Some of the boycott participants peacefully

picketed, while others engaged in violence. See id. at 903-05. The business owners brought a tort

claim that sought damages from the boycott organizers and other boycott participants, among

others. The Supreme Court held that tort liability could be imposed only based on the subset of

protest actions that were violent, but could not be based on peaceful organizing or picketing

activities, which are protected by the First Amendment. See id. at 918. As the Court explained,

“[w]hile the State legitimately may impose damages for the consequences of violent conduct [by

recognizing a tort claim], it may not award compensation for the consequences of nonviolent,

protected activity. Only those losses proximately caused by unlawful conduct may be recovered.”

Id. (emphasis added).

[¶528] The Supreme Court stressed this limitation more recently, in Mckesson v. Doe, a tort case

brought against a protest organizer. See 592 U.S. 1, 2-4 (2020). The Court cited Claiborne in

explaining that “[w]hen violence occurs during activity protected by the First Amendment, that

provision mandates ‘precision of regulation’ with respect to ‘the grounds that may give rise to

damages liability’ as well as ‘the persons who may be held accountable for those damages.’” Id. at

4 (quoting Claiborne, 458 U.S. at 916-17)).

[¶529] The Supreme Court again emphasized the limitations the First Amendment places on

imposing liability in Counterman v. Colorado, where it held that the First Amendment prohibits the

use of “an objective standard,” like negligence, to punish speech. 600 U.S. 66, 78-79 & n.5 (2023).

The Court relied on the general principle reflected in Claiborne to hold that imposing liability can

chill lawful expression “given the ordinary citizen’s predictable tendency to steer wide of the




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unlawful zone,” and it concluded that “the First Amendment precludes punishment, whether civil

or criminal, unless the speaker’s words were ‘intended’ (not just likely) to produce imminent

disorder.” Id. at 76-78. The Court’s analysis in Counterman confirms that the First Amendment

bars the imposition of liability on those engaged in protected conduct. See Mckesson v. Doe, 144

S. Ct. 913, 914 (2024) (Sotomayor, J.) (statement regarding the denial of certiorari in a case

involving tort claims against the organizer of a protest, emphasizing that the district court in that

case did not have the benefit of the Supreme Court’s decision in Counterman, and that in the future,

district courts should be sure to “give full and fair consideration to arguments regarding

Counterman’s impact”).

[¶530] The principles explained in Claiborne, Mckesson, and Counterman—that the First

Amendment bars a negligence-based liability scheme that would chill conduct protected by the First

Amendment—bar the imposition of liability on the Corps here.

[¶531] Here, the State challenges the Corps’s decision to allow protestors onto its land and then not

to seek their eviction. The Corps permitted individuals to peacefully protest on certain areas of

Corps-managed land, acknowledging that protestors were seeking to engage in activities protected

by the First Amendment, including peaceable assembly and free speech. See FoF [¶142], [¶198],

[¶276]. There is no evidence that the Corps’s conduct was intended to produce disorder. To the

contrary, the Corps’s decisions were meant to deescalate the protest situation and protect the safety

of all involved. See FoF [¶279], [¶280], [¶287].

[¶532] Under these circumstances, the First Amendment bars the imposition of tort liability as the

State’s theory calls for. The tort rule the State proposes would impermissibly chill the First

Amendment rights of any landowner who sought to host protestors planning to engage in peaceable

assembly and free speech protected by the First Amendment. A rule that imposes tort liability on




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a landowner who informed protestors that they could peacefully exercise their First Amendment

rights on its land would chill conduct protected by the First Amendment. The same is true for a

rule that imposes liability on a landowner for not evicting protestors from its land. In short, the

First Amendment protects a private landowner from tort liability for such alleged conduct.

[¶533] This approach—focusing on the specific wrongful conduct alleged by the State—is

consistent with the approach taken in Mckesson. That case confirms that a court must assess each

alleged negligent or wrongful action in determine whether allowing liability to be imposed based

on that action would intrude on the First Amendment rights at issue.

[¶534] Mckesson involved tort claims against the organizer of a Black Lives Matter protest in

Louisiana, which were brought by a police officer who was injured when an unidentified protestor

threw a piece of concrete at a group of law enforcement officers. See 71 F.4th 278, 282-83 (5th

Cir. 2023), cert. denied 144 S. Ct. 913 (2024). Given the “novelty” of the plaintiff’s theory of

liability, the Supreme Court initially vacated the Fifth Circuit’s decision and remanded the case to

certify to the Louisiana Supreme Court the question whether the conduct at issue was even

cognizable under state tort law. 592 U.S. at 5-6 (“[T]he Fifth Circuit should not have ventured into

so uncertain an area of tort law—one laden with value judgments and fraught with implications for

First Amendment rights—without first seeking guidance on potentially controlling Louisiana law

from the Louisiana Supreme Court.”). Here, the United States similarly asked that this Court certify

to the North Dakota Supreme Court the question whether the State’s claims are cognizable under

State tort law, given the important public policy and First Amendment considerations at issue. See

ECF Nos. 337 at 1; ECF No. 350 at 1, 5, 27, 33, 37-39. The Court denied that request, reasoning

that this is a tort case, not a constitutional one. See ECF No. 383 at pp. 9-10 ¶ 21 & n.1. But the

same was true in Mckesson: the plaintiff brought tort claims following a protest that involved First




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Amendment activity and a subset of protestors who became violent, just as the State does here. See

71 F.4th at 282-84.

[¶535] The Fifth Circuit’s approach on remand in Mckesson illustrates the need to examine the

alleged wrongful conduct to determine whether the First Amendment bars imposing tort liability

for such conduct. On remand, the Fifth Circuit certified the case to the Louisiana Supreme Court,

which determined that the state’s tort law did recognize tort liability for the actions alleged in the

Mckesson complaint. See 71 F.4th 278. The Fifth Circuit then determined that the question whether

the First Amendment bars tort liability must be assessed “action-by-action,” based on the specific

circumstances. Id. at 292. The court considered the particular wrongful conduct alleged by

plaintiff: (1) the defendant had specifically organized the protest to begin in front of the police

station, obstructing access to the building; (2) the defendant “deliberately led the assembled protest

onto a public highway, in violation of Louisiana criminal law”; and (3) he “personally assumed

control of the protest’s movements” but “failed to take any action whatsoever to prevent or dissuade

his fellow demonstrators once they began to loot a grocery store and throw items at the assembled

police” who tried to stop that crime Id. at 281-82, 292. After examining each alleged wrongful act,

the Fifth Circuit concluded that the defendant-protest organizer could be held liable in tort for the

plaintiff-police officer’s injuries. See id. at 282.

[¶536] None of the types of actions the Mckesson court found important for imposing tort liability

are present here. The Corps did not organize the DAPL protests; the protests sprung up in April

2016, and eventually in mid-August 2016 escalated to the point of requiring a law enforcement

response, all without any direction or permission from the Corps. See FoF [¶80], [¶82], [¶94]-[¶99],

[¶104]; [¶336]. The protests did not begin on Corps land, and the Corps did not plan them to occur

there in particular, unlike McKesson. See FoF [¶80] (the protests began on Standing Rock Indian




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Reservation land and land claimed by LaDonna Brave Bull Allard); FoF [¶336] (COL Henderson

testified that protestors camped on Cops land “were trespassing. They didn’t have permission to

be there, and any way you look at it, they were trespassing. We knew they were trespassing. Law

enforcement knew they were trespassing. They were trespassing”). Nor did the Corps take any

actions to lead protestors to block a public highway or encourage them to commit any other crimes.

Cf., e.g., FoF [¶142] (Corps’s September 16, 2016, press release stated that the Tribe was allowed

“to gather to engage in a lawful free speech demonstration on Federal lands designated in the

permit” subject to “applicable Federal, state and local regulations” (emphasis added)); FoF [¶198]

(COL Henderson’s November 25, 2016, letter to tribal leaders stating that the free speech zone

south of the Cannonball River was meant “for anyone wishing to peaceably protest the Dakota

Access pipeline project, subject to the rules of 36 C.F.R. Part 327”); FoF [¶292] (in conversations

with tribal leadership, COL Henderson emphasized the need for the Tribe to discourage violence,

trespassing on private land, and provoking confrontations with law enforcement). Finally, unlike

in Mckesson, the Corps took various actions to try to dissuade protestors from breaking the law—

even though the Corps ultimately could not control the actions of protestors. See FoF [¶104],

[¶273]-[¶299].

[¶537] In sum, application of the principles in Claiborne, Mckesson, and Counterman shows that

tort liability may not be imposed based on the conduct that forms the basis of the State’s claims:

informing protestors that they may stay on a particular area of Corps land to peacefully demonstrate,

and then not evicting those protestors. The First Amendment bars imposing liability on a landowner

for such actions, especially where, as here, the landowner did not organize the protests, control

protestors’ movements, or encourage protestors to break the law; and where the landowner’s actions

in connection with the protests were not intended to produce imminent disorder. Because the First




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Amendment protects a private landowner from tort liability under these circumstances, the Corps

cannot be held liable under the FTCA.

               iii.   North Dakota Tort Law Duty

[¶538] As the United States noted in its motion for summary judgment, no decision from the North

Dakota Supreme Court has imposed a duty on a private landowner to exclude (or not invite)

protestors from their land because some of the protestors might engage in unlawful conduct on

other land, which conduct might cause the State to respond. See ECF No. 350 at 27-30; ECF No.

369 at 8-12. The North Dakota Supreme Court has, however, adopted several principles when

deciding whether a landowner has a duty for another’s injuries, and those principles apply here.

See 28 U.S.C. § 1346(b)(1) (liability under the FTCA may be imposed “where the United States, if

a private person would be liable to the claimant in accordance with the law of the place where the

act or omission occurred”). The Court must apply these principles of state tort law as set forth by

the North Dakota Supreme Court, even if those principles differ from general principles of tort law

as reflected in the Restatement (Second) of Torts.

[¶539] First, landowners in North Dakota cannot ordinarily be liable for wrongful conduct by third

parties on their land, where the landowner is not itself engaged in the wrongful activity and does

not have a commercial interest in it. See Bjerk v. Anderson, 911 N.W.2d 343, 345, 349, 351 (N.D.

2018) (declining to impose liability on a landowner for the death of a man who was using illegal

drugs in the landowner’s house, because there was no precedent to “extend premises liability to a

person in control of property who was not engaged in the activity that caused the harm,” and because

“[a] landowner does not reasonably expect to become the police officer or probation officer for all

who live on—or merely enter—his property,” and because imposing such liability on a landowner

is “a policy-laden question better suited to legislative judgments”). There is no evidence that Corps




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officials engaged in protest activity themselves, or that the Corps had any commercial interest in

the public lands in question. See FoF [¶31].

[¶540] Second, landowners in North Dakota generally are not liable for conduct that occurs off-

premises. See Saltsman, 803 N.W.2d at 559 (“Under premises liability law, a defendant must have

had control over the property where the injury occurred in order to find the defendant owed a duty

to an injured party.” (quoting Groleau v. Bjornson Oil Co., 676 N.W. 2d 763 (N.D. 2004)). Here,

the protest activity the State complains about occurred off of Corps land, when protestors left the

areas where they were staying (on and off of Corps land) to conduct “direct action” protest activity

and, sometimes, to violate the law elsewhere. FoF [¶90], [¶234], [¶237].

[¶541] Third, landowners in North Dakota generally do not have the duty to ask the authorities to

control activity that occurs off of the landowner’s land. See Bjerk, 911 N.W.2d at 351 (declining

to make a landowner a “mandatory reporter of all suspected dangerous illegal activity”); Holter v.

City of Sheyenne, 480 N.W.2d 736, 738 (N.D. 1992) (business was not required to ask the city to

restrict parking or change traffic signs off the business’s property, on the public highway, property

to change the behavior of drivers in vehicles over which the business had no control). Given that

the protest activity that necessitated the State’s protest response occurred off of Corps land, Corps

officials did not have a duty under North Dakota law to ask State and local law enforcement to

control that activity.

                iv.      Restatement Duty

[¶542] The Court has determined that the Restatement (Second) of Torts supplies the duties

applicable to the State’s claims. See ECF No. 38 at pp. 28-29 ¶¶ 66-68; ECF No. 383 at p. 9 ¶ 21.

Several principles from the Restatement are relevant here.

[¶543] Negligence, gross negligence, and third-party trespass claims. The Restatement (Second)




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of Torts § 315 provides that “[t]here is no duty so to control the conduct of a third person as to

prevent him from causing physical harm to another unless” a special relationship exists between

the actor and the third person or the actor and the injured person. North Dakota law is aligned with

the Restatement in this respect. See Saltsman, 803 N.W.2d at 557 (citing Restatement (Second) of

Torts § 315 (1965)); Hurt v. Freeland, 589 N.W.2d 551, 558–59 (N.D. 1999).

[¶544] Under the Restatement, a landowner may have a duty to exercise reasonable care to control

the conduct of a licensee or invitee if the landowner “knows or has reason to know that he has the

ability to control the third person, and knows or should know of the necessity and opportunity for

exercising such control.” Restatement § 318. But the rule stated in Section 318 does not address

whether a duty exists to control the conduct of trespassers, and courts have been reluctant to extend

the rule to trespassers. Id. (explaining in caveat that the Restatement does not address whether there

is a duty of reasonable care to control conduct of a third person “where the third person is a

trespasser”); see also, e.g., Flynn v. Nickerson Cmty. Ctr., 177 A.3d 468, 477 (R.I. 2018) (holding

no duty of care existed to control conduct of thief who broke in to community center and who was

trespassing when he stole vehicle); Pierce v. Staley, 587 N.W.2d 484, 488 (Iowa 1998) (“[T]he duty

to control third persons under section 318 of the Restatement is directed at those coming on the

property with consent.”). No North Dakota cases extend the duty stated under section 318 to the

conduct of trespassers.

[¶545] The Court previously stated that it was “not inclined to dismiss North Dakota’s claims based

on the use of a misnomer” in the Complaint—that is, the State’s repeatedly referring to the DAPL

protestors as “trespassers” in its Complaint. ECF No. 38 at 26-27, ¶¶ 62-63; see ECF No. 1, passim

(State’s Complaint does not use the words “invitee” or “licensee” at all, but it uses the word

“trespassers,” “trespasser,” “trespassing,” or “trespass” nearly 100 times). Evidence at trial showed




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the State’s use of this terminology was not merely inartful pleading. It reflected the reality of what

State and federal officials believed at the time: that the protestors on Corps land were trespassing.

See FoF [¶336]. Given that, Restatement Section 318 does not apply to the protestors, and the

Corps did not have a duty to control the protestors’ conduct.

[¶546] Even if protestors are viewed as licensees or invitees, as discussed in Section II.C below,

the Corps did not breach the duty outlined in Restatement Section 318.

[¶547] Under Section 318, an actor can face liability for negligence under limited circumstances

for harm caused by a third-person’s use of a possessor’s land. In full, Section 318 states:

       If the actor permits a third person to use land or chattels in his possession otherwise
       than as a servant, he is, if present, under a duty to exercise reasonable care so to
       control the conduct of the third person as to prevent him from intentionally harming
       others or from so conducting himself as to create an unreasonable risk of bodily
       harm to them, if the actor
       (a) Knows or has reason to know that he has the ability to control the third person,
       and
       (b) Knows or should know of the necessity and opportunity for exercising such
       control.
Restatement (Second) of Torts (Am. Law Inst. 1965).

[¶548] Essentially, a possessor of land cannot be held liable under Section 318 unless: (1) it granted

a third party permission to use its land; (2) it could control the third party’s harmful conduct and

knew or had reasons to know of that ability to control the conduct; and (3) it failed to use reasonable

care to stop the third party’s harmful conduct.

[¶549] Two principles further limit when liability can be imposed on a possessor under Section 318.

First, the harmful third-party conduct must occur on the possessor’s land. Id. cmt. b (Section 318

is “applicable where the possessor . . . of land is present when . . . the activity is being carried on

with his permission”). Second, the possessor must have the ability to control the third party’s

conduct. Id. cmt. a (“The mere fact that the possessor . . . of land permits a third person to . . .


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conduct an activity upon the land is not regarded as sufficient to make the possessor liable for the

manner in which the third person … carries on the activity.”). The Reporter’s Notes to Section 318

confirm those principles, describing “the basis” for liability as “the possessor’s responsibility for

what is done upon his land, together with his opportunity for exercising control.”

[¶550] Nuisance claim. To support its public-nuisance claim, the State must prove that, to the

extent the protestors caused a public nuisance under North Dakota law by affecting a “considerable

number” of other persons, N.D. Cent. Code § 42-01-06, the Corps violated a negligence-based duty

under Section 838 in causing that nuisance, see ECF No. 383 at p. 6 ¶ 12 (“[T]his Court has already

determined the public nuisance claim requires a negligence-based duty”).

[¶551] Liability under Section 838 requires a showing that the nuisance was caused by conduct on

a possessor’s land. In full, it states:

        A possessor of land upon which a third person carries on an activity that causes a
        nuisance is subject to liability for the nuisance if it is otherwise actionable, and
        (a) the possessor knows or has reason to know that the activity is being carried on
        and that it is causing or will involve an unreasonable risk of causing the nuisance,
        and
        (b) he consents to the activity or fails to exercise reasonable care to prevent the
        nuisance.
Restatement (Second) of Torts § 838 (Am. Law Inst. 1979).

[¶552] First, this provision focuses on the location of the activity at issue—the “land upon which a

third person carries on an activity that causes a nuisance.” Id.; see also, e.g., City of St. Louis v.

Varahi, Inc., 39 S.W.3d 531, 537-38 (Mo. Ct. App. 2001) (discussing Section 838 and declining to

hold hotel owner liable for prostitution that occurred on adjacent street because there was no

evidence that the owner controlled the prostitutes).

[¶553] Second, the provision requires a showing of negligence. The possessor is not liable merely

because he permitted the third party to come onto the land. The comments to Section 838 explain


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that a possessor is not liable for “[t]he mere fact that he permits the third person to be upon the land

or to do something there, or that he knows of his presence or even of the particular activity.” See

id. cmt. g.

[¶554] Under Section 838, a possessor of land seeking to reasonably address third party conduct

must “at most” inform law enforcement of the activity on the land. See id. cmt. g (explaining a

possessor of land is “not required in all cases to put a stop to the activity,” but may be in a position

to stop the activity, “at most by calling the police” (emphasis added)).

[¶555] As discussed in Section II.C below, the State has not established either of these elements of

its nuisance claim under Restatement Section 838.

               v.    Because There Is No Duty to Support the State’s Negligence Claim, Its
                     Nuisance and Trespass Claims Also Fail

[¶556] The Court has held that the State’s trespass and nuisance claims both incorporate a

negligence element. See ECF No. 38 at 28-29 ¶ 67 (stating, with respect to the State’s trespass

claim, that Restatement Section 318 provides a landowner is under a duty to “exercise reasonable

care” to control third parties’ conduct as specified in that Section); id. 29 ¶ 68 (noting that

Restatement Section 838, regarding nuisance, “incorporates a negligence standard” inasmuch as it

imposes liability for a possessor of land to “exercise reasonable care to prevent the nuisance”); see

also Restatement (Second) of Torts § 282 (defining negligence as “conduct which falls below the

standard established by law for the protection of others against unreasonable risk of harm”).

[¶557] As discussed in Sections II.B above, there is no duty to support the State’s claim for

negligence against the United States, and that claim is not actionable. Because the State’s other

claims include a negligence standard, there is no duty to support the State’s trespass or nuisance

claims, either. See Kappenman, 765 N.W.2d at 729 (explaining that, where a party “owed no duty

as a landowner under the[] circumstances,” it was appropriate to dismiss the nuisance claim against


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the landowner).

           C. Breach

[¶558] As discussed in Section II.B.iii above, North Dakota state law would not impose a duty on

Corps officials under the circumstances at issue here. Assuming—as the Court has previously held,

see ECF No. 38 at p. 28 ¶ 66; ECF No. 383 at pp. 7-8 ¶¶ 14-16—that the Restatement would impose

a duty to support the State’s claims, the State has not shown that Corps officials breached that duty.

               i.    Negligence Claim

[¶559] The State has not shown a breach of the duties outlined in Restatement Section 318 to

support its negligence claim, for several reasons. The Corps did not permit protestors to be on

Corps-managed land north of the Cannonball River, where the largest camp came to be located.

Nor did the Corps permit protestors to engage in the unlawful behavior that caused the State to

incur protest-response costs. Additionally, the Corps did not have the ability to control protestors’

unlawful conduct, and did not know or have reason to know it could control that conduct. And

protestors’ harmful conduct occurred off of Corps land. Finally, given the limited options available

to them, Corps officials acted as a reasonable landowner.

[¶560] The Corps did not permit protestors to be on its land north of the Cannonball River, or to

engage in any unlawful activity. The evidence showed that the largest number of protestors camped

at the area north of the Cannonball River on Corps land, which came to be known as the Main

Camp. FoF [¶ 41.b]. The evidence also showed that, of the subset of protestors who left the protest

camps to engage in illegal activity, most came from the Main Camp. See FoF [¶235]. But the

Corps never permitted protestors to camp in the area north of the Cannonball. FoF [¶269], [¶336].

The Corps’s public statements made that clear. The September 16 press release regarding the

issuance of the Special Use Permit to the Standing Rock Sioux Tribe said the Special Use Permit



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would not include Corps land north of the Cannonball because it was the subject of an existing

grazing lease. FoF [¶142]. And, when protestors ignored that statement and continued to stay at

the Main Camp north of the Cannonball, the Corps’s November 25 letter to tribal leaders said that

area would be closed as of December 5, 2016, and “no member of the general public, to include

Dakota Access pipeline protestors, can be on these Corps’ lands.” FoF [¶198].

[¶561] Additionally, the Corps never permitted protestors to engage in the illegal activity to which

the State responded. The Corps consistently emphasized the need for protestors to obey the law.

See FoF [¶139] (the Corps’s September 16, 2016, press release stated that the Tribe was allowed

“to gather to engage in a lawful free speech demonstration on Federal lands designated in the

permit” subject to “applicable Federal, state and local regulations” including Title 36 and other

regulations and laws (emphasis added)); FoF [¶193] (COL Henderson’s November 25, 2016, letter

to tribal leaders stating that the free speech zone south of the Cannonball River was meant “for

anyone wishing to peaceably protest the Dakota Access pipeline project, subject to the rules of 36

C.F.R. Part 327”); FoF [¶288] (in conversations with tribal leadership, COL Henderson emphasized

the need for the Tribe to discourage violence, trespassing on private land, and provoking

confrontations with law enforcement).

[¶562] The Corps did not know it could control protestors’ unlawful conduct. The evidence shows

the Corps did not have the ability to control the protestors’ conduct, and did not know or have

reason to know it had that ability, for at least three reasons.

[¶563] First, the Corps itself has no law enforcement capability. FoF [¶16]. Corps park rangers

could not arrest protestors. Id. At most, they could issue citations for violations of the Title 36

regulations, but it would have been within the discretion of the U.S. Attorney’s Office for the

District of North Dakota whether to enforce such citations by prosecuting them. See FoF [¶18].




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And the U.S. Attorney’s Office told COL Henderson that it would not be worthwhile for the Corps

to issue citations to protestors on Corps land, because they would not be enforced. See FoF [¶297].

[¶564] COL Henderson had the discretion to close the Corps-managed land where protestors were

camped. See FoF [¶59]. But State and local law enforcement would have needed to enforce such

an order. See FoF [¶19]-[¶20]. As discussed in more detail below, State and local law enforcement

gave COL Henderson no indication that was something they were willing to do, so this did not seem

like a feasible option to him. See [¶285]-[¶286], [¶302], [¶342], [¶344]-[¶345].

[¶565] Even if COL Henderson had closed the Corps-managed lands to the public and law

enforcement had enforced that closure, it was not likely that doing so would have controlled the

protestors. COL Henderson and law enforcement shared concerns about where protestors would

go if they were forcibly evicted. See FoF [¶344]. And when the Corps did announce that protestors

were permitted only in a designated area south of the Cannonball River, and formally closed the

area of Corps land to the north of the River, those announcements did not cause protestors to move

south. See FoF [¶271]; see also FoF [¶203], [¶207] (Governor Dalrymple’s November 28, 2016,

order closing Corps land north of the Cannonball River also did not cause protestors to leave that

area). And COL Henderson was aware that protestors did not believe the Corps had the authority

to tell them not to be on Corps land, and that protestors’ decisions to be on the land did not depend

on any permission from the Corps. See FoF [¶104], [¶273]-[¶275]; see also FoF [¶80], [¶82]-[¶83]

(protestors from the initial, small gathering of local Standing Rock Sioux members spilled onto

Corps land south of the Cannonball River sometime after April 2016, without the Corps’s prior

knowledge or permission). Based on all of this, COL Henderson had no reason to believe that

announcing Corps land was closed would control protestors’ actions or cause them to leave.




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[¶566] Second, the Corps lacked authority to direct any other federal agency to enforce the law on

Corps-managed land. Corps officials do not direct the activities of the Department of the Army,

and they cannot order any other federal agency to deploy law enforcement personnel to Corps land.

FoF [¶13], [¶20]. Corps officials could only request support from other federal agencies—which

COL Henderson did on multiple occasions throughout the protests. See FoF [¶298]-[¶299]. The

decision to deny his requests (and the requests State officials made for law enforcement assistance

from the federal government) was made by the Department of Justice, in the exercise of its

discretion. See FoF [¶300], [¶334].

[¶567] Third, the Corps did not know or have reason to know it could exercise control over the

protestors by asking State and local law enforcement to evict protestors from its land. State and

local law enforcement were well aware that protestors were camped on Corps land—and off of it—

and that some protestors were breaking state laws by, for example, committing vandalism, theft,

blocking roads and bridges, making threats, and conspiring to commit crimes.                    See

FoF [¶234]-[¶236], [¶338]. The State had the authority to enter Corps land and arrest the protestors

who were causing the problems that concerned State and local officials—that is, the protestors who

were breaking other laws besides trespassing—without the Corps’s prior permission. See FoF

[¶237], [¶338], [¶339]. State officials testified they were aware they had that authority throughout

the protests. FoF [¶192], [¶339]. Nonetheless, State and local law enforcement chose not to arrest

all of those lawbreaking protestors. See FoF [¶339]-[¶342], [¶344]-[¶345], [¶352]. Moreover, State

and local law enforcement regularly chose not to arrest all lawbreaking protestors they encountered

off of Corps land. See FoF [¶342]; see also FoF [¶154]-[¶155] (instead of arresting the protestors

who were trespassing on private land at the North Camp, the State moved them to the Main Camp

on Corps land). The State’s argument that the protestors used the Main Camp on Corps land to the




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north of the Cannonball River as a “safe haven” is thus unavailing. See, e.g., ECF No. 450-1 at p.

64 ¶¶ 266-267, p. 65 ¶ 273, pp. 86-87 ¶ 367, p. 96 ¶ 404. State and local law enforcement had the

authority to arrest lawbreaking protestors on Corps land or off it, and they often chose not to do

so—even when those protestors were away from Corps land.

[¶568] Corps officials knew the State was exercising its discretion not to arrest all protestors who

broke the law. Corps officials were in constant communication with State officials throughout the

protests. FoF [¶281]-[¶284]. Corps officials were aware of State and local law enforcement’s

jurisdiction. And Corps officials were further aware that, instead of effecting mass arrests of

protestors who broke the law, State and local law enforcement had adopted the strategies of

communicating with protest leadership to try to deescalate the situation, and seeking to contain

protestors to Corps land. FoF [¶102], [¶286], [¶344], [¶347], [¶352].

[¶569] The State repeatedly told Corps officials throughout the protests that State and local law

enforcement did not have the manpower to effect a mass eviction of protestors from Corps land,

and that this was not something State and local law enforcement wanted to do. FoF [¶286], [¶361],

[¶347]. Regardless whether the State in fact could have mustered sufficient resources to complete

such an eviction, what State officials communicated to the Corps—what the Corps knew at the

time—was that the State was not willing or able to remove the protestors from Corps land. See id.

[¶570] The State suggests the Corps should have asked State and local law enforcement to remove

all of the protestors from Corps land. See, e.g., ECF No. 450-1 at pp. 58-59 ¶¶ 239-241, p. 65 ¶ 271,

p. 84 ¶¶ 361-362, p. 104 ¶ 441. But State witnesses testified that peaceful protestors were not an

issue for State and local officials. FoF [¶237]. Many protestors staying on Corps land were simply

peacefully exercising their First Amendment rights and were not breaking any laws. FoF [¶232]-

[¶233]. For a significant portion of the protestors, the only crime they would have been guilty of




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was trespassing, but only if the Corps declared them to be trespassers. Cf. N.D.C.C. § 12.1-22-03

(“An individual is guilty of a class B misdemeanor if, knowing the individual is not licensed or

privileged to do so, the individual enters or remains in any place as to which notice against trespass

is given by actual communication to the actor by the owner or an individual authorized by the owner

or by posting in a manner reasonably likely to come to the attention of intruders.”). As discussed

in Section II.B.ii above, the Corps was under no duty to seek to evict the protestors as trespassers.

[¶571] The State’s premise—that State and local law enforcement would have had to wait for a

landowner’s permission to go onto the land to enforce violations of state law other than

trespassing—would yield absurd results. Under the State’s reasoning, if a police officer is in hot

pursuit of a criminal who runs onto private property, the officer would have to stop at the boundary

of the property and contact the landowner to get permission before continuing his pursuit. Or if a

police officer happens to be present at a bank that is being robbed, he could not detain the robber

until he got confirmation from a bank employee with sufficient authority (whatever that might be)

that the bank wanted the officer to do so.

[¶572] Even less credible is the suggestion that the State would need a landowner’s permission to

arrest protestors who committed crimes off of the landowner’s property. Even if the State’s premise

that State and local law enforcement could not enter onto a landowner’s land to enforce any state

law without the landowner’s prior permission were correct (which it is not), state and local law

enforcement surely had the authority to arrest any problematic protestors while those protestors

were committing crimes off of Corps land, if law enforcement was inclined to do so. See FoF

[¶150][¶151] (State and local law enforcement were aware that the North Camp, which was located

on State land, included some protestors who were breaking the law and were dangerous, but State

and local law enforcement chose not to disperse the individuals from the North Camp area for over




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two months); id. [¶337]-[¶339] (State and local law enforcement were aware that some of the

protestors staying on Corps land were leaving to commit acts that violated State law elsewhere, off

of Corps land).

[¶573] The Court declines to adopt the State’s theory, which is unsupported by North Dakota law

and which that would lead to absurd results. The more reasonable conclusion—and the one most

consistent with the text and comments to the Restatement—is that where a landowner knows the

police are already aware of a condition such as lawbreakers staying on the landowner’s property,

and where the police have the authority to enforce that law on the property, the landowner does not

breach a duty by not calling the police to make them aware of the condition again.

[¶574] The Court finds that the Corps did not know or have reason to know that it was able to

control the protestors on Corps-managed land.

[¶575] The harmful third-party conduct occurred off of Corps land. The protest activity the State

complains about occurred off of Corps land, when protestors left the areas where they were staying

(on and off of Corps land) to conduct “direct action” protest activity and, sometimes, to violate the

law elsewhere. See FoF [¶90], [¶237]. State officials testified that peaceful protestors were not an

issue, and protestors only became a problem when they moved off public property into the roadway

or engaged in illegal activity. FoF [¶101]; [¶237]; see also FoF [¶100]-[¶101], [¶344] (State

officials sought to accommodate protestors’ First Amendment rights and agreed it was important

for them to have a safe place to protest).

[¶576] Given its limited options, the Corps exercised reasonable care. COL Henderson, the Corps

official responsible for deciding how the Corps would respond to the protests, recognized that the

protests presented an unprecedented, unique situation that was difficult, if not impossible, for

anyone to control. FoF [¶55], [¶104], [¶238], [¶275]-[¶277]. The protests started without the




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Corps’s prior permission or knowledge, and, as of mid-August 2016, they rapidly grew to be much

larger than anyone expected. See FoF [¶80], [¶82], [¶94], [¶97]. The protests centered around the

decision whether the pipeline would be granted an easement to cross Corps land—which COL

Henderson had already approved, and which decision was entirely out of his hands by the time the

protests began to ramp up. FoF [¶66], [¶68]. They involved concerns about First Amendment

rights and the Corps’s trust relationship with the Standing Rock Sioux Tribe. See FoF [¶12], [¶276].

As COL Henderson testified, if there was an easy, right answer, he would have made that decision.

Tr. 1190:24-1191:3 (Day 7; Henderson). But no such course of action was available to him. See

id.

[¶577] To determine how to respond to the protests, COL Henderson worked to understand the

resources available. He had only two park rangers assigned to the entire Lake Oahe project area,

and those park rangers were not law enforcement officers, did not carry guns or handcuffs, and

were directed and trained to look for compromises and not to present an aggressive presence to

members of the public who broke the Corps’s rules. FoF [¶16], [¶279]. COL Henderson was

concerned about making a decision that would jeopardize their safety. FoF [¶279]. Immediately

after the protests became a matter of concern in mid-August 2016, COL Henderson reached out to

federal law enforcement officials, as well as Sheriff Kirchmeier. FoF [¶96]. Among those were

officials with the U.S. Attorney’s Office for the District of North Dakota. Id. The U.S. Attorney’s

Office told COL Henderson that it was not worthwhile for Corps officials to issue citations, as they

would not be enforced. FoF [¶103].

[¶578] COL Henderson made multiple requests for federal law enforcement assistance with the

protests, throughout the fall and into early December 2016. FoF [¶298]-[¶299]. Those requests

were not granted. FoF [¶300].




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[¶579] COL Henderson himself was in “constant coordination” with State officials throughout the

protests, and he assigned another Corps official as a dedicated liaison with State and local law

enforcement. FoF [¶281]-[¶283]. State officials told COL Henderson that a forcible eviction of

protestors was a very bad idea. FoF [¶285]. COL Henderson understood that State and local law

enforcement did not have the law enforcement personnel necessary to effect such an eviction, even

if they were inclined to do so. FoF [¶286].

[¶580] COL Henderson was also in regular communication with leaders of the Standing Rock

Sioux Tribe. FoF [¶287]. He and his team discussed the requirements of the proposed Special Use

Permit between mid-August 2016 through September 16, 2016. FoF [¶288]. After the Tribe failed

to meet the conditions of the Special Use Permit the Corps offered, COL Henderson explored other

ways to promote safety for all involved and accountability for the Tribe, including the creation of

a “free speech zone” for peaceful, lawful protests and a proposed Tribe-led move of protestors to

land south of the Cannonball River where it was believed more resources would be available to

respond to the protestors. See FoF [¶195], [¶198], [¶289]-[¶290].

[¶581] This approach—attempting to contain protestors to a particular area and trying to work with

protest leaders to promote safety—was consistent with the approaches taken by the State and by

the pipeline company. The State took a similar approach to the North Camp that started on State-

owned land in the right-of-way to Highway 1806 and later spread onto private land. See FoF [¶151].

The State allowed protestors to remain at the North Camp for weeks, until the pipeline company

purchased the private property and insisted that State and local law enforcement remove the

protestors from its land. See FoF [¶147], [¶152]-[¶154]. Even after that request from the pipeline

company, it took State and local law enforcement over a month to remove the protestors from the

North Camp area. See FoF [¶154]-[¶155]. When it eventually did evict the protestors from the




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North Camp, the State’s containment approach remained essentially the same; law enforcement

simply pushed the protestors from the North Camp to the Main Camp on Corps land, two miles

south. See FoF [¶155], [¶159]-[¶162]. COL Henderson and other Corps officials were well aware

of the State’s containment approach to the protests. See FoF [¶102], [¶344], [¶352]. The pipeline

company advocated for a similar containment approach. At one point in late fall or winter 2016,

the company offered to donate the Cannonball Ranch land to the Standing Rock Sioux Tribe in

exchange for the Tribe’s assistance in controlling the activities of protestors, in hopes that would

deescalate the protest situation. FoF [¶296].

[¶582] Ultimately, considering the complexities of the situation and feedback from the stakeholders

he was in communication with, COL Henderson was faced with three possible options: do nothing,

seek to have protestors forcibly removed from Corps land, or offer the Tribe a Special Use Permit.

See FoF [¶301]-[¶302]. Believing it was necessary to do something to mitigate public confusion

and where protestors could be and what they could do, he chose the third option and decided to

offer the Tribe the Special Use Permit and make a public announcement about it. FoF [¶302]; see

FoF [¶137]-[¶144]. Later, he decided to exercise his authority to authorize a free speech zone for

lawful protests, in conjunction with his announcement that he would be closing the Corps land to

the north of the Cannonball River where the largest number of protestors were camped. See FoF

[¶196]-[¶200]. COL Henderson decided not to ask State and law enforcement to attempt a mass

eviction of protestors from Corps land, given what he knew about the protestors’ determination, the

State’s resources and lack of appetite to conduct such an operation, and the potential that attempting

it could result in increased tensions and injuries or the loss of life. See FoF [¶301]-[¶302]; see also

FoF [¶276]-[¶277], [¶280], [¶361].

[¶583] Given the serious potential for injury or loss of life, the deescalation strategy adopted by the




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Corps was reasonable. See FoF [¶223]. As MG Dohrmann testified, COL Henderson did “a very

good job” in responding to the protests based on the authority he had. FoF [¶304]. The Court finds

the State has not established that COL Henderson acted without reasonable care.

               ii.   Gross Negligence Claim

[¶584] The State claims that the Corps’s response to the DAPL protests constituted gross

negligence. See ECF No. 1 ¶¶ 124-28. As with the elements of its ordinary negligence claim, the

State bears the burden to prove gross negligence. See, e.g., Jacobs v. Nelson, 268 N.W. 873, 877

(N.D. 1936).

[¶585] Under North Dakota law, gross negligence is defined as “the want of slight care and

diligence.” N.D. Cent. Code § 1-01-17. “‘Gross negligence’ is, to all intents and purposes, no care

at all. It is the omission of the care which even the most inattentive and thoughtless seldom fail to

take of their own concerns. It evinces a reckless temperament. It is a lack of care which is

practically willful in its nature.” Bjerke v. Heartso, 183 N.W.2d 496, 501 (N.D. 1971) (quoting

Rubbelke v. Jacobsen, 268 N.W. 675, 676 (N.D. 1936)) (a motorist who drifted to the wrong side

of the road, causing an accident, was not necessarily grossly negligent if he was inattentive, or

momentarily dozing, or even intoxicated while driving). Evidence of “mental attitude” is necessary

to establish gross negligence. See, e.g., id.

[¶586] The State has not established that Corps officials acted with “reckless temperament” or

willfulness. To the contrary, the evidence shows that Corps officials considered the available

options carefully and took many actions to deescalate and mitigate the impacts of the DAPL

protests. See FoF [¶276]-[¶280], [¶301]-[¶302]. They repeatedly, publicly urged protestors to obey

the law and remain peaceful. See FoF [¶140], [¶142], [¶198]. They talked and met with officials

of the State dozens of times about the protest response. See FoF [¶281]-[¶286]. They negotiated



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with tribal leadership in hopes of securing a Special Use Permit, lowering tensions, and effecting a

voluntary move of protestors out of the area (or at least to a safer zone). See FoF [¶199], [¶287]-

[¶296]. They coordinated with other federal officials and requested federal law enforcement

resources to help manage the situation on the ground, through both formal and informal channels.

See FoF [¶297]-[¶299]. As to Corps officials’ “mental attitude,” COL Henderson, the ultimate

Corps decision-maker on how to respond to the protests, testified that he was “worried” and

“genuine[ly] concerned” that the situation could lead to injury or loss of life, and that those feelings

informed his decision-making. FoF [¶280].

[¶587] The State has not established that the Corps was negligent at all, let alone that it acted with

the willfulness and total want of care that constitutes gross negligence.

               iii.   Nuisance Claim

[¶588] The State’s nuisance claim also fails. First, a party asserting a claim of public nuisance

must show, as a threshold matter, that the conduct it contends constituted the public nuisance

occurred on the landowner’s land. Restatement Section 838 limits the landowner’s liability to the

“land upon which a third person carries on an activity that causes a nuisance.” Id. (emphasis added).

The State cannot make this showing. The protestor conduct that the State complains of—leaving

Corps land and conducting “direct action” protest activities, including, at times, breaking the law—

occurred off of Corps land. FoF [¶90], [¶237]. Indeed, protestors did not only camp on Corps land.

See FoF [¶41]. The activity the State complains of was caused by protestors who stayed at a variety

of locations, including at the North Camp on private and State-owned land, at camps and the casino

on the Reservation, at hotels, and at private residences in the area. FoF [¶89]-[¶90], [¶171], [¶237].

[¶589] Second, the Corps did not “consent” to the protestors’ activity of which the State complains.

As the comments to Restatement Section 838 explain, “[f]ailure to stop an activity is not alone



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sufficient to warrant a finding of consent. There must be knowledge of the facts plus some

manifestation of acquiescence or approval in respect to the persons in question.” Restatement

(Second) of Torts § 383, cmt. f. “Moreover, it is not enough that the possessor has merely consented

that others act upon his land in some way. It must be shown that he consented to the activity

involving the invasion.” Id. (emphasis added). That is, even if the Corps consented to protestors

being on its land (which it did not, at least with respect to the Main Camp on Corps land north of

the Cannonball River), the State must show the Corps consented to the protest activity the State

complains of. Specifically, the State must show the Corps consented to protestors leaving Corps

land to break the law (the activity the State complains of). See FoF [¶237]. The State has not made

this showing. Cf. FoF [¶142] (the Corps’s September 16, 2016, press release stated that the Tribe

was allowed “to gather to engage in a lawful free speech demonstration on Federal lands designated

in the permit” subject to “applicable Federal, state and local regulations” (emphasis added)); FoF

[¶198] (COL Henderson’s November 25, 2016, letter to tribal leaders stated that the free speech

zone south of the Cannonball River was meant “for anyone wishing to peaceably protest the Dakota

Access pipeline project, subject to the rules of 36 C.F.R. Part 327” (emphases added)); FoF [¶292]

(in conversations with tribal leadership, COL Henderson emphasized the need for the Tribe to

discourage violence, trespassing on private land, and provoking confrontations with law

enforcement). Without such a showing, the State must establish that the possessor of land failed to

act with reasonable care; as discussed above, the State has not established this. See Restatement

(Second) of Torts § 838, cmt. g.

[¶590] Third, the State has not made a showing of negligence. The Court has explained that it will

limit any liability for nuisance to “negligent or wrongful act[s] or omission[s] of the Corps.” ECF

No. 38 at p. 29 ¶ 68. Here, under Restatement Section 838, a possessor of land is not liable for




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“[t]he mere fact that he permits the third person to be upon the land or to do something there, or

that he knows of his presence or even of the particular activity.” Restatement (Second) of Torts

§ 838, cmt. g. As the comments to Restatement Section 838 explain, a landowner seeking to

reasonably address the conduct of third parties on its land must “at most” alert law enforcement to

the situation. Id. (explaining that a possessor of land is “not required in all cases to put a stop to

the activity,” but may be in a position to stop the activity, “at most by calling the police”). The

State has not shown that the Corps failed to comply with this standard. The Corps did not fail to

alert State and local law enforcement; rather, Corps officials knew State and local law enforcement

were already aware of the protest situation and had decided to adopt an approach based on

deescalation and containment, instead of making mass arrests of protestors.

[¶591] The State has not proven its nuisance claim.

                iv.   Trespass Claim

[¶592] The State has failed to prove its trespass claim. As an initial matter, the Court has

determined that this claim requires proof that the Corps’s conduct violated Restatement Section

318. See ECF No. 38 at pp. 28-29 ¶¶ 66-67; ECF No. 383 at p. 7 ¶ 15. As discussed above, the

State has not carried its burden to make that showing. Additionally, the State’s trespass claim fails

under North Dakota law because the State has not established that the Corps intentionally caused

third parties to trespass on State land.

[¶593] Under North Dakota law, civil trespass is defined as “an intentional harm, where a person

intentionally and without a consensual or other privilege . . . enters land in possession of another or

any part thereof or causes a thing or third person so to do.” Tibert v. Slominski, 692 N.W.2d 133,

137 (N.D. 2005) (internal quotations and citation omitted). “If there is no intent or ‘affirmative

voluntary act’ by the alleged wrongdoer, there cannot be a claim for trespass.” Id. (citation omitted)



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(emphasis added). And the plaintiff must show that the trespass was onto the plaintiff’s land. See,

e.g., McDermott v. Sway, 50 N.W.2d 235, 240 (N.D. 1951) (reversing a district court finding of

trespass where the evidence showed that the defendant “had no intention of trespassing on

plaintiff’s land or of causing anyone else to do so,” and thus the evidence failed to show “that there

was a trespass by the defendant upon the plaintiff’s land”).

[¶594] The State’s evidence did not show that Corps officials took intentional, affirmative

voluntary acts that caused, and were intended to cause, protestors to go onto the State’s land. Corps

officials responded to protestors who came onto Corps land unannounced. See [¶80], [¶82], [¶336]

(the protests started off of Corps land and then spilled onto Corps land without the Corps’s

permission); [¶93]-[¶99] (discussing how the protests expanded quickly and unexpectedly in mid-

August 2016). When the Corps made statements in attempt to manage and deescalate tensions

within the groups that were already on Corps land for their own reasons, those statements did not

encourage protestors to go onto State land. See FoF [¶139]-[¶141], [¶302]. And the Corps

emphasized in its public statements the need for protestors to obey the law and act peacefully. See

FoF [¶142], [¶198].

[¶595] Because the State has not established that Corps officials intentionally caused third parties

to trespass on the State’s land, the State’s trespass claim must fail.

           D. Causation

[¶596] As the North Dakota Supreme Court has made clear, finding duty and a breach of that duty

does not automatically establish causation. Proximate cause is a separate element from duty and

breach, and the plaintiff must prove it separately. See Knorr, 300 N.W.2d at 50 (rejecting trial

court’s determination that “once a breach of duty (negligence) is found, in the absence of a

subsequent, independent or unforeseeable act the proximate cause necessarily follows from that




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breach”). Thus, the State bears the burden to prove that Corps officials’ actions caused the damages

seeks—independent from a showing that a duty was owed and breached, discussed above.

[¶597] The Court has held that two statements by the Corps were non-discretionary acts that may

be the basis for liability: the September 16, 2016, press release and the November 25, 2016, letter

to tribal leadership. See ECF No. 38 at pp. 16-19 ¶¶ 38, 42-45, p. 19 ¶ 45, pp. 21-22 ¶ 50. The

State has not established that either of these statements caused its claimed damages in the form of

protest-response costs. To the contrary, the evidence shows that other events and other factors were

the cause of the protests and the State’s corresponding law-enforcement response and associated

costs.

               i.    Showing But-For Causation in the Context of Protest Activity

[¶598] A plaintiff claiming that its injury resulted from protest-related activity must show that the

plaintiff “would not have been injured but for” the defendant’s actions in connection with the

protests. Mckesson, 71 F.4th at 292. This requires more than just a showing that the defendant’s

actions “encouraged or committed unlawful-but-nonviolent actions that preceded violence.” Id. at

302 (Willett, J., concurring in part and dissenting in part).           Showing causation in these

circumstances “is a tall task, and the standard will only be met in the exceptional cases where . . .

the well-pleaded allegations support the inference that the leader’s specific actions caused the

plaintiff’s injuries.” Id. at 71 F.4th at 292 (majority opinion). “In most cases,” altercations in high-

intensity situations “would have occurred regardless” of how the leader of the protest event or the

owner of the event venue acted. Id. at 292 n.8. “Only seldomly will a plaintiff be able to prove

that the specific actions taken by the defendant caused the alleged injury.” Id.

[¶599] Moreover, in assessing causation, courts cannot treat disparate individual actors “as a

unified whole.” Murthy v. Missouri, __ U.S. __, 144 S. Ct. 1972, 1987-94 (2024). In Murthy, two



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states and several individuals alleged that various federal Executive Branch officials and agencies

violated their rights by pressuring social-media platforms to censor speech. See id. at 1983-84. The

Supreme Court held that, “in a sprawling suit like this one,” where the social-media platforms had

“independent incentives” to act, “often exercised their own judgment,” and took certain actions

before the government’s challenged communications started, it was “critically important” to

“untangle the mass” of the plaintiff’s injuries and the government’s actions to determine whether

the government’s actions specifically caused the social-media platforms to impose allegedly

wrongful restrictions on particular individuals. Id. at 1987-89. The Court held that the plaintiffs

could not “gloss[] over complexities in the evidence” by attributing all of the social-media

platforms’ restrictions to the federal government’s actions. Id. at 1988. The Court then examined

the evidence and concluded that the plaintiffs had not made the requisite causation showing

because: (1) the social-media platforms had moderated conduct long before any of the challenged

acts by the federal government; (2) the platforms did not only speak with the federal government

about content moderation but also regularly consulted with outside experts; and (3) the platforms

had other incentives to moderate content, outside of the actions of the federal government, and they

often exercised their own judgment about content moderation. See id. at 1987-88. Thus, the Court

concluded the plaintiffs lacked standing because they failed to show that the government’s actions

specifically caused the social-media platforms to restrict the plaintiffs’ speech. See id. at 1989-97.

[¶600] Under Mckesson and Murthy, the Court here must examine the specific evidence to

determine whether protestors would not have engaged in unlawful activity but for the Corps’s

alleged wrongful conduct. In this analysis, the Court cannot treat the protestors as a unified whole,

and cannot gloss over complexities in the evidence by attributing all of the protest events to actions

of the Corps.




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[¶601] The evidence shows that the protestors were not a unified whole. They included a multitude

of factions with shifting and uncertain leadership. See FoF [¶87], [¶88], [¶240]. Even if the

evidence showed that Corps officials actions caused some activity by protestors that harmed the

State—which it does not—that evidence would not establish that the entirety of the protests were

caused by the Corps.

[¶602] As discussed below, the protests began several months before the Corps’s statements at

issue. See FoF [¶80], [¶84]-[¶92], [¶99], [¶113]-[¶119]; ECF No. 38 at 14, 19. The evidence does

not show that the protests increased in size or intensity immediately after either of the non-

discretionary acts identified by the Court. See FoF [¶270]-[¶272]. And protestors regularly

communicated with other entities, including State officials, throughout the protests. See, e.g., FoF

[¶151], [¶294], [¶296], [¶352]. Protestors also exercised their own independent judgement and

were driven by a variety of motivations and external factors, separate from any actions by the Corps.

See FoF [¶238]-[¶268].

               ii.   Showing Proximate Causation

[¶603] To prevail, the State must also show that actions by Corps officials proximately caused the

State’s damages. Proximate cause is “a cause which, as a natural and continuous sequence,

unbroken by any controlling intervening cause, produces the injury, and without which it would not

have occurred.” Johnson v. Mid Dakota Clinic, P.C., 864 N.W.2d 269, 275 (N.D. 2015) (cleaned

up). To be a proximate cause, “the injury must be the natural and probable result of the conduct

and must have been foreseen or reasonably anticipated by [the defendant] as a probable result of

the conduct.” Cichos v. Dakota Eye Institute, 5 N.W.3d 796, 804 (N.D. 2024) (quoting Kimball v.




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Landeis, 652 N.W.2d 330, 334 (N.D. 2002)). The proximate-cause standard thus looks to whether

the injury was foreseen or reasonably anticipated by the alleged tortfeasor.

[¶604] Under North Dakota law, a plaintiff raising a negligence claim must present “affirmative

evidence of proximate cause, and may not establish causation solely by discrediting other possible

causes.” Investors Real Estate Trust Properties, 686 N.W.2d at 144. Causation may not be based

on mere speculation. Id.

[¶605] As the Restatement frames it, an actor’s conduct is the legal cause of the claimed harm only

if “his conduct is a substantial factor in bringing about the harm.” Restatement (Second) of Torts

§ 431 (Am. Law Inst. 1965). An actor’s conduct is not a substantial factor “if the harm would have

been sustained even if the actor had not been negligent.” Id. § 432(1). In addition, Restatement

Section 433 lists “considerations . . . important in determining whether the actor’s conduct is a

substantial factor” in causing the alleged harm, including:

       (a) the number of other factors which contribute in producing the harm and the
           extent of the effect which they have in producing it;

       (b) whether the actor's conduct has created a force or series of forces which are in
           continuous and active operation up to the time of the harm, or has created a
           situation harmless unless acted upon by other forces for which the actor is not
           responsible;

       (c) lapse of time.

Restatement (Second) of Torts § 433 (Am. Law Inst. 1965).

[¶606] A cause is not a “substantial factor” if other actions had a “predominant effect” of bringing

about the harm. Id. cmt. d.; see also Bellflower v. Pennise, 548 F.2d 776, 778 (8th Cir. 1977)

(stating that a landowner is not ordinarily liable for nuisance “where his property is, by the act of

independent third parties, made the instrumentality of a nuisance, since their act is the proximate

cause” (emphasis added)).

[¶607] Under these standards, the State has not established that the Corps’s actions at issue were


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the proximate cause of the State’s damages, as discussed below.

               iii.    The Protests’ Rapid Growth and Extended Duration Was Not
                       Foreseen or Reasonably Anticipated by the Corps

[¶608] The rapid growth and extended duration of the protests was not “foreseen or reasonably

anticipated by” Corps officials “as a probable result of the conduct.” Cichos, 5 N.W.2d at 804.

Corps witnesses, and State witnesses as well, all agreed that the protests were unique and

unprecedented, and that the protestors’ actions were unpredictable. FoF [¶238]-[¶239].

[¶609] When COL Henderson first learned the protests were growing and had spilled over onto

Corps land north of the Cannonball River, he did not believe they would grow as large or last as

long as they ultimately did. FoF [¶97]. He anticipated that the protests might increase somewhat

leading up to the preliminary injunction hearing on August 25, 2016, in the Standing Rock Sioux

Tribe litigation in the U.S. District Court for the District of Columbia, but that the protests would

fade after the court issued a decision shortly after. See id. His expectation was reasonable. Cf. FoF

[¶238] (State’s After-Action Report acknowledging that “[b]ecause an event of this scope and

magnitude had never occurred in North Dakota history, all levels of government were slow to

recognize the enormity of the situation.”); JX 272 at 1 (Morton County Commission Chairman

Cody Schulz wrote that “[a]t the start of the DAPL protest, law enforcement and county leaders

never expected the activity to shift so quickly—and to remain for so long.”). When State and federal

officials met with tribal elders as representatives of the protest camps on August 23, 2016, they

discussed a “four day period of celebration or mourning” following the court’s decision, after which

it was proposed the Tribe would stop providing support to the protests. Id. State officials viewed

the pending Standing Rock Sioux Tribe decision as a potential flashpoint, and protest activity did in

fact increase after the court issued its decision denying the Tribe’s motion for a preliminary

injunction. See id.


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[¶610] Ultimately, COL Henderson’s reasonable expectation that the protests would fade away

after the Standing Rock Sioux Tribe decision was issued was incorrect. Instead, a number of

unexpected, intervening factors caused the protests to rapidly grow in size and intensity. One such

factor was the confrontation between the pipeline company’s private security contractors and

protestors on September 3, 2016. See FoF [¶113]-[¶119]. Another was the decision by the

Department of the Army, Department of Justice, and Department of the Interior on September 9,

2016, to announce that, notwithstanding the court’s decision denying the preliminary injunction in

the Standing Rock Sioux Tribe litigation, the Army would not authorize the pipeline’s construction

for the time being. See [¶121]-[¶124]; see also [FoF] [¶125] (COL Henderson and other Corps

officials were not made aware of that planned statement in advance, and they were surprised by it).

Yet another was the clash between State and local law enforcement on the Backwater Bridge on

November 20-21, 2016. See FoF [¶171]-[¶181]. Another was the Department of the Army’s

decision on December 4, 2016, to delay the decision on the easement for the pipeline to cross Lake

Oahe. See FoF [¶73], [¶243]; see also FoF [¶68] (by that point, COL Henderson had already

completed his approval of the necessary permits for the pipeline crossing, and he other Corps

officials did not have any control over the easement decision). The evidence indicates that each of

those events contributed far more to the growth in size and intensity of the protests, and to the

protests lasting as long as they did, than either of the statements by the Corps at issue.

               iv.     The State Would Have Incurred Protest-Response Costs Regardless of
                       the Corps’s Statements

[¶611] The State seeks to recover its protest-response costs as damages. See FoF [¶367]-[¶368],

[¶381]. The evidence indicates that, even without the two Corps statements at issue, the State would

have incurred significant protest-response costs, for several reasons.        First, the State’s law-

enforcement response to the protests began over a month before the first of the Corps’s statements.


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FoF [¶91], [¶142]. This timing undermines the State’s claim that its response costs were caused by

the Corps’s statements.

[¶612] Second, throughout the protests, protestors were not only located on Corps land, but also at

camps on Reservation, State, and private land; at hotels; and with friends and family in the area.

FoF [¶41]. Some of the protestors who broke the law, necessitating the State’s law-enforcement

response, came from areas other than Corps land. See, e.g., FoF [¶89] (protestors used the Prairie

Knights Casino, located off of Corps land on Standing Rock Indian Reservation land, as a base of

operations and to plan protest activities); FoF [¶90] (protestors came from not only Corps land, but

also from hotels, the casino, and the houses of friends and family to engage in direct protest actions);

FoF [¶150]-[¶151] (some protestors at the North Camp on State and private land broke the law by,

for example, possessing drugs and unauthorized weapons, camping alongside and obstructing the

State highway, and tearing down concertina wire near the pipeline construction site); FoF [¶171]

(some of the protestors at the Backwater Bridge incident on the night of November 20-21, 2016,

came from the casino on Reservation land). The presence of numerous protestors at locations other

than Corps land—including some protestors who broke the law—undermines the State’s claim that

its harms were caused by the Corps’s decisions in connection with the protests on Corps land. The

State has not sought to recover any of its protest-response costs from any of those other landowners,

nor has it made any reduction in its claimed damages to account for the fact that not all protestors

were staying on Corps land.

[¶613] Third, even if the Standing Rock Sioux Tribe had completed the conditions such that a final

Special Use Permit was in place, that would not have eliminated the State’s damages. The

performance bond would have been in the amount of $100,000, and it would have accrued to the

benefit of the Corps—not the State—to remediate damage to Corps property. FoF [¶49], [¶138].




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The liability insurance would have provided for $1 million in coverage for each occurrence of

property damage, $5 million for occurrences of personal injury, or $5 million for all claims per

occurrence. FoF [¶138]. It would have named the Tribe as the primary insured with the United

States government (not the State) named as a secondary insured. FoF [¶138]. That is, the bond and

insurance would have protected the Tribe and the United States from expenses associated with

damage to Corps property or injury to persons on Corps property. See id. There is no evidence

that, even if the Tribe had secured the performance bond and liability insurance, the State would

have had the ability to recover its law-enforcement protest-response costs based on events off of

Corps land, which are the damages it seeks in this litigation. See FoF [¶49], [¶138], [¶237], [¶367]-

[¶368], [¶381].

[¶614] Finally, even accepting arguendo the State’s latest theory that the Corps erred by not seeking

the forcible removal of protestors in mid-August 2016, the State still would have incurred protest-

response costs. The most reasonable inference from the evidence adduced at trial was that, even if

the Corps had been able to remove all the protestors from its land and had chosen to do so, that

would not have resolved the protest situation. State and Corps officials were reasonably concerned

that, if protestors were evicted, they might simply relocate to another location in the area. See

FoF [¶277]; see also DX 4222 at p. 48 ¶ 81 (report of United States’ expert, Dr. Noam Yuchtman,

observing that there was a range of alternative camp sites available, besides the areas of the

encampments on Corps land, which protestors might have used if the Corps had sought to evict

them); FoF [¶273] (COL Henderson believed that even if the Tribe had a finalized Special Use

Permit, that would not have stopped what was already happening on the ground for a month before

the Corps’s September 16, 2016, statement). The protestors’ behavior showed that they were

generally determined and reluctant to obey orders from law enforcement to disperse. See FoF




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[¶157]-[¶[158], [¶163], [¶173], [¶239]. As the then-Executive Director of the North Dakota Indian

Affairs Commission Davis testified, protestors would not listen to instruction about where to

protest. FoF [¶239]. As FBI Agent O’Connell testified, it was the resources—in particular,

monetary support—that were available to protestors that made a difference, and not the location of

where protestors were camped. ECF No. 421, Dep. Tr. 110:15-25 (O’Connell).

               v.      The Corps’s Actions Did Not Cause the Protests

[¶615] The September 16 and November 25, 2016, Statements. The State contends the Corps’s

statements “invited” and “encouraged” protestors. E.g., ECF No. 450-1 at p. 77 ¶ 335, pp. 93-94 ¶

393, p. 95 ¶ 400, p. 100 ¶ 418. But even if that were so, it would not necessarily follow that those

statements caused a change in the protest activity on the ground. To the extent the statements can

be construed as an “invitation”—and not a response to an extant situation that was rapidly spiraling

out of anyone’s control—the evidence shows that protestors either did not hear that invitation, or

simply ignored it.

[¶616] Though it is the State’s burden to establish causation, it has not offered any evidence that

the two statements by the Corps actually changed anything about the protest situation on the ground,

or the amount of money the State spent in response. The most the State offers on this point is

testimony from a retained expert, Dr. Katherine Kuhlman.             Dr. Kuhlman testified about

“reinforcement theory,” the idea that action or lack of action increases or decreases the probability

of an individual behaving in a particular way. See Tr. 1795:10-1797:19 (Day 11; Kuhlman). She

opined that the actions of the Corps, and other federal officials, “reinforced the actions of

protestors.” Id. at 1799:6-11.

[¶617] The Court finds that Dr. Kuhlman’s testimony is not credible and does not establish

causation, for several reasons. First, Dr. Kuhlman conceded that she was not opining that any



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actions of the federal government caused any protest behavior or caused protestors to be present at

the protests. Id. at 1828:25-1829:5. In fact, she testified that “I do not believe [actions of the federal

government] caused protest behavior.” Id. at 1828:24-1829:2.

[¶618] Second, Dr. Kuhlman acknowledged that if a person was not aware of a statement, then the

statement could not motivate that person one way or another; that is, the application of

reinforcement theory depends on the premise that individual actors are aware of the statement in

question. See id. at 1832:13-22. She also acknowledged that a statement’s impact might differ

from person to person, and different people might interpret the same potential reinforcements

differently. See id. at 1840:15-19, 1841:1-12 (testifying that to determine whether something is a

reinforcement for a particular person, one must consider how that person subjectively perceives that

potential reinforcement). With regard to the DAPL protests, Dr. Kuhlman testified that she could

not determine whether different protestors perceived potential reinforcements differently based on

the information she had. See id. at 1842:13-25.

[¶619] Third, though Dr. Kuhlman testified that the best source of understanding protestors’

motivations is their deposition testimony, she did not review all the available depositions from

protestors in this case—she only read two of the three transcripts from protestors’ depositions. See

id. at 1850:15-21.

[¶620] Fourth, Dr. Kuhlman’s analysis of the two protestor depositions she did review was not

consistent with that evidence. She concluded that the testimony of those two protestors established

that the September 16 press release “[p]rovided positive support, encouragement, and positive

reinforcement to the SRST and DAPL protestors.” PX 2030 at 0007 (Dr. Kuhlman’s expert report).

But she acknowledged that one of the protestors testified in his deposition that the September 16

press release did not impact his decision to protest against the pipeline, and the other protestor




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testified that the September 16 press release did not cause her to come to the protest camps, did not

cause her or any other protestors to stay any longer, did not cause her or other protestors to engage

in any civil disobedience in opposition to the pipeline, and that she was not aware of anyone

opposed to the pipeline who cared whether or not the Corps granted permission to gather on Corps-

managed land. See Tr. 1846:2-1847:8 (Day 11; Kuhlman).

[¶621] Fifth, Dr. Kuhlman based her opinion on actions by non-Corps federal officials that are

simply irrelevant to the question of what the specific statements of the Corps caused. Those actions

by non-Corps officials included, among other things, a photo of President Obama with Chairman

Archambault that was taken two years before the protests, and the decision of an attorney for the

Department of the Interior as to which side of the courtroom gallery to sit on at a hearing. See PX

2030 at 8, 10; Tr. 1834:15-23 (Day 11; Kuhlman). Dr. Kuhlman acknowledged that she had no

evidence as to whether protestors were aware of these events, or the impact the events had on

protestors if so. Tr. 1835:6-8; 1836:18-24 (Day 11; Kuhlman).

[¶622] The Court observes that Dr. Kuhlman’s reinforcement-theory reasoning would apply with

equal force to decisions State officials made in connection with the protests as it would to decisions

of the Corps or other federal officials. For example, Dr. Kuhlman testified that the State’s decisions

to provide life-support assets at the camps on Corps land would serve as reinforcement for the

protestors. See id. at 1839:4-11. So, too, would State officials’ statements around the time of the

Big Push that protestors should remain at the Main Camp to peacefully protest. See id. at 1861:22-

1862:8, 1865:20-1866:17. And so would State and local law enforcement’s decisions not to arrest

protestors for breaking the law when they have the authority to do so. See id. at 1862:11-22,

1862:23-1868:19 (discussing examples of occasions where State and local law enforcement chose

not to arrest lawbreaking protestors).




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[¶623] It is not the United States’ burden to prove a negative—that the actions of Corps officials

did not cause the State’s damages. Cf., e.g., Investors Real Estate Trust Properties, Inc., 686

N.W.2d at 144 (the State bears the burden of proving all of the elements of its claims). Nonetheless,

the evidence overwhelmingly supports that conclusion.

[¶624] Testimony from protestors themselves uniformly showed that the two Corps statements did

not cause them to come to the protests. To the contrary, the only evidence from protestors is that

those statements did not cause protestors to come to the area, to stay longer once they were there,

or to engage in more civil disobedience. See FoF [¶270]. Dr. Nicholas Estes testified that neither

statement caused him to come to North Dakota or stay there during the protests, that the September

16 press release did not cause him to come to the protest camps and did not have any bearing on

his actions, and that the November 25 letter did not cause him to come to the protest camps or stay

any longer than he otherwise would have. See id. Winona LaDuke testified that as for the

September 16 press release, she did not view herself as needing permission from Corps to go on

her own land, and that other protestors felt the same. Id. As for the November 25 letter, Ms.

LaDuke testified that it did not cause her to engage in any civil disobedience or stay any longer at

the camps. Id. Chase Iron Eyes testified that the September 16 press release “wasn’t really relevant

to . . . what [the protestors] were doing,” and it did not make any difference to him in deciding about

whether to engage in protests. Id. He also testified that, based on his own participation in and

observation of the protests, he did not observe any impact from the September 16 press release on

protests. Relatedly, Scott Davis, the North Dakota Indian Affairs Commission Executive Director,

similarly testified that the people he personally knew who were participating in the DAPL protests

never mentioned the September 16 press release, and that they never talked with him about the

November 25 letter. Id.




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[¶625] Contemporaneous estimates of the protest camps’ population did not increase immediately

following either of the two Corps statements at issue. FoF [¶271]. And the State itself did not view

either statement as significant when it created After-Action Reports shortly after the protests

concluded. See FoF [¶272] (one such After-Action Report created by the State included a 40-plus

page summary of protest events, with daily entries beginning on August 10, 2016; the summary did

not mention the September 16 press release or the November 25 letter’s creation of a free speech

zone).

[¶626] Testimony from two experts offered by the United States further supports the conclusion

that the Corps’s statements were neither the but-for nor the proximate cause of the protests. The

first expert is Dr. Joel Steckel, who is an expert in marketing research and consumer behavior. Tr.

2721:9-16 (Day 17; Steckel). Dr. Steckel conducted a study encompassing a broad set of data:

contemporaneous vehicle counts from the State, protestor population estimates from the BIA,

online donation amounts, and an enormous volume of social media data culled from Facebook and

Twitter.10 See DX 4225 at 5.

[¶627] Dr. Steckel found that the reported measures and the large-volume data from social media



10
   The Court raised questions at trial as to the availability of internet access at the protest camp sites.
See Tr. at 2827:6-2829:4 (Day 17; Steckel). The evidence shows that, while internet service may
have been unreliable at times in the areas of the camps, protestors who were staying at the camps
were nonetheless able to regularly post and even live-stream on social media. See, e.g., Tr. 78:9-
14 (Day 1; Schulz) (“[P]rotestors themselves would live stream these direct actions on Facebook
and we could see it happening, literally getting in cars leaving, and returning while those live
streams were happening.”); Tr. 1507:16-1508:9 (Day 9; Van Horn) (testifying that he gathered
“extremely abundant information/intelligence” via Facebook throughout the protests, including
“live feeds” from protestors on the ground, and that he verified the accuracy of that information
through sources such as drone footage and interviews of arrestees); id. at 1524:23-1525:12
(testifying that he observed a “direct” correlation between activity on social media and protest
activity on the ground); Tr. 2517:13-21 (Day 16; LaDuke) (Ms. LaDuke learned of the events on
the Backwater Bridge of November 20-21, 2016, “[v]ia Facebook feed”); PX 1126 at 0002 (State
law enforcement report reflecting a social-media post from a protestor at the North Camp who went
to the casino to “borrow their wifi in the parking lot”).

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had statistically significant correlations. DX 4225 at 175-76. Those correlations show that the

reported measures and the social media are measures of the same underlying phenomenon. Id. at

175. That is, the reported measures and the social media measures are all tapping into the same

underlying construct, which was the behavior of the protestors and their supporters. Tr. 2746:7-11

(Day 17; Steckel).

[¶628] For each of the two Corps statements at issue, Dr. Steckel considered whether the data

supported the three essential conditions to establish a causal relationship: (1) covariation, that a

change in behavior coincided with a Corps statement at issue; (2) precedence, that a Corps statement

at issue preceded the observed change in behavior; and (3) elimination of alternative explanations,

that there was not a more likely reason for the observed change in behavior. DX 4225 at 5. If the

Corps statement at issue had a causal impact, then one would expect evidence that the three

conditions were met for the Corps statements at issue. Id. And one would expect that the context

of the social media posts themselves would contain corroborative evidence. Id.

[¶629] Dr. Steckel found no significant evidence to support a causal claim for the September 16

press release. Id. The BIA population estimates, Twitter volume, and Facebook volume data all

indicate that those behavioral measures either remained stable or declined on the date of and shortly

after that press release. Id. The time period of the September 16 statement was unremarkable in

both the Twitter and Facebook data, ranking low in overall volume and when controlling for short-

term trends. Id. An examination of the social media posts showed no significant evidence that the

September 16 press release motivated DAPL protestors or their supporters. Id. While the BIA

population estimates were fairly elevated during this time period, they actually are in decline from

the week prior to the press release. Id. Thus, the September 16 press release fails the first two

conditions necessary to establish causality (covariation and precedence). Id.




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[¶630] As for the November 25 letter, there is a mild indication of some elevated behavioral

measures during that time period. Id. at 6. In particular, November 25 is fairly highly ranked in

terms of BIA population estimates, vehicle counts, and social media. Id. However, Dr. Steckel

was unable to attribute those elevated measure to the November 25 letter, for at least two reasons.

[¶631] First, those behavioral measures were already elevated and rising prior to the November 25

letter. Id. For example, November 21 was the third-highest volume day on Twitter and the sixth-

highest volume day on Facebook; that day coincided with the clashes between protestors and law

enforcement at the Backwater Bridge. Id. The BIA population estimates and vehicle counts data

were similarly elevated just prior to the statement. Id. Because these behavioral changes already

existed prior to the November 25 letter, the precedence condition for causality was not met, and so

no causation was established. Id.

[¶632] Second, the content of the social media posts during relevant time period also shows no

evidence of causality. Id. Dr. Steckel considered the content of the social media posts the day of

and the day after the November 25 letter. Id. He found that: (a) the November 25 letter was not a

significant subject within the overall social media conversation; and (b) the small portion of the

conversation that did concern the November 25 letter was overwhelmingly critical rather than

supportive. Id. In contrast, the clashes between DAPL protestors and law enforcement not only

exhibited stronger correspondence with the onset of elevated behavioral measures, but their

importance was further corroborated by their dominance of the social-media conversation during

this time period. Id. Therefore, the data did not allow Dr. Steckel to rule out those alternative

explanations for the observed trend (the third condition for causation) and thus, there is a lack of

evidence for a causal link between the November 25 letter and the behavioral measures. Id.

[¶633] In summary, after examining a variety of sources of evidence using several modern data-




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analysis methods, Dr. Steckel concluded that there is no evidence that either the September 16 press

release or the November 25 letter had a substantial impact on the behavior of DAPL protestors or

their supporters. Id. The convergence of results using multiple techniques across multiple data

sources supports a high degree of scientific certainty for those conclusions. Id.

[¶634] The State offered an expert witness in rebuttal to Dr. Steckel, Gary Warner. Mr. Warner

took issue with some of Dr. Steckel’s data collection methods. But Mr. Warner himself did not

conduct any social media study of his own. See Tr. 2984:12-18 (Day 18; Warner). He did not offer

any opinion about the cause of the protests, or the cause of the State’s damages. Id. at 2984:19-24.

Mr. Warner’s testimony, then, does not establish that the Corps statements at issue caused the

State’s claimed damages. Cf., e.g., Investors Real Estate Trust Properties, Inc., 686 N.W.2d at 144

(the burden rests on the State, as the plaintiff, to prove each element of its claims—not on the United

States, as the defendant, to disprove them).

[¶635] The second United States expert whose testimony supports the conclusion that the Corps’s

statements did not cause the State’s damages is Dr. Noam Yuchtman. Dr. Yuchtman is a political

economist who has written about people’s decisions to protest. See Tr. 2849:12-2851:20 (Day 17;

Yuchtman); DX 4222 at p. 6 ¶ 4.

[¶636] Dr. Yuchtman evaluated whether: (1) the September 16 press release or November 25 letter

had an effect on the level of participation in, or intensity of, the protests; (2) the Corps’ decision

not to pursue an immediate eviction of protestors had an effect on protest participation or intensity;

and (3) other causal factors may have contributed to protest participation or intensity. DX 4222

¶ 1. He used quantitative and qualitative evidence to reach his conclusions. The quantitative

evidence he used was from Dr. Steckel’s report. DX 4222 ¶ 12. The qualitative evidence he used

included, among other things, 43 deposition transcripts, social media, and the expert reports from




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Dr. Steckel and Dr. Greenwald. DX 4222 at 105-114; Tr. 2856:5-2857:11 (Day 17; Yuchtman).

[¶637] Dr. Yuchtman found that neither the September 16 press release nor the November 25 letter

affected the level of participation in, or intensity of, the protests. From a quantitative perspective,

he applied the event-study methodology and considered Dr. Steckel’s analysis and data. DX 4222

¶¶ 56-60. Dr. Yuchtman reviewed Dr. Steckel’s methods and conclusions and agreed that the

qualitative evidence showed no substantial effect from the September 16 press release, and there is

no clear evidence of a causal effect of the November 25 letter on protestor activity. DX 4222 ¶¶ 58,

60.

[¶638] Nor did Dr. Yuchtman find from a qualitative perspective that that the September 16 press

release or the November 25 letter had a causal effect on the protests. To evaluate the qualitative

evidence, Dr. Yuchtman applied a framework derived from academic literature that considers what

makes people protest. DX 4222 at pp. 21-34 ¶¶ 36-54. This framework recognizes that protestors

are both “born” (that is, have a set of preferences and ideologies that shape their decision to protest)

and “made” (that is, precipitating causal factors help determine whether an individual will protest).

Id. at p. 21 ¶ 36. To evaluate whether something was a causal factor for protest, Dr. Yuchtman

derived five questions from academic literature that consider the “born” and “made” elements. Tr.

2903:16-20 (Day 17; Yuchtman); DX 4222 at pp. 23-24 ¶ 40 & Figure 3. Those are: (1) how did

the proposed cause shape the protestors’ fundamental preferences and the ideologies of potential

protest participants; (2) how did the proposed cause shape political action through the creation or

activation of social networks; (3) how did the proposed cause affect the “public good” that the

protest was aimed at achieving; (4) how did the proposed cause affect coordination costs; and (5)

how did the proposed cause affect expectations of crackdown, and other anticipated costs of protest

participation? DX 4222 at p. 30 ¶ 50 & Figure 4. These five questions evaluate what actually




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happened versus a “counterfactual,” that is, a hypothetical world that is identical to the world that

actually happened except for the removal of the proposed causal factor. Tr. 2866:15-19 (Day 17;

Yuchtman). So, to evaluate whether the September 16 press release or November 25 letter caused

an increase in protest size or intensity, Dr. Yuchtman compared the actual world where the

September 16 press release and November 25 letter were issued versus a counterfactual hypothetical

one where they were not. Id.

[¶639] Analyzing the qualitative evidence regarding the September 16 press release and the

November 25 letter through these five questions, Dr. Yuchtman found that those statements had no

meaningful effect on protest size or intensity. DX 4222 at pp. 37-44 ¶¶ 61-74 & Figure 7.

[¶640] The evidence shows that the Corps statements of September 16, 2016, and November 25,

2016, did not cause the protests to start, to grow in size or intensity, or to last longer than they

otherwise would have.

[¶641] The Corps’s Decision Not to Pursue an Immediate Eviction of Protestors. The State also

has not established causation to support its latest theory of liability, which is that the Corps should

have pursued an eviction of protestors as of mid-August 2016. See ECF No. 450-1 at p. 2 ¶ 5, pp.

64-65 ¶¶ 269, 271, p. 84 ¶ 361, p. 96 ¶ 404, p. 92 ¶ 388. (To be clear, this theory is foreclosed by

the Court’s Order on the motion to dismiss and the discretionary function exception, among other

reasons. See Section I.A.iv., supra. It is discussed here in the interest of completeness.)

[¶642] Dr. Yuchtman found that the Corps’ decision not to forcibly remove protestors from Corps

land early in the protests made the likelihood of protest participation less likely.            In the

counterfactual he considered, the Corps would have evicted protestors from Corps land, with the

assistance of law enforcement, on August 23, 2016 (a date chosen because that is the day after the

Governor of North Dakota asked the Corps to deny the protestors the right to camp on Corps land).




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Tr. 2874:16-2875:1 (Day 17; Yuchtman); DX 4222 ¶ 77. If protestors were pushed off of Corps

land, the counterfactual recognizes that they could have moved elsewhere; indeed, protestors were

staying at other locations at the time. DX 4222 ¶¶ 80-81. The use of those other locations suggests

that forced eviction from Corps land would have simply moved protestors to other locations. Tr.

2927:17-21 (Day 18; Yuchtman).

[¶643] Furthermore, social media would have been available wherever the protestors were

physically located to coordinate among protestors and solicit support. DX 4222 ¶ 97. Evaluating

the five questions, Dr. Yuchtman concluded the Corps not evicting protestors early on made protest

participation less likely, because, among other things, the protestors still would have been in the

area, likely clashes with law enforcement would have given protestors more to protest about, and

protestors would have been able to leverage the image of law enforcement removing Native

Americans en masse from historically Native land to garner further support for their cause. DX

4222 ¶¶ 97-99.

[¶644] The evidence adduced at trial does not show that protestors were any more or less likely to

break the law if they were camped on Corps land, as opposed to staying elsewhere.                See

FoF [¶89]-[¶90] (protestors stayed at a variety of locations, and they came from not just Corps land,

but also from other camps off of Corps land, hotels, the casino, and from the houses of family and

friends to engage in direct action protest activities).

[¶645] Moreover, the evidence did not show that permission from the Corps to be on Corps-

managed land made a difference for protestors’ decisions to participate in the protests. See

FoF [¶273]. Ms. LaDuke testified that it would have made no difference whether the Corps issued

a Special Use Permit or not; she was at the camp at the request of the Lakota people and that was

all the authority she needed. Id. Dr. Estes testified that he was at the camps because there was a




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call to bring together the Oceti Sakowin, a call that was not made by the Corps, and that he could

not think of any statement from the federal government during the time of the protests that caused

him to come to the protest camps or stay at them. Id. And Mr. Iron Eyes testified that the decision

to locate the Main Camp on Corps land to the north of the Cannonball River was not influenced by

any kind of permission or consent from federal government, that at no time did it make any

difference to him whether or not protestors had permit from Corps to be on Corps land, and in his

observation of the protests it did not make any difference to anyone involved in protests.

[¶646] In sum, the evidence does not show that actions of the Corps—whether in issuing the

September 16 or November 25 statement, or in deciding not to evict the protestors in mid-August

2016—caused the protests, or caused the State to incur the protest-response costs it seeks to recover

as damages.

               vi.     Other Factors Besides the Corps’s Actions Caused the Protests

[¶647] If the “combined effect” of other events have a “predominant effect in bringing” about the

plaintiff’s harm, those other factors can “prevent” the defendant’s conduct “from being a substantial

factor” in the plaintiff’s harm. Restatement (Second) of Torts § 433 cmt. d; see Restatement

(Second) of Torts § 431 (an actor’s conduct is the legal cause of the claimed harm only if “his

conduct is a substantial factor in bringing about the harm”). The evidence at trial showed that other

factors besides actions of Corps officials had a “predominant effect” of bringing about the State’s

harm. Those other factors included the protestors’ own, independent beliefs and motivations, the

Assistant Secretary of the Army for Civil Works’ decision-making on the pipeline easement, the

historical and cultural context, the Standing Rock Sioux Tribe’s early calls for support for the

protests and its litigation against the Corps, social media and online donations, celebrity

involvement, the perception that State and local law enforcement were being heavy-handed in their



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response to the protests, and actions by the pipeline company. See FoF [¶238]-[¶268]. As discussed

above, each of those factors had a significant impact on the protest events on the ground, causing

the protests to grow larger, last longer, and be more intense than they otherwise would have. See

id.

[¶648] For example, the September 9, 2016, joint statement announcing that the Department of the

Army would not permit construction of the pipeline to proceed at that time—which the Corps was

not a party to, and which took Corps officials by surprise—was a much larger contributor to the

growth of the protests than the September 16 press release. See FoF [¶250]-[¶251]. As the State’s

social media analytics expert Mr. Warner testified, the September 9 joint statement was “the most

significant event” in the month of September 2016 as far as social-media interaction. Tr. 2979:10-

14 (Day 18; Warner); see PX 2036 at 0012. He likened the September 9 joint statement to a “big

earthquake,” while the Corps’s September 16 press release was merely “an aftershock” of the

September 9 joint statement. Tr. 2980:22-2981:7 (Day 18; Warner); see also PX 2036 at 0015 (Mr.

Warner’s expert report, noting that the September 9 joint statement was shared over 500 times and

was interacted with over 100,000 times on Facebook, while the September 16 press release was

only shared 36 times and interacted with far less than the September 9 joint statement).

[¶649] The evidence shows that many factors external to the Corps had a combined effect that had

the predominant effect of bringing about the State’s claimed harm in having to respond to the

protests. The State has not shown that the conduct of Corps officials—whether in issuing the two

statements at issue, or in deciding not to seek eviction of the protestors by mid-August 2016—was

a substantial factor in causing the State’s claimed injury. The State thus has not shown that the

Corps was the proximate cause of its injury.




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           E. Damages

[¶650] Even if a plaintiff proves the elements of duty, breach, and causation, it remains the

plaintiff’s burden to prove each element of its claimed damages by a preponderance of the evidence.

See North Dakota Jury Instructions – Civil, § C - 70.06. Burden of Proving Damages 2004 (2023

ed.). Any damages awarded must be “adequate to fairly compensate the Plaintiff for all detriment

proximately caused by the acts or omissions of those . . . at fault.” North Dakota Jury Instructions

– Civil, § C – 70.10. Adequate Compensation (Tort). In this case, as discussed in Sections I.A.i-ii,

supra, any damages awarded must have been proximately caused by acts or omissions of individual

employees of the Corps, and not any other federal agency or official.

               i.    The State’s Damages Must Be Reduced to Include Only Those that Are
                     Recoverable

[¶651] If the Court were to find the United States liable—which it does not—the Court may award

only those damages that are recoverable under the FTCA and North Dakota tort law. See supra

Section I.A (discussing limits of the FTCA’s waiver of sovereign immunity, as relevant for these

purposes); supra Section II.D (discussing the showing the State must make to demonstrate actions

or omissions of Corps employees caused its claimed damages).

[¶652] First, as discussed in Sections I.A.i-ii above, the State cannot recover damages for injuries

resulting from the allegedly tortious actions of any entity or individual other than individual Corps

employees, acting within the scope of their employment. The Court cannot award the State

damages based on other conduct—such as the Assistant Secretary of the Army’s decision to delay

deciding on the easement for the pipeline, or the Department of Justice’s decision not to provide

on-the-ground law enforcement resources. The State is seeking to recover the entirety of its protest-

response expenses in this litigation. FoF [¶367]-[¶368]. The State’s damages documentation

evidence does not separate out those protest-response costs that were incurred as a result of the


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actions of Corps officials in issuing the two statements at issue, as opposed to the actions of other

entities or persons. See FoF [¶370], [¶373].

[¶653] Second, the State is not entitled to recover for protest-response costs associated with

activities of protestors who were not camped on Corps land. See, e.g., FoF [¶89] (some protestors

stayed at the casino and used that space to plan protest activities); FoF [¶150] (protestors from the

North Camp on State and private land broke the law and necessitated a law-enforcement response);

FoF [¶171] (some of the protestors who participated in the Backwater Bridge incident came from

the casino on Reservation land); FoF [¶90] (protestors came not just from Corps land, but from

camps off of Corps land, the casino, hotels, and from the houses of friends and family to engage in

direct protest actions). Nor can the State recover for damages associated with protestors who stayed

on Corps land to the north of the Cannonball River, where the Corps never stated protestors were

permitted to be. See FoF [¶269], [¶336]. The State’s evidence does not distinguish between protest-

response costs incurred because of protestors who were staying on Corps land versus elsewhere,

nor for costs incurred based on activity by protestors on Corps land to the north of the Cannonball

River, where the Corps never indicated they were permitted to be. See FoF [¶336], [¶370].

[¶654] Third, the State is not entitled to recover for protest-response costs it incurred before the

first of the Corps’s statements at issue, on September 16, 2016. See ECF No. 38 at p. 19 ¶ 45,

pp. 21-22 ¶ 50. The State is claiming damages for its protest-response costs beginning on August

10, 2016—well over a month before the first statement by the Corps at issue. See FoF [¶142],

[¶368]. The Court previously held that the Corps violated a mandatory federal permitting duty

when it issued the September 16 statement despite the fact that no Special Use Permit was in place.

See ECF No. 38 at pp. 16-19 ¶¶ 38, 42-45, p. 19 ¶ 45, pp. 21-22 ¶ 50. But in the month leading up

to that date, the Corps was doing precisely what the Special Use Permitting regulations and




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guidance contemplate: it received an inquiry from the Standing Rock Sioux Tribe, responded with

information about seeking a Special Use Permit, and continued to engage in discission with tribal

leaders regarding terms and conditions of the anticipated Special Use Permit.                       See

FoF [¶132]-[¶135]. That is, to the extent the Corps violated a non-discretionary duty (which, as

discussed in Section I.A.iv above, it did not), the violation did not occur until September 16, 2016,

and the State cannot recover for protest-related expenses it incurred before that date.

[¶655] Fourth, as discussed in Section II.B.ii above, the State is not entitled to recover for its costs

incurred in responding to conduct protected by the First Amendment—which at least some of the

State’s protest-response costs were. See FoF [¶232]-[¶233]. Again, the evidence provided by the

State provides no basis to distinguish which of its protest-response costs were incurred as a result

of monitoring peaceful First Amendment activity versus responding to violent or similarly illegal

protest activity. See FoF [¶370].

[¶656] The State’s damages documentation does not provide enough information for the Court to

determine how much of the State’s claimed damages were incurred after September 16, 2016. The

State introduced a spreadsheet summarizing its protest-response expenditures, but the dates of the

expenditures it lists do not correspond closely with the dates of the State’s protest response.

Compare FoF [¶231], [¶368] (the State considers the protest time period to be August 10, 2016,

through March 31, 2017) with PX 1455, column D (dates of State’s claimed protest-response

expenditures range from August 31, 2016, through April 3, 2018).

                                           *       *       *

[¶657] The State has not provided sufficient evidence for the Court to determine what of its claimed

damages amounts were recoverable—that is, were not based on the actions of anyone besides

individual Corps officials; did not arise from activities of protestors staying off of Corps land, or




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on Corps land to the north of the Cannonball River where they were never permitted to be; did not

arise before the first of the Corps’s non-discretionary actions at issue; and did not arise out of

protected First Amendment activity. The information is not available from the evidence the State

introduced at trial. It also would not be discernable from the documentation that underlies the

State’s damages calculation, which was not introduced into evidence. See [¶373].

[¶658] Nonetheless, the evidence at trial makes clear that the vast majority of the State’s claimed

expenses fall into one of these non-recoverable categories. See, e.g., FoF [¶41]b (the Main Camp

on Corps land to the north of the Cannonball River—where the Corps never said protestors were

permitted to be—came to be the largest); FoF [¶235], [¶337] (most of the protestors who left Corps

land to protest came from the Main Camp north of the Cannonball River, a fact that State and local

law enforcement knew); FoF [¶89] (protestors used the Prairie Knights Casino, located off of Corps

land on Standing Rock Indian Reservation land, as a base of operations and to plan protest

activities); FoF [¶90] (protestors came from not only Corps land, but also from hotels, the casino,

and the houses of friends and family to engage in direct protest actions); FoF [¶147]-[¶152]

(protestors were camped on State and private land at the North Camp for over two months, violating

State laws in a variety of ways); FoF [¶232]-[¶233] (a significant proportion of the protestors were

peacefully exercising their First Amendment rights). For the reasons discussed elsewhere herein,

the United States is not liable, and the State is not entitled to recover damages from the United

States. The Court therefore need not attempt to guess what proportion of the State’s claimed

damages might be recoverable given the limited evidence presented by the State.

               ii.   The State’s Damages Must Be Reduced to Account for the Existing
                     Value of Equipment It Purchased

[¶659] Throughout the course of the DAPL protests, the State made various equipment purchases,

some of which had usefulness or value beyond the period of the State’s protest response. See FoF


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[¶367]. After the protests ended in March 2017, some of those items were transferred within the

State, and others continued to be used by the agency that purchased them. FoF [¶374]; see also PX

1455 (State’s damages spreadsheet for equipment purchases, reflecting that these purchases were

not made by the federal government but by the State or its subdivisions). The State’s damages

calculation does not include any reduction for scrap, salvage, or future use value of these items.

FoF [¶374].

[¶660] Because the State obtained value and received a benefit from that equipment beyond its use

during the protests (or because the State could have mitigated its damages by selling the equipment

for scrap or salvage value), the State’s claimed equipment damages should be reduced to account

for this retained value. Such a reduction is warranted under North Dakota law, which permits

recovery only for the detriment to the plaintiff. See N.D.C.C. § 32-03-20 (the measure of damages

in tort is “the amount which will compensate for all the detriment proximately caused” by the breach

of a duty); id. § 32-03-02 (defining “detriment” to mean “a loss or harm suffered in person or

property”); North Dakota Jury Instructions – Civil, § C - 74.25 Duty to Avoid or Minimize Damages

2016 (2023 ed.) (“One who has been injured in person or property has the duty to exercise ordinary

care to avoid loss or minimize the resulting damages.” (alterations omitted)).

[¶661] The State has not provided any suggested method as to how the Court should reasonably

account for the scrap, salvage, or future use value of the equipment it purchased during the DAPL

protests that continued to be useful or have value after the protests concluded. See PX 2035 at

0004. Nor did the State produce records detailing what equipment in particular was used or

disposed of after the protests. See DX 4218 at 10; Tr. 2222:14-16 (Day 14; Wilson).

[¶662] Nonetheless, the United States’ damages expert, Brad Wilson, conducted a detailed review

of the State’s equipment expenditure documentation, and identified those expenditures for




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equipment that appeared to have some scrap, salvage, or future use value. See id. at 8-9 & Exhibit

6. Mr. Wilson offered two alternative approaches for the equipment that would have had a use

beyond the protests, both of which the Court finds to be reasonable: (1) exclude the entire value of

those equipment purchases from any damages award because the State has not accounted for scrap,

salvage, or future use value; (2) estimate a useful life of the equipment and assume a straight-line

depreciation in value assuming the equipment was used from the date of purchase until the end of

the protests. See id. at 9-11 & Exhibit 3; Tr. 2222:12-2223:6, 2258:10-2259:7 (Day 14; Wilson).

Adopting option (1) would yield a reduction of $1,095,097.25, and option (2) would yield a

reduction of $824,153.28. See DX 4218 at Exhibit 3.

[¶663] While the State’s damages expert does not offer his own suggestion for how the Court

should perform the depreciation analysis, he does quibble with Mr. Wilson’s option (2)—

incorporating a straight-line depreciation. See Tr. 1736:21-1737:3, 1771:8-10 (State’s expert did

not inspect any of the equipment, and his opinion was based on an interview and his own personal

recollection of the harshness of the weather in winter 2016). (Day 10; Tolstad). This overlooks the

fact that the United States’ expert’s proposal is presented as a proxy for what would likely happen

to the equipment, on average—that is, the proposal to incorporate straight-line depreciation is a

reasonable substitute for information the State did not provide. See Tr. 2258:18-2259:7 (Day 14;

Wilson); DX 4218 at 10-11. The State’s expert also argues that straight-line depreciation simply

should not apply because equipment purchased with federal funds is treated differently, see PX

2035 at 0004; however, the equipment at issue was not purchased with federal funds, see

FoF [¶374], so that argument is unavailing.

[¶664] The Court finds that any damages award to the State must be reduced to account for the

scrap, salvage, or future-use value of equipment purchased in connection with the protests. The




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Court finds that incorporating a straight-line depreciation as the United States’ damages expert

suggests is reasonable, and it will therefore reduce any damages award by $824,153.28.

               iii.   The State’s Damages Must Be Reduced to Account for Regular Payroll
                      Expenditures

[¶665] The State’s claimed damages include $2,643,104.84 in regular payroll expenses—that is,

non-overtime payroll expenses for regular, permanent employees. FoF [¶375]. This amount

includes regular payroll expenses for employees of State agencies, as well as employees of local

entities within the State. See id.

[¶666] The State’s regular payroll expenditures—not including overtime or payroll for employees

who were hired to backfill during the protests—would have been incurred regardless of the DAPL

protests. See DX 4218 at 6-8 & Exhibits 4-5. Awarding those expenditures as damages is not

warranted under North Dakota law, which permits damages to be awarded only as “adequate to

fairly compensate the Plaintiff for all detriment proximately caused by the acts or omissions of

those . . . at fault.” North Dakota Jury Instructions – Civil, § C – 70.10. Adequate Compensation

(Tort) 2015 (2023 ed.); see N.D.C.C. § 32-03-01 (“Every person who suffers detriment from the

unlawful act or omission of another may recover from the person in fault a compensation therefor

in money, which is called damages.”). Thus, the Court finds the State has not shown its damages

for those expenditures were caused by the protests, or by Corps officials’ response to the protests,

and any damages award to the State will accordingly be reduced by $2,643,104.84.

               iv.    Any Damages Must Be Apportioned Among the Entities and Persons at
                      Fault

[¶667] The Court must apportion fault and damages among parties and non-parties. In accordance

with North Dakota law, United States requests that the Court make separate findings determining

the amount of damages and the percentage of fault attributable to parties and non-parties who



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contributed to the State’s alleged injuries, and it further requests that the Court award damages

according to that determination.

[¶668] Pursuant to N.D.C.C. § 32-03.2-02, upon the request of a party the Court must make separate

findings “determining the amount of damages and the percentage of fault attributable to each

person, whether or not a party, who contributed to the injury.” “Fault” includes, inter alia,

negligence, reckless or willful conduct, assumption of risk, and failure to avoid injury. Id.

Assumption of risk is present where a person (1) has actual knowledge of a risk of injury or loss,

(2) has freedom of choice to avoid the risk, (3) voluntarily encounters the risk, and (4) the injury or

loss is proximately caused by the encounter. North Dakota Jury Instructions – Civil, § C – 2.75.

Assumption of Risk 2002 (2023 ed.); see also Green v. Mid Dakota Clinic, 673 N.W.2d 257, 260

(N.D. 2004) (“[A]ssumption of risk is no longer an affirmative defense in North Dakota, but, rather,

is one part of the analysis in determining comparative fault.” (citation omitted)).

[¶669] After making the determination of the percentages of fault attributable to parties and non-

parties, the Court must award damages commensurate with that determination, because “each party

is liable only for the amount of damages attributable to the percentage of fault of that party.”

N.D.C.C. § 32-03.2.02. That is, North Dakota law incorporates a modified comparative fault

scheme that allows for several, and not joint, liability.

[¶670] This apportionment of fault and the corresponding damages apportionment should be done

after the Court determines the amount of damages, but before any damages offsets are applied. See

N.D.C.C. § 32-03.2-02 (providing that the court must “direct the jury to find separate special

verdicts determining the amount of damages and the percentage of fault attributable to each person,

whether or not a party, who contributed to the injury. The court shall then reduce the amount of

such damages in proportion” to the fault attributable to other parties and non-parties besides the




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defendant (emphasis added)); id. § 32-03.2-06 (“After an award of economic damages, the party

responsible for the payment thereof is entitled to and may apply to the court for a reduction of the

economic damages to the extent that the economic losses presented to the trier of fact are covered

by payment from a collateral source.” (emphasis added)); ECF No. 106, at 18 (Court’s order

denying the United States’ motion for partial summary judgment, stating that the Court “will

consider a request for reduction in damages only after a damages amount has been determined.”

(emphasis added)).

[¶671] All of the fault is properly apportioned to the protestors. As discussed above, the United

States is not liable for the State’s claimed damages. But even if it were, the Court finds that the

amount of fault that should be apportioned to the United States based on actions by Corps

officials—as opposed to other people or entities—is none. Instead, the evidence at trial showed

that 100% of the fault for the State’s damages from responding to the protests falls on the protestors

themselves.

[¶672] Some protestors engaged in illegal activities, including vandalism, blocking public roads

and highways, threats and harassment, and more. See, e.g., FoF [¶234]-[¶236], [¶336]-[¶338]

(summarizing evidence of the illegal and wrongful conduct that some protestors engaged in). The

conduct that caused the State to incur the emergency law enforcement response costs that make up

its damages claim was when protestors left the protest encampments to engage in violent or illegal

activity on public or private property elsewhere. See FoF [¶237]; see also, e.g., ECF No. 450-1 at

1-2 ¶ 3 (“North Dakota’s claims in this matter relate to the damage and destruction caused to North

Dakota because of activity by individuals opposing the construction of the Dakota Access Pipeline

. . . in North Dakota from roughly August 2016 through March 2017 . . . .”).

[¶673] There is no evidence that Corps officials encouraged protestors to act violently or illegally,




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or to make plans to do so while on Corps land. On the contrary, the Corps urged the protestors to

act lawfully and peaceable. See FoF [¶142] (Corps’s September 16, 2016, press release stated that

the Tribe was allowed “to gather to engage in a lawful free speech demonstration on Federal lands

designated in the permit” subject to “applicable Federal, state and local regulations” (emphasis

added)); FoF [¶198] (COL Henderson’s November 25, 2016, letter to tribal leaders stating that the

free speech zone south of the Cannonball River was meant “for anyone wishing to peaceably protest

the Dakota Access pipeline project, subject to the rules of 36 C.F.R. Part 327”); FoF [¶292] (in

conversations with tribal leadership, COL Henderson emphasized the need for the Tribe to

discourage violence, trespassing on private land, and provoking confrontations with law

enforcement). Indeed, there is no evidence that protestors on Corps land were the only ones

engaging in the unlawful behavior that triggered the need for the State to expend costs in response.

Cf. FoF [¶89] (protestors stayed not only at the camps on Corps land, but at camps on Reservation

land, private- and State-owned land, at hotels in the area, and with family or friends); FoF [¶89]

(protestors stayed at the Prairie Knights Casino on Reservation land, using the casino as a base of

operations to plan protest activities); FoF [¶90] (protestors came not just from Corps land, but also

from hotels, the casino, and the houses of family and friends to engage in direct protest action); FoF

[¶150] (protestors staying at the North Camp on State land were breaking the law). Protestors acted

out of their own independent motivations and for their own reasons, and their actions were often

unpredictable and uncontrollable. See FoF [¶87], [¶104], [¶238]-[¶239], [¶275], [¶294].

[¶674] In sum, the State’s claimed damages arise entirely out of the unlawful actions of a subset of

the protestors, who stayed on and off of Corps land. The protestors bear all of the fault for those

actions, and for the damages the State incurred in responding to the protests.

[¶675] One exception to North Dakota’s rule disallowing joint liability is when persons “act in




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concert in committing a tortious act or aid or encourage the act, or ratif[y] or adopt[] the act for

their benefit.” N.D.C.C. § 32-03.2-02. In those situations, the persons at fault may be jointly liable

for all damages. Id. But to show that two people or entities were “acting in concert,” “there must

be an express or tacit agreement to commit the wrongful act.” North Dakota Jury Instructions –

Civil, § C - 2.17. Acting in Concert 2000 (2023 ed.) It is not enough to show merely that one person

knew what the other was doing, or was present at the commission of the wrong, or failed to object

to it. Id.; see Hurt v. Freeland, 589 N.W.2d 551, 553-54, 556-59 (N.D. 1999) (no joint liability

because the passengers and intoxicated driver of a vehicle were not “acting in concert,” where they

had all been drinking together throughout the evening, and the passengers asked the driver to drive

them to a destination, but they did not provide him more alcohol or encouraged him to drink during

the drive); Reed v. Univ. of N.D., 589 N.W.2d 880, 888 (N.D. 1999) (rejecting an attempt to impose

joint liability on the University of North Dakota and the sponsor of a race in which the plaintiff was

required to participate as a U.N.D. athlete, because the evidence that U.N.D. and the race sponsor

knew of each other’s activities, were both present at the race, and failed to object was not enough

to show “a common plan or design necessary for in concert action”).

[¶676] There is no evidence the Corps had an “express or tacit agreement” with protestors to

commit the acts that caused the State to incur damages. The protests started off of Corps land,

without the Corps’s prior knowledge or permission. FoF [¶80], [¶82]. They continued to grow and

eventually spilled onto Corps land, again without the Corps’s prior permission. FoF [¶80], [¶94]-

[¶99], [¶104]; [¶336]. The Corps, reacting to the situation that had been thrust upon it, attempted

to respond in a way that would deescalate tensions and keep the situation from getting worse. See

FoF [¶140]-[¶141], [¶200], [¶280], [¶301]-[¶302]. Given that the Corps’s public statements

emphasized the need to obey the law, those statements did not encourage protestors to take illegal




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actions off of Corps land. See FoF [¶142], [¶198]. At most, the Corps knew of the illegal activities

of some protestors. But that knowledge alone—even if the Corps was also present where the

wrongs were being committed, or failed to object—is not sufficient to show the Corps acted “in

concert” with the protestors such that it should be subject to joint liability for their wrongdoing.

[¶677] In short, 100% of the fault rests with those protestors whose unlawful conduct caused the

State to incur costs in responding to the protests. The Court will not apportion any fault to the

Corps or award any damages against the United States.

[¶678] If the protestors do not bear all of the fault, other entities besides the Corps bear some fault.

As discussed above, the Court apportions all fault to the protestors. But even assuming the Court

did not apportion all the fault to the protestors, the evidence shows that other entities besides the

Corps bear some fault. There is no evidence the Corps acted “in concert” with any of these entities

in connection with their wrongful acts detailed below, such that it would be jointly liable for these

other entities’ share of fault.

[¶679] First, if the Court were to assess whether any entities or individuals besides the protestors

bear fault for the start of the protests and their increased size, the Court would conclude that the

Standing Rock Sioux Tribe bears some fault. The protests began on Standing Rock Indian

Reservation land, and they later spilled onto Corps land north of the Cannonball River. FoF [¶80],

[¶248]. Early in the protests, tribal leaders called for the public to support the protests—calls which

increased the protest activity on the ground. FoF [¶85], [¶248]. The protests were something the

Tribe sought to own and sponsor from the outset, and the Tribe provided resources to the Main

Camp on Corps-managed land as the protests continued into fall 2016. FoF [¶86].

[¶680] State officials recognized as the protests were happening that Standing Rock Sioux Tribe

leaders shared a measure of responsibility for the protests and the activities of protestors. See




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FoF [¶85] (Morton County Commission Chairman Schulz wrote on October 1, 2016, that Chairman

Archambault bore “some level of responsibility . . . for the protest camps and the actions of those

staying there.”).

[¶681] Because of the role Standing Rock Sioux Tribe leadership played in organizing,

encouraging, and willingly hosting the protests on Reservation land and elsewhere, the Court would

conclude that the Tribe bears a portion of fault for causing the State to incur damages in response

to the protests.

[¶682] Second, the pipeline company also bears some fault for the damages the State incurred. The

protests would not have happened but for the pipeline being constructed adjacent to Standing Rock

Sioux tribal land, and across land that many Sioux consider to be unceded treaty land. See FoF

[¶242], [¶246]. The pipeline company’s CEO felt that the company had “somehow caused” the

impact on the State from the protests, and the company paid $15 million to the State to reimburse

part of the protest-response expenses that the State now seeks as damages. See FoF [¶387], [¶392].

[¶683] Decisions by the pipeline company and its contractors caused the protests to grow and

intensify. The September 3, 2016, confrontation between pipeline company private security

contractors and protestors was widely acknowledged to be a turning point in the protests, which

caused the protests to gain enormous attention, to grow much larger in size, and to get more violent.

FoF [¶119]. The pipeline company decided to carry out construction in an area that had been

identified as having sacred sites by the Standing Rock Sioux Tribe shortly beforehand was

concerning to protestors. See FoF [¶114]-[¶115]. And the company’s private security contractors’

use of dogs in the ensuing confrontation was not only galvanizing, but wrongful. See FoF [¶116]-

[¶117], [¶119]. In fact, the private security contractors who participated in that confrontation were

not licensed to do security work in North Dakota, and they should not have been performing security




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work without that license. FoF [¶120].

[¶684] The pipeline company, in deciding to work on the pipeline’s construction in the area

identified as having sacred sites, and employing an unlicensed security contractor who used dogs

in a confrontation with protestors, assumed the risk that those actions would lead the protests to

protests would increase in size and intensity. Those events did in fact cause the protests to increase.

FoF [¶119]. The pipeline company therefore bears some fault for the State’s damages incurred in

responding to the protests.

[¶685] Third, the State itself bears some fault for the damages it incurred. The State took a

“containment” approach to the protests, allowing protestors to remain on Corps land despite the

knowledge that some protestors there were leaving Corps land to break the law. FoF [¶102], [¶344]-

[¶352]. The State also allowed protestors to remain at the North Camp on State land alongside

Highway 1806 for over two months, despite State officials’ awareness that some of the protestors

at that camp were breaking the law. FoF [¶147]-[¶155]. And the State often chose not to arrest

protestors, even when they broke the law. See FoF [¶150]-[¶151], [¶260], [¶336]-[¶342]. As the

State’s own expert testified, this decision by the State not to arrest lawbreaking protestors could be

a form of “reinforcement” that encouraged protestors. See Tr. 1862:11-22 (Day 11; Kuhlman).

[¶686] The State communicated that it was taking this containment approach to the Corps many

times, and those communications informed the Corps’s own decision-making. FoF [¶105]; see also

FoF [¶54] (input from law enforcement is a “primary factor” in how Corps officials decide how to

respond to a problem on Corps land, such as unauthorized occupants). Essentially, the State

(1) assumed the risk of allowing protestors to remain in the area, though they knew some were

breaking the law, and (2) failed to mitigate its damages by not arresting all of the protestors who

they were aware were engaging in illegal activity.          See, e.g., Green, 673 N.W.2d at 260




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(consideration of assumption of the risk is part of the comparative-fault determination); Swanson

v. Sheppard, 445 N.W.2d 654, 658 (N.D. 1989) (“In all actions where a plaintiff is seeking to

recover damages, the plaintiff has a duty to minimize or mitigate damage and may not recover for

damage which could have been avoided by reasonable efforts under the existing circumstances.”

(citation omitted)).

[¶687] Additionally, the State’s law enforcement response was viewed as heavy-handed by many

protestors. See FoF [¶247], [¶255]. There is evidence that this increased the size and intensity of

the protests, which, predictably, increased the State’s deployment of resources and money expended

in response. See FoF [¶255]. Again, with those decisions, the State assumed the risk the protests

would increase and the State would need to expend more money and resources in response.

[¶688] Thus, to the extent any fault should not be assigned to the protestors, other parties besides

the Corps would bear some percentage of fault in addition to the protestors.

               v.      The State’s Damages Must Be Reduced to Account for the $10 Million It
                       Already Received from the United States

[¶689] The State has already received $10 million from the federal government to cover a portion

of its protest-response costs, in the form of an Emergency Federal Law Enforcement Assistance

(“EFLEA”) grant. See FoF [¶382]-[¶383]. The State applied for the grant specifically to seek

partial reimbursement for its emergency law-enforcement response costs. FoF [¶384]. Ultimately

the State did apply the $10 million it received in EFLEA funds to repay some of the loans it took

out from the Bank of North Dakota to pay for the State’s protest response. FoF [¶385].

[¶690] Those protest-response costs are the same costs the State seeks to recover in this litigation.

See FoF [¶367], [¶384]. The State’s claim for $37,854,867.30 in damages includes no offset for

the $10 million it already received from the federal government. FoF [¶386].

[¶691] “[T]he government should not be forced to compensate [the State] twice,” once via the


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EFLEA grant and again through an adverse judgment in this FTCA case. Overton v. United States,

619 F.2d 1299, 1308 (8th Cir. 1980). This is not a question of offsetting a payment the State

received from a separate, “collateral source.” See N.D.C.C. § 32-03.2-06 (the party against whom

damages are awarded may apply for a setoff for payments from any “collateral source,” meaning a

payment the recovering party received from “any other source paid or to be paid to cover an

economic loss which need not be repaid” (emphasis added)). Rather, in an FTCA suit, prior that

“[s]ources of aid also provided by the United States . . . are thus not collateral but primary in nature,

and may be offset” from the damages awarded to the plaintiff. Anderson v. United States, 731 F.

Supp. 391, 402 (D.N.D. 1990). Here, the same source (the United States) is being asked to

compensate the State twice: once via payment of the EFLEA grant, and again in the State’s claimed

damages for all of its protest-response costs. The principles restricting double recovery in FTCA

cases discussed in Overton and Anderson do not permit this double payment.

[¶692] The one exception to this general rule against a plaintiff’s double recovery, for instances

where the plaintiff made a “special payment” to the scheme from which it was already compensated,

is not applicable here. Overton, 619 F.2d at 1308. The EFLEA grant did not come from any fund

to which the State contributed; instead, it was funded by United States Treasury appropriations.

See FoF [¶383].     Judgments against the United States under the FTCA are also paid from

appropriations to the United States Treasury. See 28 U.S.C. § 2414; 31 U.S.C. § 1304; see also

Justice Manual § 4-10.100 – Payment and Satisfaction of Judgment Against the Government. That

is, the EFLEA grant is not “attributable to a special levy or premium that [the State] has paid.”

Overton, 619 F.2d at 1309.

[¶693] Accordingly, the United States is entitled to a set-off of $10 million in any damages awarded

against it, to account for the funds the federal government already paid the State in the form of the




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EFLEA grant.

               vi.   The State’s Damages Must Be Reduced to Account for the $15 Million It
                     Already Received from the Pipeline Company

[¶694] In addition to the $10 million it received from the federal government to reimburse part of

its protest-response costs, the State also received $15 million from the pipeline company.

FoF [¶387]. The $15 million payment was wired directly to the Bank of North Dakota and was

used to repay a portion of the loans the State’s Office of Adjutant General took out to pay for the

State’s protest response. FoF [¶376], [¶387]-[¶388], [¶393].

[¶695] Under the common-law collateral-source rule, a defendant would not be entitled to a

reduction in its liability based on the fact that the plaintiff’s damages were reduced by payments

received from outside sources. See, e.g., Gill v. Maciejewski, 546 F.3d 557, 564 (8th Cir. 2008).

But North Dakota law abrogates that common-law rule, providing that the party against whom

damages are awarded “is entitled to and may apply to the court for a reduction of the economic

damages to the extent that the economic losses presented to the trier of fact are covered by a

payment from a collateral source.” N.D.C.C. § 32-03.2-06. The statute defines a “collateral source”

payment as “any sum from any other source paid or to be paid to cover an economic loss which

need not be repaid by the party recovering economic damages.” Id. The statute goes on to carve

out from the definition of “collateral source” certain types of outside payments “purchased by the

party recovering economic damages” (such as insurance), thus restoring the common-law rule

against collateral source offsets for those specified types of payments. Id.

[¶696] Under the plain language of North Dakota’s collateral source statute, the $15 million

payment from the pipeline company was a collateral source payment for which the United States

would be entitled to an offset. The payment came from an outside source, to which the State did

not contribute—that is, the statute’s carve-out from the statutory rule does not apply. See id.; FoF


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[¶387]; see also FoF [¶391] (the pipeline company recorded the $15 million payment as a capital

expenditure necessary to complete the Dakota Access pipeline project).

[¶697] The North Dakota Supreme Court has determined that an additional carve-out to the

statutory collateral-source rule applies, for “charitable gifts,” which are not a sum “paid to cover an

economic loss” because it is “given out of love and a sense of community.” Dewitz v. Emery, 508

N.W.2d 334, 340-41 (N.D. 1993). In Dewitz, the plaintiff, who was involved in a motorcycle

accident, received $1,500 from the Aid Association for Lutherans. See id. at 335, 340. There was

no suggestion the Aid Association was involved in causing the accident or plaintiff’s damages. The

court found that the payment from the Aid Association was a charitable gift, rather than an amount

“paid on account of a legal obligation triggered by economic loss.” Id. at 341. It emphasized that

charitable gifts are those “intended to compensate families for expenses which have not and cannot

be paid from any other source.” Id. On this basis, the court held that the charitable gift from the

Aid Association should not be offset from the damages awarded against the defendant. Id. at 341.

[¶698] Here, the State and the pipeline company have characterized the $15 million payment as a

“donation” or “gift.” See FoF [¶390]; ECF No. 450-1 at pp. 73-74 ¶ 324. But this payment from

the pipeline company does not qualify as a “charitable gift” like the one in Dewitz, for multiple

reasons.

[¶699] First, as discussed in Section II.E.iv above, actions by the pipeline company caused the

protests to increase in size and intensity. As the company’s CEO recognized, the company was a

cause of the impact of the protests on the State. See FoF [¶387]. This is unlike the situation in

Dewitz, where a charitable organization that was totally uninvolved with the events that caused

plaintiff’s damages and gifted plaintiff’s family money out of “love and a sense of community”

rather than an “obligation triggered by economic loss.” 508 N.W.2d at 341.




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[¶700] Second, the pipeline company is not a charitable organization like a religious-aid

association; it is a for-profit enterprise. While there was evidence that the pipeline company made

smaller donations in areas around the pipeline route, all of those donations added together did not

equal the $15 million payment to the State in connection with the State’s protest-response costs.

FoF [¶389]. Before the $15 million payment, the pipeline company had made no donations or other

non-routine payments to the State for at least five years. Id. And none of the donations the State

received in connection with the protests came anywhere near the amount of the payment from the

pipeline company. See id.

[¶701] Finally, evidence suggests the pipeline company and the State considered the $15 million

payment to be compensation or reimbursement, and not a charitable gift. The pipeline company

did not treat it as a charitable contribution for tax-reporting purposes. See FoF [¶390]. Instead, the

company and the State discussed early in the protests that the company would “reimburse” the State

for protest-related law enforcement costs, and the State provided the company with an accounting

of its estimated expenditures, apparently to facilitate that reimbursement. See FoF [¶392]. And the

bill that authorized the State to accept the payment from the pipeline company referred to

“reimbursement . . . for state costs incurred relating to unlawful activity associated with the

construction of the Dakota Access Pipeline” that was required to be used to repay the Office of

Adjutant General’s Bank of North Dakota loans. Id. These facts show that the pipeline company

intended to compensate the State for its losses. Cf. Restatement (Second) of Torts § 885 (Am. Law

Inst. 1979), “Effect of Release of or Payment by or on Behalf of One of Several Tortfeasors,” cmt.

f (recognizing that “payments are commonly made by one who fears that he may be held liable as

a tortfeasor and who turns out not to be” and that the general common law rule is that “if

compensation was intended,” the payment “will go to diminish the claim of the injured person




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against others responsible for the same harm”).

[¶702] Because the $15 million payment appears to be a payment seeking to reimburse and

compensate the State for some of its protest-response costs that were incurred, in part, as the result

of actions by the pipeline company, the payment is not a charitable gift under the Dewitz exception,

and North Dakota’s statutory collateral-source rule applies. To the extent damages are awarded

against the United States, the United States is entitled to an offset in the amount of $15 million to

account for the payment the State received from the pipeline company in partial reimbursement for

protest-response costs.

               vii. The State is Not Entitled to Recover Interest on Its Bank of North
                    Dakota Loans

[¶703] The State seeks to recover $651,746.35 in interest charged on loans the State Office of

Adjutant General received from the Bank of North Dakota to fund the State’s protest response. See

FoF [¶376]. The State is not entitled to recover this amount because the FTCA does not waive

sovereign immunity for such a prejudgment interest claim, and because the interest charged by the

State-owned Bank of North Dakota does not represent a loss to the State.

[¶704] First, the FTCA expressly provides that the United States “shall not be liable for interest

prior to judgment.” 28 U.S.C. § 2674 (emphasis added). Under that provision, the United States is

immune from any interest award “[i]n the absence of express congressional consent to the award of

interest separate from a general waiver of immunity to suit.” Library of Congress v. Shaw, 478

U.S. 310, 314 (1986), superseded by statute as stated in Landgraf v. USI Film Prod., 511 U.S. 244,

251 (1994) (explaining that Congress, in the Civil Rights Act of 1991, abrogated this rule as it

applies to employment discrimination cases in particular).

[¶705] “Interest” generally refers to “the amount which one has contracted to pay for the use of

borrowed money.” Southern Pac. Transp. Co. v. United States, 471 F. Supp. 1186, 1196 (E.D. Cal.


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1979) (quoting Deputy v. du Pont, 308 U.S. 488, 498 (1940)).

[¶706] In Shaw, the Supreme Court rejected an argument that this limitation on sovereign immunity

can be avoided “by devising a new name for an old institution.” 478 U.S. at 321. “[T]he character

or nature of ‘interest’ cannot be changed by calling it” by another name such as “‘damages,’ ‘loss,’

‘earned increment,’ ‘just compensation,’ . . . or any other term, because it is still interest and the

no-interest rule still applies to it.” Id. (quoting United States v. Mescalero Apache Tribe, 518 F.2d

1309, 1322 (Ct. Cl. 1975)); see Barrett v. United States, 660 F. Supp. 1291, 1319-20 (S.D.N.Y.

1987) (rejecting plaintiff’s “attempt at an end run around th[e FTCA’s] express prohibition” on

recovery of prejudgment interest by including a calculation of “the time value of money” in

damages estimate).

[¶707] The no-interest rule does not bar compensating the plaintiff for income or other amounts the

plaintiff would otherwise have received but “with which defendant’s wrongdoing has interfered.”

Manko v. United States, 830 F.2d 831, 837 (8th Cir. 1987) (explaining that the rule did not bar an

award to the plaintiff for lost pension earnings prior to judgment that the plaintiff would otherwise

have earned because those earnings were not prejudgment interest but “serve[d] the same purpose

as” lost pension contributions and lost wages). But courts have recognized that the “no-interest

rule” does bar claims for an amount where the plaintiff borrows money and then seeks “interest

costs incurred on money borrowed as a result of the government’s breach or delay in payment.”

Sys. Fuels, Inc. v. United States, 666 F.3d 1306, 1310-11 (Fed. Cir. 2012) (affirming “trial court’s

denial of the cost of borrowed funds”); see England v. Contel Advanced Sys., Inc., 384 F.3d 1372,

1379 (Fed. Cir. 2004) (barring damages request for “the interest [the plaintiff] paid on the extra

money it was forced to borrow as a result of the Navy’s delay”); Komatsu Mfg. Co. v. United States,

131 F. Supp. 949, 950 (Ct. Cl. 1955) (denying claim “for the amounts actually paid out by




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[plaintiffs] for interest on the borrowed money” because of an alleged “delay in payment” by the

United States).

[¶708] This reasoning makes sense. Were this not the case, every plaintiff could evade the FTCA’s

prohibition on prejudgment interest simply by taking out a loan to cover the economic harm the

plaintiff allegedly suffered pending the government’s payment on the plaintiff’s claim, and then

include the loan interest in the damages demand. That is, every plaintiff could claim that the interest

incurred prior to judgment was not “prejudgment interest” as the FTCA encompasses, but rather a

damages element from a new “contractual relationship” that exists between borrower and lender.

The FTCA’s plain language does not permit such a result.

[¶709] Moreover, even if there were ambiguity in whether the FTCA’s plain language barred such

payment, that ambiguity would bar payment. In Shaw, the Supreme Court recognized that whether

Congress has authorized the payment of prejudgment interest requires determining whether

Congress has clearly waived sovereign immunity to allow such payment. See 478 U.S. at 314-15.

And in FAA v. Cooper, the Court explained that in reading a waiver of sovereign immunity, “[a]ny

ambiguities in the statutory language are to be construed in favor of immunity,” and “[a[]mbiguity

exists if there is a plausible interpretation of the statute that would not authorize” the award of

damages against the federal government. 566 U.S. 284, 290-91 (2012). Here, Section 2674 of the

FTCA does not unambiguously show that the type of payment the State seeks here is not

prejudgment interest, so sovereign immunity bars the payment.

[¶710] Even if denying a claim for prejudgment interest may result in under-compensating a

plaintiff for its harms, that result does not change the analysis under Section 2674. As an initial

matter, there is no evidence that the Bank of North Dakota was forced to forego any other lending

opportunities or other uses of its extending loans to the State Office of Adjutant General to fund the




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State’s DAPL protest response. FoF [¶380]. Even if there were evidence of such harms, that in

and of itself would not justify an award that amounts to payment of prejudgment interest.

“Compensation for the use of money damages prior to judgment would clearly be an award of

prejudgment interest, which is barred by the [FTCA].” Preston v. United States, 776 F.2d 754, 760

(7th Cir. 1985) (citations omitted) (rejecting a claim for damages for loss of the use of converted

grain because it was in fact an impermissible claim for an award of interest); see Shaw, 478 U.S. at

321-22 (“[W]hether the loss to be compensated by an increase in a fee award stems from an

opportunity cost or from the effects of inflation, the increase is prohibited by the no-interest rule.”);

Mescalero, 518 F.2d at 1322 (where an award of interest against the United States was not

authorized by Congress, it was error to “include[e] an additional factor in [the] judgment to make

up for the income which should have been, but was not, earned on reinvested interest.”); Bah v.

United States, No. 21-cv-2993, 2022 WL 22279109, at *1 n.1 (E.D. Pa. Sept. 22, 2022)

(“[R]ecoupment of opportunity cost damages is equivalent to recovery of prejudgment interest.”

(citation omitted)); S. Pac. Transp., 471 F. Supp. at 1197, 1199 (plaintiff sought to recover for the

“loss of use of corporate capital,” but the court found “compensation for the loss of use of money

is, by definition, interest” prior to judgment that is barred by the FTCA).

[¶711] That state law may allow for an award of prejudgment interest in a tort case, see N.D.C.C.

§ 32-03-05, does not override this express limitation on the United State’s sovereign immunity.

Only Congress—not state legislatures and not the courts—can waive the United States’ sovereign

immunity. See, e.g., S. Rehab. Grp., P.L.L.C. v. Sec’y of HHS, 732 F.3d 670, 676 (6th Cir. 2013);

Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Jacks, 960 F.2d 911, 913 (10th Cir. 1992). And

Congress expressly chose to carve out claims for prejudgment interest from the FTCA’s waiver of

sovereign immunity. See 28 U.S.C. § 2674.




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[¶712] Second, an award of prejudgment interest based on interest for loans the State took out from

the Bank of North Dakota is not warranted for another reason: the State has not shown it suffered

any harm in incurring the prejudgment interest amounts. Here, the State is the plaintiff and the

entity that charged the claimed interest is simply an agency of the State. The Bank of North Dakota

is entirely State-owned, and it is itself a State agency. FoF [¶378]. Its funds are available to the

State legislature, and its dividends form part of the State’s general revenues. See id.

[¶713] In this case, interest paid by the State Office of Adjutant General on the DAPL protest-

related loans became profits of the Bank of North Dakota, which the State legislature could transfer

to the State’s general fund. FoF [¶379]. That is, the State’s interest payments on loans from the

Bank of North Dakota were simply transferred from one State agency to another and do not

represent a loss or “damages” resulting from the alleged tortious conduct. See DX 4218 at 7-8; Tr.

2211:17-2212:5 (Day 14; Wilson).

[¶714] The State is not entitled to recover its claimed damages for the interest on its Bank of North

Dakota loans totaling $651,746.35.


                                   CONCLUSIONS OF LAW

[¶715] The Court makes the following conclusions of law.

[¶716] The State brings this case under the FTCA, 28 U.S.C. § 1346(b)(1) and 28 U.S.C. § 2671 et

seq. The State asserts claims for negligence, gross negligence, trespass, and public nuisance. It

seeks to recover $37,854,867.30 in damages.

   I.      Jurisdiction

           A. Jurisdiction Under the FTCA

[¶717] The FTCA’s waiver of the United States’ sovereign immunity is limited. The Court lacks

jurisdiction over claims for which sovereign immunity is not waived. See 28 U.S.C. § 1346(b)(1).


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[¶718] The Court finds the State’s claims are barred by sovereign immunity. First, the State’s

claims are barred because they are premised—at least in part—on actions by federal agencies or

other federal entities, rather than individual federal employees. See id. §§ 1346(b)(1), 2674.

Second, because the State only presented its administrative tort claim to the Corps, the State’s

claims are barred to the extent they are based on the acts of non-Corps officials and other federal

agencies. See 28 U.S.C. § 2675(a). Third, the FTCA’s waiver of sovereign immunity does not

extend to claims for absolute or strict liability, so any finding of liability must be premised on a

negligent act. See 28 U.S.C. § 1346(b)(1). Fourth, the State’s claims are based upon, and its alleged

damages arise out of, discretionary functions and therefore do not fall within the FTCA’s waiver of

sovereign immunity. Fifth, to the extent the State’s claims are not based upon discretionary

functions, they are based on misrepresentations and do not fall within the FTCA’s waiver of

sovereign immunity. Sixth, the United States may be held liable under the FTCA for the negligent

and wrongful omissions of its employees in the scope of their employment only to the extent a

private party would be liable in similar circumstances under North Dakota law. Because there is

no private-party analog under state law for the wrong the State asserts—the Corps’s decisions how

to effectuate its Title 36 authority—there is no waiver of sovereign immunity for the State’s claims.

Finally, the FTCA allows an award of money damages against the United States only for injuries

or loss of property, or personal injury or death. 28 U.S.C. § 1346(b)(1). The State’s claims are

based entirely on its monetary expenditures for its law-enforcement response to the protests and are

not money damages for injury to property. The State is therefore not entitled to recover those

damages under the FTCA.




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           B. Standing

[¶719] In addition, the Court finds that the State lacks standing to bring this suit. The State does

not have standing to challenge the United States’ law enforcement decisions, as it purports to do.

See United States v. Texas, 599 U.S. 670, 675, 678-79, 684-85 (2023). The State also lacks standing

to sue the United States on behalf of its citizens in a parens patriae capacity. See Murthy v.

Missouri, 144 S. Ct. 1972, 1996-97 (2024); Massachusetts v. Mellon, 262 U.S. 447, 486 (1923).

           C. Political Question Doctrine

[¶720] The State’s claims also present a non-justiciable political question, inasmuch as they are

based on the federal government’s decisions about whether and how to deploy law enforcement or

military resources in response to the protests. See Japan Whaling Ass’n v. Am. Cetacean Soc’y,

478 U.S. 221, 230 (1986); Baker v. Carr, 369 U.S. 186, 217 (1962); Gilligan v. Morgan, 413 U.S.

1, 3, 10-11 (1973); Monarch Ins. Co. of Ohio v. District of Columbia, 353 F. Supp. 1249, 1258

(D.D.C. 1973), aff’d, 497 F.2d 683 (D.C. Cir. 1974); Industria Panificadora, S.A. v. United States,

763 F. Supp. 1154, 1160-61 (D.D.C. 1991).

   II.     State-Law Tort Claims

[¶721] Assuming the Court did have jurisdiction over the State’s claims (which it does not), the

State’s claims also fail as a matter of North Dakota tort law. As noted above, the State must prove

that the Corps, if a private person, would be liable in like circumstances to the State based on the

negligent or wrongful conduct of its employees, under North Dakota law. 28 U.S.C. § 1346(b)(1).

[¶722] The State bears the burden to establish all elements of its tort claims by a preponderance of

the evidence. See, e.g., Investors Real Estate Trust Properties, Inc. v. Terra Pacific Midwest, Inc.,

686 N.W.2d 140, 144 (N.D. 2004); 58 Am. Jr. 2d Nuisances §§ 171-72; North Dakota Jury




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Damages 2004. The Court finds the State has not met that burden.

           A. Duty

[¶723] The Corps cannot be liable here because North Dakota law has not recognized a duty that a

landowner owes to the State not to allow protestors to be on its land, or to seek their forcible

eviction. See Saltsman, 803 N.W. 2d at 558-59; Hurt v. Freeland, 589 N.W. 2d 551, 555 (N.D.

1999). North Dakota law does not impose a duty on a landowner, like the Corps, to the State to

exclude or control third parties who may be engaged in unlawful conduct off of the landowner’s

property, and North Dakota law does not grant the State the right to recover from a landowner its

costs in responding to such conduct. Additionally, tort liability may not be imposed in this situation,

where doing so would make a landowner liable for allowing protestors seeking to exercise their

First Amendment rights to gather on its land, or for failing to evict them. See NAACP v. Claiborne

Hardware Co., 458 U.S. 886, 918 (1982); Counterman v. Colorado, 600 U.S. 66, 76, 78-79 & n.5

(2023); Mckesson v. Doe, 71 F.4th 278, 281-82, 292 (5th Cir. 2023).

[¶724] Because there is no duty under North Dakota state law to support the State’s negligence

claim, its nuisance and trespass claims also fail.

[¶725] Alternatively, if the Court looks to the Restatement (Second) of Torts for the relevant duty,

the Restatement does not establish the Corps owed a duty because the protestors were trespassers,

not licensees or invitees. See Restatement (Second of Torts) §§ 315, 318.

[¶726] If the protestors are, instead, considered licensees or invitees, the Restatement duties at issue

are as follows. For the State’s negligence, gross negligence, and trespass claims, Corps officials

owed a duty if (1) they granted a third party permission to use its land; (2) they could control the

third party’s harmful conduct and knew or had reason to know they had the ability to do so; (3) they



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failed to use reasonable care to stop the third party’s harmful conduct, and (4) the harmful third-

party conduct occurred on Corps land. See Restatement (Second) of Torts § 318 and Reporter’s

Notes. For the State’s nuisance claim, Corps officials owed a duty if (1) the harmful activity

occurred on Corps land and (2) Corps officials failed to exercise reasonable care to prevent the

activity. See Restatement § 838 and Comments.

           B. Breach

[¶727] If a duty applied, the Court finds the Corps did not breach that duty, for several reasons. As

to the State’s negligence claim, the Corps never permitted protestors to be on its land north of the

Cannonball River, where the largest encampment of protestors came to be located. And the Corps

did not permit protestors to engage in unlawful activity. Corps officials did not know or have reason

to know they had the ability to control protestors’ unlawful conduct. And the protestor conduct that

caused the State’s harms occurred off of Corps land. Also, the Court finds that Corps officials

exercised reasonable care in responding to the protests, given the difficulty of the situation and the

options available to them.

[¶728] As to the State’s gross negligence claim, in addition to the lack of showing a breach

constituting negligence, the State also has not shown that Corps officials acted with “reckless

temperament” or “willfulness.”

[¶729] As to the State’s nuisance claim, the Court finds that this claim fails because (1) the

wrongful conduct by some protestors that caused the State to respond occurred off of Corps land,

(2) the State did not prove that the Corps consented to the protestors’ wrongful activity, and (3) the

State has not made the requisite negligence showing.




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[¶730] As to the State’s trespass claim, the State has not shown a breach constituting negligence,

and it also has not shown that Corps officials took intentional, affirmative voluntary acts to cause

protestors to come on its land or to engage in the wrongful conduct at issue.

[¶731] In sum, the Court finds the State has not established that Corps officials breached a duty to

support any of the State’s claims.

            C. Causation

[¶732] Even if the Court had jurisdiction (it does not), the only two actions by Corps officials that

can be the basis for liability are the September 16, 2016, press release and the November 25, 2016,

letter to tribal leadership.

[¶733] The State has not established that either statement by the Corps caused the protests to start,

or to grow larger, last longer, or involve more unlawful activity than they otherwise would have.

The protests’ growth was unforeseeable, and the State would have incurred protest-response costs

regardless of the Corps’s statements. The Court finds, based on the overwhelming weight of

evidence, that the Corps’s statements did not proximately cause the State’s damages.

[¶734] The State also has not shown that Corps officials’ decision not to close its lands to the public

and seek removal of protestors in mid-August caused the State’s damages. (Though, to be clear,

this is a discretionary decision upon which liability may not be based in any event.)

[¶735] The Court further finds that other, external factors had the predominant effect of bringing

about the State’s harm, and that the Corps’s statements at issue were not a substantial factor in

bringing about the State’s claimed injuries, and thus were not a proximate or legal cause of those

claimed injuries. See Restatement (Second) of Torts § 433 cmt. d.

            D. Damages

[¶736] Even if the United States were held liable in this case (it is not), the Court finds the State



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has not established that it is entitled to recover the damages it seeks, for several reasons.

[¶737] First, the State’s damages must be reduced to include only those that are recoverable—that

is, not based on the wrongful actions of any individual or entity other than individual Corps

employees, not for expenses incurred responding to protected First Amendment activity, not for

expenses associated with responding to protestors staying off of Corps land or on the area of Corps

land to the north of the Cannonball River where the Corps never informed protestors they were

permitted to be, and not for expenses incurred prior to the Corps’s September 16, 2016, statement.

Because the State has not provided sufficient evidence for the Court to determine what reductions

would be appropriate, the Court finds the State has not met its burden to establish it is entitled to

recover any damages.

[¶738] Second, even if the State were entitled to recover damages (it is not), any award of damages

must be reduced to account for the scrap, salvage, or future use value of the durable equipment the

State purchased in connection with the protests, which it continued to use or disposed of after the

protests ended. The Court concludes a reduction based on straight-line depreciation in the amount

of $824,153.28 is reasonable, and any damages award to the State would be reduced by that amount.

[¶739] Third, any damages award to the State must be further reduced to account for regular payroll

expenditures that the State and its political subdivisions would have incurred regardless of the

protests. This reduction amounts to $2,643,104.84.

[¶740] Fourth, the Court must apportion fault and damages among the parties and non-parties who

contributed to the State’s claimed injuries in responding to the protests. Based on the evidence

presented, the Court finds that 100% of the fault is attributable to the protestors. The State therefore

is not entitled to recover damages from the United States.




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[¶741] Fifth, even if the Court were to conclude that the United States must pay damages (which it

does not), the United States is entitled to offsets of that damages-award amount. It is entitled to an

offset of $10 million to account for the money the federal government paid to the State via an

EFLEA grant to reimburse part of the State’s protest-response costs. And it is entitled to a further

offset of $15 million to account for the money the pipeline company paid to the State to reimburse

and compensate the State for another portion of the State’s protest-response costs. The Court finds

this $15 million payment was not a charitable gift but is a collateral source subject to offsetting

pursuant to N.D.C.C. § 32-03.2-06.

[¶742] Finally, the Court finds that the State is not entitled to recover prejudgment interest on loans

it took out from the Bank of North Dakota. The FTCA bars recovery of prejudgment interest from

the United States, see 28 U.S.C. § 2674, and here, the State’s claim for interest on the loans amounts

to prejudgment interest. Moreover, the Bank of North Dakota is owned by the State and is itself a

State agency. Loan interest payments that amount to a transfer of funds from one agency of the

State to another do not represent a loss or damages to the State.

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[¶743] In sum, the Court holds that it lacks jurisdiction over the State’s claims, that in any event

the State has not proven its claims under North Dakota tort law, and that the State is not entitled to

recover damages.

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                                 ORDER FOR JUDGMENT

[¶744] Based on the foregoing findings of fact and conclusions of law, judgment should be entered

in favor of the United States.

[¶745] IT IS SO ORDERED.

[¶746] LET JUDGMENT BE ENTERED ACCORDINGLY

       DATED ______________.


                                                    Daniel M. Traynor, District Judge
                                                    United States District Court




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